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                        EXHIBIT A
              Insurance Policy 57 WV WQ0015
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                                         Customer Privacy Notice
                         The Hartford Financial Services Group, Inc. and Affiliates
                                      (herein called “we, our, and us”)

                          This Privacy Policy applies to our United States Operations


We value your trust. We are committed to the               c) insurance companies;
responsible:                                               d) administrators; and
a) management;                                             e) service providers;
b) use; and                                                who help us serve You and service our business.
c) protection;
of Personal Information.                                   When allowed by law, we may share certain
                                                           Personal Financial Information with other
This notice describes how we collect, disclose, and        unaffiliated third parties who assist us by performing
protect Personal Information.                              services or functions such as:
We collect Personal Information to:                        a) taking surveys;
a) service your Transactions with us; and                  b) marketing our products or services; or
b) support our business functions.                         c) offering financial products or services under a
                                                               joint agreement between us and one or more
We may obtain Personal Information from:                       financial institutions.
a) You;                                                    We, and third parties we partner with, may track
b) your Transactions with us; and                          some of the pages You visit through the use of:
c) third parties such as a consumer-reporting
   agency.                                                 a) cookies;
                                                           b) pixel tagging; or
Based on the type of product or service You apply          c) other technologies;
for or get from us, Personal Information such as:          and currently do not process or comply with any web
a) your name;                                              browser’s “do not track” signal or other similar
b) your address;                                           mechanism that indicates a request to disable online
c) your income;                                            tracking of individual users who visit our websites or
d) your payment; or                                        use our services.
e) your credit history;                                    For more information, our Online Privacy Policy,
may be gathered from sources such as applications,         which governs information we collect on our website
Transactions, and consumer reports.                        and our affiliate websites, is available at
To serve You and service our business, we may              https://www.thehartford.com/online-privacy-policy.
share certain Personal Information. We will share          We will not sell or share your Personal Financial
Personal Information, only as allowed by law, with         Information with anyone for purposes unrelated to
affiliates such as:                                        our business functions without offering You the
a) our insurance companies;                                opportunity to:
b) our employee agents;                                    a) “opt-out;” or
c) our brokerage firms; and                                b) “opt-in;”
d) our administrators.                                     as required by law.
As allowed by law, we may share Personal                   We only disclose Personal Health Information
Financial Information with our affiliates to:              with:
a) market our products; or                                 a) your authorization; or
b) market our services;                                    b) as otherwise allowed or required by law.
to You without providing You with an option to
prevent these disclosures.                                 Our employees have access to Personal
                                                           Information in the course of doing their jobs, such
We may also share Personal Information, only as            as:
allowed by law, with unaffiliated third parties
including:                                                 a) underwriting policies;
                                                           b) paying claims;
a) independent agents;                                     c) developing new products; or
b) brokerage firms;                                        d) advising customers of our products and
                                                               services.
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We use manual and electronic security procedures                             a)   credit history;
to maintain:                                                                 b)   income;
a) the confidentiality; and                                                  c)   financial benefits; or
b) the integrity of;                                                         d)   policy or claim information.
Personal Information that we have. We use these                              Personal Financial Information may include Social
procedures to guard against unauthorized access.                             Security Numbers, Driver’s license numbers, or
Some techniques we use to protect Personal                                   other government-issued identification numbers, or
Information include:                                                         credit, debit card, or bank account numbers.
a) secured files;                                                            Personal Health Information means health
b) user authentication;                                                      information such as:
c) encryption;                                                               a) your medical records; or
d) firewall technology; and                                                  b) information about your illness, disability or injury.
e) the use of detection software.
                                                                             Personal Information means information that
We are responsible for and must:                                             identifies You personally and is not otherwise
a) identify information to be protected;                                     available to the public. It includes:
b) provide an adequate level of protection for that                          a) Personal Financial Information; and
    data;                                                                    b) Personal Health Information.
and
c) grant access to protected data only to those                              Transaction means your business dealings with us,
    people who must use it in the performance of                             such as:
    their job-related duties.                                                a) your Application;
Employees who violate our privacy policies and                               b) your request for us to pay a claim; and
procedures may be subject to discipline, which may                           c) your request for us to take an action on your
include termination of their employment with us.                                account.

We will continue to follow our Privacy Policy                                You means an individual who has given us
regarding Personal Information even when a                                   Personal Information in conjunction with:
business relationship no longer exists between us.                           a) asking about;
                                                                             b) applying for; or
As used in this Privacy Notice:                                              c) obtaining;
Application means your request for our product or                            a financial product or service from us if the product
service.                                                                     or service is used mainly for personal, family, or
                                                                             household purposes.
Personal Financial Information means financial
information such as:

If you have any questions or comments about this privacy notice, please feel free to contact us at The Hartford - Consumer Rights and Privacy
Compliance Unit, One Hartford Plaza, Mail Drop: HO1-09, Hartford, CT 06155, or at ConsumerPrivacyInquiriesMailbox@thehartford.com.

This Customer Privacy Notice is being provided on behalf of The Hartford Financial Services Group, Inc. and its affiliates (including the
following as of February 2024), to the extent required by the Gramm-Leach-Bliley Act and implementing regulations:

1stAGChoice, Inc.; Access CoverageCorp, Inc.; Access CoverageCorp Technologies, Inc.; Business Management Group, Inc.; Cervus Claim
Solutions, LLC; First State Insurance Company; FTC Resolution Company LLC; Hart Re Group L.L.C.; Hartford Accident and Indemnity
Company; Hartford Administrative Services Company; Hartford (Asia) Limited; Hartford Casualty General Agency, Inc.; Hartford Casualty
Insurance Company; Hartford Corporate Underwriters Limited; Hartford Fire General Agency, Inc.; Hartford Fire Insurance Company; Hartford
Funds Distributors, LLC; Hartford Funds Management Company, LLC; Hartford Funds Management Group, Inc.; Hartford Holdings, Inc.; Hartford
Insurance Company of Illinois; Hartford Insurance Company of the Midwest; Hartford Insurance Company of the Southeast; Hartford Insurance,
Ltd.; Hartford Integrated Technologies, Inc.; Hartford Investment Management Company; Hartford Life and Accident Insurance Company; Hartford
Lloyd’s Corporation; Hartford Lloyd’s Insurance Company; Hartford Management, Ltd.; Hartford Management (UK) Limited; Hartford Productivity
Services LLC; Hartford of the Southeast General Agency, Inc.; Hartford of Texas General Agency, Inc.; Hartford Residual Market, L.C.C.; Hartford
Specialty Insurance Services of Texas, LLC; Hartford STAG Ventures LLC; Hartford Strategic Investments, LLC; Hartford Underwriters General
Agency, Inc.; Hartford Underwriters Insurance Company; Hartford Underwriting Agency Limited; Heritage Holdings, Inc.; Heritage Reinsurance
Company, Ltd.; HLA LLC; Horizon Management Group, LLC; HRA Brokerage Services, Inc.; Lattice Strategies LLC; Maxum Casualty Insurance
Company; Maxum Indemnity Company; Maxum Specialty Services Corporation; Millennium Underwriting Limited; MPC Resolution Company LLC;
Navigators Holdings (UK) Limited; Navigators Insurance Company; Navigators Management Company, Inc.; Navigators Specialty Insurance
Company; Navigators Underwriting Limited; New England Insurance Company; New England Reinsurance Corporation; New Ocean Insurance
Co., Ltd.; NIC Investments (Chile) SpA; Nutmeg Insurance Agency, Inc.; Nutmeg Insurance Company; Pacific Insurance Company, Limited;
Property and Casualty Insurance Company of Hartford; Sentinel Insurance Company, Ltd.; The Navigators Group, Inc.; Trumbull Flood
Management, L.L.C.; Trumbull Insurance Company; Twin City Fire Insurance Company; Y-Risk, LLC.




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          ARKANSAS WORKERS' COMPENSATION INSURANCE
                 BENEFITS DEDUCTIBLE ELECTION FORM


Arkansas Workers' Compensation law permits an employer to purchase workers' compensation insurance with a
deductible. The deductible is for benefits and applies separately to each claim.

Please check the option which you have elected and return this form to the company prior to the effective date of
your coverage.


    [ ] 1. I reject any deductible option and elect that the company pay all benefits due under my policy.


    [ ] 2. I elect only one of the following deductibles to be applied to benefits under my workers' compensation
           insurance policy and each subsequent renewal. The premium reduction to be applied is shown
           below.


                                            PREMIUM REDUCTION


                                       APPLICABLE TO TOTAL LOSSES
                                             HAZARD GROUP
                           A           B            C             D              E             F           G
      $    1,000         7.6%        6.8%         5.8%          4.3%           3.3%          2.1%        1.8%
           1,500         9.5%        8.5%         7.4%          5.6%           4.2%          2.8%        2.4%
           2,000        11.0%       10.0%         8.6%          6.6%           5.1%          3.5%        3.0%
           2,500        12.3%       11.2%         9.7%          7.5%           5.8%          4.0%        3.5%
           3,000        13.4%       12.2%        10.6%          8.3%           6.5%          4.6%        3.9%
           3,500        14.4%       13.1%        11.4%          9.0%           7.1%          5.0%        4.4%
           4,000        15.3%       14.0%        12.2%          9.7%           7.6%          5.5%        4.8%
           4,500        16.1%       14.8%        12.9%         10.3%           8.2%          5.9%        5.1%
           5,000        16.9%       15.5%        13.5%         10.9%           8.6%          6.4%        5.5%



                                    APPLICABLE TO INDEMNITY LOSSES
                                            HAZARD GROUP
                          A            B            C             D              E             F           G
      $   1,000         1.7%         1.5%         1.2%          1.2%           0.9%          0.8%        0.6%
          1,500         2.4%         2.1%         1.8%          1.6%           1.3%          1.1%        0.9%
          2,000         3.1%         2.7%         2.2%          2.1%           1.7%          1.4%        1.2%
          2,500         3.7%         3.3%         2.8%          2.5%           2.1%          1.7%        1.5%
          3,000         4.3%         3.8%         3.1%          3.0%           2.4%          2.1%        1.7%
          3,500         4.8%         4.3%         3.6%          3.3%           2.7%          2.3%        1.9%
          4,000         5.3%         4.8%         4.0%          3.7%           3.0%          2.6%        2.2%
          4,500         5.8%         5.1%         4.4%          4.0%           3.3%          2.8%        2.4%
          5,000         6.3%         5.6%         4.7%          4.4%           3.6%          3.1%        2.6%




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                                     APPLICABLE TO MEDICAL LOSSES
                                            HAZARD GROUP
                          A             B              C           D              E             F              G
      $   1,000          7.4%         6.7%           5.7%        4.2%           3.2%          2.1%           1.7%
          1,500          9.2%         8.3%           7.2%        5.4%           4.1%          2.7%           2.3%
          2,000         10.6%         9.6%           8.3%        6.4%           4.9%          3.3%           2.8%
          2,500         11.7%        10.7%            9.3%       7.1%           5.5%          3.8%           3.3%
          3,000         12.7%        11.6%           10.1%       7.8%           6.1%          4.2%           3.7%
          3,500         13.5%        12.5%           10.9%       8.5%           6.6%          4.6%           4.0%
          4,000         14.3%        13.2%           11.5%       9.1%           7.1%          5.0%           4.4%
          4,500         15.0%        13.8%           12.1%       9.6%           7.5%          5.4%           4.7%
          5,000         15.7%        14.4%           12.6%      10.0%           8.0%          5.7%           5.0%




All claims shall be paid by the company. In such case, the law requires that you reimburse the company for any
deductible amounts so paid.

If you do not return this form promptly to the company, it will be construed to mean that we should pay in full all
benefits due under your policy with no contribution on your part.

If you have any questions, please call your Agent.

Policy Number 57 WV WQ0015


Employer Name                                                        Date              Signature and Title


Agent Name                                                           Date              Signature



Return to
Issuing Office:
        Address:




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 Policy Number 57 WV WQ0015                 Policy Effective Date     04/01/2024
 SUNPOWER CORPORATION
 880 HARBOUR WAY SOUTH, SUITE 600
 RICHMOND, CA 94804



Dear Hartford Insured,

Re: An Important Message to Workers Compensation Policyholders

The control of workplace accidents and injuries should be among the highest priorities of your firm. Each accident
wastes precious human and financial resources, and introduces inefficiencies into your operations. From a
practical standpoint, the control of accidents, and their inevitable costs, simply makes good business sense.
An effective risk engineering program can save you money and aggravation, can positively impact your loss
experience (and thus your premium), and most importantly, can help you maintain solid control of your operations.
As a service to you, our valued customer, the Risk Engineering Department of The Hartford in cooperation
with your independent agent, can assist you in establishing risk engineering strategies. If you would like assistance,
please complete and return to us the reply portion of this brochure, or contact your independent agent.

Services Available
The following is a description of some of the services that we provide. The types of services that may be
appropriate for your business depend upon the nature and size of your operations and the specific risk
engineering services you have requested. The cost of risk engineering services may or may not be a part
of your insurance premium. This depends on the extent of the requested services, agreements stated in
your insurance policy and program, and statutory regulations that may require us to provide risk
engineering services.
1) Reference Materials - Information about risk engineering topics that can be provided or made available to you
   to help you to enhance your risk engineering program.
2) Telephone Consultation - We can hold a teleconference with you to help you to evaluate your risk
   engineering program, identify areas for improvement, and recommend ways to implement such improvements.
3) Onsite Consultation - This consists of visiting your premises and helping you to assess and remedy your risk
   engineering needs onsite. This level of service is usually only appropriate for larger, higher hazard operations.
   The following are examples of some of the services that could be provided onsite:
    o   A review of your safety program to determine its adequacy and recommend modifications to that plan where
        needed.
    o   Specific hazard evaluations, including ergonomics, industrial hygiene or material handling.
    o   An initial survey and evaluation to address potential safety and health hazards.
    o   Consultation to help management establish a comprehensive loss prevention Program.
    o   Periodic summaries of accidents and analysis of causes.
    o   Follow-up visits to check on progress and to provide continuing assistance when required.




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A Word About OSHA
The Occupational Safety and Health Act of 1970 and similarly approved State Plans require employers to provide
their employees with safe and healthful places to work. The Occupational Safety and Health Administration (OSHA)
of the U.S. Department of Labor and similar State agencies enforce the regulations and apply penalties (civil and
criminal) for non-compliance.

New standards have been developed, and through application and interpretation, standards change. You should
make yourself aware of the standards that are applicable to your operations, and assure yourself that
reasonable efforts are made to be in compliance. Copies of the standards are available through most libraries, or
can be obtained through OSHA or the U.S. Government Printing Office.

You should know that neither The Hartford, nor any other party, can fulfill your obligations under the Law.
Questions related to your legal obligations should be referred to your legal counsel.

Some Safety Reminders from The Hartford:

Have you considered:
    o   The need to formalize your safety efforts to assure compliance and document your efforts?
    o   The need to acquire Material Safety Data Sheets on all hazardous materials and the need for training on
        appropriate safety measures for your employees?
    o   Requirements for record keeping of injuries, illnesses, and exposure to hazardous substances?
    o   Assessing each job task to determine hazards and needed controls?
    o   Measuring each exposure to hazardous substances to determine the need for control or personal protective
        equipment?
    o   What mechanisms are in place to periodically verify that exposure controls (guards, ventilation systems, etc.)
        are still in place and working?
    o   What specific training your employees and your supervisors need to avoid hazards in the workplace?
    o   What specific OSHA standards apply to your business?
    o   What mechanism exists to promptly investigate all accidents and 'near-misses' to limit the chance of
        another occurrence?
    o   The financial impact an injury or illness has on your business?
    o   What resources are available to you to help prevent accidents and illnesses?

Thank you for your business.


Sincerely,
The Hartford's Risk Engineering Department




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THIS BROCHURE IS PROVIDED FOR INFORMATIONAL PURPOSES ONLY. IT IS NOT INTENDED TO BE A
SUBSTITUTE FOR A COMPLETE ON-SITE SAFETY INSPECTION CONDUCTED BY A QUALIFIED RISK
ENGINEERING SPECIALIST. READERS ARE ENCOURAGED TO HAVE SUCH AN INSPECTION
CONDUCTED BOTH TO PROMOTE WORKPLACE SAFETY AND TO COMPLY WITH APPLICABLE LAW.


FOR ADDITIONAL INFORMATION OR ASSISTANCE, EITHER TELEPHONE OR MAIL THIS FORM TO YOUR
HARTFORD AGENT OR NEAREST OFFICE OF THE HARTFORD

                                   NOTICE TO ARKANSAS POLICYHOLDERS
The Hartford is required by law to provide its policyholders with certain accident prevention services at no
additional cost as required by ARK. Code Ann. §11-9-409(D) and Rule 32. If you would like more information, call The
Hartford's Risk Engineering Department, One Hartford Plaza, COG1, Hartford, CT 06155 at 1-866-586-0467. If you
have any questions about this requirement, call the Health and Safety Division, Arkansas Workers' Compensation
Commission at 1-800-622-4472.

                                   NOTICE TO CALIFORNIA POLICYHOLDERS
The Hartford is required by law to provide its policyholders with certain occupational safety and health risk engineering
consultation services as required by the California Labor Code, §6354.5, at no additional charge. If you would like
more information call The Hartford's Risk Engineering Department at 1-866-586-0467 for occupational safety and
health risk engineering consultation services.

California Workers Compensation insurance policyholders may register comments about the insurer's risk engineering
consultation service by writing to:

                           State of California
                           Department of Industrial Relations
                           Division of Occupational Safety and Health
                           P.O. Box 420603
                           San Francisco, California 94142

                                NOTICE TO PENNSYLVANIA POLICYHOLDERS
The Hartford maintains and provides accident and illness prevention services as required by the nature of the
policyholder's business or its operation, in accordance with the Pennsylvania Workers' Compensation Act. For
more information about these services contact your Hartford Agent or nearest office of The Hartford.

                                     NOTICE TO TEXAS POLICYHOLDERS
Pursuant to Texas Labor Code §411.066, The Hartford is required to notify its policyholders that accident
prevention services are available from The Hartford at no additional charge. These services may include surveys,
recommendations, training programs, consultations, analyses of accident causes, industrial hygiene and industrial
health services.

The Hartford is also required to provide return-to-work coordination services as required by Texas Labor Code
§413.021 and to notify you of the availability of the return-to-work reimbursement program for employers under
Texas Labor Code §413.022.

If you would like more information, contact The Hartford at 1-866-586-0467 and email
contactriskengineering@thehartford.com for accident prevention services or 1-877-952-9222 and email
CentralClaimCenter.WCEDM@thehartford.com for return-to-work coordination services.

For information about these requirements call the Texas Department of Insurance, Division of Workers'
Compensation (TDI-DWC) at 1-800-687-7080 or for information about the return-to-work reimbursement program
for employers call the TDI-DWC at 1-512-804-5000.

If The Hartford fails to respond to your request for accident prevention services or return-to-work coordination
services, you may file a complaint with the TDI-DWC in writing at http://www.tdi.texas.gov or by mail to Texas
Department of Insurance, Division of Workers' Compensation, MS-8, at 7551 Metro Center Drive, Austin, Texas
78744-1645.

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                                       Request for Technical Resources


To The Hartford's Risk Engineering Department:

Yes - I am interested in obtaining information concerning:

    General Topics                          Business Continuity                        Construction
    Accident Analysis                       Business Travel Safety                     Construction Site Consultation
    Accident Investigations                 Contingency Planning Overview              Construction Equipment Hazards
    Establishing a Risk Engineering         Emergency/Disaster Response                Hazard Communication
    Program
    Hazard Recognition                      Emergency Evacuation Drills                Ladders & Scaffolds
    Safety Committees                       Emergency Preparedness Planning            Trenching & Evacuation
                                                                                       Fall Protection

    Ergonomics                              Industrial Hygiene                         Property
    Back Injury Prevention                  Hazard Communication                       Automatic Sprinkler System
    Computer Workstation                    Industrial Hygiene (general)               Flammable Liquids
    Cumulative Trauma Disorders             Indoor Air Quality                         Fire Prevention and Protection
    Ergo Train-the-Trainer                  Noise Exposures                            Fire Drill and Evacuation
    Telecommuting                           Respiratory Protection                     Hot Work Permit Program

    Transportation                          Workers' Compensation                      Other Topics
    3-D Driver Training                     Bloodborne Pathogens                       Business Risk Management
    Driving Defensively                     Drug Screening                             General Liability Investigations
    Fleet Newsletter                        Machine Safeguarding                       Product Liability Programs
    Guide to Successful Driver Mgmt         Return to Work Programs                    Safety Training
    School Bus Driving Tips                 Slip and Falls                             Security/Terrorism


Name

Company                                                                    Policy # 57 WV WQ0015

Address

City & State                                                                     Zip Code

Email Address:                                                             Telephone

                       For more information on the above, you can visit our website at
                               https://www.thehartford.com/riskengineering
                                    Or you may forward your request to:
                                          Fax line: 1-860-723-4459
                                                 Or mail to:
                                   The Hartford Financial Services Group
                                       Risk Engineering Department
                                         One Hartford Plaza, COG1
                                            Hartford, CT 06155




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                                                                                                ABCDEFGHIJ




                       IMPORTANT NOTICE
                ARKANSAS POLICYHOLDER'S ACCESS
                    TO INSURER INFORMATION

This notice is to comply with the requirements of Ark. Code Ann. § 23-79-138(a)(3). We are required by law to
notify you of the complete address and phone numbers of the Arkansas Insurance Department, the insurance
company's servicing office, and the agent. Below is this information for your attached policy:
Policyholders have the right to file a complaint with the Arkansas Insurance Department (AID). You may call
AID to request a complaint form at (800) 852-5494 or (501) 371-2640 or write the Department at:

ARKANSAS INSURANCE DEPARTMENT
1 Commerce Way, Suite 102
Little Rock, AR 72202

SERVICING OFFICE:
THE HARTFORD
ONE HARTFORD PLAZA
HARTFORD CT 06155
(860) 547-5000




AGENT:
MARSH RISK & INSURANCE SERVIC 550001
4 EMBARCADERO CTR
SUITE 1100
SAN FRANCISCO, CA 94111




If you have any questions, contact your Hartford agent.




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                                              © 2020, The Hartford
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 Policy Number 57 WV WQ0015                 Policy Effective Date 04/01/2024
SUNPOWER CORPORATION
880 HARBOUR WAY SOUTH, SUITE 600
RICHMOND, CA 94804


Dear Hartford Insured,

Re: An Important Message to Workers Compensation Policyholders

The control of workplace accidents and injuries should be among the highest priorities of your firm. Each accident
wastes precious human and financial resources, and introduces inefficiencies into your operations. From a
practical standpoint, the control of accidents, and their inevitable costs, simply makes good business sense.
An effective risk engineering program can save you money and aggravation, can positively impact your loss
experience (and thus your premium), and most importantly, can help you maintain solid control of your operations.
As a service to you, our valued customer, the Risk Engineering Department of The Hartford in cooperation
with your independent agent, can assist you in establishing risk engineering strategies. If you would like assistance,
please complete and return to us the reply portion of this brochure, or contact your independent agent.

Services Available
The following is a description of some of the services that we provide. The types of services that may be
appropriate for your business depend upon the nature and size of your operations and the specific risk
engineering services you have requested. The cost of risk engineering services may or may not be a part
of your insurance premium. This depends on the extent of the requested services, agreements stated in
your insurance policy and program, and statutory regulations that may require us to provide risk
engineering services.
1) Reference Materials - Information about risk engineering topics that can be provided or made available to you
   to help you to enhance your risk engineering program.
2) Telephone Consultation - We can hold a teleconference with you to help you to evaluate your risk
   engineering program, identify areas for improvement, and recommend ways to implement such improvements.
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        needed.
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    o   An initial survey and evaluation to address potential safety and health hazards.
    o   Consultation to help management establish a comprehensive loss prevention Program.
    o   Periodic summaries of accidents and analysis of causes.
    o   Follow-up visits to check on progress and to provide continuing assistance when required.




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A Word About OSHA
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of the U.S. Department of Labor and similar State agencies enforce the regulations and apply penalties (civil and
criminal) for non-compliance.

New standards have been developed, and through application and interpretation, standards change. You should
make yourself aware of the standards that are applicable to your operations, and assure yourself that
reasonable efforts are made to be in compliance. Copies of the standards are available through most libraries, or
can be obtained through OSHA or the U.S. Government Printing Office.

You should know that neither The Hartford, nor any other party, can fulfill your obligations under the Law.
Questions related to your legal obligations should be referred to your legal counsel.

Some Safety Reminders from The Hartford:

Have you considered:
    o   The need to formalize your safety efforts to assure compliance and document your efforts?
    o   The need to acquire Material Safety Data Sheets on all hazardous materials and the need for training on
        appropriate safety measures for your employees?
    o   Requirements for record keeping of injuries, illnesses, and exposure to hazardous substances?
    o   Assessing each job task to determine hazards and needed controls?
    o   Measuring each exposure to hazardous substances to determine the need for control or personal protective
        equipment?
    o   What mechanisms are in place to periodically verify that exposure controls (guards, ventilation systems, etc.)
        are still in place and working?
    o   What specific training your employees and your supervisors need to avoid hazards in the workplace?
    o   What specific OSHA standards apply to your business?
    o   What mechanism exists to promptly investigate all accidents and 'near-misses' to limit the chance of
        another occurrence?
    o   The financial impact an injury or illness has on your business?
    o   What resources are available to you to help prevent accidents and illnesses?

Thank you for your business.


Sincerely,
The Hartford's Risk Engineering Department




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THIS BROCHURE IS PROVIDED FOR INFORMATIONAL PURPOSES ONLY. IT IS NOT INTENDED TO BE A
SUBSTITUTE FOR A COMPLETE ON-SITE SAFETY INSPECTION CONDUCTED BY A QUALIFIED RISK
ENGINEERING SPECIALIST. READERS ARE ENCOURAGED TO HAVE SUCH AN INSPECTION
CONDUCTED BOTH TO PROMOTE WORKPLACE SAFETY AND TO COMPLY WITH APPLICABLE LAW.


FOR ADDITIONAL INFORMATION OR ASSISTANCE, EITHER TELEPHONE OR MAIL THIS FORM TO YOUR
HARTFORD AGENT OR NEAREST OFFICE OF THE HARTFORD

                                   NOTICE TO ARKANSAS POLICYHOLDERS
The Hartford is required by law to provide its policyholders with certain accident prevention services at no
additional cost as required by ARK. Code Ann. §11-9-409(D) and Rule 32. If you would like more information, call The
Hartford's Risk Engineering Department, One Hartford Plaza, COG1, Hartford, CT 06155 at 1-866-586-0467. If you
have any questions about this requirement, call the Health and Safety Division, Arkansas Workers' Compensation
Commission at 1-800-622-4472.

                                   NOTICE TO CALIFORNIA POLICYHOLDERS
The Hartford is required by law to provide its policyholders with certain occupational safety and health risk engineering
consultation services as required by the California Labor Code, §6354.5, at no additional charge. If you would like
more information call The Hartford's Risk Engineering Department at 1-866-586-0467 for occupational safety and
health risk engineering consultation services.

California Workers Compensation insurance policyholders may register comments about the insurer's risk engineering
consultation service by writing to:

                           State of California
                           Department of Industrial Relations
                           Division of Occupational Safety and Health
                           P.O. Box 420603
                           San Francisco, California 94142

                                NOTICE TO PENNSYLVANIA POLICYHOLDERS
The Hartford maintains and provides accident and illness prevention services as required by the nature of the
policyholder's business or its operation, in accordance with the Pennsylvania Workers' Compensation Act. For
more information about these services contact your Hartford Agent or nearest office of The Hartford.

                                     NOTICE TO TEXAS POLICYHOLDERS
Pursuant to Texas Labor Code §411.066, The Hartford is required to notify its policyholders that accident
prevention services are available from The Hartford at no additional charge. These services may include surveys,
recommendations, training programs, consultations, analyses of accident causes, industrial hygiene and industrial
health services.

The Hartford is also required to provide return-to-work coordination services as required by Texas Labor Code
§413.021 and to notify you of the availability of the return-to-work reimbursement program for employers under
Texas Labor Code §413.022.

If you would like more information, contact The Hartford at 1-866-586-0467 and email
contactriskengineering@thehartford.com for accident prevention services or 1-877-952-9222 and email
CentralClaimCenter.WCEDM@thehartford.com for return-to-work coordination services.

For information about these requirements call the Texas Department of Insurance, Division of Workers'
Compensation (TDI-DWC) at 1-800-687-7080 or for information about the return-to-work reimbursement program
for employers call the TDI-DWC at 1-512-804-5000.

If The Hartford fails to respond to your request for accident prevention services or return-to-work coordination
services, you may file a complaint with the TDI-DWC in writing at http://www.tdi.texas.gov or by mail to Texas
Department of Insurance, Division of Workers' Compensation, P.O. Box 12050, Austin, Texas 78711.


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                                       Request for Technical Resources


To The Hartford's Risk Engineering Department:

Yes - I am interested in obtaining information concerning:

    General Topics                          Business Continuity                        Construction
    Accident Analysis                       Business Travel Safety                     Construction Site Consultation
    Accident Investigations                 Contingency Planning Overview              Construction Equipment Hazards
    Establishing a Risk Engineering         Emergency/Disaster Response                Hazard Communication
    Program
    Hazard Recognition                      Emergency Evacuation Drills                Ladders & Scaffolds
    Safety Committees                       Emergency Preparedness Planning            Trenching & Evacuation
                                                                                       Fall Protection

    Ergonomics                              Industrial Hygiene                         Property
    Back Injury Prevention                  Hazard Communication                       Automatic Sprinkler System
    Computer Workstation                    Industrial Hygiene (general)               Flammable Liquids
    Cumulative Trauma Disorders             Indoor Air Quality                         Fire Prevention and Protection
    Ergo Train-the-Trainer                  Noise Exposures                            Fire Drill and Evacuation
    Telecommuting                           Respiratory Protection                     Hot Work Permit Program

    Transportation                          Workers' Compensation                      Other Topics
    3-D Driver Training                     Bloodborne Pathogens                       Business Risk Management
    Driving Defensively                     Drug Screening                             General Liability Investigations
    Fleet Newsletter                        Machine Safeguarding                       Product Liability Programs
    Guide to Successful Driver Mgmt         Return to Work Programs                    Safety Training
    School Bus Driving Tips                 Slip and Falls                             Security/Terrorism


Name

Company                                                                    Policy # 57 WV WQ0015

Address

City & State                                                                     Zip Code

Email Address:                                                             Telephone

                       For more information on the above, you can visit our website at
                               https://www.thehartford.com/riskengineering
                                    Or you may forward your request to:
                                          Fax line: 1-860-723-4459
                                                 Or mail to:
                                   The Hartford Financial Services Group
                                       Risk Engineering Department
                                         One Hartford Plaza, COG1
                                             Hartford, CT 06155




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                                                                                                              ABCDEFGHIJ
                                       POLICYHOLDER NOTICE

            PAYROLL RECORD AND AUDIT REQUIREMENTS FOR
        DUAL WAGE CONSTRUCTION OR ERECTION CLASSIFICATIONS


Your policy includes one or more construction or erection classifications. Dual wage classifications are pairs of
classifications that describe the same construction or erection operation yet are assigned based upon whether the
employee's hourly wage is above or below a specified threshold. Each pair of dual wage classifications contains
one "high wage" classification that is assignable to payrolls earned by employees whose regular hourly wage
equals or exceeds a specified wage threshold and one "low wage" classification that is assignable to payrolls
earned by employees whose regular hourly wage is less than the specified threshold.

Payroll Record Requirements
The assignment of a high wage classification is contingent on verifying that the employee's hourly wage equals or
exceeds the specified wage threshold. The determination of the regular hourly wage for any non-salaried
employee must be supported by one of the following sources:

        o   Original time cards or time book entries for each employee. Original records must include the
            operations performed, the total hours worked each day and the times the employee started and ended
            each work period throughout the workday. At job locations where all of the employer's operations
            cease for a uniform unpaid meal period, recording the start and stop times of the uniform break period
            is not required.

        o   A valid collective bargaining agreement that shows the regular hourly wage rate by job classification of
            a worker. If using a collective bargaining agreement, the records must include an employee roster by
            job classification that permits the reconciliation of individual employees to the job classifications set
            forth in the collective bargaining agreement.

The non-salaried employee's regular hourly wage shall be determined by dividing that employee's total
remuneration by the hours worked during the pay period, irrespective of whether the employee is paid on an
hourly, piecework, production or commission basis.

The payroll earned by any non-salaried employees for whom the records specified above are not maintained
and/or made available will be assigned to the low wage classification that describes the operations performed.

The regular hourly wage of salaried employees is determined by dividing the total annual remuneration by 2000
hours. If an employee is salaried for less than 12 months, the regular hourly wage for the salaried period is
calculated on a prorated basis.

Audit Requirements
If your policy has an effective date on or after January 1, 2020 and produces a final premium of $10,500 or more,
a physical audit is required at least once a year; if it produces a final premium of less than $10,500 and develops
payroll in a high wage classification, a physical audit of the policy is required unless the policy is a renewal and a
physical audit was completed for one of the two immediately preceding policy periods. A "physical audit" is defined
as an audit of payroll, whether conducted at the policyholder's location or at a remote site, that is based upon an
auditor's examination of the policyholder's books of accounts and original payroll records (in either electronic or
hard copy form) as necessary to determine and verify the exposure amounts by classification.

If you hold a C-39 Roofing Contractor license from the California Contractors State License Board, a physical audit
is required on the complete policy period of each policy regardless of the amount of final premium. See California
Insurance Code Section 11665(a) for additional requirements regarding the audit of C-39 license holders.




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                         POLICYHOLDER NOTICE
             YOUR RIGHT TO RATING AND DIVIDEND INFORMATION

I.   Information Available to You

     A.    Information Available from Us -


           (1) General questions regarding your policy should be directed to your Hartford Agent or


                     3600 Wiseman Blvd
                     San Antonio, TX 78251
                     Telephone: (860) 547-5000
                     agency.services@thehartford.com
                     www.thehartford.com

           (2) Dividend Calculation. If this is a participating policy (a policy on which a dividend may be paid),
               upon payment or non-payment of a dividend, we shall provide a written explanation to you that
               sets forth the basis of the dividend calculation. The explanation will be in clear, understandable
               language and will express the dividend as a dollar amount and as a percentage of the earned
               premium for the policy year on which the dividend is calculated.
           (3) Claims Information. Pursuant to Sections 3761 and 3762 of the California Labor Code, you are
               entitled to receive information in our claim files that affects your premium. Copies of documents
               will be supplied at your expense during reasonable business hours.
               For claims covered under this policy, we will estimate the ultimate cost of unsettled claims for
               statistical purposes eighteen months after the policy becomes effective and will report those
               estimates to the Workers' Compensation Insurance Rating Bureau of California (WCIRB) no later
               than twenty months after the policy becomes effective. The cost of any settled claims will also be
               reported at that time. At twelve-month intervals thereafter, we will update and report to the
               WCIRB the estimated cost of any unsettled claims and the actual final cost of any claims settled
               in the interim. The amounts we report will be used by the WCIRB to compute your experience
               modification if you are eligible for experience rating.
     B.    Information Available from the Workers' Compensation Insurance Rating Bureau of California
           (1) The WCIRB is a licensed rating organization and the California Insurance Commissioner's
               designated statistical agent. As such, the WCIRB is responsible for administering the California
               Workers' Compensation Uniform Statistical Reporting Plan—1995 (USRP) and the California
               Workers' Compensation Experience Rating Plan—1995 (ERP). WCIRB contact information is:
               WCIRB, 1901 Harrison Street, 17th Floor, Oakland, CA 94612, Attn: Customer Service;
               888.229.2472 (phone); 415.778.7272 (fax); and customerservice@wcirb.com (email). The
               regulations contained in the USRP and ERP are available for public viewing through the WCIRB's
               website at wcirb.com.
           (2) Policyholder Information. Pursuant to California Insurance Code (CIC) Section 11752.6, upon
               written request, you are entitled to information relating to loss experience, claims, classification
               assignments, and policy contracts as well as rating plans, rating systems, manual rules, or other
               information impacting your premium that is maintained in the records of the WCIRB. Complaints
               and Requests for Action requesting policyholder information should be forwarded to: WCIRB,
               1901 Harrison Street, 17th Floor, Oakland, CA 94612, Attn: Custodian of Records. The Custodian
               of Records can be reached at 415.777.0777 (phone) and 415.778.7272 (fax).




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           (3) Experience Rating Form. Each experience rated risk may receive a single copy of its current
               Experience Rating Form/Worksheet free of charge by completing a Policyholder Experience
               Rating Worksheet Request Form on the WCIRB's website at wcirb.com/ratesheet. The
               Experience Rating Form/Worksheet will include a Loss-Free Rating, which is the experience
               modification that would have been calculated if $0 (zero) actual losses were incurred during the
               experience period. This hypothetical rating calculation is provided for informational purposes only.
II.   Dispute Process
      You may dispute our actions or the actions of the WCIRB pursuant to CIC Sections 11737 and 11753.1.

      A.   Our Dispute Resolution Process.
           You may send us a written Complaint and Request for Action requesting that we reconsider a change
           in a classification assignment that results in an increased premium and/or requesting that we review
           the manner in which our rating system has been applied in connection with the insurance afforded or
           offered you. Written Complaints and Requests for Action should be forwarded to:

           One Pointe Drive, Suite 200, Brea, CA 92821; Telephone (800) 451-6944; Fax (860) 723-4289.

           After you send your Complaint and Request for Action, we have 30 days to send you a written notice
           indicating whether your written request will be reviewed. If we agree to review your request, we must
           conduct the review and issue a decision granting or rejecting your request within 60 days after
           sending you the written notice granting review. If we decline to review your request, if you are
           dissatisfied with the decision upon review, or if we fail to grant or reject your request or issue a
           decision upon review, you may appeal to the Insurance Commissioner as described in paragraph
           II.C., below.
      B.   Disputing the Actions of the WCIRB. If you have been aggrieved by any decision, action, or
           omission to act of the WCIRB, you may request, in writing, that the WCIRB reconsider its decision,
           action, or omission to act. You may also request, in writing, that the WCIRB review the manner in
           which its rating system has been applied in connection with the insurance afforded or offered you. For
           requests related to classification disputes, the reporting of experience, or coverage issues, your initial
           request for review must be received by the WCIRB within 12 months after the expiration date of the
           policy to which the request for review pertains, except if the request involves the application of the
           Revision of Losses rule. For requests related to your experience modification, your initial request for
           review must be received by the WCIRB within 6 months after the issuance, or 12 months after the
           expiration date, of the experience modification to which the request for review pertains, whichever is
           later, except if the request for review involves the application of the Revision of Losses rule. If the
           request involves the Revision of Losses rule, the time to state your appeal may be longer. (See
           Section VI, Rule 7 of the ERP).
           You may commence the review process by sending the WCIRB a written Inquiry. Written Inquiries
           should be sent to: WCIRB, 1901 Harrison Street, 17th Floor, Oakland, CA 94612, Attn: Customer
           Service. Customer Service can be reached at 888.229.2472 (phone), 415.778.7272 (fax) and
           customerservice@wcirb.com (email).
           If you are dissatisfied with the WCIRB's decision upon an Inquiry, or if the WCIRB fails to respond
           within 90 days after receipt of the Inquiry, you may pursue the subject of the Inquiry by sending the
           WCIRB a written Complaint and Request for Action. After you send your Complaint and Request for
           Action, the WCIRB has 30 days to send you written notice indicating whether your written request will
           be reviewed. If the WCIRB agrees to review your request, it must conduct the review and issue a
           decision granting or rejecting your request within 60 days after sending you the written notice granting
           review. If the WCIRB declines to review your request, if you are dissatisfied with the decision upon
           review, or if the WCIRB fails to grant or reject your request or issue a decision upon review, you may
           appeal to the Insurance Commissioner as described in paragraph II.C., below. Written Complaints
           and Requests for Action should be forwarded to: WCIRB, 1901 Harrison Street, 17th Floor,
           Oakland, CA 94612, Attn: Complaints and Reconsideration. The WCIRB's contact information
           is 888.229.2472 (phone), 415.371.5204 (fax) and customerservice@wcirb.com (email).




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       C.   California Department of Insurance - Appeals to the Insurance Commissioner. After you follow
            the appropriate dispute resolution process described above, if (1) we or the WCIRB decline to review
            your request, (2) you are dissatisfied with the decision upon review, or (3) we or the WCIRB fail to
            grant or reject your request or issue a decision upon review, you may appeal to the Insurance
            Commissioner pursuant to CIC Sections 11737, 11752.6, 11753.1 and Title 10, California Code of
            Regulations, Section 2509.40 et seq. You must file your appeal within 30 days after we or the WCIRB
            send you the notice rejecting review of your Complaint and Request for Action or the decision upon
            your Complaint and Request for Action. If no written decision regarding your Complaint and Request
            for Action is sent, your appeal must be filed within 120 days after you sent your Complaint and
            Request for Action to us or to the WCIRB. The filing address for all appeals to the Insurance
            Commissioner is:
                                         Administrative Hearing Bureau
                                       California Department of Insurance
                                    1901 Harrison Street, 3rd Floor Mailroom
                                               Oakland, CA 94612
                                                  415.538.4243

            You have the right to a hearing before the Insurance Commissioner, and our action, or the action of
            the WCIRB, may be affirmed, modified or reversed.

III.   Resources Available to You in Obtaining Information and Pursuing Disputes

       A.   Policyholder Ombudsman. Pursuant to California Insurance Code Section 11752.6, a policyholder
            ombudsman is available at the WCIRB to assist you in obtaining and evaluating the rating, policy, and
            claims information referenced in I.A. and I.B., above. The ombudsman may advise you on any
            dispute with us, the WCIRB, or on an appeal to the Insurance Commissioner pursuant to Section
            11737 of the Insurance Code. The address of the policyholder ombudsman is WCIRB, 1901 Harrison
            Street, 17th Floor, Oakland, CA 94612, Attn: Policyholder Ombudsman. The policyholder ombudsman
            can be reached at 415.778.7159 (phone), 415.371.5288 (fax) and ombudsman@wcirb.com (email).
       B.   California Department of Insurance - Information and Assistance. Information and assistance on
            policy questions can be obtained from the Department of Insurance Consumer HOTLINE,
            800.927.HELP (4357) or insurance.ca.gov. For questions and correspondence regarding appeals to
            the Administrative Hearing Bureau, see the contact information in paragraph II.C.

This notice does not change the policy to which it is attached.




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                                                                                                        ABCDEFGHIJ
                                        POLICYHOLDER NOTICE


                               CALIFORNIA WORKERS' COMPENSATION
                                     INSURANCE RATING LAWS

Pursuant to Section 11752.8 of the California                   adjust your premium to reflect your claim history.
Insurance Code, we are providing you with an                    A better claim history generally results in a lower
explanation of the California workers' compensation             experience rating modification; more claims, or
rating laws.                                                    more expensive claims, generally result in a
                                                                higher experience rating modification.          The
1. We establish our own rates for workers’                      uniform experience rating plan, which is
   compensation. Our rates, rating plans, and                   developed by the insurance rating organization
   related information are filed with the insurance             designated by the insurance commissioner, is
   commissioner and are open for public                         subject to approval by the insurance
   inspection.                                                  commissioner.


2. The insurance commissioner can disapprove our            5. A standard classification system, developed by
   rates, rating plans, or classifications only if he or       the insurance rating organization designated by
   she has determined after public hearing that our            the insurance commissioner, is subject to
   rates might jeopardize our ability to pay claims or         approval by the insurance commissioner. The
   create a monopoly in the market. A monopoly is              standard classification system is a method of
   defined by law as a market where one insurer                recognizing and separating policyholders into
   writes 20% or more of that part of the California           industry or occupational groups according to
   workers' compensation insurance that is not                 their similarities and/or differences. We can
   written by the State Compensation Insurance                 adopt and apply the standard classification
   Fund.        If the insurance commissioner                  system or develop and apply our own
   disapproves our rates, rating plans, or                     classification system, provided we can report the
   classifications, he or she may order an increase            payroll, expenses, and other costs of claims in a
   in the rates applicable to outstanding policies.            way that is consistent with the uniform statistical
                                                               plan or the standard classification system.
3. Rating organizations may develop pure premium
   rates that are subject to the insurance                  6. Our rates and classifications may not violate the
   commissioner's approval. A pure premium rate                Unruh Civil Rights Act or be unfairly
   reflects the anticipated cost and expenses of               discriminatory.
   claims per $100 of payroll for a given
   classification. Pure premium rates are advisory          7. We will provide an appeal process for you to
   only, as we are not required to use the pure                appeal the way we rate your insurance policy.
   premium rates developed by any rating                       The process requires us to respond to your
   organization in establishing our own rates.                 written appeal within 30 days. If you are not
                                                               satisfied with the result of your appeal, you may
4. We must adhere to a single, uniform experience              appeal our decision to the insurance
   rating plan. If you are eligible for experience             commissioner.
   rating under the plan, we will be required to




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                     CALIFORNIA WORKERS’ COMPENSATION INSURANCE
                                NOTICE OF NONRENEWAL
Section 11664 of the California Insurance Code             4. The policy is for a period of no more than 60
requires us, in most instances, to provide you with a         days and you were notified at the time of
notice of nonrenewal.        Except as specified in           issuance that it may not be renewed.
paragraphs 1 through 6 below, if we elect to               5. You requested a change in the terms or
nonrenew your policy, we are required to deliver or           conditions or risks covered by the policy within
mail to you a written notice stating the reason or            60 days prior to the end of the policy period.
reasons for the nonrenewal of the policy. The notice
is required to be sent to you no earlier than 120 days     6. We made a written offer to you to renew the
before the end of the policy period and no later than         policy at a premium rate increase of less than 25
30 days before the end of the policy period. If we fail       percent.
to provide you the required notice, we are required to
continue the coverage under the policy with no                 (A) If the premium rate in your governing
change in the premium rate until 60 days after we                  classification is to be increased 25 percent
provide you with the required notice.                              or greater and we intend to renew the policy,
                                                                   we shall provide a written notice of a renewal
We are not required to provide you with a notice of                offer not less than 30 days prior to the policy
nonrenewal in any of the following situations:                     renewal date. The governing classification
                                                                   shall be determined by the rules and
1. Your policy was transferred or renewed without a                regulations established in accordance with
   change in its terms or conditions or the rate on                California Insurance Code 11750.3(c).
   which the premium is based to another insurer or
   other insurers who are members of the same                  (B) For purposes of this Notice, “premium rate”
   insurance group as us.                                          means the cost of insurance per unit of
                                                                   exposure prior to the application of individual
2. The policy was extended for 90 days or less and                 risk variations based on loss or expense
   the required notice was given prior to the                      considerations such as scheduled rating and
   extension.                                                      experience rating.

3. You obtained replacement coverage or agreed,            This notice does not change the policy to which it is
   in writing, within 60 days of the termination of the    attached.
   policy, to obtain that coverage.




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                                                                                               ABCDEFGHIJ
                                         POLICYHOLDER NOTICE

            CALIFORNIA INSURANCE GUARANTEE ASSOCIATION (CIGA) SURCHARGE


Companies writing property and casualty insurance business in California are required to participate in the
California Insurance Guarantee Association. If a company becomes insolvent, the California Insurance
Guarantee Association settles unpaid claims and assesses each insurance company for its fair share.

California law requires all companies to surcharge policies to recover these assessments. If your policy is
surcharged, “CA Surcharge” or “CA Surcharge (CIGA Surcharge)” with an amount will be displayed on your
premium notice.


This notice does not change the policy to which it is attached.




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                                          IMPORTANT NOTICE

              COLORADO WORKERS' COMPENSATION INSURANCE
             MEDICAL AND INDEMNITY DEDUCTIBLE ELECTION FORM


Colorado Workers' Compensation Law permits an employer to purchase workers' compensation insurance with a
deductible. The deductible is for medical and indemnity benefits only. There are nine "Per Claim" deductible
options available. They are:


                                                   (   )       NONE
                                                   (   )   $      500
                                                   (   )        1,000
                                                   (   )        1,500
                                                   (   )        2,000
                                                   (   )        2,500
                                                   (   )        5,000
                                                   (   )       10,000
                                                   (   )       13,500
                                                   (   )       15,500
                                                   (   )       16,000
                                                   (   )       16,500
                                                   (   )       17,000
                                                   (   )       17,500
                                                   (   )       18,000
                                                   (   )       18,500


All medical and indemnity claims shall be paid by the company. In such case, the law requires that you reimburse
the company for any deductible amounts so paid.

If you have any questions, or desire one of these deductible amounts to apply to your coverage, please call your
Agent for a quote. This offer is valid for thirty days after the effective date of the policy with which this notice is
enclosed.


Policy Number
57 WV WQ0015

Employer Name                                                           Date             Signature and Title


Agent Name                                                              Date             Signature



Return to
Issuing Office:
        Address:



Form WC 66 01 49 J Printed in U.S.A.
Process Date:                                                                  Policy Expiration Date: 04/01/2025
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                                                                                                               ABCDEFGHIJ




                   WORKERS' COMPENSATION DISCLOSURE FORM
                         IMPORTANT NOTICE TO POLICYHOLDERS

1. NOTICE OF CHANGE IN RATE BY CLASSIFICATION
   If you desire information whenever there is a change in your workers' compensation insurance rate by
   classification, you must request such information from your insurer. This request for information must be in
   writing.
2. NOTICE OF POLICYHOLDER'S RIGHT TO APPEAL CLASSIFICATION
   Your insurer can charge and collect any additional amount of money not included in the initial premium
   charged as a result of job misclassification.
   If you have any questions regarding the employee classification assigned to calculate your workers'
   compensation insurance premium, you need to direct your questions to your insurer or the insurer's authorized
   representative within either thirty (30) days after the anniversary date of the policy or the date of receipt by you
   of notice of a change in job classification. Within thirty (30) days after receipt of your request for information,
   your insurer or the insurer's authorized representative must explain to you why a particular employee
   classification was used.
   If you disagree with your insurer or the insurer's authorized representative on the employee classification
   assignment, you may appeal to the Workers' Compensation Classification Appeal Board by filing written notice
   with said board within thirty (30) days after you have exhausted all appeal review procedures provided by the
   insurer. Your request should be sent to the Secretary of the Colorado Workers' Compensation Classification
   Appeals Board, Michael Craddock, c/o National Council on Compensation Insurance, 901 Peninsula
   Corporate Circle, Boca Raton, FL 33487. Written instructions for your appearance before the Colorado
   Workers' Compensation Classification Appeals Board will be furnished by the Secretary of the board. The
   board will render a decision as to whether a misclassification has occurred.
   A decision by the board is final and not subject to appeal unless you, the insurer or Pinnacol Assurance
   provides written notice of appeal within thirty (30) days after the board's decision to the office of the
   Commissioner of Insurance, 1560 Broadway, Suite 850, Denver, CO 80202. The Commissioner shall review
   any decision of the board properly appealed.
3. NOTICE OF AVAILABILITY OF MEDICAL CASE MANAGEMENT SERVICES
   On appropriate cases, staff Health Service Representatives (R.N.'s) or outside vendors are assigned for
   medical case management to insure quality medical care and rehabilitation at a reasonable cost. The use
   includes, but is not limited to, coordinating with qualified medical providers, monitoring the rehabilitation
   process and working with employers to return the injured party to their regular or a modified position.




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                                                                                                          ABCDEFGHIJ
                                            IMPORTANT NOTICE

Please read carefully and retain for future reference.

To Workers' Compensation Policyholders - State of Connecticut

1. Under the Workers' Compensation Law you are required to make an immediate report in duplicate
   (Employer's Report of Injury), of all injuries occurring in the course of employment. An injury to be reported
   must:
    A. Cause loss of time from regular work for one day or more, or
    B. Require treatment beyond first aid, i.e. outside treatment by a physician.
    C. Serious or fatal injuries should be reported to the carrier at once, by telephone.
    Failure of employer to make a prompt report, or to conform to any of the provisions of the Compensation Law
    may subject the employer to a $250 fine for each such failure. This fine is assessed directly against the
    employer, (Sec. 31-288).

2. Under the Workers' Compensation Law, the insurance carrier on behalf of the employer must:
    A. Pay any compensation due, within ten days (Sec. 31-303)
    B. Contest the claim on or before the 20th day following the date of the employer's knowledge of the injury,
       (Sec. 31-297).

3. To avoid delay in paying benefits, the Employer's Report of Injury must accurately state the employee's
   earnings. To avoid overpayment, immediately notify the carrier when the employee returns to work.
    The law specifies that notice to employer is notice to carrier. We, as the carrier, cannot act quickly and
    efficiently in your interest, unless prompt notice of an injury is received. Your cooperation is earnestly
    solicited.




Form WC 66 00 52 A      Printed in U.S.A.
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NOTICE TO EMPLOYER: If you have a Drug-Free Workplace Program established and maintained in
accordance with Florida law, and you would like to apply for the 5% premium credit that is available, please
complete this form and forward it to your insurer. Re-certification is required annually.

        APPLICATION FOR DRUG-FREE WORKPLACE PREMIUM CREDIT PROGRAM (Form 09-01A)

Name of Employer:

Date Program Implemented:


Testing:
Procedures for drug testing have been established and/or drug testing has been conducted in the following
areas:
        Job applicant                                      Routine fitness for duty

        Reasonable suspicion                               Follow-up testing to Employee Assistance Program


Notice of Employer's Drug Testing Policy:
       Copy to all employees prior to testing              Show notice of drug testing on vacancy
       Posted on employer's premises                       announcements
       Copy to job applicants prior to testing             Copies available in personnel office or other suitable
       General notice given 60 days prior to testing       locations
                                                           No notice required because the employer had a drug
                                                           testing program in place prior to July 1, 1990
Education:
       Resource file on providers
       Employee Assistance Program
       Education

Name of Medical Review Officer:

    A. Name of approved Agency for Health Care Administration Lab or United States Department of Health
       and Human Services Certified Laboratory:
    B. Phone No.:    (   )
    C. Address:

Your certification is subject to physical verification by the insurer. Your policy is subject to additional premium for
reimbursement of premium credit, and cancellation provisions of the policy if it is determined that you
misrepresented your compliance with Florida law. Any person who knowingly and with intent to injure, defraud, or
deceive any insurer, files a statement of claim or an application containing any false, incomplete, or misleading
information with the purpose of avoiding or reducing the amount of premiums for workers compensation coverage
is guilty of a felony of the third degree, punishable as provided in Section 775.082, s. 775.083, or s. 775.084,
Florida Statutes.
Under penalties of perjury, I declare that I have read the foregoing Application for Drug-Free Workplace Premium
Credit Program, and I attest to the accuracy of the information submitted.



          Employer Name                                 Date                      Officer/Owner Signature*


                                                                                            Title
*Application must be signed by an officer or owner.



Form WC 66 03 44 A Printed in U.S.A                              Policy Number:    57 WV WQ0015

Process Date:                                                                   Policy Expiration date: 04/01/2025
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                                IMPORTANT NOTICE FOR
                               FLORIDA POLICYHOLDERS


If you would like to present inquiries or obtain information about coverage or obtain assistance in resolving a
complaint, please contact YOUR HARTFORD AGENT, or you may contact The Hartford at the number stated below.


SERVICING OFFICE:

THE HARTFORD
ONE HARTFORD PLAZA
HARTFORD CT 06155
(860) 547-5000




Written correspondence is preferable so that a record of your inquiry is maintained.

PLEASE BE SURE TO INCLUDE YOUR POLICY NUMBER IN ANY CORRESPONDENCE.




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                                                                                       ABCDEFGHIJ
                  IMPORTANT NOTICE TO OUR POLICYHOLDERS




As required by Florida law, statute number 440.381, paragraph 4, you are required to file with
your insurance carrier on a quarterly basis: UTC 6 and a current list of employees.

Failure to do so, could result in your policy being cancelled.

If you have any questions, please contact your Insurance Agent.




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                                                                                                             ABCDEFGHIJ
                                     IMPORTANT NOTICE
             STATE OF GEORGIA WORKERS' COMPENSATION REQUIREMENTS

Thank you for selecting The Hartford for your Workers' Compensation insurance. We are pleased to have you as
one of the 1 million plus business owners who have selected The Hartford to help protect their businesses and
their employees.

You are receiving this Notice to help you comply with requirements of Georgia's State Board of Workers'
Compensation. Specifically, you are obligated to post a Physician Panel and Employee Bill of Rights in a
conspicuous place. These required documents, explained below, immediately follow this Notice.

PHYSICIAN PANEL
This is a list of physicians from whom an injured worker must seek care if they are injured on the job. The
providers on the Physician Panel are members of The Hartford's network of physicians in your area, all of whom
specialize in treating work-related injuries. Treatment outside the Physician Panel is generally not a covered
benefit.

At The Hartford we focus on an injured worker's abilities, and work to identify transitional duties to help keep your
employee productive and involved. Even part-time work or a temporary assignment can provide motivation to the
employee and productivity for you. In addition, when treatment is provided by a physician in our network, we're
able to help control claim costs, which could save you money on future Workers' Compensation premiums.

If you prefer to create a custom panel of network physicians or have questions regarding the Physician Panel,
please contact The Hartford at 800-327-3636, and select option 4.

EMPLOYEE BILL OF RIGHTS
This document details an employee's rights and your obligations if an employee is injured on the job.

Please post the Physician Panel and Employee Bill of Rights immediately and ensure employees are aware of
their rights and obligations.

For over a century, The Hartford has set the standard for injured worker care. Thank you again for choosing The
Hartford.




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                                           IMPORTANT NOTICE

                   HAWAII WORKERS’ COMPENSATION INSURANCE
                      MEDICAL DEDUCTIBLE ELECTION FORM
Hawaii Workers’ Compensation Law permits an employer to purchase workers’ compensation insurance with a
deductible. The deductible is for medical benefits only and applies separately to bodily injury by accident or
disease.
Please check the option which you have elected and return this form to the company prior to the effective date of
your coverage.
( ) 1. I reject any deductible option and elect that the company pay all benefits due under my policy.
( ) 2. I elect one of the following deductibles to be applied to medical benefits under my workers ’
       compensation insurance policy and each subsequent renewal. The premium reduction to be applied is
       shown below.
                                       PREMIUM REDUCTION
                                        ALL HAZARD GROUPS

                       (   )   $       0    0.0%                     (   )   $ 1,500     2.1%
                       (   )   $     100    0.2%                     (   )   $ 2,000     2.7%
                       (   )   $     150    0.3%                     (   )   $ 2,500     3.1%
                       (   )   $     200    0.4%                     (   )   $ 3,000     3.5%
                       (   )   $     250    0.5%                     (   )   $ 3,500     3.9%
                       (   )   $     300    0.6%                     (   )   $ 4,000     4.2%
                       (   )   $     400    0.8%                     (   )   $ 4,500     4.5%
                       (   )   $     500    0.9%                     (   )   $ 5,000     4.8%
                       (   )   $     750    1.3%                     (   )   $ 7,500     6.2%
                       (   )   $   1,000    1.6%                     (   )   $ 10,000    7.2%

All medical claims shall be paid by the company. In such case, the law requires that you reimburse the company
for any deductible amounts so paid.

If you do not return this form promptly to the company, it will be construed to mean that we should pay in full all
benefits due under your policy with no contribution on your part.

If you have any questions, please call your Agent.

 Policy Number      57 WV WQ0015


 Employer Name                                                           Date             Signature and Title


 Agent Name                                                              Date             Signature


 Return to
 Issuing Office:
       Address:




Form WC 66 04 57 A Printed in U.S.A.
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                                                                                                             ABCDEFGHIJ




         MANAGING WORKERS’ COMPENSATION COSTS
                      IN ILLINOIS
Workers’ compensation claim management directly impacts the treatment of your injured workers and may impact
your company’s insurance costs as well. Illinois provides employers and their insurance companies with an
important tool to help manage an injured worker’s recovery and related costs.

"Right to direct" rules allow an employer to direct an injured employee to a preferred provider organization for
medical care. This helps ensure that injured workers can access network care for treatment whenever possible.
Network doctors are experienced in treating workplace injuries and working with our claims handlers. They have
also agreed to negotiated rates. This means that The Hartford can better coordinate appropriate, cost effective
care for workplace injuries.

                              Set up a Preferred Provider Program
Ensuring the right to direct treatment

By following the steps below, an employer can designate use of the Illinois Preferred Provider Program (PPP) and
require that injured workers seek treatment through PPP network providers. While employees can opt out of the
program, participation in the PPP can be a great benefit to the outcome of the claim in terms of the employee’s
recovery, return to work and related costs.

1. Employer delivers the Advisory Preferred Provider Program Notice to all employees. This step is optional but
   recommended by The Hartford to help ensure program acceptance.

2. Employer provides Mandatory Preferred Provider Program Notice and Acknowledgement to injured worker
   immediately after an injury occurs.

3. We recommend that the employer create a provider list from the Online Provider Search Tool at
   http://www.talispoint.com/htfd/external/ or by calling The Hartford’s Network Referral Unit at
   1-800-327-3636 and selecting 4 at the prompt.

The forms noted above and additional information on The Hartford’s Illinois Preferred Provider Program can be
found at www.thehartford.com/il-workers-compensation.

                                       Focus on return to work
Another advantage of using network doctors is their experience with return to work. Return-to-work programs are
designed to help get injured workers back on the job, even if they haven’t fully recovered from an injury. This
approach often involves finding transitional duties that suit an injured worker’s limited physical capabilities. An
effective return-to-work program can improve employee satisfaction and retention and potentially impact your cost
of doing business. Employers play a vital role in facilitating return to work. If you don’t already have a return-to-
work program, consider starting one at your company.




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                          IMPORTANT INFORMATION FOR
                            ILLINOIS POLICYHOLDERS

IN THE EVENT THAT YOU NEED TO CONTACT SOMEONE ABOUT THIS POLICY, PLEASE CONTACT YOUR
HARTFORD AGENT.


If you have additional questions, you may also contact The Hartford at the address stated below:


The Hartford
1120 S Tryon St. Suite 1000
Charlotte NC 28202
1-877-853-2582



Written correspondence is preferable so that a record of your inquiry is maintained.



PLEASE MAKE SURE TO INCLUDE YOUR POLICY NUMBER IN ANY CORRESPONDENCE.



If you have been unable to contact or obtain satisfaction from your agent or The Hartford, Part 919 of the Rules of the
Illinois Department of Insurance requires that our company advise you that, if you wish to take the matter up with the
Illinois Department of Insurance, it maintains a Consumer Division in Chicago at 122 S. Michigan Ave; 19th Floor,
Chicago, Illinois 60603 and in Springfield at 320 West Washington Street, Springfield, Illinois 62767. You may also
contact the Department at http:// insurance.illinois.gov. or by phone at 312-814-2420 or 217-782-4515.




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                                                                                     ABCDEFGHIJ



                               NOTIFICATION OF ACCIDENT
                                 PREVENTION SERVICES


THE HARTFORD is required by law to provide its policyholders with certain accident
prevention services as required by K.S.A. 44-5, 104 at no additional cost. If you would like
more information call:
                     The Hartford
                     Risk Engineering Department
                     7400 College Blvd., Suite 500
                     Overland Park, Kansas 66210
                     1-866-586-0467




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                             TAX AND ASSESSMENT CHARGE
                                      KENTUCKY



The Kentucky Insurance Department does not consider taxes and assessments a part of Workers' Compensation
Insurance Rates. The monies charged for taxes and assessments are not included as premium under the policy.

The company merely acts as a tax collector with respect to taxes and assessments and is required under the
Workers' Compensation Law to collect and remit the taxes and assessments to the Kentucky Commissioner of
Revenue.

For new and renewal policies effective January 1, 2024 and later, the tax and assessment rate is 6.53%. For
employees engaged in the severance and processing of coal, the tax and assessment rate is 0.0% for new and
renewal policies effective January 1, 2024 and later.




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                                                                                                       ABCDEFGHIJ
                                           (Insurer’s Name)

                      MARYLAND NOTICE OF RECALCULATED PREMIUM


Date of Notice:
            SUNPOWER CORPORATION
Insured’s                                                     Producer’s
Name:                                                         Name:

Insured’s                                                     Insurer/Producer’s
Address:                                                      Telephone #:



RE:    Policy Number: 57 WV WQ0015
       Effective Date: 04/01/2024

Dear

Thank you for choosing                                                                    (Name of Insurer)
to provide your Workers’ Compensation policy.

Your binder or policy is subject to a 45-day underwriting period beginning on the effective date of
coverage. In accordance §12-106 of the Insurance Article, Annotated Code of Maryland if
                                                                                   (Name of Insurer)
discovers a material risk factor during the underwriting period, the company may recalculate your
premium from the effective date of the policy.

While reviewing your binder or policy, we discovered the following material risk factor or factors:



The material risk factor caused us to recalculate your premium for the following reason:




As a result, the premium on the policy was recalculated and has            Increased           Decreased.

The initial quoted premium amount was $

The new premium amount is $




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If an additional premium amount is due, you will be billed as follows:


If your premium amount has decreased, your premium will be credited or refunded as follows:



By law                                                                             (Name of Insurer)
must also inform you of your right to terminate the policy and receive a pro-rata refund of any
premium paid by notifying us of the termination. For additional information regarding this notice of
recalculated premium or to terminate the policy, please contact
                                                                             (Name of Company or Producer)
at the contact information printed above.


Sincerely,



                                     (Authorized Company Representative)




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                                         IMPORTANT NOTICE

                MAINE WORKERS' COMPENSATION INSURANCE
            INDEMNITY AND MEDICAL DEDUCTIBLE ELECTION FORM


Maine Workers' Compensation law permits an employer to purchase workers' compensation insurance with a
deductible. The deductible is for indemnity benefits or medical benefits. Indemnity deductibles apply separately to
each claim and medical deductibles apply to each accident.

Please check the option which you have elected and return this form to the company prior to the effective date of
your coverage.

   ( ) 1. I reject any deductible option and elect that the company pay all benefits due under my policy.

   ( ) 2. I elect one of the following deductibles to be applied to benefits under my workers' compensation
          insurance policy and each subsequent renewal. The premium reduction to be applied is shown below.

                                              PREMIUM REDUCTION
                                                 Hazard Group

                                         A            B         C            D          E           F          G

   Indemnity       ( )    $1,000       1.3%          1.1%     1.0%        0.9%         0.8%        0.7%      0.6%
                   ( )    $5,000       4.6%          4.2%     3.7%        3.4%         3.1%        2.7%      2.3%

    Medical        ( )    $ 250        2.7%          2.1%     1.6%        1.5%         1.0%        0.8%      0.6%
                   ( )    $ 500        4.5%          3.8%     3.0%        2.6%         1.8%        1.3%      1.2%

The $500 medical deductible can only be chosen if you qualify for experience rating.

All claims shall be paid by the company. In such case, the law requires that you reimburse the company for any
deductible amounts so paid.

If you do not return this form promptly to the company, it will be construed to mean that we should pay in full all
benefits due under your policy with no contribution on your part.

If you have any questions, please call your Agent.

Policy Number
57 WV WQ0015

Employer Name                                                         Date             Signature and Title


Agent Name                                                            Date             Signature


Issuing Office




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                                         IMPORTANT NOTICE

                MAINE WORKERS' COMPENSATION INSURANCE
            INDEMNITY AND MEDICAL DEDUCTIBLE ELECTION FORM


Maine Workers' Compensation law permits an employer to purchase workers' compensation insurance with a
deductible. The deductible is for indemnity benefits or medical benefits. Indemnity deductibles apply separately to
each claim and medical deductibles apply to each accident.

Please check the option which you have elected and return this form to the company prior to the effective date of
your coverage.

   ( ) 1. I reject any deductible option and elect that the company pay all benefits due under my policy.

   ( ) 2. I elect one of the following deductibles to be applied to benefits under my workers' compensation
          insurance policy and each subsequent renewal. The premium reduction to be applied is shown below.

                                              PREMIUM REDUCTION
                                                 Hazard Group

                                         A            B         C            D          E           F          G

   Indemnity        ( )    $1,000      1.3%          1.1%     1.0%        0.9%         0.8%        0.7%      0.6%
                    ( )    $5,000      4.6%          4.1%     3.8%        3.5%         3.1%        2.8%      2.3%

    Medical         ( )    $ 250       2.6%          2.1%     1.7%        1.4%         0.9%        0.7%      0.6%
                    ( )    $ 500       4.5%          3.7%     2.9%        2.4%         1.8%        1.3%      1.1%

The $500 medical deductible can only be chosen if you qualify for experience rating.

All claims shall be paid by the company. In such case, the law requires that you reimburse the company for any
deductible amounts so paid.

If you do not return this form promptly to the company, it will be construed to mean that we should pay in full all
benefits due under your policy with no contribution on your part.

If you have any questions, please call your Agent.

Policy Number 57 WV WQ0015


Employer Name                                                         Date             Signature and Title


Agent Name                                                            Date             Signature


Issuing Office




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                                    NOTICE                                                            ABCDEFGHIJ
                    MAINE SPECIAL DEPOSIT PREMIUM PROGRAM



Maine Revised Statutes, Title 39, Section 22-A provides that, No insurance company issuing industrial accident
insurance policies shall require prepayment of premium more than one quarter year in advance.

Advise if an adjustment in method of premium payment is desired.

There will be a $2.00 service charge for each additional installment resulting from an election by an insured to be
billed pursuant to Maine Revised Statutes, Title 39, Section 22-A, subject to an annual maximum of $6.




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                                                                                                       A
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                                           NOTICE TO POLICYHOLDER




Rates and Premiums
Your workers' compensation policy contains rates and classifications applicable to employees engaged in your type of
business. If you have any questions regarding the rates or classifications used on your policy, you may contact your
Agent or:




If you feel your concerns have not been resolved, you may submit a written request (to the address shown above) for
information pertinent to the rates or classifications used on your policy.


The method used in determination of the rates and premium will be reviewed. If you are dissatisfied with the review,
you may appeal the results to:


                                                Commissioner of Insurance
                                                Michigan Insurance Bureau
                                          Department of Licensing and Regulation
                                                      P.O. Box 30220
                                                 Lansing, Michigan 48909

Payroll Audits
Your policy provides for one or more payroll audits. If you have reason to believe that you have experienced a change
in payroll expenditures of 20% or more, you may submit a written request to the company at the address shown above
indicating a 20% or greater change has occurred and the reason for that belief. A payroll audit will be conducted within
120 days of receipt of your written request. You are entitled to only one requested payroll audit per calendar year.


Reserves or Redemption
Redemption of claims and establishment of reserves to pay claims are common practices. If you have reason to
believe that the premiums charged are excessive as a result of unreasonable reserves or unreasonable redemption of a
claim, you may submit a written request for a meeting with a management representative to the company address
shown above. If the meeting does not resolve the dispute, you are entitled to a determination of the dispute by the
Insurance Commissioner. To obtain reserve and redemption information pertinent to the premiums charged on your
policy, you may submit a written request to the company address shown above and the information will be provided
within 30 days of receipt of your request.




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                                                                                ABCD E FGH IJ

  NOTICE TO MICHIGAN POLICYHOLDERS


This policy or bond is exempt from the filing requirements of section 2236,
2401 and 2601 of the insurance code of 1956, 1956 PA 218, MCL 500.2236.




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                                                                                                      ABCDEFGHIJ




                IMPORTANT INFORMATION FOR MISSOURI POLICYHOLDERS

IN THE EVENT YOU NEED TO CONTACT SOMEONE ABOUT THIS POLICY, PLEASE CONTACT YOUR
HARTFORD AGENT.
If you have additional questions, you may contact The Hartford at the address stated below.
SERVICING OFFICE:
ONE HARTFORD PLAZA
TOWER BUILDING 11TH FLOOR
MAILSTOP T-11-257
HARTFORD, CT 06155

57 WV WQ0015




Written correspondence is preferable so that a record of your inquiry is maintained.
PLEASE MAKE SURE TO INCLUDE YOUR POLICY NUMBER IN ANY CORRESPONDENCE.




Form G-3133-0 Printed in U.S.A.
Process Date: 05/02/2024                                                   Policy Expiration Date: 04/01/2025
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                                                                                                              ABCDEFGHIJ
                POLICYHOLDER DISCLOSURE
        NOTICE OF TERRORISM INSURANCE COVERAGE

Coverage for acts of terrorism is included in your policy. You are hereby notified that the Terrorism Risk Insurance
Act, as amended in 2019, defines an act of terrorism in Section 102(1) of the Act: The term "act of terrorism" means
any act or acts that are certified by the Secretary of the Treasury-in consultation with the Secretary of Homeland
Security, and the Attorney General of the United States-to be an act of terrorism; to be a violent act or an act that
is dangerous to human life, property, or infrastructure; to have resulted in damage within the United States, or
outside the United States in the case of certain air carriers or vessels or the premises of a United States mission;
and to have been committed by an individual or individuals as part of an effort to coerce the civilian population of
the United States or to influence the policy or affect the conduct of the United States Government by coercion.
Under your coverage, any losses resulting from certified acts of terrorism may be partially reimbursed by the United
States Government under a formula established by the Terrorism Risk Insurance Act, as amended. However, your
policy may contain other exclusions which might affect your coverage, such as an exclusion for nuclear events.
Under the formula, the United States Government generally reimburses 80% beginning on January 1, 2020, of
covered terrorism losses exceeding the statutorily established deductible paid by the insurance company providing
the coverage. The Terrorism Risk Insurance Act, as amended, contains a $100 billion cap that limits U.S.
Government reimbursement as well as insurers' liability for losses resulting from certified acts of terrorism when the
amount of such losses excceds $100 billion in any one calendar year. If the aggregate insured losses for all insurers
exceed $100 billion, your coverage may be reduced.

 The portion of your annual premium that is attributable to coverage for acts of terrorism is $                ,
and does not include any charges for the portion of losses covered by the United States government under the Act.




 Name of Insurer:


 Policy Number:     57 WV WQ0015




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                                         IMPORTANT NOTICE

                  NEBRASKA WORKERS' COMPENSATION INSURANCE
                   MEDICAL BENEFITS DEDUCTIBLE ELECTION FORM
Nebraska Workers' Compensation law permits an employer to purchase workers' compensation insurance with a
deductible. The deductible is for medical benefits and applies separately to each claim.

Please check the option which you have elected and return this form to the company prior to the effective date of
your coverage.

   ( ) 1. I reject any deductible option and elect that the company pay all benefits due under my policy.

   ( ) 2. I elect one of the following deductibles to be applied to benefits under my workers' compensation
          insurance policy and each subsequent renewal. The premium reduction to be applied is shown below.

                                             PREMIUM REDUCTION
                                               HAZARD GROUP

                                  A          B          C           D            E             F             G

          (   )     $ 500       3.6%       2.9%       2.2%        1.7%          1.3%         0.9%           0.8%
          (   )     $1,000      5.8%       4.6%       3.7%        2.9%          2.2%         1.5%           1.3%
          (   )     $1,500      7.4%       6.0%       4.9%        3.7%          2.9%         2.1%           1.8%
          (   )     $2,000      8.6%       7.1%       5.8%        4.5%          3.5%         2.5%           2.2%
          (   )     $2,500      9.7%       8.0%       6.6%        5.1%          4.1%         3.0%           2.6%

All claims shall be paid by the company. In such case, the law requires that you reimburse the company for any
deductible amounts so paid.

If you do not return this form promptly to the company, it will be construed to mean that we should pay in full all
benefits due under your policy with no contribution on your part.

If you have any questions, please call your Agent.

Policy Number
57 WV WQ0015

Employer Name                                                         Date              Signature and Title


Agent Name                                                            Date              Signature



Return to
Issuing Office:
      Address:




Form WC 66 01 71 E Printed in U.S.A.
Process Date:                                                              Policy Expiration Date: 04/01/2025
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                                                                                        ABCDEFGHIJ


                        NEVADA NOTICE TO POLICYHOLDERS



In accordance with Chapter 680B of the Nevada Revised Statutes, each renewal must include
information on taxes, fees, and assessments included in the premium you are required to pay.

A portion of the premium for this policy is attributable to the general premium tax we are
required to pay to the State of Nevada pursuant to Section 680B.027 of the Nevada Revised
Statutes.

A portion of the premium for this policy is also attributable to annual fees or assessments we
are required to pay to the State of Nevada.




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                                        NOTICE TO EMPLOYERS

The Construction Employment Payroll Limitation Law, enacted under Senate Bill S7744 and Assembly Bill A11294,
provides a more equitable distribution of premium between high wage paying and low wage paying employers in
the construction industry. One or more of the classification codes applicable to your policy may be subject to the
Payroll Limitation Law. The Law does not, however, apply to employments engaged in the construction of one or
two family residential housing.

Your overall premium may increase or decrease depending upon geographic territories and/or payroll limitations.
The actual weekly payroll of each employee performing employments subject to an eligible classification code is
subject to the following limitations:

        o   a maximum of $1,594.57 per week for policies with effective dates on and after July 1, 2021.
        o   a maximum of $1,688.19 per week for policies with effective dates on and after July 1, 2022.
        o   a maximum of $1,718.15 per week for policies with effective dates on and after July 1, 2023.

The construction employment geographic territories are:

        Territory 1 - Counties of The Bronx, Kings, New York, Queens, and Richmond
        Territory 2 - Counties of Dutchess, Nassau, Orange, Putnam, Rockland, Suffolk and Westchester
        Territory 3 - All other counties within the State

Please note that since your operations may be subject to the law, an employer with an eligible classification
code is required to maintain true and accurate weekly records for each employee that shows:

        1. Each employee's total weekly wages and hours worked;
        2. The type of work performed;
        3. The geographic territory in which the work was performed; and,
        4. Whether or not the work was performed on commercial structures or on one/two family residential
           housing.

If you have any questions regarding this law, please contact your agent, broker or insurance carrier underwriter.




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                                                                                        ABCDEFGHIJ




                         NOTIFICATION OF ACCIDENT
                           PREVENTION SERVICES

                                                       is required to provide policyholders
SUNPOWER CORPORATION

               (name of company)
with workplace safety services. If you would like more information, call:



                             The Hartford
                             Risk Engineering Department
                             300 Internet Boulevard
                             Frisco, TX 75034
                             1-866-586-0467




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                           AN IMPORTANT NOTICE TO
                     WORKERS' COMPENSATION POLICYHOLDERS

The control of workplace accidents and injuries                o    Explain the Oregon Safe Employment Act
should be among the highest priorities of your firm.                and rules that apply to your particular place
Each accident wastes precious human and financial                   of employment;
resources, and introduces inefficiencies into your             o    Provide an evaluation of workplace design,
operations. From a practical standpoint, the control                layout and operation, and assistance with
of accidents, and their inevitable costs, simply                    job-site modifications utilizing an ergonomic
makes good business sense. An effective loss                        approach;
prevention/risk engineering program can save you
money and aggravation, can positively impact your              o    Provide assistance in evaluation and
loss experience (and thus your premium), and most                   improving    an     employer’s  safety
importantly, can help you maintain solid control of                 management practices;
your operations. As a service to you, our valued               o    Provide assistance in identifying health and
customer, the Risk Engineering Department of The                    safety training needs and available
Hartford can assist you in establishing time-proven                 resources; and
and cost effective loss prevention and risk                    o    Offer to provide follow-up services for
engineering strategies. This folder outlines many of                evaluating the effectiveness of the service
the services available to you, and provides a                       provided.
mechanism for you to request them. If you would like
additional information or assistance, please               The Hartford will provide free of charge an on-site
complete and return the reply portion to us; or,           evaluation of your loss prevention needs. To avail
contact your independent agent.                            yourself of this service, or any other risk engineering
                                                           needs you may have, contact The Hartford by
                                                           writing to:
        A WORD ABOUT OREGON-OSHA                                                The Hartford
As an Oregon employer you are required by the                                 Risk Engineering
Oregon Safe Employment Act (ORS 654.001 to                                   One Hartford Plaza
654.295 and 654.991) to provide employees with
a safe and healthful workplace. By working to                                Hartford, CT 06155
prevent injuries, illnesses and other economic                          Mail Drop: Cogswell - 1st floor
losses, your company and employees can                             e-mail: riskengineering@thehartford.com
prosper.
                                                                         or by calling 866-586-0467
          INSURER SAFETY PROGRAMS
                                                           You have the right to make a complaint to the
To help you reduce your premium, your workers’             OR-OSHA Division if we fail to respond to your
compensation insurer must help you reduce the risk         request for loss prevention services, or we otherwise
of injuries in your workplace. It is required by law to    fail to provide services as offered or required.
offer occupational safety and health loss prevention       You may contact Oregon-OSHA, Insurer Programs,
services to you, at no additional cost. These              16760 SW Upper Boones Ferry Road, Suite 200,
include on-site safety and health surveys when you         Tigard, OR 97224, or (503) 229-5910.
request them.
                                                           Your insurer must also provide you with a health and
On an annual basis your insurer is required to:            safety loss prevention plan if you have been placed
    o   Inform you about its occupational health and       in the “designated employer” category by OR-OSHA.
        safety loss prevention programs;                   These plans are designed to help you develop a
    o   Offer to provide an on-site evaluation of your     safer and healthier workplace.          For further
        loss prevention needs;                             information, contact OR-OSHA’s Insurer Program
                                                           Coordinator at (503) 229-5910.
    o   Provide assistance in evaluating records
        that may be pertinent to your firm’s injury
        and illness experience;




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                          AN IMPORTANT NOTICE TO
                    WORKERS' COMPENSATION POLICYHOLDERS


             PROTECT YOURSELF                                           HOW DO I GET HELP?
To protect yourself as a workers’ compensation            Contact your insurance agent or representative with
insurance consumer, take these steps:                     any questions you have about choosing policies,
 o   Shop around for your insurance. Compare              interpreting your policy, and getting help to make
     costs: Although the base premium is the              your workplace safer. If it is necessary to go beyond
     same, the overhead charged by insurers               your agent, contact your insurance company
     ranges from 15 percent to over 50 percent.           directly.
     Also, look beyond costs. Find out what type of
     assistance the insurer will give if one of your      If your insurer does not provide the information or
     workers is injured. Does the insurer have a          assistance you need, several organizations are
     good customer service record?                        available to help you.
 o   Look at all the factors that make up your
     rates and premium. Periodically review all
                                                            For questions on occupational safety and health,
     details of your policy, including classifications
                                                                               contact:
     assigned your employees, payroll to be used,
     claims, reserves, audits and billings. If you        Oregon Occupational Safety and Health Division
     believe your insurer is wrong, check with your         Department of Consumer and Business Services
     agent, NCCI, or the Department of Consumer
                                                                   350 Winter Street NE, Room 430
     and Business Services, and, if necessary,
     appeal the insurer’s action.                                       Salem, OR 97309-0405
 o   Support “fair reporting” for equitable rates.           (503) 378-3272 or toll free at 1-800-922-2689
     The information used to determine your merit
     or experience rating and classification rate           For questions on your policy or pricing, contact:
     revisions originates with you and your
     business competitors. Therefore, it is                        Division of Financial Regulation
     important to promote full, proper reporting of         Department of Consumer and Business Services
     payrolls.                                                             350 Winter Street
 o   Inquire about preferred group programs.                            Salem, OR 97301-3883
     Many insurers offer reduced group pricing to
     members of trade associations. Ask your                                (503) 947-7984
     insurer and trade association about this type
     of program. Many smaller employers receive               For questions on the rating system, contact:
     substantial benefits from these programs,
     such as lower mass-marketed pricing and                   The National Council on Compensation
     outstanding safety engineering and loss                                 Insurance
     prevention services.                                                   1 Lincoln Center
 o   Ask your insurer about medical cost                         10300 SW Greenburg Road, Suite 550
     reimbursement. Employers can reimburse                               Portland, OR 97223
     up to $2400 of medical service provider costs
                                                             (503) 892-8919 or toll free at 1-800-622-4123
     on nondisabling claims. These costs are not
     charged to the employer’s experience. Ask
     your insurer or agent to explain the program
     and how it could affect your rates.




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                    An Introduction to Workers Compensation:
                        Background for Oregon Employers
      Introduction                                                 may also be entitled to three additional
      In accordance with the intent of the Oregon law, this        classifications: Code 7380 - Drivers, Chauffeurs &
      booklet was prepared for voluntary distribution to           Helpers; Code 8742 - Salespersons, Collectors or
      Oregon employers by the insurance industry. In it,           Messengers - Outside; and Code 8810 - Clerical
      you will find answers to basic questions about               Office Employees. Your insurance carrier will advise
      workers compensation insurance.                              you of the classifications applicable to your
                                                                   operations.
      National Council on Compensation Insurance
                                                                   However, when an employer is engaged in
      (NCCI)
                                                                   Construction,     Erection,     Stevedoring,   Aircraft
      The National Council on Compensation Insurance is a          Operations (Industrial Aid), or Trucking as a
      voluntary, non-profit, statistical, research       and       secondary business, additional classifications may be
      ratemaking organization licensed under Oregon                assigned. Again, your carrier will counsel you on the
      Revised Statutes 737.350.          Supported by the          classifications applicable to your operations.
      insurance industry, NCCI’s primary functions are the
      preparation and administration of rates, rating plans,       Division of Individual Employee’s Payroll
      and systems for workers compensation insurance. In           When any employee performs different duties which, if
      Oregon, NCCI prepares a schedule of rates for                performed by a different workers, would qualify for a
      insureds in the assigned risk plan, subject to               different classification assignment, you may divide that
      insurance department approval, and acts in an                person’s payroll between two or more classifications,
      advisory capacity for insurers writing the remainder of      PROVIDED separate verifiable payroll records are
      the business in the state.                                   adequately maintained.         When verifiable payroll
                                                                   records are not maintained, that individual’s payroll
      As the rating organization, it is NCCI’s obligation to       must be assigned to the highest-rated classification for
      collect payroll and loss information, by individual          any of the duties performed.
      classification, for each workers compensation
      insurance policy in the state of Oregon. In addition,        Verifiable Records
      the rating organization will perform inspections at          Payroll records of an employee are verifiable if they
      employer’s premises to determine the proper                  have the following characteristics: (a) The records
      classifications, perform test audits, promulgate             must establish a time basis, and the time basis must
      experience and rating modifications, and administer          be hourly or a part thereof, daily or part thereof, weekly
      the Workers Compensation Insurance Plan (WCIP)               or part thereof, monthly or part thereof or yearly or part
      for those employers unable to obtain coverage                thereof; (b) For each salaried employee, the records
      voluntarily.                                                 must also include time records in which the salary is
                                                                   converted to an hourly, daily, weekly, monthly or yearly
      Workers Compensation Rates                                   rate and then multiplied by the time spent by the
      NCCI uses the collected payroll and loss data to             employee in each classification exposure;
      actuarially determine that portion of each individual        (c) The records must include a description of duties
      classification rate necessary to pay the losses. This        performed by the employee, to enable the insurer to
      amount is called the pure premium. Oregon insurers           determine the correct classification assignment.
      may use the pure premiums determined by NCCI, or             Records      requiring    additional    explanation     or
      may derive their own pure premium when preparing             interpretation are not considered to be verifiable; and
      their rates. Each carrier applies its own "factor" to        (d) The records must be supported by original entries
      provide for the additional costs of taxes, licenses,         from other records, including but not limited to time
      fees, acquisition and field supervision, and other           cards, calendars, planners or daily logs prepared by
      company expenses. This "factored" rate is the                the employee or the employee’s direct supervisor or
      amount charged per $100 of payroll.                          manager.      Estimated ratios or percentages of time
                                                                   spent performing the different duties are not
      Classifications                                              acceptable for verification. Verifiable duties are not
      There are approximately 500 different workers                acceptable for verification. Verifiable records must be
      compensation classifications, each of which                  summarized in the employer’s accounting records.
      individually describes a particular occupation.              Renumeration - Payroll
      Generally, each employer will be entitled to the ONE         ’Payroll’ means the TOTAL remuneration paid or
      basic classification which most accurately describes         payable by the employer for the services of the
      its operations.     In addition, when that one basic         employees covered by the policy. Payroll INCLUDES
      classification does not specifically include one of the      commissions, anticipated bonuses, straight hourly
      "Standard Exception" classifications (Clerical,              wages for all hours worked, holiday pay, sick pay,
      Outside Salespersons, or Drivers), each employer             piecework pay, tool allowances, value of living quarters
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    provided by the employer, value of meals provided,                 b) will not affect your premium when there was only
    value of store certificates or merchandise provided,               ONE lost-time injury; and c) will surcharge your
    and credits or any other substitute for money received             premium when there are two or more lost-time
    by employees.        Payroll does NOT INCLUDE                      injuries. Oregon law provides that, with the approval
    profit-sharing   amounts, unanticipated bonuses,                   of regulatory authorities, insurance carriers may use
    vacation pay, tips or other gratuities received by                 their own customized merit rating plan. Maximum
    employees from others, payments by the employer to                 credits or surcharges are 10 percent. Check with
    group insurance or group pension plans, value of                   your insurance carrier or agent for specific
    special rewards for individual invention or discovery,             information about merit rating plans in effect in
    the value of a company-provided vehicle which is used              Oregon.
    in the employer’s business, or dismissal or severance
    payments except for the pay earned for the time                    Federal Coverages
    worked. It also excludes payments from a program to                While most employees will be subject to only the
    reward workers for safe working practices.                         Oregon Workers Compensation Act, others MAY be
                                                                       subject to the Admiralty Act (for masters or members
    Subcontractors                                                     of a vessel), to the Federal Employers Liability Act
    When you subcontract a portion (or all) of your work to            (railroads engaged in interstate commerce), or the
    others and retain the right to exercise any direction and          Longshore and Harborworkers Compensation Act
    control (regardless of whether that right is exercised),           (for stevedoring operations, building or repairing of
    you will be expected to pay the premiums for that                  vessels, new construction work in connection with
    subcontracted payroll UNLESS the subcontractor has                 marinas, etc.).     However, the determination of
    its own workers compensation insurance coverage. In                exposures under any of the Federal Acts is a legal
    order to avoid the payment of premium for your                     question which should be discussed with your
    subcontractors, you should obtain a CERTIFICATE OF                 insurance carrier or agent.
    INSURANCE from each subcontractor. At the time of
    audit, your insurance carrier will ask for any certificates        Final Premium
    of insurance and will exclude the subcontractor’s                  When you obtain a policy from your insurance
    payroll when the certificate is available.                         carrier, the premium will be ESTIMATED from the
                                                                       description of work and payroll information supplied
    Experience Rating                                                  by you. Your insurance carrier may either make
    When any employer’s initial policy develops an annual              interim audits or audit your account when your
    premium in excess of $5,000 the employer will qualify for          policy has expired. At that time, your final premium
    experience rating at the beg inning of the THIRD year              will be based upon the ACTUAL payrolls.
    and annually thereafter.       When the employer
    develops premium in excess of $2,500 (but less than                Oregon Classification and Rating Committee
    $5,000), they will qualify for an experience rating               A Committee, composed of members well-versed in
    modification at the beginning of the FOURTH year.                 workers compensation insurance matters, meets
    These qualifying premium amounts are subject to                   periodically to hear the grievances of employers who
    change.                                                           feel they have been treated improperly in the
    Essentially, the Experience Rating Program will use your          assignment of classifications, payroll assignments,
    company’s payroll, by individual classification, to               or experience ratings. (Since the "rate" is an
    determine the AVERAGE amount of losses expected to                actuarial product which has been reviewed by the
    emerge from that payroll. It will then compare those              Insurance Department prior to approval for use, the
    EXPECTED LOSSES to the ACTUAL LOSSES which                        appeal may NOT be based upon the rate for an
    were paid and/or reserved for any injuries occurring              individual classification.) Should you feel you have
    during the period covered by the data used in the annual          been aggrieved, you may direct your specific
    experience rating process. When your company has                  allegations to NCCI - Northwestern Service Office,
    BETTER than average experience, the experience                    One S.W. Columbia (Suite 850), Portland, OR
    modification will result in a CREDIT (reduction in your           97258 or contact your carrier for further information.
    final premium), but if your experience is WORSE than
    average, a DEBIT (surcharge) will apply.                           Conclusion
    Merit Rating                                                       The above information has been designed to provide
    When an employer is too small to qualify for experience            you with a broad overview of the Oregon Workers
    rating, a MERIT RATING program will apply. In                      Compensation Insurance system. Should you have
    general, this program will: a) reduce your final premium           further questions, please contact your carrier or
    if there were no payments for "lost-time" injuries during          NCCI - Northwestern Services office at the address
    the most recent year for which data has been compiled;             indicated above.


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                                                                                         ABCDEFGHIJ



             PENNSYLVANIA WORKERS’ COMPENSATION REFORM




Act 57 of the Pennsylvania law lengthens the period of time during which you may require an
injured employee to seek treatment from a health care provider designated by the employer.
Effective August 23, 1996, the period was lengthened from 30 days to 90 days after the date
of the first visit to a designated health care provider.

Under the terms of the law, you MAY NOT DIRECT an injured worker to a health care provider
during such 90 day period UNLESS first obtaining written acknowledgment from the employee
indicating that the employee has been informed of and understands his or her rights and
obligations under the provisions of section 306 (F.1)(1)(1) of the Workers’ Compensation Act.
If you fail to obtain such written acknowledgment, an injured employee is entitled to treatment
from a medical care provider of his or her choice. The Hartford will be responsible for paying
the cost of such treatment. However, because such treatment will be more expensive, you
should be advised that it could adversely impact your future insurance cost.

Attached is a sample of a FORM WHICH WE ENCOURAGE YOU TO USE to inform
employees of their rights and obligations under the law and which can be used to obtain their
written acknowledgment of such rights and responsibilities.

IF YOU HAVE NOT ESTABLISHED A PANEL OF PHYSICIANS, WE CAN BE OF
ASSISTANCE. The Hartford currently utilizes FIRST HEALTH as their medical network for
the state of Pennsylvania. FIRST HEALTH is one of the nation’s largest preferred provider
organizations offering a network of Workers’ Compensation focused providers and
comprehensive array of services, industrial medical clinics and work hardening centers. You
may contact The Hartford’s Network Referral Unit directly at 1-800-327-3636, option 4, to
obtain a list of treating physicians.

We appreciate your cooperation and encourage you to utilize our Hartford LossConnect
reporting system. (1-800-327-3636) to report your losses with 24 hours.




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                                                                                                           ABCDEFGHIJ
                                             IMPORTANT NOTICE


THE TENNESSEE STATE WORKER'S COMPENSATION LAW REQUIRES THAT COMPENSATION BE PAID
WITHIN FIFTEEN (15) CALENDAR DAYS AFTER THE EMPLOYER HAS KNOWLEDGE OF ANY DISABILITY
OR DEATH.

In deciding whether a benefit is unpaid or untimely paid, compensation shall be deemed promptly paid if the first
payment is made fifteen (15) calendar days after the employer has knowledge of the injury and every subsequent
payment is made within consecutive fifteen (15) calendar day increments, until all temporary benefits have been
paid. A benefit is paid on the date the employer or insurer places the benefits into the mail for delivery to the
injured employee. After twenty (20) calendar days from the date of the employer's knowledge of any disability that
would qualify for benefits, a penalty, which is subject to change but is currently twenty-five percent (25%), will
attach to all payments unpaid or untimely paid.

IMMEDIATE REPORTING OF ALL INJURIES CAN SAVE YOU MONEY ON YOUR INSURANCE COSTS.




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                               TEXAS ACCIDENT PREVENTION SERVICES


Pursuant to Texas Labor Code §411.066, The Hartford is required to notify its policyholders that accident
prevention services are available from The Hartford at no additional charge. These services may include
surveys, recommendations, training programs, consultations, analyses of accident causes, industrial
hygiene and industrial health services.

The Hartford is also required to provide return-to-work coordination services as required by Texas Labor
Code §413.021 and to notify you of the availability of the return-to-work reimbursement program for
employers under Texas Labor Code §413.022.

If you would like more information, contact The Hartford at 1-866-586-0467 and email
contactriskengineering@thehartford.com for accident prevention services or 1-877-952-9222 and email
CentralClaimCenter.WCEDM@thehartford.com for return-to-work coordination services.

For information about these requirements call the Texas Department of Insurance, Division of Workers'
Compensation (TDI-DWC) at 1-800-687-7080 or for information about the return-to-work reimbursement
program for employers call the TDI-DWC at 1-512-804-5000.

If The Hartford fails to respond to your request for accident prevention services or return-to-work
coordination services, you may file a complaint with the TDI-DWC in writing at http://www.tdi.texas.gov or
by mail to Texas Department of Insurance, Division of Workers' Compensation, P.O. Box 12050, Austin,
TX 78711.




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                            IMPORTANT NOTICE
Need Information, Have a complaint, or need help?

If you need information, have a problem with a claim, or your premium, contact your
agent who is listed on the Declarations/Information Page of your policy, or on your
binder or certificate of insurance first. If you can't work out the issue, the Texas
Department of Insurance may be able to help.

Even if you file a complaint with the Texas Department of Insurance, you should also file
a complaint or appeal with your agent or The Hartford. If you don't, you may lose your
right to appeal.

To get information or file a complaint with The Hartford:
   Call: 1-877-853-2582
   Online: https://www.thehartford.com
   Email: agency.services@thehartford.com
   Mail: The Hartford
          Business Service Center
          3600 Wiseman Blvd.
          San Antonio, TX 78251

The Texas Department of Insurance
To get help with an insurance question or file a complaint with the state:
   Call with a question: 1-800-252-3439
   File a complaint: www.tdi.texas.gov
   Email: ConsumerProtection@tdi.texas.gov
   Mail: Consumer Protection, MC: CO-CP, Texas Department of Insurance
          P.O. Box 12030
          Austin, TX 78711-2030

For problems with your policy
If your problem with the premium is not resolved, contact the National Council on
Compensation Insurance, Dispute Resolution Services:
   Call: 1-800-622-4123
   Email: regulatoryoperations@ncci.com
   Fax: 1-561-893-5043
   Mail: 901 Peninsula Corporate Circle
          Boca Raton, FL 33487-1362

ATTACH THIS NOTICE TO YOUR POLICY:
This notice is for information only and does not become a part or condition of the
insurance policy.

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                                    © 2023, The Hartford
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                            AVISO IMPORTANTE
¿Necesita información, Tiene una queja o necesita ayuda?

Si necesita información, tiene un problema con un reclamo o su prima de seguro, llame
primero a su agente quien esta en la lista en la Página de Declaraciones/Información
de su póliza, o en su carpeta de seguro o certificado de seguro. Si no puede resolver el
problema, el Departamento de Seguros de Texas (Texas Department of Insurance, por
su nombre en inglés) puede ayudar.

Aun si usted presenta una queja ante el Departamento de Seguros de Texas, también
debe presentar una queja o apelación ante su agente o The Hartford. Si no lo hace,
podría perder su derecho para apelar.

Para obtener información o para presentar una queja ante The Hartford:

Llame a: 1-877-853-2582
En línea: https://www.thehartford.com
Correo electrónico: agency.services@thehartford.com
Dirección postal: The Hartford
                   Business Service Center
                   3600 Wiseman Blvd.
                   San Antonio, TX 78251

El Departamento de Seguros de Texas
Para obtener ayuda con una pregunta relacionada con los seguros, conocer sus
derechos o para presentar una queja ante el estado:

1-800-252-3439 (LLame con sus preguntas)
Presente una queja en: www.tdi.texas.gov
Correo electrónico: ConsumerProtection@tdi.texas.gov
Dirección postal: Consumer Protection, MC: CO-CP, Texas Department of Insurance
                 P.O. Box 12030
                 Austin, TX 78711-2030

Para problemas con su poliza
Si su problema con la prima de seguro no es resuelto, comuniquese con el Consejo
Nacional de Seguros de Compensacion (National Council on Compensation Insurance,
por su nombre en ingles), Servicios para la Resolucion de Disputas:
Telefono: 1-800-622-4123
Correo electronico: regulatoryoperations@ncci.com
Fax: 1-561-893-5043
Correo postal: 901 Peninsula Corporate Circle
               Boca Raton, FL 33487-1362

ADJUNTE ESTE AVISO A SU PÓLIZA:
Este aviso es solo para información y no se convierte en parte o condición de la póliza
de seguro.
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                                         IMPORTANT NOTICE

                VERMONT BENEFITS DEDUCTIBLE ELECTION FORM

Vermont Workers' Compensation law permits an employer to purchase workers' compensation insurance with a
deductible. The deductible is for medical and indemnity benefits only.

Please check the option which you have elected and return this form to the company prior to the effective date of
your coverage.

     ( ) 1.    I reject any deductible option and elect that the company pay all benefits due under my policy.


     ( ) 2.    I elect the following deductible to be applied to benefits under my workers' compensation
               insurance policy and each subsequent renewal. The premium reduction to be applied is shown
               below.

                                             PREMIUM REDUCTION
                                               HAZARD GROUP

                  A            B           C           D           E           F          G
     $500       2.7%         2.4%        1.8%        1.6%        1.1%        0.9%       0.6%


All claims shall be paid by the company. In such case, the law requires that you reimburse the company for any
deductible amounts so paid.

If you do not return this form promptly to the company, it will be construed to mean that we should pay in full all
benefits due under your policy with no contribution on your part.

If you have any questions, please call your Agent.

Policy Number
57 WV WQ0015
Employer Name                                                        Date           Signature and Title


Agent Name                                                           Date           Signature


Return to
 Issuing Office:
 Address:




Form WC 66 03 94 L Printed in U.S.A.
Process Date:                                                               Policy Expiration Date: 04/01/2025
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                                                                                                             ABCDEFGHIJ




IMPORTANT MESSAGE TO WORKERS’ COMPENSATION POLICYHOLDERS
                     IN WEST VIRGINIA




When notified of a work related injury, please complete the WC-2 form (West Virginia Workers’ Compensation
Employer’s Report of Occupational Injury or Disease) and contact The Hartford Loss Connect Service to report
the claim. Prompt reporting allows The Hartford to properly investigate and manage your claim, and make all State
filings on your behalf.

In addition, please provide form WC-1 (West Virginia Workers’ Compensation Employee’s and Physicians’ Report
of Occupational Injury or Disease) to the injured employee for completion, with instruction to present to the Initial
Healthcare Provider. A copy of this form should be sent to The Hartford Claim Office.

When notified of a work related inhalation exposure, please provide form OIC-WC-10P (West Virginia Workers’
Compensation Employees’ Report of Occupational Pneumoconiosis) to the injured employee for completion. A
copy of the form should be sent to The Hartford Claim Office.

All State forms may be accessed from the State of West Virginia’s Offices of The Insurance Commissioner. The
forms can be accessed via the State’s website: www.wvinsurance.gov or by phone at 304-558-3386 or Toll Free
1-888-TRY-WVIC (1-888-879-9842).

Forms with Brickstreet Insurance information or letterhead should not be used when filing claims with
The Hartford. Use of these forms may create delays in State reporting, benefit payments, and other claim
management activity.

Please contact The Hartford Loss Connect Service @ 1-800-327-3636 to file your workers’ compensation claims.




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                                                            NCCI COMPANY  10/16/24           Page 58 of 499
      POLICY PROVISIONS: WC 00 00 00 C                                          INFORMATION PAGE NCCI COMPANY NO.
      INSURER: X Hartford Accident and Indemnity Company        10448      Hartford Insurance Company of Illinois        20613 (Co. Use Only)
                      Hartford Casualty Insurance Company       14397      Hartford Insurance Company of the Midwest     20605 Best L R R P R
                      Hartford Fire Insurance Company           13269      Hartford Insurance Company of the Southeast   20621 Ind C of C F I
                      Hartford Underwriters Insurance Company   10456                                                          01
                      Twin City Fire Insurance Company          14974
                                                                                                                                 SUFFIX
      ADDRESS:HARTFORD, CT 06155
                                                                        POLICY NO. 57 WV WQ0015                                LARS Renewal

                                                                 Previous Policy No. 57 WV WQ0015                                         08
                                                                                                                                Co.Code
                                                                                                         5
 Items                                                 SUNPOWER CORPORATION
 1. Named Insured and Mailing Address                  880 HARBOUR WAY SOUTH, SUITE 600
    (No.,Street,Town,County,State)                     RICHMOND, CA 94804
                      Individual     Corporation X
                      Partnership    Other
      Other workplaces not shown above:
 2. The Policy Period is from 04/01/2024 to 04/01/2025   12:01 A.M.,standard time at the insured’s mailing address

   Producer’s Name                   Producer’s Code           Issuing Regional Office
  MARSH RISK & INSURANCE SERVICE                                 THE HARTFORD
  4 EMBARCADERO CTR                                              ONE HARTFORD PLAZA
  SUITE 1100                                                     HARTFORD, CT 06155
  SAN FRANCISCO, CA 94111
 3. A. Workers’ Compensation Insurance:Part One of the Policy applies to the Workers’ Compensation Law of the states
       listed here:
      AR, AZ, CA, CO, CT, DC, FL, GA, HI, IA, IL, IN, KS, KY, LA, MD, ME, MI,
      MO, MT, NC, NE, NH, NJ, NM, NV, NY, OK, OR, PA, RI, SC, TN, TX, UT, VA,
      VT, WV
    B. Employers’ Liability Insurance:Part Two of the policy applies to work in each state listed in Item 3A.
       The Limits of our Liability under Part Two are: Bodily Injury by Accident $                      Each accident
                                                       Bodily Injury by Disease $                       Policy Limit
                                                       Bodily Injury by Disease $                       each employee
    C. Other States Insurance: Part Three of the policy applies to the states, if any, listed here:
    ALL STATES EXCEPT NORTH DAKOTA, OHIO, WASHINGTON, WYOMING
    AND ANY STATES DESIGNATED IN ITEM 3.A. OF THE INFORMATION PAGE

    D. This policy includes these endorsements and schedules: WC990005 AND SEE LISTING OF ENDTS
 4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating
    Plans. All information required below is subject to verification and change by audit.
                                                               Premium Basis          Rate Per
 Classifications                                    Code       Total Estimated        $100 of       Estimated Annual
                                                 Number        Annual Remuneration Remuneration Premium
 SEE SCHEDULE OF OPERATIONS                                                                                 $
 TERRORISM                                       9740                                                         $
 CATASTROPHE                                     9741                                                          $


 RI UIN
 NJ TIN
 HI UIN
 MINIMUM PREMIUM                                                                                                                  $
FEIN NO.
Interstate/Intrastate ID No.
NAICS:                                                                   Total Estimated Annual Premium                          $
Minimum Premium: $                             NC                                       Deposit Premium                          $
 Audit Period: X Annual              Semi-Annual            Quarterly       Monthly
05/02/2024                                                          Countersigned by
Form WC 00 00 01 A Printed in U.S.A.                                                                  Authorized Agent                Date
                                                                                                              04/01/2024
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                                                                                                                  ABCDEFGHIJ



                     WORKERS COMPENSATION AND EMPLOYERS
                                  LIABILITY INSURANCE POLICY


In return for the payment of the premium and subject to all terms of this policy, we agree with you as follows:


                                             GENERAL SECTION

A. The Policy                                                   disease law of each state or territory named in
   This policy includes at its effective date the               Item 3.A. of the Information Page. It includes any
   Information Page and all endorsements and                    amendments to that law which are in effect during
   schedules listed there.         It is a contract of          the policy period. It does not include any federal
   insurance between you (the employer named in                 workers or workmen's compensation law, any
   Item 1 of the Information Page) and us (the                  federal occupational disease law or the provisions
   insurer named on the Information Page). The only             of any law that provide nonoccupational disability
   agreements relating to this insurance are stated in          benefits.
   this policy. The terms of this policy may not be          D. State
   changed or waived except by endorsement issued               State means any state of the United States of
   by us to be part of this policy.                             America, and the District of Columbia.
B. Who Is Insured                                            E. Locations
   You are insured if you are an employer named in              This policy covers all of your workplaces listed in
   Item 1 of the Information Page. If that employer is          Items 1 or 4 of the Information Page; and it covers
   a partnership, and if you are one of its partners,           all other workplaces in Item 3.A. states unless you
   you are insured, but only in your capacity as an             have other insurance or are self-insured for such
   employer of the partnership's employees.                     workplaces.
C. Workers Compensation Law
   Workers Compensation Law means the workers
   or workmen's compensation law and occupational



                        PART ONE - WORKERS COMPENSATION INSURANCE

A. How This Insurance Applies                                C. We Will Defend
   This workers compensation insurance applies to               We have the right and duty to defend at our
   bodily injury by accident or bodily injury by                expense any claim, proceeding or suit against you
   disease. Bodily injury includes resulting death.             for benefits payable by this insurance. We have
   1. Bodily injury by accident must occur during the           the right to investigate and settle these claims,
       policy period.                                           proceedings or suits.
   2. Bodily injury by disease must be caused or                We have no duty to defend a claim, proceeding or
       aggravated by the conditions of your                     suit that is not covered by this insurance.
       employment. The employee's last day of last           D. We Will Also Pay
       exposure to the conditions causing or                    We will also pay these costs, in addition to other
       aggravating such bodily injury by disease must           amounts payable under this insurance, as part of
       occur during the policy period.                          any claim, proceeding or suit we defend:
B. We Will Pay                                                  1. reasonable expenses incurred at our request,
   We will pay promptly when due the benefits                        but not loss of earnings;
   required of you by the workers compensation law.




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Process Date:                                                           Policy Expiration Date:
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   2. premiums for bonds to release attachments                 You will do everything necessary to protect those
      and for appeal bonds in bond amounts up to                rights for us and to help us enforce them.
      the amount payable under this insurance;              H. Statutory Provisions
   3. litigation costs taxed against you;                       These statements apply where they are required
   4. interest on a judgment as required by law until           by law.
      we offer the amount due under this insurance;             1. As between an injured worker and us, we
      and                                                          have notice of the injury when you have
   5. expenses we incur.                                           notice.
E. Other Insurance                                              2. Your default or the bankruptcy or insolvency of
   We will not pay more than our share of benefits                 you or your estate will not relieve us of our
   and costs covered by this insurance and other                   duties under this insurance after an injury
   insurance or self-insurance. Subject to any limits              occurs.
   of liability that may apply, all shares will be equal        3. We are directly and primarily liable to any
   until the loss is paid. If any insurance or self-               person entitled to the benefits payable by this
   insurance is exhausted, the shares of all                       insurance. Those persons may enforce our
   remaining insurance will be equal until the loss is             duties; so may an agency authorized by law.
   paid.                                                           Enforcement may be against you and us.
F. Payments You Must Make                                       4. Jurisdiction over you is jurisdiction over us for
   You are responsible for any payments in excess of               purposes of the workers compensation law.
   the benefits regularly provided by the workers                  We are bound by decisions against you under
   compensation law including those required                       that law, subject to the provisions of this policy
   because:                                                        that are not in conflict with that law.
   1. of your serious and willful misconduct;                   5. This insurance conforms to the parts of the
                                                                   workers compensation law that apply to:
   2. you knowingly       employ     an   employee     in
      violation of law;                                            a. benefits payable by this insurance;
   3. you fail to comply with a health or safety law or            b. special taxes, payments into security or
      regulation; or                                                    other special funds, and assessments
                                                                        payable by us under that law.
   4. you      discharge,   coerce     or    otherwise
       discriminate against any employee in violation           6. Terms of this insurance that conflict with the
       of the workers compensation law.                            workers compensation law are changed by
                                                                   this statement to conform to that law.
   If we make any payments in excess of the benefits
   regularly provided by the workers compensation           Nothing in these paragraphs relieves you of your
   law on your behalf, you will reimburse us promptly.      duties under this policy.
G. Recovery From Others
   We have your rights, and the rights of persons
   entitled to the benefits of this insurance, to recover
   our payments from anyone liable for the injury.



                          PART TWO - EMPLOYERS LIABILITY INSURANCE

A. How This Insurance Applies                                   2. The employment must be necessary or
   This employers liability insurance applies to bodily            incidental to your work in a state or territory
   injury by accident or bodily injury by disease.                 listed in Item 3.A. of the Information Page.
   Bodily injury includes resulting death.                      3. Bodily injury by accident must occur during the
   1. The bodily injury must arise out of and in the               policy period.
        course of the injured employee's employment             4. Bodily injury by disease must be caused or
        by you.                                                    aggravated by the conditions of your
                                                                   employment. The employee's last day of last




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       exposure to the conditions causing or                 5. Bodily    injury intentionally    caused     or
       aggravating such bodily injury by disease must           aggravated by you;
       occur during the policy period.                       6. Bodily injury occurring outside the United
   5. If you are sued, the original suit and any                States of America, its territories or
      related legal actions for damages for bodily              possessions, and Canada. This exclusion
      injury by accident or by disease must be                  does not apply to bodily injury to a citizen or
      brought in the United States of America, its              resident of the United States of America or
      territories or possessions, or Canada.                    Canada who is temporarily outside these
B. We Will Pay                                                  countries;
   We will pay all sums that you legally must pay as         7. Damages arising out of coercion, criticism,
   damages because of bodily injury to your                     demotion,        evaluation,      reassignment,
   employees, provided the bodily injury is covered             discipline,       defamation,       harassment,
   by this Employers Liability Insurance.                       humiliation,    dis-crimination    against  or
                                                                termination of any employee, or any personnel
   The damages we will pay, where recovery is                   practices, policies, acts or omissions;
   permitted by law, include damages:
                                                             8. Bodily injury to any person in work subject to
   1. For which you are liable to a third party by              the Longshore and Harbor Workers'
      reason of a claim or suit against you by that             Compensation Act (33 U.S.C. Sections 901 et
      third party to recover the damages claimed                seq.),      the      Noappropriated      Fund
      against such third party as a result of injury to         Instrumentalities Act (5 U.S.C. Sections 8171
      your employee;                                            et seq.), the Outer Continental Shelf Lands
   2. For care and loss of services; and                        Act (43 U.S.C. Sections 1331 et seq.), the
   3. For consequential bodily injury to a spouse,              Defense Base Act (42 U.S.C. Sections 1651-
      child, parent, brother or sister of the injured           1654), the Federal Mine Safety and Health Act
      employee; provided that these damages are                 (30 U.S.C. Sections 801 et seq. and 901-944)
      the direct consequence of bodily injury that              any other federal workers or workmen's
      arises out of and in the course of the injured            compensation       law   or    other   federal
      employee's employment by you; and                         occupational disease law, or any amendments
                                                                to these laws;
   4. Because of bodily injury to your employee that
      arises out of and in the course of employment,         9. Bodily injury to any person in work subject to
      claimed against you in a capacity other than               the Federal Employers' Liability Act (45 U.S.C.
      as employer.                                               Sections 51 et seq.), any other federal laws
                                                                 obligating an employer to pay damages to an
C. Exclusions                                                    employee due to bodily injury arising out of or
   This insurance does not cover:                                in the course of employment, or any
   1. Liability assumed under a contract. This                   amendments to those laws;
      exclusion does not apply to a warranty that            10. Bodily injury to a master or member of the
      your work will be done in a workmanlike                    crew of any vessel, and does not cover
      manner;                                                    punitive damages related to your duty or
   2. Punitive or exemplary damages because of                   obligation to provide transportation, wages,
      bodily injury to an employee employed in                   maintenance, and cure under any applicable
      violation of law;                                          maritime law;
   3. Bodily injury to an employee while employed in         11. Fines or penalties imposed for violation of
      violation of law with your actual knowledge or             federal or state law; and
      the actual knowledge of any of your executive          12. Damages payable under the Migrant and
      officers;                                                  Seasonal Agricultural Worker Protection Act
   4. Any obligation imposed by a workers com-                   (29 U.S.C. Sections 1801 et seq.) and under
      pensation,         occupational       disease,             any other federal law awarding damages for
      unemployment compensation, or disability                   violation of those laws or regulations issued
      benefits law, or any similar law;                          thereunder, and any amendments to those
                                                                 laws.
                                                          D. We Will Defend
                                                             We have the right and duty to defend, at our
                                                             expense, any claim, proceeding or suit against you
                                                             for damages payable by this insurance. We have
                                                             the right to investigate and settle these claims,
                                                             proceedings and suits.


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   We have no duty to defend a claim, proceeding or                   A disease is not bodily injury by accident
   suit that is not covered by this insurance. We                     unless it results directly from bodily injury by
   have no duty to defend or continue defending after                 accident.
   we have paid our applicable limit of liability under           2. Bodily Injury by Disease. The limit shown for
   this insurance.                                                   ''bodily injury by disease policy limit'' is the
E. We Will Also Pay                                                  most we will pay for all damages covered by
   We will also pay these costs, in addition to other                this insurance and arising out of bodily injury
   amounts payable under this insurance, as part of                  by disease, regardless of the number of
   any claim, proceeding or suit we defend:                          employees who sustain bodily injury by
                                                                     disease. The limit shown for ''bodily injury by
   1. Reasonable expenses incurred at our request,                   disease each employee'' is the most we will
      but not loss of earnings;                                      pay for all damages because of bodily injury
   2. Premiums for bonds to release attachments                      by disease to any one employee.
      and for appeal bonds in bond amounts up to                     Bodily injury by disease does not include
      the limit of our liability under this insurance;               disease that results directly from a bodily
   3. Litigation costs taxed against you;                            injury by accident.
   4. Interest on a judgment as required by law until             3. We will not pay any claims for damages after
      we offer the amount due under this insurance;                  we have paid the applicable limit of our liability
      and                                                            under this insurance.
   5. Expenses we incur.                                     H. Recovery From Others
F. Other Insurance                                                We have your rights to recover our payment from
   We will not pay more than our share of damages                 anyone liable for an injury covered by this
   and costs covered by this insurance and other                  insurance. You will do everything necessary to
   insurance or self-insurance. Subject to any limits             protect those rights for us and to help us enforce
   of liability that apply, all shares will be equal until        them.
   the loss is paid. If any insurance or self-insurance      I.   Actions Against Us
   is exhausted, the shares of all remaining                      There will be no right of action against us under
   insurance and self-insurance will be equal until the           this insurance unless:
   loss is paid.
                                                                  1. You have complied with all the terms of this
G. Limits of Liability                                                 policy; and
   Our liability to pay for damages is limited. Our               2. The amount you owe has been determined
   limits of liability are shown in Item 3.B. of the                   with our consent or by actual trial and final
   Information Page. They apply as explained below.                    judgment.
   1. Bodily Injury by Accident. The limit shown for              This insurance does not give anyone the right to
        ''bodily injury by accident each accident'' is the        add us as a defendant in an action against you to
        most we will pay for all damages covered by               determine your liability.      The bankruptcy or
        this insurance because of bodily injury to one            insolvency of you or your estate will not relieve us
        or more employees in any one accident.                    of our obligations under this Part.


                               PART THREE - OTHER STATES INSURANCE

A. How This Insurance Applies                                        though that state were listed in Item 3.A. of the
   1. This other states insurance applies only if one                Information Page.
      or more states are shown in Item 3.C. of the                3. We will reimburse you for the benefits
      Information Page.                                              required by the workers compensation law of
   2. If you begin work in any one of those states                   that state if we are not permitted to pay the
      after the effective date of this policy and are                benefits directly to persons entitled to them.
      not insured or are not self-insured for such                4. If you have work on the effective date of this
      work, all provisions of the policy will apply as               policy in any state not listed in Item 3.A. of the




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       Information Page, coverage will not be             B. Notice
       afforded for that state unless we are notified        Tell us at once if you begin work in any state listed
       within thirty days.                                   in Item 3.C. of the Information Page.



                           PART FOUR - YOUR DUTIES IF INJURY OCCURS

   Tell us at once if injury occurs that may be              4. Cooperate with us and assist us, as we may
   covered by this policy. Your other duties are listed         request, in the investigation, settlement or
   here.                                                        defense of any claim, proceeding or suit.
   1. Provide for immediate medical and other                5. Do nothing after an injury occurs that would
       services     required    by     the    workers           interfere with our right to recover from others.
       compensation law.                                     6. Do not voluntarily make payments, assume
   2. Give us or our agent the names and                        obligations or incur expenses, except at your
      addresses of the injured persons and of                   own cost.
      witnesses, and other information we may
      need.
   3. Promptly give us all notices, demands and
      legal papers related to the injury, claim,
      proceeding or suit.


                                              PART FIVE - PREMIUM

A. Our Manuals                                               2. all other persons engaged in work that could
   All premium for this policy will be determined by            make us liable under Part One (Workers
   our manuals of rules, rates, rating plans and                Compensation Insurance) of this policy. If you
   classifications. We may change our manuals and               do not have payroll records for these persons,
   apply the changes to this policy if authorized by            the contract price for their services and
   law or a governmental agency regulating this                 materials may be used as the premium basis.
   insurance.                                                   This paragraph 2 will not apply if you give us
                                                                proof that the employers of these persons
B. Classifications                                              lawfully secured their workers compensation
   Item 4 of the Information Page shows the rate and            obligations.
   premium basis for certain business or work             D. Premium Payments
   classifications.     These classifications were
   assigned based on an estimate of the exposures            You will pay all premium when due. You will pay
   you would have during the policy period. If your          the premium even if part or all of a workers
   actual exposures are not properly described by            compensation law is not valid.
   those classifications, we will assign proper           E. Final Premium
   classifications, rates and premium basis by               The premium shown on the Information Page,
   endorsement to this policy.                               schedules, and endorsements is an estimate. The
C. Remuneration                                              final premium will be determined after this policy
   Premium for each work classification is                   ends by using the actual, not the estimated,
   determined by multiplying a rate times a premium          premium basis and the proper classifications and
   basis.   Remuneration is the most common                  rates that lawfully apply to the business and work
   premium basis.                                            covered by this policy. If the final premium is
                                                             more than the premium you paid to us, you must
   This premium basis includes payroll and all other         pay us the balance. If it is less, we will refund the
   remuneration paid or payable during the policy            balance to you. The final premium will not be less
   period for the services of:                               than the highest minimum premium for the
   1. All your officers and employees engaged in             classifications covered by this policy.
       work covered by this policy; and




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   If this policy is cancelled, final premium will be       G. Audit
   determined in the following way unless our                  You will let us examine and audit all your records
   manuals provide otherwise:                                  that relate to this policy. These records include
   1. If we cancel, final premium will be calculated           ledgers, journals, registers, vouchers, contracts,
      pro rata based on the time this policy was in            tax reports, payroll and disbursement records, and
      force. Final premium will not be less than the           programs for storing and retrieving data. We may
      pro rata share of the minimum premium.                   conduct the audits during regular business hours
   2. If you cancel, final premium will be more than           during the policy period and within three years
      pro rata; it will be based on the time this policy       after the policy period ends.          Information
      was in force, and increased by our short rate            developed by audit will be used to determine final
      cancellation table and procedure.            Final       premium. Insurance rate service organizations
      premium will not be less than the minimum                have the same rights we have under this
      premium.                                                 provision.
F. Records
   You will keep records of information needed to
   compute premium. You will provide us with copies
   of those records when we ask for them.



                                            PART SIX - CONDITIONS

A. Inspection                                               D. Cancellation
   We have the right, but are not obligated to inspect         1. You may cancel this policy. You must mail or
   your workplaces at any time. Our inspections are               deliver advance written notice to us stating
   not safety inspections. They relate only to the                when the cancellation is to take effect.
   insurability of the workplaces and the premiums to          2. We may cancel this policy. We must mail or
   be charged. We may give you reports on the                     deliver to you not less than ten days advance
   conditions we find. We may also recommend                      written notice stating when the cancellation is
   changes. While they may help reduce losses, we                 to take effect. Mailing that notice to you at
   do not undertake to perform the duty of any                    your mailing address shown in Item 1 of the
   person to provide for the health or safety of your             Information Page will be sufficient to prove
   employees or the public. We do not warrant that                notice.
   your workplaces are safe or healthful or that they
   comply with laws, regulations, codes or standards.          3. The policy period will end on the day and hour
   Insurance rate service organizations have the                  stated in the cancellation notice.
   same rights we have under this provision.                   4. Any of these provisions that conflict with a law
B. Long Term Policy                                               that controls the cancellation of the insurance
                                                                  in this policy is changed by this statement to
   If the policy period is longer than one year and               comply with that law.
   sixteen days, all provisions of this policy will apply
   as though a new policy were issued on each               E. Sole Representative
   annual anniversary that this policy is in force.            The insured first named in Item 1 of the
C. Transfer of Your Rights and Duties                          Information Page will act on behalf of all insureds
                                                               to change this policy, receive return premium, and
   Your rights or duties under this policy may not be          give or receive notice of cancellation.
   transferred without our written consent.
   If you die and we receive notice within thirty days
   after your death, we will cover your legal
   representative as insured.




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    Schedule of Operations

   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number A
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications CLASS SUMMARY CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium

   SALESMEN (OUTSIDE)                                   0951

   CLERICAL OFFICE EMPLOYEES                            0953

   ELECTRICAL APPARATUS MFG NOC                         3179

   ELECTRICAL APPARATUS

   INSTALLATION & DRIVERS                               3724

   ELECTRICAL APPARATUS

   INSTALLATION OR REPAIR & DRIVERS                     3724
   GAS BENCH AND RETORT

   INSTALLATION & DRIVERS                               3724

   MILLWRIGHT WORK-NOC ERECTION OR
   REPAIR OF MACHINERY                                  3724

   MILLWRIGHT WORK NOC-OUTSIDE & DRIVERS                3724
   INTEGRATED CIRCUITS & SEMICONDUCTOR
   WAFER MFG                                            4112




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    Schedule of Operations

   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number A
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications CLASS SUMMARY CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium

   CONTRACTOR - EXECUTIVE SUPERVISOR                    5606

   CONTRACTOR - EXECUTIVE SUPERVISOR

    OR CONSTRUCTION SUPERINTENDENT                      5606

   CONTRACTOR - PROJECT MANAGER,

   CONSTRUCTION EXECUTIVE, CONSTR                       5606

   CONTRACTOR EXECUTIVE SUPERVISOR                      5606

   CONTRACTORS-CONSTRUCTION OR
   ERECTION-EXECUTIVE SUPERVISORS                       5606

   STORE:HARDWARE -WHOLESALE -& DRIVERS                 8107

   FARM MACHINERY - LEASING OR
   REFINING WITHOUT OPERATORS & DRIVERS                 8116

   FARM MACHINERY DEALERS OR
   REPAIR FACILITIES - SHOP OR OUTSIDE                  8116


   SALESMEN OUTSIDE                                     8742
   SALESPERSON, COLLECTORS, OR
   MESSENGERS - OUTSIDE                                 8742




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    Schedule of Operations

   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number A
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications CLASS SUMMARY CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium

   SALESPERSONS OR COLLECTORS - OUTSIDE                 8742

   SALESPERSONS, COLLECTORS OR

   MESSENGERS - OUTSIDE                                 8742

   SALESPERSONS, COLLECTORS, OR

   MESSENGERS - OUTSIDE                                 8742

   SALESPERSONS, OR COLLECTORS - OUTSIDE                8742

   EXECUTIVE OFFICERS NOC                               8809
   EXECUTIVE OFFICERS NOC -

   PERFORMING CLERICAL OR OUTSIDE SALES                 8809

   CLERICAL OFFICE EMPLOYEES                            8810
   CLERICAL OFFICE EMPLOYEES NOC                        8810

   CLERICAL OFFICE EMPLOYEES-N O C                      8810
   STOP GAP                                             9139




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    Schedule of Operations

   Co. Cd.   Insurer
   H                   Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 1
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications ARKANSAS CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .08




   COMPOSITE RATE: .01573


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .008
   CATASTROPHE (9741) .02
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   H                   Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 1
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications ARKANSAS
                                                         Number   Annual Remuneration    Remuneration         Premium




   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   6                   Hartford Underwriters Insurance Company, XX-XXXXXXX, 10456
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 2
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications ARIZONA
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               2.24

                                                        5606                                 .54

                                                        8742                                 .14
                                                        8810                                 .07




   COMPOSITE RATE: .10303


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930) 2 PERCENT
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .01
   CATASTROPHE (9741) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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    Schedule of Operations

   Co. Cd.   Insurer
   P                   Property/Casualty Ins. Co. of Hftd., XX-XXXXXXX, 30147
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number       57 WV WQ0015                 Schedule Number 3
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                     880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                   Premium Basis          Rate Per            Estimated
                                                         Code      Total Estimated        $100. of            Annual
   Classifications CALIFORNIA CONT.
                                                         Number    Annual Remuneration    Remuneration        Premium
                                                        3724                               6.02

                                                        4112                                 .49

                                                        5606                               1.02
                                                        8116                               3.51

                                                        8742                                 .44

                                                        8810                                 .32




   COMPOSITE RATE: .30907


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   CA TERRITORIAL DIFFERENTIAL PREMIUM (9686)                     PERCENT
   WAIVER OF SUBROGATION (0930) 2 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTRASTATE EXPERIENCE MOD #5705037 (9898) .81 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .02
   CA USER FUNDING ASSESSMENT 2.4604 PERCENT
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   P                   Property/Casualty Ins. Co. of Hftd., XX-XXXXXXX, 30147
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 3
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications CALIFORNIA
                                                         Number   Annual Remuneration    Remuneration         Premium




   CA FRAUD ASSESSMENT .4122 PERCENT
   CA UNISD EMPL BENEFIT TRUST FUND .1505 PERCENT
   CA SUBSEQ INJ BENEFITS TRUST FUND 1.5891 PERCENT
   CA OCCUPATIONAL SAFETY & HEALTH FUND .7266 PERCENT
   CA LABOR ENFORCEMENT AND COMPLIANCE FUND .7109 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM




   Issue date    05/02/2024
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   Co. Cd.   Insurer
   P                   Property/Casualty Ins. Co. of Hftd., XX-XXXXXXX, 30147
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 4
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications COLORADO
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               2.31

                                                        8742                                 .18

                                                        8810                                 .09




   COMPOSITE RATE: .01762


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .006
   CATASTROPHE (9741) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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    Schedule of Operations

   Co. Cd.   Insurer
   K                   Nutmeg Insurance Company, XX-XXXXXXX, 21261
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 5
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications CONNECTICUT CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               3.57

                                                        5606                                 .97

                                                        8810                                 .08




   COMPOSITE RATE: .26432


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930) 2 PERCENT
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .025
   CATASTROPHE (9741) .01
   CT 2ND INJURY FUND 2.25 PERCENT
   Issue date    05/02/2024
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    Schedule of Operations

   Co. Cd.   Insurer
   K                   Nutmeg Insurance Company, XX-XXXXXXX, 21261
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 5
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications CONNECTICUT
                                                         Number   Annual Remuneration    Remuneration         Premium




   CT ASSESSMENT FUND 2.3 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM




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    Schedule of Operations

   Co. Cd.   Insurer
   H                   Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 6
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications DC CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .04




   COMPOSITE RATE: .01267


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .07
   CATASTROPHE (9741) .01
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   H                    Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 6
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications DC
                                                         Number   Annual Remuneration    Remuneration         Premium




   DC SPECIAL COMPENSATION FUND 0 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM




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    Schedule of Operations

   Co. Cd.   Insurer
   7                   Twin City Fire Insurance Company, XX-XXXXXXX, 14974
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 7
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications FLORIDA
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               2.88

                                                        5606                                 .83

                                                        8742                                 .25
                                                        8810                                 .13




   COMPOSITE RATE: .20543


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930) 2 PERCENT
   INCREASED LIMITS: PART TWO (9812) 1.4 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .01
   FL FWCIGA SURCHARGE 0 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 8
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications GEORGIA CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .15




   COMPOSITE RATE: .03283


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .005
   CATASTROPHE (9741) .02
   GA INSURERS INSOLVENCY POOL SURCHARGE 0 PERCENT
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 8
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications GEORGIA
                                                         Number   Annual Remuneration    Remuneration         Premium




   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   6                   Hartford Underwriters Insurance Company, XX-XXXXXXX, 10456
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 9
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications HAWAII CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8742                                 .74

                                                        8810                                 .38




   COMPOSITE RATE: .04752


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .015
   CATASTROPHE (9741) .01
   HAWAII INSOLVENCY ASSESSMENT (HIGA) 0 PERCENT
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   6                   Hartford Underwriters Insurance Company, XX-XXXXXXX, 10456
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 9
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications HAWAII
                                                         Number   Annual Remuneration    Remuneration         Premium




   TOTAL ESTIMATED ANNUAL PREMIUM




   Issue date    05/02/2024
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   Co. Cd.   Insurer
   A                      Sentinel Insurance Company, Limited, 15-52103, 13161
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 10
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications IOWA
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .14




   COMPOSITE RATE: .02298


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .01
   CATASTROPHE (9741) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   K                   Nutmeg Insurance Company, XX-XXXXXXX, 21261
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 11
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications ILLINOIS CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               3.46

                                                        5606                               1.11

                                                        8116                               1.80
                                                        8742                                 .17

                                                        8810                                 .06




   COMPOSITE RATE: .18907


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930) 2 PERCENT
   INCREASED LIMITS: PART TWO (9812) 1.4 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .025
   CATASTROPHE (9741) .01
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   K                   Nutmeg Insurance Company, XX-XXXXXXX, 21261
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 11
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications ILLINOIS
                                                         Number   Annual Remuneration    Remuneration         Premium




   IL INDUSTRIAL COMMISSION SURCHARGE 1.01 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   H                   Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 12
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications INDIANA CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               1.32

                                                        8810                                 .07




   COMPOSITE RATE: .01888


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .005
   CATASTROPHE (9741) .01
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   H                   Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 12
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications INDIANA
                                                         Number   Annual Remuneration    Remuneration         Premium




   INDIANA 2ND INJURY FUND .71 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   J                   Hartford Insurance Company of the S/E, XX-XXXXXXX, 20621
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 13
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications KANSAS CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .06




   COMPOSITE RATE: .02926


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .004
   CATASTROPHE (9741) .01
   Issue date    05/02/2024
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    Schedule of Operations

   Co. Cd.   Insurer
   J                   Hartford Insurance Company of the S/E, XX-XXXXXXX, 20621
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 13
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications KANSAS
                                                         Number   Annual Remuneration    Remuneration         Premium




   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 14
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications KENTUCKY
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .12




   COMPOSITE RATE: .01321


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .005
   CATASTROPHE (9741) .02
   KY TAX & ASSESSMENT 6.53 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   H                   Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 15
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications LOUISIANA CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               2.64

                                                        8742                                 .30

                                                        8810                                 .13




   COMPOSITE RATE: .1261


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   INCREASED LIMITS: PART TWO (9812) 1.4 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   WAIVER OF SUBROGATION (9118)
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .005
   CATASTROPHE (9741) .01
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   H                   Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 15
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications LOUISIANA
                                                         Number   Annual Remuneration    Remuneration         Premium




   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   J                   Hartford Insurance Company of the S/E, XX-XXXXXXX, 20621
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 16
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications MARYLAND
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8742                                 .14

                                                        8810                                 .05




   COMPOSITE RATE: .02029


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .04
   CATASTROPHE (9741) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   P                   Property/Casualty Ins. Co. of Hftd., XX-XXXXXXX, 30147
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 17
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications MAINE CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .18




   COMPOSITE RATE: .03304


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .007
   CATASTROPHE (9741) .01
   ME SUPPLEMENTAL BENEFITS FUND 0 PERCENT
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   P                   Property/Casualty Ins. Co. of Hftd., XX-XXXXXXX, 30147
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 17
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications MAINE
                                                         Number   Annual Remuneration    Remuneration         Premium




   ME ADMINISTRATIVE FUND 2.34 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 18
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications MICHIGAN
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .08




   COMPOSITE RATE: .01228


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   MANAGED CARE CREDIT (9874) 25 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .02
   CATASTROPHE (9741) .02
   TOTAL ESTIMATED ANNUAL PREMIUM



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   Co. Cd.   Insurer
   3                   Hartford Casualty Insurance Company, XX-XXXXXXX, 14397
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 19
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications MISSOURI CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .10




   COMPOSITE RATE: .01109


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .005
   CATASTROPHE (9741) .001
   MO 2ND INJURY FUND 3 PERCENT
   MISSOURI DEDUCTIBLE SURCHARGE 1.5 PERCENT
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   3                   Hartford Casualty Insurance Company, XX-XXXXXXX, 14397
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 19
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications MISSOURI
                                                         Number   Annual Remuneration    Remuneration         Premium




   SECOND INJURY FUND SUPPLEMENTAL SURCHARGE 0 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM




   Issue date    05/02/2024
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    Schedule of Operations

   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 20
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications MONTANA CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .24




   COMPOSITE RATE: .04719


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .008
   CATASTROPHE (9741) .02
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 20
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications MONTANA
                                                         Number   Annual Remuneration    Remuneration         Premium




   SAWRTW (Stay-at-Work/Return-to-Work) 0 PERCENT
   MONTANA REGULATORY ASSESSMENT 2.1754 PERCENT
   MONTANA SUBSEQUENT INJURY FUND .4466 PERCENT
   OCCUPATIONAL SAFETY AND HEALTH REGULATORY SURCHARG .529 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   6                   Hartford Underwriters Insurance Company, XX-XXXXXXX, 10456
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 21
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NORTH CAROLINA
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               4.37

                                                        8742                                 .37

                                                        8810                                 .16




   COMPOSITE RATE: .03695


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .011
   CATASTROPHE (9741) .02
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   7                   Twin City Fire Insurance Company, XX-XXXXXXX, 14974
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 22
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NORTH DAKOTA
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        9139                                 .06




   TOTAL CLASS PREMIUM
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   TOTAL ESTIMATED ANNUAL PREMIUM




   Issue date    05/02/2024
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   Co. Cd.   Insurer
   H                   Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 23
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NEBRASKA
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .10




   COMPOSITE RATE: .01229


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .006
   CATASTROPHE (9741) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   1                   Hartford Fire Insurance Company, XX-XXXXXXX, 13269
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 24
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NEW HAMPSHIRE
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               3.20

                                                        8810                                 .11




   COMPOSITE RATE: .01605


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9874) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .007
   CATASTROPHE (9741) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   6                   Hartford Underwriters Insurance Company, XX-XXXXXXX, 10456
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 25
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NEW JERSEY CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               6.52

                                                        5606                               2.60

                                                        8116                               5.27
                                                        8742                                 .38

                                                        8810                                 .16




   COMPOSITE RATE: .60858


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   INCREASED LIMITS: PART TWO (6199) 1.4 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTRASTATE EXPERIENCE MOD #000601020 (9898) 1.199 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .03
   CATASTROPHE (9741) .01
   NJ UNINSURED EMPL FUND 0 PERCENT
   NJ 2ND INJURY FUND 4.19 PERCENT
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   6                   Hartford Underwriters Insurance Company, XX-XXXXXXX, 10456
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 25
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NEW JERSEY
                                                         Number   Annual Remuneration    Remuneration         Premium




   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   A                   Sentinel Insurance Company, Limited, 15-52103, 13161
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 26
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NEW MEXICO CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .12




   COMPOSITE RATE: .01982


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .006
   CATASTROPHE (9741) .001
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   A                   Sentinel Insurance Company, Limited, 15-52103, 13161
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 26
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NEW MEXICO
                                                         Number   Annual Remuneration    Remuneration         Premium




   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   A                   Sentinel Insurance Company, Limited, 15-52103, 13161
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 27
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NEVADA CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               2.78

                                                        8116                               1.43

                                                        8810                                 .15




   COMPOSITE RATE: .05191


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930) 2 PERCENT
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .04
   CATASTROPHE (9741) .01
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   A                   Sentinel Insurance Company, Limited, 15-52103, 13161
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 27
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NEVADA
                                                         Number   Annual Remuneration    Remuneration         Premium




   TOTAL ESTIMATED ANNUAL PREMIUM




   Issue date    05/02/2024
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   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 28
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications NEW YORK
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                               3.77

                                                        5606                               3.25

                                                        8742                                 .23
                                                        8809                                 .15

                                                        8810                                 .10




   COMPOSITE RATE: .32455


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930) 2 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #001961459 (9898) 1.34 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .03
   NATURAL DISASTERS & CATASTROPHIC IND ACC (9741) .003
   NY ASSESSMENT       (0932) 9.2 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   7                      Twin City Fire Insurance Company, XX-XXXXXXX, 14974
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 29
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications OHIO
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        9139                                 .07




   TOTAL CLASS PREMIUM
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   TOTAL ESTIMATED ANNUAL PREMIUM




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    Schedule of Operations

   Co. Cd.   Insurer
   A                   Sentinel Insurance Company, Limited, 15-52103, 13161
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 30
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications OKLAHOMA
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .14




   COMPOSITE RATE: .02832


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.4 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9657)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .007
   CATASTROPHE (9741) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   1                   Hartford Fire Insurance Company, XX-XXXXXXX, 13269
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 31
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications OREGON CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3179                               1.19

                                                        8810                                 .08




   COMPOSITE RATE: .01248


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) .4 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .008
   CATASTROPHE (9741) .02
   OREGON WC ADMINISTRATIVE FUND 9 PERCENT
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   1                   Hartford Fire Insurance Company, XX-XXXXXXX, 13269
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 31
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications OREGON
                                                         Number   Annual Remuneration    Remuneration         Premium




   TOTAL ESTIMATED ANNUAL PREMIUM




   Issue date    05/02/2024
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   Co. Cd.   Insurer
   1                   Hartford Fire Insurance Company, XX-XXXXXXX, 13269
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 32
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications PENNSYLVANIA CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        0951                                 .21

                                                        0953                                 .08




   COMPOSITE RATE: .0025


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.4 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   MERIT RATING CREDIT #3236091 (9885) .95 (MERIT ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .03
   CATASTROPHE (9741) .02
   PA EMPLOYER ASSMT (0938) 2.42 PERCENT
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   1                   Hartford Fire Insurance Company, XX-XXXXXXX, 13269
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 32
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications PENNSYLVANIA
                                                         Number   Annual Remuneration    Remuneration         Premium




   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   H                   Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 33
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications RHODE ISLAND
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .15




   COMPOSITE RATE: .04247


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .008
   CATASTROPHE (9741) .02
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   P                   Property/Casualty Ins. Co. of Hftd., XX-XXXXXXX, 30147
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 34
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications SOUTH CAROLINA
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .14




   COMPOSITE RATE: .01164


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .006
   CATASTROPHE (9741) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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    Schedule of Operations

   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 35
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications TENNESSEE
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .06




   COMPOSITE RATE: .00614


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.4 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .006
   CATASTROPHE (9741) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   F                   Hartford Insurance Company of Illinois, XX-XXXXXXX, 20613
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 36
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications TEXAS
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        3724                                 .97

                                                        5606                                 .20

                                                        8107                                 .74
                                                        8742                                 .07

                                                        8809                                 .05

                                                        8810                                 .03




   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930) 2 PERCENT
   INCREASED LIMITS: PART TWO (9812) 1.4 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   DEDUCTIBLE CREDIT (9663)
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   PREMIUM DISCOUNT (0063) 6.7 PERCENT
   TERRORISM (9740) .005
   TOTAL ESTIMATED ANNUAL PREMIUM


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   Co. Cd.   Insurer
   H                      Trumbull Insurance Company, XX-XXXXXXX, 19666
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 37
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications UTAH
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .06




   COMPOSITE RATE: .00598


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9874) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .006
   CATASTROPHE (9741) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   6                   Hartford Underwriters Insurance Company, XX-XXXXXXX, 10456
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 38
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications VIRGINIA
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        5606                                 .57

                                                        8810                                 .05




   COMPOSITE RATE: .00412


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   VA EXPENSE CONSTANT (0900)
   TERRORISM (9740) .01
   TOTAL ESTIMATED ANNUAL PREMIUM
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   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 39
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications VERMONT CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .17




   COMPOSITE RATE: .02609


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   WAIVER OF SUBROGATION (0930)
   INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
   TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
   INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
   PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
   MANAGED CARE CREDIT (9722) 10 PERCENT
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TERRORISM (9740) .006
   CATASTROPHE (9741) .01
   Issue date    05/02/2024
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   Co. Cd.   Insurer
   5                   Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 39
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications VERMONT
                                                         Number   Annual Remuneration    Remuneration         Premium




   VT WC ADMINISTRATIVE FUND 1.5 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   7                   Twin City Fire Insurance Company, XX-XXXXXXX, 14974
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 40
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications WASHINGTON
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        9139                                 .02




   COMPOSITE RATE: .02


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   TOTAL CLASS PREMIUM
   TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM
   TOTAL ESTIMATED ANNUAL PREMIUM




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   Co. Cd.   Insurer
   3                   Hartford Casualty Insurance Company, XX-XXXXXXX, 14397
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 41
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications WEST VIRGINIA CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium
                                                        8810                                 .06




   COMPOSITE RATE: .01746


   THE FINAL PREMIUM FOR THIS
   STATE WILL BE DETERMINED BY
   APPLYING THE DEDUCTIBLE
   COMPOSITE RATE FOR THIS STATE
   PER $100 OF AUDITED WORKERS
   COMPENSATION REMUNERATION.
   MANUAL PREMIUM - STATE ACT
   MANUAL PREMIUM - FEDERAL ACTS
   WAIVER OF SUBROGATION - STATE ACT (0930)
   WAIVER OF SUBROGATION - FEDERAL ACTS (0930)
   INCREASED LIMITS: PART TWO (9812) 1.4 PERCENT
   TOTAL SUBJECT PREMIUM - STATE ACT
   TOTAL SUBJECT PREMIUM - FEDERAL ACTS
   INTERSTATE EXPERIENCE MOD #913272277 - STATE ACT (9898) .75 (ACTUAL)
   INTERSTATE EXPERIENCE MOD #913272277 - FEDERAL ACTS (9898) .75
   (ACTUAL)
   TOTAL MODIFIED PREMIUM - STATE ACT
   TOTAL MODIFIED PREMIUM - FEDERAL ACTS
   Issue date    05/02/2024
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    Schedule of Operations

   Co. Cd.   Insurer
   3                   Hartford Casualty Insurance Company, XX-XXXXXXX, 14397
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

   Effective date 04/01/2024       standard time. Policy Number      57 WV WQ0015                  Schedule Number 41
   Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications WEST VIRGINIA CONT.
                                                         Number   Annual Remuneration    Remuneration         Premium




   MANAGED CARE CREDIT - STATE ACT (9722) 10 PERCENT
   MANAGED CARE CREDIT - FEDERAL ACTS (9722) 10 PERCENT
   TOTAL STANDARD PREMIUM - STATE ACT
   TOTAL STANDARD PREMIUM - FEDERAL ACTS
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT - STATE ACT (9663)
   LARGE DEDUCTIBLE PREMIUM ADJUSTMENT - FEDERAL ACTS (9663)
   LARGE DEDUCTIBLE COVERAGE PREMIUM - STATE ACT
   LARGE DEDUCTIBLE COVERAGE PREMIUM - FEDERAL ACTS
   TERRORISM (9740) .005
   CATASTROPHE (9741) .01
   ESTIMATED ANNUAL PREMIUM
   WV REGULATORY SURCHARGE 5 PERCENT
   Issue date    05/02/2024
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    Schedule of Operations

   Co. Cd.   Insurer
   3                   Hartford Casualty Insurance Company, XX-XXXXXXX, 14397
   This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

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SUNPOWER CORPORATION                                                                    880 HARBOUR WAY SOUTH
SUITE 600                                                      RICHMOND, CA 94804
   4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
      information required below is subject to verification and change by audit.
                                                                  Premium Basis          Rate Per             Estimated
                                                         Code     Total Estimated        $100. of             Annual
   Classifications WEST VIRGINIA
                                                         Number   Annual Remuneration    Remuneration         Premium




   WV FIRE AND CASUALTY SURCHARGE .55 PERCENT
   TOTAL ESTIMATED ANNUAL PREMIUM




   Issue date    05/02/2024
   Form WC 99 00 05 (04-84) Printed in U.S.A. R-1
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                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
1         WC990323                    ADDITIONAL NAMED INSURED ENDORSEMENT


2         WC660346                    INSTALLMENT PREMIUM SCHEDULE


3         WC990548                    CANCELLATION BY US


4         WC990300B         08-00      WORKERS' COMPENSATION BROAD FORM ENDORSEMENT


5         WC990300C                    WORKERS' COMPENSATION BROAD FORM ENDORSEMENT


6         WC990300F                    WORKERS' COMPENSATION BROAD FORM ENDORSEMENT


7         WC990302B         08-00      WORKERS' COMPENSATION BROAD FORM ENDORSEMENT


8         WC990304B         08-00      WORKERS' COMPENSATION BROAD FORM ENDORSEMENT


9         WC990319D                    WORKERS' COMPENSATION BROAD FORM ENDORSEMENT


10        WC990376                     WORKERS' COMPENSATION BROAD FORM ENDORSEMENT


11        WC990380                     WORKERS' COMPENSATION BROAD FORM ENDORSEMENT


12        WC990358B                    AMENDMENT TO WORKERS' COMPENSATION BROAD FORM ENDT
                                       - EMP LIABILITY STOP GAP COVERAGE




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                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
13        WC990359B                   AMENDMENT TO WORKERS' COMPENSATION BROAD FORM ENDT
                                      - EMP LIABILITY STOP GAP COVERAGE

14        WC290601A                   NEW JERSEY LARGE RISK - LARGE DEDUCTIBLE
                                      ENDORSEMENT

15        WC990140B                   PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


16        WC990140C                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


17        WC990140G                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


18        WC990140I                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


19        WC990144E                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


20        WC990158A                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


21        WC990158B                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


22        WC990158C                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


23        WC990233C                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE ALAE
                                       LIMITED TO DEDUCTIBLE

24        WC990244D                    PART SEVEN - LOSS REIMBURSEMENT ENDORSEMENT




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                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
25        WC990247E                   PART SEVEN - LOSS REIMBURSEMENT ENDORSEMENT


26        WC990251          09-94     AMENDATORY ENDORSEMENT PART SEVEN - LOSS
                                      REIMBURSEMENT DEDUCTIBLE - OHIO

27        WC990270C        12-97      AMENDATORY ENDORSEMENT - OREGON PART SEVEN - LOSS
                                      REIMBURSEMENT DEDUCTIBLE

28        WC990385                     PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


29        WC990482A                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


30        WC990484A                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


31        WC990609B                    AMENDATORY ENDORSEMENT-PART SEVEN-LOSS
                                       REIMBURSEMENT DEDUCTIBLE (NEW HAMPSHIRE)

32        WC990486A                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


33        WC990512A                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


34        WC990236                     AMENDATORY ENDORSEMENT PART SEVEN - LOSS
                                       REIMBURSEMENT DEDUCTIBLE - VERMONT

35        WC990522A                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


36        WC990524A                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE




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                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
37        WC990555                    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


38        WC990601D                   PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


39        WC990603F                   PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


40        WC990619                     PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE


41        WC990676                     LOSS REIMBURSEMENT - LARGE DEDUCTIBLE


42        WC990513                     NOTICE TO INSURED - NEW YORK


43        WC000106A         04-92      LONGSHORE AND HARBOR WORKERS' COMPENSATION ACT
                                       COVERAGE ENDORSEMENT

44        WC040101A                    LONGSHORE AND HARBOR WORKERS' COMPENSATION ACT
                                       COVERAGE ENDORSEMENT - CALIFORNIA

45        WC000311                     VOLUNTARY COMPENSATION AND EMPLOYERS LIABILITY
                                       COVERAGE ENDORSEMENT

46        WC000311A                    VOLUNTARY COMPENSATION AND EMPLOYERS LIABILITY
                                       COVERAGE ENDORSEMENT

47        WC040305          01-85      VOLUNTARY COMPENSATION AND EMPLOYERS LIABILITY
                                       COVERAGE ENDORSEMENT CALIFORNIA

48        WC990041C                    VOLUNTARY COMPENSATION AND EMPLOYERS LIABILITY
                                       REIMBURSEMENT ENDORSEMENT




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                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
49        WC000203         04-84      VOLUNTARY COMPENSATION MARITIME COVERAGE
                                      ENDORSEMENT

50        WC060402                    CONNECTICUT FOREIGN VOLUNTARY COMPENSATION AND
                                      EMPLOYERS LIABILITY COVERAGE ENDORSEMENT

51        WC000313                    WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS
                                      ENDORSEMENT

52        WC040306          04-84      WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS
                                       ENDORSEMENT - CALIFORNIA

53        WC420304B                    TEXAS WAIVER OF OUR RIGHTS TO RECOVER FROM OTHERS
                                       ENDORSEMENT

54        WC430305                     UTAH WAIVER OF SUBROGATION ENDORSEMENT


55        WC000406                     PREMIUM DISCOUNT ENDORSEMENT


56        WC470301A                    WEST VIRGINIA EMPLOYERS LIABILITY INSURANCE
                                       DELIBERATE INTENTION EXCLUSION ENDORSEMENT

57        WC990039C                    ENDEMIC DISEASE ENDORSEMENT


58        WC990040D         05-00      REPATRIATION ENDORSEMENT


59        WC000109C                    OUTER CONTINENTAL SHELF LANDS ACT COVERAGE
                                       ENDORSEMENT

60        WC000201B                    MARITIME COVERAGE ENDORSEMENT




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                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
61        WC000301A        02-89      ALTERNATE EMPLOYER ENDORSEMENT


62        WC420601          07-84     TEXAS NOTICE OF MATERIAL CHANGE ENDORSEMENT


63        WC320601B                   CANCELLATION AND NON-RENEWAL ENDORSEMENT


64        WC990615                     FLORIDA - NOTICE OF CANCELLATION TO DESIGNATED PERSO
                                       N(S) OR ORGANIZATION(S) OTHER THAN THE NAMED INSURED

65        WC990616                     FLORIDA - NOTICE OF NON-RENEWAL TO DESIGNATED
                                       PERSON(S) OR ORGANIZATION(S) OTHER THAN THE NAMED IN

66        WC990529                     NOTICE OF CANCELLATION OR NONRENEWAL TO DESIGNATED
                                       CERTIFICATE HOLDER

67        WC990529                     NOTICE OF CANCELLATION OR NONRENEWAL TO DESIGNATED
                                       CERTIFICATE HOLDER

68        WC990536                     NOTICE OF CANCELLATION OR NONRENEWAL TO DESIGNATED
                                       CERTIFICATE HOLDER

69        WC990538                     NOTICE OF CANCELLATION OR NONRENEWAL TO DESIGNATED
                                       GOVERNMENTAL ENTITY

70        WC990395                     NOTICE OF CANCELLATION TO CERTIFICATE HOLDER(S)


71        WC990396                     NOTICE OF CANCELLATION TO DESIGNATED CERTIFICATE
                                       HOLDER(S)

72        WC040601B                    CALIFORNIA CANCELLATION ENDORSEMENT




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                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
73        G-3418-0                    PRODUCER COMPENSATION NOTICE


74        WC040301BB                  POLICY AMENDATORY ENDORSEMENT - CALIFORNIA


75        WC990626                    POLICY TERMS CONTROLLING ENDORSEMENT


76        WC000422C                    TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION
                                       ACT DISCLOSURE ENDORSEMENT

77        WC040360B                    EMPLOYERS' LIABILITY COVERAGE AMENDATORY
                                       ENDORSEMENT - CALIFORNIA

78        WC450602                     VIRGINIA AMENDATORY ENDORSEMENT


79        WC430601                     UTAH WORKPLACE SAFETY PROGRAM ENDORSEMENT


80        WC080601          04-84      DISTRICT OF COLUMBIA CANCELLATION ENDORSEMENT


81        WC990069          04-84      AMENDATORY ENDORSEMENT COLORADO


82        WC060301          04-84      CONNECTICUT APPLICATION OF WORKERS COMPENSATION
                                       INSURANCE ENDORSEMENT

83        WC310308          04-84      NEW YORK LIMIT OF LIABILITY ENDORSEMENT


84        WC370601          04-84      SPECIAL PENNSYLVANIA ENDORSEMENT INSPECTION OF
                                       MANUALS




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                                880 HARBOUR WAY SOUTH, SUITE 600
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     Item 3.D. of the Information Page is completed to include the following endorsements:
85        WC370602         04-84      PENNSYLVANIA NOTICE


86        WC050402          11-90     COLORADO CLASSIFICATION ENDORSEMENT


87        WC090606                    FLORIDA EMPLOYMENT AND WAGE INFORMATION RELEASE
                                      ENDORSEMENT

88        WC660306                     WORKERS' COMPENSATION COST CONTAINMENT
                                       CERTIFICATION DISCLOSURE STATEMENT

89        WC370603A                    PENNSYLVANIA ACT 86-1986 ENDT NONRENEWAL,NOTICE OF
                                       INCREASE OF PREMIUM, AND RETURN OF UNEARNED PREMIUM

90        WC000419                     PREMIUM DUE DATE ENDORSEMENT


91        WC000419A                    PART FIVE - PREMIUM AMENDATORY ENDORSEMENT


92        WC430602                     UTAH CANCELLATION ENDORSEMENT


93        WC060601A                    CONNECTICUT NONRENEWAL ENDORSEMENT


94        WC520602                     HAWAII NOTIFICATION ENDORSEMENT


95        WC990371                     ARIZONA COUNTERSIGNATURE EXCLUSION ENDORSEMENT


96        WC290306B                    NEW JERSEY PART TWO EMPLOYERS LIABILITY ENDORSEMENT




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                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
97        WC360601E                   OREGON CANCELLATION ENDORSEMENT


98        WC660281C                   WORKERS' COMPENSATION SELECTION OF DESIGNATED
                                      MEDICAL PROVIDER DISCLOSURE STATEMENT

99        WC270601C                   NEVADA CANCELLATION AND NONRENEWAL ENDORSEMENT


100       WC020401C                    ARIZONA ALCOHOL AND DRUG-FREE WORKPLACE PREMIUM
                                       CREDIT ENDORSEMENT

101       WC090303                     FLORIDA - EMPLOYERS LIABILITY COVERAGE ENDORSEMENT


102       WC060303C                    CONNECTICUT WORKERS COMPENSATION FUNDS                ENDORSEMENT


103       WC120306A                    ILLINOIS WORKERS' COMPENSATION AND EMPLOYERS'
                                       LIABILITY INSURANCE POLICY EXCLUSION ENDORSEMENT

104       WC320301D                    NORTH CAROLINA AMENDED COVERAGE ENDORSEMENT


105       WC190602                     MARYLAND NOTIFICATION OF 45-DAY UNDERWRITING PERIOD
                                       ENDORSEMENT

106       WC660074B                    PREMIUM DISCOUNT TABLE - TEXAS


107       WC120601F                    ILLINOIS AMENDATORY ENDORSEMENT


108       WC000421F                    CATASTROPHE (OTHER THAN CERTIFIED ACTS OF
                                       TERRORISM) PREMIUM ENDORSEMENT




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  Item 3.D. of the Information Page is completed to include the following endorsements:
109     WC000421E                  CATASTROPHE (OTHER THAN CERTIFIED ACTS OF
                                   TERRORISM) PREMIUM ENDORSEMENT

110     WC090403C                  FLORIDA TERRORISM RISK INSURANCE EXTENSION ACT
                                   ENDORSEMENT

111     WC310618A                  NEW YORK WORKERS' COMPENSATION POLICYHOLDER NOTICE
                                   OF RIGHT TO APPEAL

112     WC000414A                   90-DAY REPORTING REQUIREMENT - NOTIFICATION OF
                                    CHANGE IN OWNERSHIP ENDORSEMENT

113     WC020601C                   ARIZONA CANCELLATION ENDORSEMENT


114     WC190601G                   MARYLAND CANCELLATION AND NONRENEWAL                  ENDORSEMENT


115     WC420301L                   TEXAS AMENDATORY ENDORSEMENT


116     WC090607A                   FLORIDA WORKERS COMPENSATION INSURANCE GUARANTY
                                    ASSOCIATION SURCHARGE NOTIFICATION ENDORSEMENT

117     WC310319M                   NEW YORK CONSTRUCTION CLASSIFICATION PREMIUM
                                    ADJUSTMENT PROGRAM EXPLANATORY END

118     WC000425                    EXPERIENCE RATING MODIFICATION FACTOR REVISION
                                    ENDORSEMENT

119     WC260601C                   NEBRASKA CANCELLATION AND NONRENEWAL ENDORSEMENT


120     WC090408A                   FLORIDA INSUFFICIENT FUNDS ENDORSEMENT




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121     WC090407A                  FLORIDA NON-COOPERATION WITH PREMIUM AUDIT
                                   ENDORSEMENT

122     WC260403                   NEBRASKA EXPERIENCE RATING MODIFICATION FACTOR
                                   REVISION ENDORSEMENT

123     WC000424                   AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT


124     WC040422                    CALIFORNIA SHORT-RATE CANCELLATION


125     WC380602                    RHODE ISLAND SAFETY INSPECTION ENDORSEMENT


126     WC380601         04-84      RHODE ISLAND DIRECT LIABILITY STATUTE ENDORSEMENT


127     WC990322                    VERMONT CHANGES:        PROPERTY/CASUALTY - CIVIL UNION
                                    ENDORSEMENT

128     WC440601         04-84      VERMONT LAW ENDORSEMENT


129     WC440602C                   VERMONT CANCELLATION AND NONRENEWAL ENDORSEMENT


130     WC190402A                   MARYLAND ALCOHOL & DRUG-FREE WORKPLACE PREMIUM
                                    CREDIT ENDORSEMENT

131     WC370401                    PENNSYLVANIA AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT


132     WC360604                    OREGON AMENDATORY ENDORSEMENT




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                             880 HARBOUR WAY SOUTH, SUITE 600
                             RICHMOND, CA 94804




  Item 3.D. of the Information Page is completed to include the following endorsements:
133     WC170601J                  LOUISIANA AMENDATORY ENDORSEMENT


134     WC170602A                  LOUISIANA COST CONTAINMENT ACT ENDORSEMENT


135     WC240406D                  MISSOURI EMPLOYER PAID MEDICAL ENDORSEMENT


136     WC170303                    LOUISIANA DUTY TO DEFEND ENDORSEMENT


137     WC240601B                   MISSOURI CANCELLATION AND NONRENEWAL ENDORSEMENT


138     WC240604C                   MISSOURI AMENDATORY ENDORSEMENT


139     WC240602B                   MISSOURI PROPERTY AND CASUALTY GUARANTY ASSOCIATION
                                    ENDORSEMENT

140     WC150401A                   KANSAS FINAL PREMIUM ENDORSEMENT


141     WC150601A        07-86      KANSAS CANCELLATION AND NONRENEWAL ENDORSEMENT


142     WC990001K                   SIGNATURE PAGE


143     WC100601C                   GEORGIA CANCELLATION, NONRENEWAL AND CHANGES
                                    ENDORSEMENT

144     WC250401A                   MONTANA AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT




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  Item 3.D. of the Information Page is completed to include the following endorsements:
145     WC020603A                  ARIZONA AMENDATORY ENDORSEMENT


146     WC210304                   MICHIGAN LAW ENDORSEMENT


147     WC210303A                  MICHIGAN NOTICE TO POLICYHOLDER ENDORSEMENT


148     WC250305                    MONTANA INTENTIONAL INJURY EXCLUSION ENDORSEMENT


149     WC250602                    MONTANA SAFETY ENDORSEMENT


150     WC030601B                   ARKANSAS AMENDATORY ENDORSEMENT


151     WC250601B                   MONTANA CANCELLATION AND NONRENEWAL ENDORSEMENT


152     WC990374                    MICHIGAN AMENDATORY ENDORSEMENT


153     WC280402A                   NEW HAMPSHIRE MANAGED CARE ENDORSEMENT


154     WC350303                    OKLAHOMA EMPLOYERS LIABILITY INTENTIONAL TORT
                                    EXCLUSION ENDORSEMENT

155     WC350603                    OKLAHOMA FRAUD WARNING ENDORSEMENT


156     WC180606                    MAINE NOTICE OF FILING OF FIRST REPORTS OF INJURY
                                    WITHIN SEVEN DAYS




  Form WC 99 03 68 Printed in U.S.A.
  Process Date: 05/02/2024                                                Policy Expiration Date: 04/01/2025
                Case 24-11649-CTG           Doc 812-2       Filed 10/16/24      Page 143 of 499




      EXTENSION OF THE INFORMATION PAGE - ITEM 3.D. - ENDORSEMENTS


  Policy Number: 57 WV WQ0015                                 Endorsement Number:
  Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
  Named Insured and Address: SUNPOWER CORPORATION
                             880 HARBOUR WAY SOUTH, SUITE 600
                             RICHMOND, CA 94804




  Item 3.D. of the Information Page is completed to include the following endorsements:
157     WC180607A                  MAINE SUPPLEMENTAL BENEFITS FUND ENDORSEMENT


158     WC180604                   MAINE FINAL PREMIUM AUDIT ENDORSEMENT


159     WC350604                   OKLAHOMA ELECTION OF COVERAGE NOTIFICATION
                                   ENDORSEMENT

160     WC470601         07-08      WEST VIRGINIA CANCELLATION ENDORSEMENT


161     WC280604                    NEW HAMPSHIRE AMENDATORY ENDORSEMENT


162     WC180601         04-84      MAINE INSPECTION IMMUNITY ENDORSEMENT (TITLE 14
                                    MAINE REVISED STATUTES ANNOTATED SECTION 167)

163     WC300601A                   NEW MEXICO CANCELLATION AND NONRENEWAL ENDORSEMENT


164     WC470302                    WEST VIRGINIA WORKERS COMPENSATION INSURANCE
                                    RECOVERY FROM OTHER ENDORSEMENT

165     WC280601         04-84      NEW HAMPSHIRE SOLE REPRESENTATIVE ENDORSEMENT


166     WC350601E                   OKLAHOMA CANCELLATION, NONRENEWAL AND CHANGE
                                    ENDORSEMENT

167     WC180603                    MAINE CANCELLATION AND NONRENEWAL ENDORSEMENT


168     WC160601                    KENTUCKY CANCELLATION AND NONRENEWAL ENDORSEMENT




  Form WC 99 03 68 Printed in U.S.A.
  Process Date: 05/02/2024                                                Policy Expiration Date: 04/01/2025
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      EXTENSION OF THE INFORMATION PAGE - ITEM 3.D. - ENDORSEMENTS


  Policy Number: 57 WV WQ0015                                 Endorsement Number:
  Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
  Named Insured and Address: SUNPOWER CORPORATION
                             880 HARBOUR WAY SOUTH, SUITE 600
                             RICHMOND, CA 94804




  Item 3.D. of the Information Page is completed to include the following endorsements:
169     WC160602                   KENTUCKY NOTICE OF APPEAL RIGHT ENDORSEMENT


170     WC000414A                  90-DAY REPORTING REQUIREMENT - NOTIFICATION OF
                                   CHANGE IN OWNERSHIP ENDORSEMENT

171     WC000421F                  CATASTROPHE (OTHER THAN CERTIFIED ACTS OF
                                   TERRORISM) PREMIUM ENDORSEMENT




  Form WC 99 03 68 Printed in U.S.A.
  Process Date: 05/02/2024                                                Policy Expiration Date: 04/01/2025
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                                                                                                               ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     ADDITIONAL NAMED INSURED ENDORSEMENT




Policy Number: 57 WV WQ0015                                 Endorsement Number: 1
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                           SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



The policy is amended to include the following as additional named insureds:
SUNPOWER CORPORATION         FEIN:
SUNPOWER CORPORATION SYSTEMS FEIN:
SOLARWORLD AMERICAS, INC




Nothing herein contained shall be held to vary, waive, alter, or extend any of the terms, conditions, agreements or
declarations of the policy, other than as herein stated.

This endorsement shall not be binding unless countersigned by a duly authorized agent of the company, provided
that if this endorsement takes effect as of the effective date of the policy and, at issue of said policy, forms a part
thereof, countersignature on the declarations page of said policy by a duly authorized agent of the company shall
constitute valid countersignature of this endorsement

                                       Countersigned by
                                                                                           Authorized Representative


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Process Date:                                                                  Policy Expiration Date:
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                   INSTALLMENT PREMIUM SCHEDULE




The Total Estimated Annual Premium of   $676,064    Will be payable in installments as outlined in the
SCHEDULE OF PAYMENTS


SCHEDULE OF PAYMENTS

NO                                   DUE DATE                     ESTIMATED
                                     OF PAYMENT                   ADVANCE
                                                                  PREMIUM
1                           04/01/2024
2                           05/01/2024
3                           06/01/2024
4                           07/01/2024
5                           08/01/2024
6                           09/01/2024
7                           10/01/2024
8                           11/01/2024
9                           12/01/2024




                            TOTALS




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                                                                                                      ABCDEFGHIJ




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                       CANCELLATION BY US



Policy Number: 57 WV WQ0015                                 Endorsement Number: 3
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Paragraph 2. Of Part Six-Conditions, D. Cancellation in the Workers’ Compensation and Employers’ Liability
Insurance Policy Provisions is replaced by the following:

2. We may cancel this policy by mailing or delivering to the Named Insured written notice of cancellation at least:
    a.  10        days before the effective date of cancellation or as required by statute whichever is longer if
           we cancel for nonpayment of premium; or
     b.    90      days before the effective date of cancellation or as required by statute, whichever is longer, if
           we cancel for any other reason.




Nothing herein contained shall be held to vary, waive, alter, or extend any of the terms, conditions, agreements or
declarations of the policy, other than as herein stated.

Form WC 99 05 48 Printed in USA

Process Date:                                                             Policy Expiration Date:
               Case 24-11649-CTG           Doc 812-2       Filed 10/16/24     Page 148 of 499


            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


           WORKERS’ COMPENSATION BROAD FORM ENDORSEMENT
Policy Number:57 WV WQ0015                                 Endorsement Number: 4
Effective Date: 04/01/2024      Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804


 Section I of this endorsement expands coverage provided under WC 00 00 00.
 Section II of this endorsement provides additional coverage usually only provided by endorsement.
 Section III of this endorsement is a Schedule of Covered States
 You may use the index to locate these coverage features quickly:

                                                   INDEX

 SUBJECT                                                                                    PAGE

 SECTION I                                                                                    2
 PARTS ONE and TWO                                                                            2
   01 We Will Also Pay                                                                        2
 PART - THREE                                                                                 2
   02 How This Insurance Works                                                                2
 PART - SIX                                                                                   2
   03 Transfer of Your Rights and Duties                                                      2
   04 Cancellation                                                                            2
   05 Liberalization                                                                          2
 SECTION II                                                                                   2
 VOLUNTARY COMPENSATION INSURANCE                                                             2
   06 Voluntary Compensation Insurance                                                        2
         A. How This Insurance Applies                                                        2
         B. We Will Pay                                                                       3
         C. Exclusions                                                                        3
         D. Before We Pay                                                                     3
         E. Recovery From Others                                                              3
         F. Employers Liability Insurance                                                     3
 EMPLOYERS LIABILITY STOP GAP COVERAGE                                                        3
   07 Employers Liability Stop Gap Coverage                                                   3
       A. Stop Gap Coverage Limited to Montana, North Dakota, Ohio,                           3
            Washington, West Virginia and Wyoming
       B. Part One does not Apply                                                             3
       C. Application of Coverage                                                             3
       D. Additional Exclusions                                                               3
       E. West Virginia                                                                       3
 SECTION III                                                                                  4
   08 Schedule Of Covered States                                                              4


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                                             (c) 2000, The Hartford
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                                                  SECTION I

          PARTS ONE and TWO                                      4. If you have work on the effective date of this
                                                                    policy in any state not listed in Item 3.A. of
  1. WE WILL ALSO PAY                                               the Information Page, coverage will not be
                                                                    afforded for that state unless we are notified
    D. We Will Also Pay of Part One (WORKERS
                                                                    within sixty days.
       COMPENSATION INSURANCE); and

    E. We Will Also Pay of Part Two (EMPLOYERS                                    PART SIX
       LIABILITY INSURANCE) is replaced by the
                                                               3. Transfer Of Your Rights and Duties
       following:
                                                                 C. Transfer Of Your Rights and Duties of Part
       We Will Also Pay                                             6 (Conditions) is replaced by the following:

                                                                    Your rights or duties under this policy may not
       We will also pay these costs, in addition to other
       amounts payable under this insurance, as part                be transferred without our written consent.
       of any claim, proceeding, or suit we defend:
                                                                    If you die and we receive notice within sixty
       1. reasonable expenses incurred at our request,              days after your death, we will cover your legal
          INCLUDING loss of earnings;                               representative as insured.

       2. premiums for bonds to release attachments            4. Cancellation
          and for appeal bonds in bond amounts up to
          the limit of our liability under this insurance;       Paragraph 2. of D. Cancellation of Part 6
                                                                 (Conditions) is replaced by the following:
       3. litigation costs taxed against you;
                                                                     2. We may cancel this policy. We must mail
       4. interest on a judgment as required by law                     or deliver to you not less than 15 days
          until we offer the amount due under this law;                 advance written notice stating when the
          and                                                           cancellation is to take effect. Mailing that
                                                                        notice to you at your mailing address
       5. expenses we incur.                                            shown in Item 1 of the Information Page
                                                                        will be sufficient to prove notice.
          PART THREE
                                                               5. Liberalization
  2. How This Insurance Applies                                  If we adopt a change in this form that would
                                                                 broaden the coverage of this form without extra
    Paragraph 4. of A. How This Insurance                        charge, the broader coverage will apply to this
    Applies of Part 3 (Other States Insurance) is                policy. It will apply when the change becomes
    replaced by the following:                                   effective in your state.

                                                   SECTION II
  VOLUNTARY COMPENSATION AND EMPLOYERS                            2. The bodily injury must arise out of and in the
  LIABILITY COVERAGE                                                 course of employment or incidental to work in
6. Voluntary Compensation Insurance                                  a state shown in Item 3.A. of the Information
                                                                     Page.
  A. How This Insurance Applies
                                                                  3. The bodily injury must occur in the United
     This insurance applies to bodily injury by                      States of America, its territories or
     accident or bodily injury by disease. Bodily                    possessions, or Canada, and may occur
     injury includes resulting death.                                elsewhere if the employee is a United States
                                                                     or Canadian citizen, or otherwise legal
     1. The bodily injury must be sustained by any                   resident, and legally employed, in the United
        officer or employee not subject to the                       States or Canada and temporarily away form
        workers compensation law of any state                        those places.
        shown in Item 3.A. of the Information Page.

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       4. Bodily injury by accident must occur during         E. Recovery From Others
          the policy period.                                     If we make a recovery from others, we will keep
       5. Bodily injury by disease must be caused or             an amount equal to our expenses of recovery
          aggravated by the conditions of the officer’s          and the benefits we paid.        We will pay the
          or employee’s employment. The officer’s or             balance to the persons entitled to it.       If the
          employee’s last day of last exposure to the            persons entitled to the benefits of this insurance
          conditions causing or aggravating such                 make a recovery from others, they must
          bodily injury by disease must occur during             reimburse us for the benefits we paid them.
          the policy period.                                  F. Employers Liability Insurance
                                                                 Part Two (Employers Liability Insurance)
   B. We Will Pay
                                                                 applies to bodily injury covered by this
      We will pay an amount equal to the benefits that           endorsement as though the State of
      would be required of you as if you and your                Employment was shown in Item 3.A. of the
      employees were subject to the workers                      Information Page.
      compensation law of any state shown in Item             This provision 6. does not apply in New Jersey or
      3.A. of the Information Page. We will pay those         Wisconsin.
      amounts to the persons who would be entitled         EMPLOYERS LIABILITY STOP GAP COVERAGE
      to them under the law.
                                                           7. EMPLOYERS LIABILITY STOP GAP COVERAGE
   C. Exclusions                                              A. This coverage only applies in Montana, North
     This insurance does not cover:                              Dakota, Ohio, Washington, West Virginia and
                                                                 Wyoming.
     1. any obligation imposed        by workers              B. Part One (Workers Compensation Insurance)
        compensation or occupational disease law,                does not apply to work in states shown in
        or any similar law.                                      Paragraph A above.
     2. bodily injury intentionally caused          or        C. Part Two (Employers Liability Insurance) applies
        aggravated by you.                                       in the states, shown in Paragraph A, as though
                                                                 they were shown in Item 3.A. of the Information
     3. officers or employees who have elected not
                                                                 Page.
        to be subject to the workers compensation
        law.                                                  D. Part Two, Section C. Exclusions is changed by
                                                                 adding these exclusions.
     4. partners or sole proprietors not covered
        under the Standard Sole Proprietors,                     This insurance does not cover:
        Partners, Officers and Other Coverage                    5. bodily    injury intentionally caused or
        Endorsement.                                                aggravated by you or in Ohio bodily injury
                                                                    resulting from an act which is determined by
   D. Before We Pay                                                 an Ohio court of law to have been committed
     Before we pay benefits to the persons entitled to              by you with the belief that an injury is
     them, they must:                                               substantially certain to occur. However, the
     1. Release you and us, in writing, of all                      cost of defending such claims or suits in Ohio
        responsibility for the injury or death.                     is covered.

      2. Transfer to us their right to recover from             13. bodily injury sustained by any member of
         others who may be responsible for the injury               the flying crew of any aircraft;
         or death.                                              14. any claim for bodily injury with respect to
      3. Cooperate with us and do everything                        which you are deprived of any defense or
         necessary to enable us to enforce the right to             defenses or are otherwise subject to
         recover from others.                                       penalty because of default in premium
                                                                    under the provisions of the workers’
     If the persons entitled to the benefits of this                compensation law or laws of a state shown
     insurance fail to do those things, our duty to pay             in Paragraph A.
     ends at once. If they claim damages from you or         E. This insurance applies to damages for which
     from us for the injury or death, our duty to pay
                                                                you are liable under West Virginia code Annot.
     ends at once.
                                                                23-4-2.

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                                           SECTION III

8. SCHEDULE OF COVERED STATES

  A. This endorsement only applies in the states        B. If a state, shown in Item 3.A. of the Information
     listed in this Schedule of Covered States.            Page, approves this endorsement after the
                                                           effective date of this policy, this endorsement will
                                                           apply to this policy. The coverage will apply in
                                                           the new state on the effective date of the state
                                                           approval.


  C. Schedule of Covered States:

 AZ, GA, HI, IA, IN, KS, KY, ME, MI, NE, NH, NM, OK, OR, RI, SC, UT, VA, VT




                                Countersigned by
                                                                         Authorized Representative



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                                                                                                      ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          WORKERS’ COMPENSATI ON BROAD FORM ENDORSE MENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 5
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Section I of this endorsement expands coverage provided under WC 00 00 00 A.
Section II of this endorsement provides additional coverage usually only provided by endorsement.
Section III of this endorsement is a Schedule of Covered States.
You may use the index to locate these coverage features quickly:
                                           INDEX
SUBJECT                                                                               PAGE

SECTION I                                                                             2
PARTS ONE and TWO                                                                     2
   01 We Will Also Pay                                                                2
PART - THREE                                                                          2
   02 How This Insurance Works                                                        2
PART - SIX                                                                            2
   03 Transfer of Your Rights and Duties                                              2
   04 Cancellation                                                                    2
   05 Liberalization                                                                  2
SECTION II                                                                            2
VOLUNTARY COMPENSATION INSURANCE                                                      2
   06 Voluntary Compensation Insurance                                                2
       A. How This Insurance Applies                                                  2
       B. We will Pay                                                                 3
       C. Exclusions                                                                  3
       D. Before We Pay                                                               3
       E. Recovery From Others                                                        3
       F. Employers’ Liability Insurance                                              3
EMPLOYERS’ LIABILITY STOP GAP COVERAGE                                                3
   07 Employers’ Liability Stop Gap Coverage                                          3
       A. Stop Gap Coverage Limited Montana, North Dakota, Ohio,                      3
           Washington and Wyoming
       B. Part One does not Apply                                                     3
       C. Application of Coverage                                                     3
       D. Additional Exclusions                                                       3

SECTION III                                                                           4
   08 Schedule of Covered States                                                      4




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                                           © 2010, The Hartford
Process Date:                                                Policy Expiration Date:
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                                                  SECTION I

             PARTS ONE and TWO                                     the Information Page, coverage will not be
1. WE WILL ALSO PAY                                                afforded for that state unless we are notified
                                                                   within sixty days.
   D. We Will Also Pay of Part One (WORKERS’
   COMPENSATION INSURANCE); and
                                                                                PART SIX
   E. We Will Also Pay of Part Two
   (EMPLOYERS’ LIABILITY INSURANCE) is                   3. Transfer Of Your Rights and Duties
   replaced by the following:                                  C. Transfer Of Your Rights and Duties of
       We Will Also Pay                                           Part 6 (Conditions) is replaced by the
                                                                  following:
       We will also pay these costs, in addition to
       other amounts payable under this insurance,                 Your rights or duties under this policy may
       as part of any claim, proceeding, or suit we                not be transferred without our written
       defend:                                                     consent.
       1. reasonable expenses incurred at our                      If you die and we receive notice within sixty
           request, INCLUDING loss of earnings;                    days after your death, we will cover your
                                                                   legal representative as insured.
       2. premiums for bonds to release
          attachments and for appeal bonds in            4. Cancellation
          bond amounts up to the limit of our                  Paragraph 2. of D. Cancellation of Part 6
          liability under this insurance;                      (Conditions) is replaced by the following:
       3. litigation costs taxed against you;                  2. We may cancel this policy. We mus t mail or
       4. interest on a judgment as required by                   deliver to you not less than 15 days advance
          law until we offer the amount due under                 written notice stating when the cancellation
          this law; and                                           is to take effect. Mailing that notice to you at
       5. expenses we incur.                                      your mailing address shown in Item 1 of the
                                                                  Information Page will be sufficient to prove
                                                                  notice.
                  PART THREE
                                                         5. Liberalization
2. How This Insurance Applies
                                                               If we adopt a change in this form that would
   Paragraph 4. of A.        How This Insurance                broaden the coverage of this form without extra
   Applies of Part 3 (Other States Insurance) is               charge, the broader coverage will apply to this
   replaced by the following:                                  policy. It will apply when the change becomes
   4. If you have work on the effective date of this           effective in your state.
       policy in any state not listed in Item 3.A. of


                                                  SECTION II

      VOLUNTARY COMPENSATION AND                                   2. The bodily injury must arise out of and in
      EMPLOYERS’ LIABILITY COVERAGE                                   the course of employment necessary or
6. Voluntary Compensation Insurance                                   incidental to work in a state shown in
                                                                      Item 3.A. of the Information Page.
   A. How This Insurance Applies
                                                                   3. The bodily injury must occur in the
       This insurance applies to bodily injury by                     United States of America, its territories
       accident or bodily injury by disease. Bodily                   or possessions, or Canada, and may
       injury includes resulting death.                               occur elsewhere if the employee is a
       1. The bodily injury must be sustained by                      United States or Canadian citizen, or
          an employee not subject to the workers’                     otherwise legal resident, and legally
          compensation law of any state shown in                      employed, in the United States or
          Item 3.A. of the Information Page.                          Canada and temporarily away from
                                                                      those places.




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       4. Bodily injury by accident must occur                   keep an amount equal to our expenses of
          during the policy period.                              recovery and the benefits we paid. We will
       5. Bodily injury by disease must be caused                pay the balance to the persons entitled to it.
          or aggravated by the conditions of your                If the persons entitled to the benefits of this
          employment. The employee’s last day of                 insurance make a recovery from others, they
          last exposure to the conditions causing                must reimburse us for the benefits we paid
          or aggravating such bodily injury by                   them.
          disease must occur during the policy                F. Employers’ Liability Insurance
          period.                                                Part Two (Employers’ Liability Insurance)
   B. We Will Pay                                                applies to bodily injury covered by this
       We will pay an amount equal to the benefits               endorsement as though the State of
       that would be required of you as if you and               Employment was shown in Item 3.A. of the
       your employees were subject to the workers’               Information Page.
       compensation law of any state shown in Item            This provision 6. does not apply in New Jersey
       3.A. of the Information Page. We will pay              or Wisconsin.
       those amounts to the persons who would be           EMPLOYERS’ LIABILITY STOP GAP COVERAGE
       entitled to them under the law.
                                                          7. Employers’ Liability Stop Gap Coverage
   C. Exclusion
                                                               A.    This coverage only applies in Montana,
       This insurance does not cover:                                North Dakota, Ohio, Washington, and
       1. any obligation imposed by workers’                         Wyoming.
          compensation or occupational disease                 B.    Part One (Workers’ Compensation
          law or any similar law.                                    Insurance) does not apply to work in
       2. bodily injury intentionally caused or                      states shown in Paragraph A above.
          aggravated by you.                                   C.    Part    Two      (Employers’     Liability
       3. officers or employees who have elected                     Insurance) applies in the states, shown
          not to be subject to the state workers’                    in Paragraph A., as though they were
          compensation law.                                          shown in Item 3.A. of the Information
       4. partners or sole proprietors not covered                   Page.
          under the Standard Sole Proprietors,                 D.    Part Two, Section C. Exclusions is
          Partners, Officers and Others Coverage                     changed by adding these exclusions.
          Endorsement.                                           This insurance does not cover;
   D. Before We Pay                                              5. bodily injury intentionally caused or
       Before we pay benefits to the persons                         aggravated by you or in Ohio bodily
       entitled to them, they must:                                  injury resulting from an act which is
       1. Release you and us, in writing, of all                     determined by an Ohio court of law to
            responsibility for the injury or death.                  have been committed by you with the
                                                                     belief than an injury is substantially
       2. Transfer to us their right to recover from                 certain to occur. However, the cost of
            others who may be responsible for the                    defending such claims or suits in Ohio is
            injury or death.                                         covered.
       3. Cooperate with us and do everything                    13. bodily injury sustained by any member of
            necessary to enable us to enforce the                    the flying crew of any aircraft.
            right to recover from others.
                                                                 14. any claim for bodily injury with respect to
       If the persons entitled to the benefits of this               which you are deprived of any defense
       insurance fail to do those things, our duty to                or defenses or are otherwise subject to
       pay ends at once. If they claim damages                       penalty because of default in premium
       from you or from us for the injury or death,                  under the provisions of the workers’
       our duty to pay ends at once.                                 compensation law or laws of a state
   E. Recovery From Others                                           shown in Paragraph A.
       If we make a recovery from others, we will




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                                                  SECTION III

8. SCHEDULE OF COVERED STATES                                   B. If a state, shown in Item 3.A. of the
   A. This endorsement only applies in the states                  Information     Page,     approves      this
      listed in this Schedule of Covered States.                   endorsement after the effective date of this
                                                                   policy, this endorsement will apply to this
                                                                   policy. The coverage will apply in the new
                                                                   state on the effective date of the state
                                                                   approval.
   C. Schedule of Covered States:

       CT




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                                                                                                    ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          WORKERS' COMPENSATION BROAD FORM ENDORSEMENT

Policy Number: 57 WV WQ0015                                 Endorsement Number: 6
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




Section I of this endorsement expands coverage provided under WC 00 00 00.
Section II of this endorsement provides additional coverage usually only provided by endorsement.
Section III of this endorsement is a Schedule of Covered States.
You may use the index to locate these coverage features quickly:
                                              INDEX
SUBJECT                                                                             PAGE
SECTION I                                                                             2
PARTS ONE and TWO                                                                     2
   01 We Will Also Pay                                                                2
PART - THREE                                                                          2
   02 How This Insurance Works                                                        2
PART - SIX                                                                            2
   03 Transfer of Your Rights and Duties                                              2
   04 Cancellation                                                                    2
   05 Liberalization                                                                  2
SECTION II                                                                            2
VOLUNTARY COMPENSATION INSURANCE                                                      2
   06 Voluntary Compensation Insurance                                                2
       A. How This Insurance Applies                                                  2
       B. We will Pay                                                                 3
       C. Exclusions                                                                  3
       D. Before We Pay                                                               3
       E. Recovery From Others                                                        3
       F. Employers' Liability Insurance                                              3
EMPLOYERS' LIABILITY STOP GAP COVERAGE                                                3
   07 Employers' Liability Stop Gap Coverage                                          3
       A. Stop Gap Coverage Limited to North Dakota, Ohio, Washington, and            3
           Wyoming
       B. Part One does not Apply                                                     3
       C. Application of Coverage                                                     3
       D. Additional Exclusions                                                       3
SECTION III                                                                           4
   08 Schedule of Covered States                                                      4

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                                                   SECTION I
             PARTS ONE and TWO                                        3.A. of the Information Page, coverage
1. WE WILL ALSO PAY                                                   will not be afforded for that state unless
                                                                      we are notified within sixty days.
   D. We Will Also Pay of Part One (WORKERS'
      COMPENSATION INSURANCE); and                                               PART SIX
   E. We Will Also Pay of Part Two                        3. Transfer Of Your Rights and Duties
      (EMPLOYERS' LIABILITY INSURANCE) is
      replaced by the following:                             C. Transfer Of Your Rights and Duties of
      We Will Also Pay                                            Part 6 (Conditions) is replaced by the
                                                                  following:
      We will also pay these costs, in addition to                Your rights or duties under this policy may
      other amounts payable under this insurance,                 not be transferred without our written
      as part of any claim, proceeding, or suit we                consent.
      defend:
      1. reasonable expenses incurred at our                      If you die and we receive notice within sixty
          request, INCLUDING loss of earnings;                    days after your death, we will cover your
                                                                  legal representative as insured.
      2. premiums for bonds to release                    4. Cancellation
          attachments and for appeal bonds in
          bond amounts up to the limit of our                Paragraph 2. of D. Cancellation of Part 6
          liability under this insurance;                    (Conditions) is replaced by the following:
      3. litigation costs taxed against you;                      2. We may cancel this policy. We must
      4. interest on a judgment as required by                         mail or deliver to you not less than 15
          law until we offer the amount due under                      days advance written notice stating
          this law; and                                                when the cancellation is to take effect.
                                                                       Mailing that notice to you at your mailing
      5. expenses we incur.                                            address shown in Item 1 of the
                                                                       Information Page will be sufficient to
                  PART THREE                                           prove notice.
2. How This Insurance Applies                             5. Liberalization
   Paragraph 4. of A. How This Insurance                     If we adopt a change in this form that would
   Applies of Part 3 (Other States Insurance) is             broaden the coverage of this form without extra
   replaced by the following:                                charge, the broader coverage will apply to this
       4. If you have work on the effective date of          policy. It will apply when the change becomes
           this policy in any state not listed in Item       effective in your state.


                                                  SECTION II

      VOLUNTARY COMPENSATION AND                                  2. The bodily injury must arise out of and in
     EMPLOYERS' LIABILITY COVERAGE                                   the course of employment or incidental
6. Voluntary Compensation Insurance                                  to work in a state shown in Item 3.A. of
                                                                     the Information Page.
   A. How This Insurance Applies                                  3. The bodily injury must occur in the
       This insurance applies to bodily injury by                    United States of America, its territories
       accident or bodily injury by disease. Bodily                  or possessions, or Canada, and may
       injury includes resulting death.                              occur elsewhere if the employee is a
       1. The bodily injury must be sustained by                     United States or Canadian citizen, or
            any officer or employee not subject to                   otherwise legal resident, and legally
            the workers' compensation law of any                     employed, in the United States or
            state shown in Item 3.A. of the                          Canada and temporarily away from
            Information Page.                                        those places.



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      4. Bodily injury by accident must occur                    pay the balance to the persons entitled to it.
           during the policy period.                             If the persons entitled to the benefits of this
      5. Bodily injury by disease must be caused                 insurance make a recovery from others, they
           or aggravated by the conditions of the                must reimburse us for the benefits we paid
           officer's or employee's employment.                   them.
           The officer's or employee's last day of           F. Employers' Liability Insurance
           last exposure to the conditions causing               Part Two (Employers' Liability Insurance)
           or aggravating such bodily injury by                  applies to bodily injury covered by this
           disease must occur during the policy                  endorsement as though the State of
           period.                                               Employment was shown in Item 3.A. of the
   B. We Will Pay                                                Information Page.
      We will pay an amount equal to the benefits            This provision 6. does not apply in New Jersey
      that would be required of you as if you and            or Wisconsin.
      your employees were subject to the workers'
      compensation law of any state shown in Item
      3.A. of the Information Page. We will pay                  EMPLOYERS' LIABILITY STOP
      those amounts to the persons who would be                           GAP COVERAGE
      entitled to them under the law.                    7. Employers' Liability Stop Gap Coverage
   C. Exclusion                                             A. This coverage only applies in North Dakota,
      This insurance does not cover:                           Ohio, Washington, and Wyoming.
      1. any obligation imposed by workers'                 B. Part One (Workers' Compensation
           compensation or occupational disease                Insurance) does not apply to work in states
           law or any similar law.                             shown in Paragraph A above.
      2. bodily injury intentionally caused or              C. Part Two (Employers' Liability Insurance)
           aggravated by you.                                  applies in the states, shown in Paragraph A.,
      3. officers or employees who have elected                as though they were shown in Item 3.A. of
           not to be subject to the state workers'             the Information Page.
           compensation law.                                D. Part Two, Section C. Exclusions is changed
      4. partners or sole proprietors not covered              by adding these exclusions.
           under the Standard Sole Proprietors,                This insurance does not cover;
           Partners, Officers and Others Coverage              5. bodily injury intentionally caused or
           Endorsement.                                             aggravated by you or in Ohio bodily
   D. Before We Pay                                                 injury resulting from an act which is
      Before we pay benefits to the persons                         determined by an Ohio court of law to
      entitled to them, they must:                                  have been committed by you with the
                                                                    belief than an injury is substantially
      1. Release you and us, in writing, of all                     certain to occur. However, the cost of
           responsibility for the injury or death.                  defending such claims or suits in Ohio is
      2. Transfer to us their right to recover from                 covered.
           others who may be responsible for the               13. bodily injury sustained by any member of
           injury or death.                                         the flying crew of any aircraft.
      3. Cooperate with us and do everything                   14. any claim for bodily injury with respect to
           necessary to enable us to enforce the                   which you are deprived of any defense
           right to recover from others.                            or defenses or are otherwise subject to
      If the persons entitled to the benefits of this               penalty because of default in premium
      insurance fail to do those things, our duty to                under the provisions of the workers'
      pay ends at once. If they claim damages                       compensation law or laws of a state
      from you or from us for the injury or death,                  shown in Paragraph A.
      our duty to pay ends at once.
   E. Recovery From Others
      If we make a recovery from others, we will
      keep an amount equal to our expenses of
      recovery and the benefits we paid. We will



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                                             SECTION III
8. SCHEDULE OF COVERED STATES                              B. If a state, shown in Item 3.A. of the
   A. This endorsement only applies in the states             Information     Page, approves          this
      listed in this Schedule of Covered States.              endorsement after the effective date of this
                                                              policy, this endorsement will apply to this
                                                              policy. The coverage will apply in the new
                                                              state on the effective date of the state
                                                              approval.
   C. Schedule of Covered States:
       TN




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
            WORKERS’ COMPENSATION BROAD FORM ENDORSEMENT

Policy Number: 57 WV WQ0015                                  Endorsement Number: 7
Effective Date: 04/01/2024           Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804


 Section I of this endorsement expands coverage provided under WC 00 00 00.
 Section II of this endorsement provides additional coverage usually only provided by endorsement.
 Section III of this endorsement is a Schedule of Covered States.
 You may use the index to locate these coverage features quickly:
                                                 INDEX
 SUBJECT                                                                            PAGE

 SECTION I                                                                             2
 PARTS ONE and TWO                                                                     2
   01 We Will Also Pay                                                                 2
 PART - THREE                                                                          2
   02 How This Insurance Works                                                         2
 PART - SIX                                                                            2
   03 Transfer of Your Rights and Duties                                               2
    04 Liberalization                                                                  2
 SECTION II                                                                            2
 VOLUNTARY COMPENSATION INSURANCE                                                      2
   05 Voluntary Compensation Insurance                                                 2
       A. How This Insurance Applies                                                   2
       B. We Will Pay                                                                  3
       C. Exclusions                                                                   3
       D. Before We Pay                                                                3
       E. Recovery From Others                                                         3
       F. Employers’ Liability Insurance                                               3
 EMPLOYERS LIABILITY STOP GAP COVERAGE                                                 3
   06 Employers’ Liability Stop Gap Coverage                                           3
       A. Stop Gap Coverage Limited Montana, North Dakota,                             3
          Ohio, Washington, West Virginia and Wyoming
        B. Part One does not Apply                                                     3
        C. Application of Coverage                                                     3
        D. Additional Exclusions                                                       3
        E. West Virginia                                                               3
 SECTION III                                                                           4
    07 Schedule Of Covered States                                                      4

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                                                   SECTION I
       PARTS ONE and TWO                                                       PART THREE
1. WE WILL ALSO PAY                                           2. How This Insurance Applies
   D. We Will Also Pay of Part One (WORKERS’                    Paragraph 4. of A. How This Insurance
      COMPENSATION INSURANCE); and                              Applies of Part 3 (Other States Insurance) is
                                                                replaced by the following:
   E. We    Will   Also Pay of Part    Two
      (EMPLOYERS’ LIABILITY INSURANCE) is                       4. If you have work on the effective date of this
      replaced by the following:                                   policy in any state not listed in Item 3.A. of
                                                                   the Information Page, coverage will not be
      We Will Also Pay
                                                                   afforded for that state unless we are notified
     We will also pay these costs, in addition to other            within sixty days.
     amounts payable under this insurance, as part                                  PART SIX
     of any claim, proceeding, or suit we defend:
                                                              3. Transfer Of Your Rights and Duties
      1. reasonable expenses incurred at our request,            C. Transfer Of Your Rights and Duties of Part
         INCLUDING loss of earnings;                                6 (Conditions) is replaced by the following:
      2. premiums for bonds to release attachments                 Your rights or duties under this policy may
         and for appeal bonds in bond amounts up to                not be transferred without our written
         the limit of our liability under this insurance;          consent.
      3. litigation costs taxed against you;                       If you die and we receive notice within sixty
      4. interest on a judgment as required by law                 days after your death, we will cover your legal
         until we offer the amount due under this law;             representative as insured.
         and                                                  4. Liberalization
      5. expenses we incur.                                     If we adopt a change in this form that would
                                                                broaden the coverage of this form without extra
                                                                charge, the broader coverage will apply to this
                                                                policy. It will apply when the change becomes
                                                                effective in your state.

                                                     SECTION II

VOLUNTARY COMPENSATION AND EMPLOYERS’
                                                                    3. The bodily injury must occur in the United
          LIABILITY COVERAGE
                                                                       States of America, its territories or
5. Voluntary Compensation Insurance                                    possessions, or Canada, and may occur
   A. How This Insurance Applies                                       elsewhere if the employee is a United
     This insurance applies to bodily injury by                        States or Canadian citizen, or otherwise
     accident or bodily injury by disease. Bodily                      legal resident, and legally employed, in the
                                                                       United      States    or     Canada     and
     injury includes resulting death.
                                                                       temporarily away from those places.
     1. The bodily injury must be sustained by any
                                                                    4. Bodily injury by accident must occur
        officer or employee not subject to the
                                                                       during the policy period.
        workers’ compensation law of any state
        shown in Item 3.A. of the Information                       5. Bodily injury by disease must be caused or
        Page.                                                          aggravated by the conditions of the
                                                                       officer’s or employee’s employment. The
     2. The bodily injury must arise out of and in
                                                                       officer’s or employee’s last day of last
        the course of employment or incidental to
                                                                       exposure to the conditions causing or
        work in a state shown in Item 3.A. of the
                                                                       aggravating such bodily injury by disease
        Information Page.
                                                                       must occur during the policy period.




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B. We Will Pay                                                   F. Employers’ Liability Insurance
   We will pay an amount equal to the benefits that
                                                                    Part Two (Employers’ Liability Insurance)
   would be required of you as if you and your
                                                                    applies to bodily injury covered by this
   employees were subject to the workers’                           endorsement as though the State of
   compensation law of any state shown in Item                      Employment was shown in Item 3.A. of the
   3.A. of the Information Page. We will pay those                  Information Page.
   amounts to the persons who would be entitled
   to them under the law.                                     This provision 5. does not apply in New Jersey or
                                                              Wisconsin.
C. Exclusion
                                                              EMPLOYERS’ LIABILITY STOP GAP COVERAGE
   This insurance does not cover:
                                                              6. Employers’ Liability Stop Gap Coverage
   1. any obligation imposed by          workers’
      compensation or occupational disease law or               A. This coverage only applies in Montana,
      any similar law.                                             North Dakota, Ohio, Washington, West
                                                                   Virginia and Wyoming.
   2. bodily injury intentionally caused           or
      aggravated by you.                                        B. Part     One    (Workers’     Compensation
                                                                   Insurance) does not apply to work in states
   3. officers or employees who have elected not                   shown in Paragraph A above.
      to be subject to the state workers’
      compensation law.                                         C. Part Two (Employers’ Liability Insurance)
   4. partners or sole proprietors not covered                     applies in the states, shown in Paragraph A.,
      under the Standard Sole Proprietors,                         as though they were shown in Item 3.A. of
      Partners, Officers and Others Coverage                       the Information Page.
      Endorsement.                                              D. Part Two, Section C. Exclusions is changed
                                                                   by adding these exclusions.
D. Before We Pay
   Before we pay benefits to the persons entitled to                This insurance does not cover;
   them, they must:                                                 5. bodily injury intentionally caused or
   1. Release you and us, in writing, of all                           aggravated by you or in Ohio bodily injury
                                                                       resulting from an act which is determined
      responsibility for the injury or death.
                                                                       by an Ohio court of law to have been
   2. Transfer to us their right to recover from                       committed by you with the belief that an
      others who may be responsible for the injury                     injury is substantially certain to occur.
      or death.                                                        However, the cost of defending such
   3. Cooperate with us and do everything                              claims or suits in Ohio is covered.
      necessary to enable us to enforce the right to               13. bodily injury sustained by any member of
      recover from others.                                             the flying crew of any aircraft.
   If the persons entitled to the benefits of this
                                                                   14. any claim for bodily injury with respect to
   insurance fail to do those things, our duty to pay
                                                                       which you are deprived of any defense or
   ends at once. If they claim damages from you
                                                                       defenses or are otherwise subject to
   or from us for the injury or death, our duty to
   pay ends at once.                                                   penalty because of default in premium
                                                                       under the provisions of the workers’
E. Recovery From Others                                                compensation law or laws of a state
   If we make a recovery from others, we will keep                     shown in Paragraph A.
   an amount equal to our expenses of recovery                  E. This insurance applies to damages for which
   and the benefits we paid.       We will pay the                 you are liable under West Virginia Code
   balance to the persons entitled to it.       If the             Annot. S 23-4-2.
   persons entitled to the benefits of this insurance
   make a recovery from others, they must
   reimburse us for the benefits we paid them.




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                                                     SECTION III



      7. SCHEDULE OF COVERED STATES                                B. If a state, shown in Item 3.A. of the
                                                                      Information     Page,     approves      this
         A. This endorsement only applies in the states               endorsement after the effective date of this
            listed in this Schedule of Covered States.                policy, this endorsement will apply to this
                                                                      policy. The coverage will apply in the new
                                                                      state on the effective date of the state
                                                                      approval.
         C. Schedule of Covered States:

            CA, CO, DC, LA, MD, MO, MT, NC, NV




                                                           Countersigned by:

                                                                                              Authorized Representative


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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
          WORKERS’ COMPENSATION BROAD FORM ENDORSEMENT
Policy Number: 57 WV WQ0015                                     Endorsement Number: 8
Effective Date: 04/01/2024                 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804


 Section I of this endorsement expands coverage provided under WC 00 00 00.
 Section II of this endorsement provides additional coverage usually only provided by endorsement.
 Section III of this endorsement is a Schedule of Covered States.
 You may use the index to locate these coverage features quickly:
                                                    INDEX
SUBJECT                                                                                    PAGE

SECTION I                                                                                     2
PARTS ONE and TWO                                                                             2
  01 We Will Also Pay                                                                         2
PART - THREE                                                                                  2
  02 How This Insurance Works                                                                 2
PART - SIX                                                                                    2
  03 Transfer of Your Rights and Duties                                                       2
  04 Liberalization                                                                           2
SECTION II                                                                                    2
VOLUNTARY COMPENSATION INSURANCE                                                              2
  05 Voluntary Compensation Insurance                                                         2
      A. How This Insurance Applies                                                           2
      B. We Will Pay                                                                          2
      C. Exclusions                                                                           3
      D. Before We Pay                                                                        3
      E. Recovery From Others                                                                 3
     F. Employers’ Liability Insurance                                                        3
EMPLOYERS’ LIABILITY STOP GAP COVERAGE                                                        3
  06 Employers’ Liability Stop Gap Coverage                                                   3
     A. Stop Gap Coverage Limited Montana, North Dakota, Ohio,                                3
        Washington, West Virginia and Wyoming
     B. Part One does not Apply                                                               3
      C. Application of Coverage                                                              3
      D. Additional Exclusions                                                                3
     E. West Virginia                                                                         3
SECTION III                                                                                   3
  07 Schedule of Covered States                                                               4



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                                                 SECTION I
              PARTS ONE and TWO                                4. If you have work on the effective date of this
                                                                  policy in any state not listed in Item 3.A. of the
1. WE WILL ALSO PAY                                               Information Page, coverage will not be afforded
                                                                  for that state unless we are notified within sixty
   Paragraph 1 of
                                                                  days.
   D. We Will Also Pay of Part One (WORKERS’
      COMPENSATION INSURANCE); and
                                                                               PART SIX
   E. We Will Also Pay of Part Two (EMPLOYERS’
                                                          3. Transfer Of Your Rights and Duties
      LIABILITY INSURANCE) is amended as
      follows:                                                 C. Transfer Of Your Rights and Duties of Part
      We Will Also Pay                                            6 (Conditions) is replaced by the following:
      1. reasonable expenses incurred at our
                                                                 Your rights or duties under this policy may not
         request, but not loss of earnings;
                                                                 be transferred without our written consent.
      is changed to:
                                                                 If you die and we receive notice within sixty
      1. reasonable expenses incurred at our                     days after your death, we will cover your legal
         request; INCLUDING loss of earnings.                    representative as insured.

                  PART THREE                              4. Liberalization

2. How This Insurance Applies                                 If we adopt a change in this form that would
                                                              broaden the coverage of this form without extra
   Paragraph 4. of A. How This Insurance Applies
                                                              charge, the broader coverage will apply to this
   of Part 3 (Other States Insurance) is replaced by
                                                              policy. It will apply when the change becomes
   the following:
                                                              effective in your state.

                                                 SECTION II

   VOLUNTARY COMPENSATION AND                                      otherwise legal resident, and legally
   EMPLOYERS’ LIABILITY COVERAGE                                   employed, in the United States or Canada
5. Voluntary Compensation Insurance                                and temporarily away from those places.
   A. How This Insurance Applies
                                                                4. Bodily injury by accident must occur during
      This insurance applies to bodily injury by                   the policy period.
      accident or bodily injury by disease. Bodily
      injury includes resulting death.                          5. Bodily injury by disease must be caused or
      1. The bodily injury must be sustained by                    aggravated by the conditions of the officer’s
           any officer or employee not subject to the              or employee’s employment. The officer’s or
           workers’ compensation law of any state                  employee’s last day of last exposure to the
           shown in Item 3.A. of the Information                   conditions causing or aggravating such
           Page.                                                   bodily injury by disease must occur during
                                                                   the policy period.
     2.   The bodily injury must arise out of and in
          the course of employment or incidental to          B. We Will pay
          work in a state shown in Item 3.A. of the             We will pay an amount equal to the benefits that
          Information Page.                                     would be required of you as if you and your
     3.   The bodily injury must occur in the                   employees were subject to the workers’
          United States       of   America,   its               compensation law of any state shown in Item
          territories or possessions, or Canada,                3.A. of the Information Page. We will pay those
          and may occur elsewhere if the                        amounts to the persons who would be entitled
          employee is a United States or                        to them under the law.
          Canadian citizen, or


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  C. Exclusion                                                       F. Employers’ Liability Insurance
     This insurance does not cover:                                      Part Two (Employers’ Liability Insurance)
     1. any obligation imposed        by workers’                        applies to bodily injury covered by this
        compensation or occupational disease law,                        endorsement as though the State of
        or any similar law.                                              Employment was shown in Item 3.A. of the
                                                                         Information Page.
     2. bodily injury intentionally caused               or
        aggravated by you.                                      EMPLOYERS’ LIABILITY STOP GAP COVERAGE

     3. officers or employees who have elected not              6. Employers’ Liability Stop Gap Coverage
        to be subject to the state workers’
                                                                   A. This coverage only applies in Montana,
        compensation law.
                                                                      North Dakota, Ohio, Washington, West
     4. partners or sole proprietors not covered                      Virginia and Wyoming.
        under the Standard Sole Proprietors,
                                                                   B. Part    One     (Workers’     Compensation
        Partners, Officers and Others Coverage
                                                                      Insurance) does not apply to work in states
        Endorsement.
                                                                      shown in Paragraph A above.
  D. Before We Pay                                                 C. Part Two (Employers’ Liability Insurance)
     Before we pay benefits to the persons entitled to                applies in the states, shown in Paragraph A.,
     them, they must:                                                 as though they were shown in Item 3.A. of
                                                                      the Information Page.
     1. Release you and us, in writing, of all
        responsibility for the injury or death.                    D. Part Two, Section C. Exclusions is changed
     2. Transfer to us their right to recover from                    by adding these exclusions.
        others who may be responsible for the injury                    This insurance does not cover:
        or death.                                                       5. bodily injury intentionally caused or
     3. Cooperate with us and do everything                                aggravated by you or in Ohio bodily injury
        necessary to enable us to enforce the right to                     resulting from an act which is determined
                                                                           by an Ohio court of law to have been
        recover from others.
                                                                           committed by you with the belief that an
     If the persons entitled to the benefits of this                       injury is substantially certain to occur.
     insurance fail to do those things, our duty to pay                    However, the cost of defending such
     ends at once. If they claim damages from you                          claims or suits in Ohio is covered.
     or from us for the injury or death, our duty to
     pay ends at once.                                                  13. bodily injury sustained by any member of
                                                                            the flying crew of any aircraft.
  E. Recovery From Others
                                                                        14. any claim for bodily injury with respect to
     If we make a recovery from others, we will
                                                                           which you are deprived of any defense
     keep an amount equal to our expenses of
                                                                           or defenses or are otherwise subject to
     recovery and the benefits we paid. We will
                                                                           penalty because of default in premium
     pay the balance to the persons entitled to it. If
                                                                           under the provisions of the workers’
     the persons entitled to the benefits of this
                                                                           compensation law or laws of a state
     insurance make a recovery from others, they
     must reimburse us for the benefits we paid                            shown in Paragraph A.
     them.                                                         E. This insurance applies to damages for which
                                                                      you are liable under West Virginia Code
                                                                      Annot. S 23-4-2.


                                                          SECTION III
7. SCHEDULE OF COVERED STATES
  A. This endorsement only applies in the states                   B. If a state, shown in Item 3.A. of the
     listed in this Schedule of Covered States.                       Information Page, approves this endorsement
                                                                      after the effective date of this policy, this


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   endorsement will apply to this policy. The
   coverage will apply in the new state on the
   effective date of the state approval.

C. Schedule of Covered States:

   AR




                           Countersigned by
                                                                     Authorized Representative



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                                                                                                    ABCDEFGHIJ




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          WORKERS’ COMPENSA TION BROAD FORM ENDORSEM ENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 9
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




Section I of this endorsement expands coverage provided under WC 00 00 00.
Section II of this endorsement provides additional coverage usually only provided by endorsement.
Section III of this endorsement is a Schedule of Covered States.
You may use the index to locate these coverage features quickly:

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                                                 SECTION I

              PARTS ONE and TWO                                 of the Information Page, coverage will not be
1. WE WILL ALSO PAY                                             afforded for that state unless we are notified
                                                                within sixty days.
   D. We Will Also Pay of Part One (WORKERS’
      COMPENSATION INSURANCE); and
                                                                               PART SIX
   E. We Will Also Pay of Part Two
      (EMPLOYERS’ LIABILITY INSURANCE) is               3. Transfer Of Your Rights and Duties
      replaced by the following:                           C. Transfer Of Your Rights and Duties of
       We Will Also Pay                                         Part 6 (Conditions) is replaced by the
                                                                following:
       We will also pay these costs, in addition to
       other amounts payable under this insurance,              Your rights or duties under this policy may
       as part of any claim, proceeding, or suit we             not be transferred without our written
       defend:                                                  consent.
       1. reasonable expenses incurred at our                   If you die and we receive notice within sixty
           request, INCLUDING loss of earnings;                 days after your death, we will cover your
                                                                legal representative as insured.
       2. premiums for bonds to release
           attachments and for appeal bonds in          4. Cancellation
           bond amounts up to the limit of our             Paragraph 2. of D. Cancellation of Part 6
           liability under this insurance;                 (Conditions) is replaced by the following:
       3. litigation costs taxed against you;              2. We may cancel this policy for non-payment
       4. interest on a judgment as required by                 of premium. We must mail or deliver to you
           law until we offer the amount due under              not less than 15 business days advance
           this law; and                                        written notice stating when the cancellation
                                                                is to take effect. Mailing that notice to you at
       5. expenses we incur.
                                                                your mailing address shown in Item 1 of the
                                                                Information Page will be sufficient to prove
                  PART THREE                                    notice.
2. How This Insurance Applies                           5. Liberalization
   Paragraph 4. of A.        How This Insurance            If we adopt a change in this form that would
   Applies of Part 3 (Other States Insurance) is           broaden the coverage of this form without extra
   replaced by the following:                              charge, the broader coverage will apply to this
   4. If you have work on the effective date of this       policy. It will apply when the change becomes
       policy in any state not listed in Item 3.A.         effective in your state.




                                                SECTION II

     VOLUNTARY COMPENSATION AND                                 2. The bodily injury must arise out of and in
     EMPLOYERS’ LIABILITY COVERAGE                                 the course of employment or incidental
6. Voluntary Compensation Insurance                                to work in a state shown in Item 3.A. of
                                                                   the Information Page.
   A. How This Insurance Applies
                                                                3. The bodily injury must occur in the
      This insurance applies to bodily injury by
                                                                   United States of America, its territories
      accident or bodily injury by disease. Bodily
                                                                   or possessions, or Canada, and may
      injury includes resulting death.
                                                                   occur elsewhere if the employee is a
      1. The bodily injury must be sustained by                    United States or Canadian citizen, or
           any officer or employee not subject to                  otherwise legal resident, and legally
           the workers’ compensation law of any                    employed, in the United States or
           state shown in Item 3.A. of the                         Canada and temporarily away from
           Information Page.                                       those places.


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       4. Bodily injury by accident must occur               E. Recovery From Others
            during the policy period.                           If we make a recovery from others, we will
       5. Bodily injury by disease must be caused               keep an amount equal to our expenses of
            or aggravated by the conditions of the              recovery and the benefits we paid. We will
            officer’s or employee’s employment.                 pay the balance to the persons entitled to it.
            The officer’s or employee’s last day of             If the persons entitled to the benefits of this
            last exposure to the conditions causing             insurance make a recovery from others, they
            or aggravating such bodily injury by                must reimburse us for the benefits we paid
            disease must occur during the policy                them.
            period.                                          F. Employers’ Liability Insurance
   B. We Will Pay                                               Part Two (Employers’ Liability Insurance)
       We will pay an amount equal to the benefits              applies to bodily injury covered by this
       that would be required of you as if you and              endorsement as though the State of
       your employees were subject to the workers’              Employment was shown in Item 3.A. of the
       compensation law of any state shown in                   Information Page.
       Item 3.A. of the Information Page. We will         EMPLOYERS’ LIABILITY STOP GAP COVERAGE
       pay those amounts to the persons who
                                                          7. Employers’ Liability Stop Gap Coverage
       would be entitled to them under the law.
                                                             A. This coverage only applies in North Dakota,
   C. Exclusion
                                                                Ohio, Washington and Wyoming.
       This insurance does not cover:
                                                             B. Part      One      (Workers’     Compensation
       1. any obligation imposed by workers’                    Insurance) does not apply to work in states
            compensation or occupational disease                shown in Paragraph A above.
            law or any similar law.
                                                             C. Part Two (Employers’ Liability Insurance)
       2. bodily injury intentionally caused or                 applies in the states, shown in Paragraph A.,
            aggravated by you.                                  as though they were shown in Item 3.A. of
       3. officers or employees who have elected                the Information Page.
            not to be subject to the state workers’          D. Part Two, Section C. Exclusions is changed
            compensation law.                                   by adding these exclusions.
       4. partners or sole proprietors not covered              This insurance does not cover;
            under the Standard Sole Proprietors,
                                                                5. bodily injury intentionally caused or
            Partners, Officers and Others Coverage
                                                                     aggravated by you or in Ohio bodily
            Endorsement.
                                                                     injury resulting from an act which is
   D. Before We Pay                                                  determined by an Ohio court of law to
       Before we pay benefits to the persons                         have been committed by you with the
       entitled to them, they must:                                  belief that an injury is substantially
       1. Release you and us, in writing, of all                     certain to occur. However, the cost of
            responsibility for the injury or death.                  defending such claims or suits in Ohio is
                                                                     covered.
       2. Transfer to us their right to recover from
            others who may be responsible for the               13. bodily injury sustained by any member
            injury or death.                                         of the flying crew of any aircraft.
       3. Cooperate with us and do everything                   14. any claim for bodily injury with respect to
            necessary to enable us to enforce the                    which you are deprived of any defense
            right to recover from others.                            or defenses or are otherwise subject to
                                                                     penalty because of default in premium
       If the persons entitled to the benefits of this
                                                                     under the provisions of the workers’
       insurance fail to do those things, our duty to
                                                                     compensation law or laws of a state
       pay ends at once. If they claim damages
                                                                     shown in Paragraph A.
       from you or from us for the injury or death,
       our duty to pay ends at once.




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                                             SECTION III

8. SCHEDULE OF COVERED STATES                              B. If a state, shown in Item 3.A. of the
   A. This endorsement only applies in the states             Information Page, approves this endorsement
      listed in this Schedule of Covered States.              after the effective date of this policy, this
                                                              endorsement will apply to this policy. The
                                                              coverage will apply in the new state on the
                                                              effective date of the state approval.
   C. Schedule of Covered States:

       PA




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            WORKERS’ COMPENSATION BROAD FORM ENDORSEMENT

Policy Number: 57 WV WQ0015                                     Endorsement Number: 10
Effective Date: 04/01/2024              Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804


Section I of this endorsement expands coverage provided under WC 00 00 00.
Section II of this endorsement provides additional coverage usually only provided by endorsement.
Section III of this endorsement is a Schedule of Covered States
You may use the index to locate these coverage features quickly:

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EMPLOYERS LIABILITY STOP GAP COVERAGE                                                           3
  07 Employers Liability Stop Gap Coverage                                                      3
      A. Stop Gap Coverage Limited to North Dakota, Ohio, Washington                            3
           and Wyoming
       B.   Part One does not Apply                                                             3
       C.   Application of Coverage                                                             3
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                                                SECTION I

        PARTS ONE and TWO                                        4. If you have work on the effective date of this
                                                                    policy in any state not listed in Item 3.A. of
1. WE WILL ALSO PAY                                                 the Information Page, coverage will not be
                                                                    afforded for that state unless we are notified
  D. We Will Also Pay of Part One (WORKERS’
                                                                    within sixty days.
     COMPENSATION INSURANCE); and

  E. We Will Also Pay of Part Two (EMPLOYERS                                      PART SIX
     LIABILITY INSURANCE) is replaced by the                  3. Transfer Of Your Rights and Duties
     following:
                                                                 C. Transfer Of Your Rights and Duties of Part
     We Will Also Pay                                               6 (Conditions) is replaced by the following:

     We will also pay these costs, in addition to other             Your rights or duties under this policy may not
     amounts payable under this insurance, as part                  be transferred without our written consent.
     of any claim, proceeding, or suit we defend:                   If you die and we receive notice within sixty
     1. reasonable expenses incurred at our request,                days after your death, we will cover your legal
        INCLUDING loss of earnings;                                 representative as insured.
     2. premiums for bonds to release attachments             4. Cancellation
        and for appeal bonds in bond amounts up to               Paragraph 2. of D. Cancellation of Part 6
        the limit of our liability under this insurance;         (Conditions) is replaced by the following:
     3. litigation costs taxed against you;                      2. We may cancel this policy. We must mail or
                                                                    deliver to you not less than 15 days advance
     4. interest on a judgment as required by law                   written notice stating when the cancellation is
        until we offer the amount due under this law;               to take effect. Mailing that notice to you at
        and                                                         your mailing address shown in Item 1 of the
     5. expenses we incur.                                          Information Page will be sufficient to prove
                                                                    notice.
        PART THREE                                            5. Liberalization
2. How This Insurance Applies                                    If we adopt a change in this form that would
  Paragraph 4. of A. How This Insurance Applies                  broaden the coverage of this form without extra
  of Part 3 (Other States Insurance) is replaced by              charge, the broader coverage will apply to this
  the following:                                                 policy. It will apply when the change becomes
                                                                 effective in your state.


                                                 SECTION II
  VOLUNTARY COMPENSATION AND EMPLOYERS                              2. The bodily injury must arise out of and in
  LIABILITY COVERAGE                                                   the course of employment or incidental to
                                                                       work in a state shown in Item 3.A. of the
6. Voluntary Compensation Insurance                                    Information Page.
  A. How This Insurance Applies
                                                                    3. The bodily injury must occur in the United
     This insurance applies to bodily injury by                        States of America, its territories or
     accident or bodily injury by disease. Bodily injury               possessions, or Canada, and may occur
     includes resulting death.                                         elsewhere if the employee is a United
                                                                       States or Canadian citizen, or otherwise
     1. The bodily injury must be sustained by any                     legal resident, and legally employed, in the
        officer or employee not subject to the                         United States or Canada and temporarily
        workers’ compensation law of any state                         away form those places.
        shown in Item 3.A. of the Information Page.



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      4. Bodily injury by accident must occur during          E. Recovery From Others
         the policy period.                                      If we make a recovery from others, we will keep
      5. Bodily injury by disease must be caused or              an amount equal to our expenses of recovery
         aggravated by the conditions of the officer’s           and the benefits we paid.        We will pay the
         or employee’s employment. The officer’s or              balance to the persons entitled to it.       If the
         employee’s last day of last exposure to the             persons entitled to the benefits of this insurance
         conditions causing or aggravating such                  make a recovery from others, they must
         bodily injury by disease must occur during              reimburse us for the benefits we paid them.
         the policy period.                                   F. Employers Liability Insurance
                                                                 Part Two (Employers Liability Insurance)
   B. We Will Pay
                                                                 applies to bodily injury covered by this
      We will pay an amount equal to the benefits that           endorsement as though the State of
      would be required of you as if you and your                Employment was shown in Item 3.A. of the
      employees were subject to the workers                      Information Page.
      compensation law of any state shown in Item             This provision 6. does not apply in New Jersey or
      3.A. of the Information Page. We will pay those         Wisconsin.
      amounts to the persons who would be entitled         EMPLOYERS LIABILITY STOP GAP COVERAGE
      to them under the law.
                                                           7. EMPLOYERS LIABILITY STOP GAP COVERAGE
   C. Exclusions                                              A. This coverage only applies in North Dakota,
     This insurance does not cover:                              Ohio, Washington, and Wyoming.

     1. any obligation imposed        by workers’             B. Part One (Workers’ Compensation Insurance)
        compensation or occupational disease law,                does not apply to work in states shown in
        or any similar law.                                      Paragraph A above.

     2. bodily injury intentionally caused          or        C. Part Two (Employers’ Liability Insurance)
        aggravated by you.                                       applies in the states, shown in Paragraph A., as
                                                                 though they were shown in Item 3.A. of the
     3. officers or employees who have elected not
                                                                 Information Page.
        to be subject to the workers’ compensation
        law.                                                  D. Part Two, Section C. Exclusions is changed by
                                                                 adding these exclusions.
     4. partners or sole proprietors not covered
        under the Standard Sole Proprietors,                     This insurance does not cover;
        Partners, Officers and Other Coverage                    5. bodily    injury intentionally caused or
        Endorsement.                                                aggravated by you or in Ohio bodily injury
                                                                    resulting from an act which is determined by
   D. Before We Pay                                                 an Ohio court of law to have been committed
     Before we pay benefits to the persons entitled to              by you with the belief that an injury is
     them, they must:                                               substantially certain to occur. However, the
     1. Release you and us, in writing, of all                      cost of defending such claims or suits in Ohio
        responsibility for the injury or death.                     is covered.

     2. Transfer to us their right to recover from              13. bodily injury sustained by any member of
        others who may be responsible for the injury                the flying crew of any aircraft.
        or death.                                               14. any claim for bodily injury with respect to
     3. Cooperate with us and do everything                         which you are deprived of any defense or
        necessary to enable us to enforce the right to              defenses or are otherwise subject to
        recover from others.                                        penalty because of default in premium
                                                                    under the previsions of the workers’
     If the persons entitled to the benefits of this                compensation law or laws of a state shown
     insurance fail to do those things, our duty to pay             in Paragraph A.
     ends at once. If they claim damages from you or
     from us for the injury or death, our duty to pay
     ends at once.


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                                            SECTION III

 8. SCHEDULE OF COVERED STATES

   A. This endorsement only applies in the states       B. If a state, shown in Item 3.A. of the Information
      listed in this Schedule of Covered States.           Page, approves this endorsement after the
                                                           effective date of this policy, this endorsement will
                                                           apply to this policy. The coverage will apply in
                                                           the new state on the effective date of the state
                                                           approval.


   C. Schedule of Covered States:

   WV




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
            WORKERS’ COMPENSATION BROAD FORM ENDORSEMENT

Policy Number: 57 WV WQ0015                             Endorsement Number: 11
Effective Date: 04/01/2024         Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804

 Section I of this endorsement expands coverage provided under WC 00 00 00.
 Section II of this endorsement provides additional coverage usually only provided by endorsement.
 Section III of this endorsement is a Schedule of Covered States.
 You may use the index to locate these coverage features quickly:
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       E. Recovery From Others                                                         3
       F. Employers’ Liability Insurance                                               3
 EMPLOYERS’ LIABILITY STOP GAP COVERAGE                                                3
   06 Employers’ Liability Stop Gap Coverage                                           3
       A. Stop Gap Coverage Limited North Dakota,                                      3
          Ohio, Washington, and Wyoming
       B. Part One does not Apply                                                      3
       C. Application of Coverage                                                      3
       D. Additional Exclusions                                                        3
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   D. We Will Also Pay of Part One (WORKERS’                    Paragraph 4. of A. How This Insurance
      COMPENSATION INSURANCE); and                              Applies of Part 3 (Other States Insurance) is
                                                                replaced by the following:
   E. We    Will   Also Pay of Part    Two
      (EMPLOYERS’ LIABILITY INSURANCE) is                       4. If you have work on the effective date of this
      replaced by the following:                                   policy in any state not listed in Item 3.A. of
                                                                   the Information Page, coverage will not be
      We Will Also Pay
                                                                   afforded for that state unless we are notified
     We will also pay these costs, in addition to other            within sixty days.
     amounts payable under this insurance, as part                                   PART SIX
     of any claim, proceeding, or suit we defend:
                                                              3. Transfer Of Your Rights and Duties
      1. reasonable expenses incurred at our request,            C. Transfer Of Your Rights and Duties of Part
         INCLUDING loss of earnings;                                6 (Conditions) is replaced by the following:
      2. premiums for bonds to release attachments                 Your rights or duties under this policy may
         and for appeal bonds in bond amounts up to                not be transferred without our written
         the limit of our liability under this insurance;          consent.
      3. litigation costs taxed against you;                       If you die and we receive notice within sixty
      4. interest on a judgment as required by law                 days after your death, we will cover your legal
         until we offer the amount due under this law;             representative as insured.
         and                                                  4. Liberalization
      5. expenses we incur.                                     If we adopt a change in this form that would
                                                                broaden the coverage of this form without extra
                                                                charge, the broader coverage will apply to this
                                                                policy. It will apply when the change becomes
                                                                effective in your state.

                                                     SECTION II

       VOLUNTARY COMPENSATION AND                                   3. The bodily injury must occur in the United
       EMPLOYERS’ LIABILITY COVERAGE                                   States of America, its territories or
                                                                       possessions, or Canada, and may occur
5. Voluntary Compensation Insurance                                    elsewhere if the employee is a United
   A. How This Insurance Applies                                       States or Canadian citizen, or otherwise
     This insurance applies to bodily injury by                        legal resident, and legally employed, in the
     accident or bodily injury by disease. Bodily                      United     States     or     Canada     and
     injury includes resulting death.                                  temporarily away from those places.
     1. The bodily injury must be sustained by any                  4. Bodily injury by accident must occur
        officer or employee not subject to the                         during the policy period.
        workers’ compensation law of any state
        shown in Item 3.A. of the Information                       5. Bodily injury by disease must be caused or
        Page.                                                          aggravated by the conditions of the
                                                                       officer’s or employee’s employment. The
     2. The bodily injury must arise out of and in
                                                                       officer’s or employee’s last day of last
        the course of employment or incidental to
                                                                       exposure to the conditions causing or
        work in a state shown in Item 3.A. of the
                                                                       aggravating such bodily injury by disease
        Information Page.
                                                                       must occur during the policy period.




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B. We Will Pay                                                  F. Employers’ Liability Insurance

   We will pay an amount equal to the benefits that                Part Two (Employers’ Liability Insurance)
   would be required of you as if you and your                     applies to bodily injury covered by this
   employees were subject to the workers’                          endorsement as though the State of
   compensation law of any state shown in Item                     Employment was shown in Item 3.A. of the
   3.A. of the Information Page. We will pay those                 Information Page.
   amounts to the persons who would be entitled              This provision 5. does not apply in New Jersey or
   to them under the law.                                    Wisconsin.
C. Exclusion                                                 EMPLOYERS’ LIABILITY STOP GAP COVERAGE
   This insurance does not cover:                            6. Employers’ Liability Stop Gap Coverage
   1. any obligation imposed by          workers’
      compensation or occupational disease law or               A. This coverage only applies in North Dakota,
      any similar law.                                             Ohio, Washington, and Wyoming.
   2. bodily injury intentionally caused           or           B. Part One (Workers’ Compensation Insurance)
      aggravated by you.                                           does not apply to work in states shown in
   3. officers or employees who have elected not                   Paragraph A above.
      to be subject to the state workers’                       C. Part Two (Employers’ Liability Insurance)
      compensation law.                                            applies in the states, shown in Paragraph A.,
   4. partners or sole proprietors not covered                     as though they were shown in Item 3.A. of the
      under the Standard Sole Proprietors,                         Information Page.
      Partners, Officers and Others Coverage
                                                                D. Part Two, Section C. Exclusions is changed
      Endorsement.
                                                                   by adding these exclusions.
D. Before We Pay                                                   This insurance does not cover;
   Before we pay benefits to the persons entitled to
   them, they must:                                                5. bodily injury intentionally caused or
                                                                      aggravated by you or in Ohio bodily injury
   1. Release you and us, in writing, of all                          resulting from an act which is determined
      responsibility for the injury or death.                         by an Ohio court of law to have been
   2. Transfer to us their right to recover from                      committed by you with the belief that an
      others who may be responsible for the injury                    injury is substantially certain to occur.
      or death.                                                       However, the cost of defending such claims
                                                                      or suits in Ohio is covered.
   3. Cooperate with us and do everything
      necessary to enable us to enforce the right to              13. bodily injury sustained by any member of
      recover from others.                                            the flying crew of any aircraft.
   If the persons entitled to the benefits of this                14. any claim for bodily injury with respect to
   insurance fail to do those things, our duty to pay                 which you are deprived of any defense or
   ends at once. If they claim damages from you                       defenses or are otherwise subject to
   or from us for the injury or death, our duty to                    penalty because of default in premium
   pay ends at once.                                                  under the provisions of the workers’
E. Recovery From Others                                               compensation law or laws of a state shown
   If we make a recovery from others, we will keep                    in Paragraph A.
   an amount equal to our expenses of recovery
   and the benefits we paid.       We will pay the
   balance to the persons entitled to it.       If the
   persons entitled to the benefits of this insurance
   make a recovery from others, they must
   reimburse us for the benefits we paid them.




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                                              SECTION III



 7. SCHEDULE OF COVERED STATES                              B. If a state, shown in Item 3.A. of the
                                                               Information     Page,     approves      this
   A. This endorsement only applies in the states              endorsement after the effective date of this
      listed in this Schedule of Covered States.               policy, this endorsement will apply to this
                                                               policy. The coverage will apply in the new
                                                               state on the effective date of the state
                                                               approval.

    C. Schedule of Covered States:

       IL




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                                                                                                         ABCDEFGHIJ



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       AMENDMENT TO WORKERS’ CO MPENSATION BROAD FORM
      ENDORSEMENT - EMPLOYERS’ LIABILITY STOP GAP COVERAGE



Policy Number: 57 WV WQ0015                                 Endorsement Number: 12
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This  endorsement        changes    the Workers’              A. This coverage only applies in North Dakota,
Compensation Broad Form Endorsement –                            Ohio, Washington, and Wyoming
Employers’ Liability Stop Gap Coverage

6. Employers’ Liability Stop Gap Coverage                     E. This paragraph is removed.




Form WC 99 03 58 B Printed in U.S.A (Ed. 7/08)
Process Date:                                                            Policy Expiration Date:
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                                                                                                         ABCDEFGHIJ



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        AMENDMENT TO WORKERS’ CO MPENSATION BROAD FORM
      ENDORSEMENT - EMPLOYERS’ LIABILITY STOP GAP COVERAGE



Policy Number: 57 WV WQ0015                                 Endorsement Number: 13
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                               880 HARBOUR WAY SOUTH, SUITE 600
                               RICHMOND, CA 94804




This  endorsement        changes    the Workers’              A. This coverage only applies in North Dakota,
Compensation Broad Form Endorsement –                            Ohio, Washington, and Wyoming.
Employers’ Liability Stop Gap Coverage
                                                              E. This paragraph is removed.
7. Employers’ Liability Stop Gap Coverage




Form WC 99 03 59 B Printed in U.S.A.
Process Date:                                                            Policy Expiration Date:
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Policy Number: 57 WV WQ0015                            Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
Endt. No. 14               RICHMOND, CA 94804



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      NEW JERSEY LARGE RISK - LARGE
                        DEDUCTIBLE ENDORSEMENT
1. This endorsement applies to the insurance provided by:
     Part One (Workers’ Compensation Insurance)
     Part Two (Employers Liability Insurance) and
     Part Three (Other States Insurance)
2. This endorsement applies between you and us. It does not affect the rights of others under the policy. Nor does
   it change our obligations under Part One, Part Two, or Part Three of the policy, except as otherwise stated in this
   endorsement.
3. In consideration of a reduced premium, you have agreed to reimburse us up to the deductible amounts stated in
   the Schedule at the end of this endorsement for all payments legally required, including allocated loss
   adjustment expense which arises out of any claim or suit we defend, where you elect to include such expense.
4. We will remain responsible for the full payment of all claims under this policy without regard to your ability or
   intention to reimburse us for the deductible amounts. The contract of insurance shall be fully enforceable by
   your employees or their dependents against us in accordance with NJSA 34:15-83.
Deductible-Each Occurrence/Each Claim
5. The deductible amount stated in the Schedule is the most you must reimburse us for indemnity and medical
   benefits and damages combined, including allocated loss adjustment expense if elected by you, for bodily injury
   to one or more employees as the result of any one accident or for disablement of one employee due to bodily
   injury by disease.
  Deductible - Policy Aggregate

  6. The amount stated in the Schedule as aggregate is the most you must reimburse us for the sum of all
     indemnity and medical benefits, damages and allocated loss adjustment expense because of bodily injury by
     accident or bodily injury by disease for the policy period.
     (a) If we cancel the policy, the aggregate amount stated in the Schedule will be reduced to a pro rata amount
         based on the time this policy was in force.
    (b) If you cancel the policy as a result of your retiring from business, the aggregate deductible amount will be
        reduced to a pro rata amount based on the time this policy was in force.




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   (c) If you cancel the policy for any reason other than retiring from business, the aggregate deductible amount
       will not be reduced.
   (d) If this policy is issued for a term of less than one year, the aggregate deductible amount will not be
       reduced.
Effect of Deductible on Limits of Liability
7. The applicable limits of liability as respects Part Two (Employers Liability Insurance) are subject to reduction
   by the application of the loss reimbursement amount(s) applicable to any claim for accident or disease covered
   by this policy. In the event of a claim our obligation to pay is the amount available for benefits or damages that
   remains after the application of the specific loss reimbursement amount. The payment of loss adjustment
   expense shall not affect the limits of liability.

Allocated Loss Adjustment Expense

8. Allocated loss adjustment expense, which is electible by you, means claim expenses directly allocated by us to
   a particular claim. Such expense shall not include cost of investigation or the salaries and traveling expenses
   of our employees other than those salaried employees who perform services which can be directly allocated to
   the handling of a particular claim.
Recovery From Others

9. If we recover any payments made under this policy from anyone liable for the injury, the amount we recover will
   be applied as follows:
   (a) First, to any payments made by us in excess of the deductible amount; and

   (b) Then the remainder, if any, will be applied to reduce the deductible amount reimbursable by you.

Cancellation

10. If you fail to reimburse us for any amounts as required by this endorsement, we may cancel this policy for
    nonpayment in accordance with the provisions of statute. We will remain fully responsible for the full amount
    of all claims incurred prior to the effective date of cancellation.

Sole Representation

11. The first Named Insured stated in the Information Page will act on behalf of all the named insureds with
    respect to:

   (a) Changes to this endorsement
   (c) Reimbursement of the deductible amount
   (b) Obligations to pay or receive premiums

Your Duties and Understandings

12. All bodily injuries by accident or disease for which you are responsible shall be promptly reported to us for
    adjustment and payment, regardless of their severity or cost. You further understand that all such bodily
    injuries and their cost shall be included in experience data used to determine the experience rating for your
    policy, regardless of the eligibility of such claims for full or partial reimbursement under the deductible
    provisions of this policy.




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  Other Rights and Duties
  13. All other terms of the policy, including those which govern the following items, apply irrespective of this
      deductible endorsement:
     (a) Our right and duty to defend any claim, proceeding or suit against you and
     (b) Your duties if injury occurs:
 Additional Charges
 14. The surcharges for the Second Injury Fund and Uninsured Employers Fund and the premium charge for
     the expense constant are not part of the Large Risk - Large Deductible Program but are included in the
     total cost of the coverage provided by the policy to which this endorsement is attached.

                                                      SCHEDULE


             Coverage                                                               Deductible Amount Basis

Bodily Injury By Accident      $                                                           each accident
Bodily Injury By Disease       $                                                           each employee
All Covered Bodily Injury                                                                  aggregate
                                           (Dollar Amount or "None")




                                                               Countersigned by
                                                                                                       Authorized Agent
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Policy Number: 57 WV WQ0015                                 Effective Date: 04/01/2024
Named Insured and Address: SUNPOWER CORPORATION
                              880 HARBOUR WAY SOUTH, SUITE 600
Endt. No.    15
                              RICHMOND, CA 94804



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                    SCHEDULE

                  Coverage                                                  Deductible Amount Basis

Each "Loss Event" Deductible Limit: $250,000                                                Per "Loss Event"
Aggregate Deductible Limit:         NONE                                                    Per Aggregate Limit Period
                                         (Dollar Amount or "None")



     Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.

     KY, WV




 2. This endorsement applies in the following state(s):

     KY,WV



The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is attached
is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a part of
the policy:
A. Purpose of This Endorsement:
    We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to reduce
    the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss Reimbursement
    Deductible.
B. How this Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method of
    determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy, the
    provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply.                 Otherwise, PART FIVE
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
   We may make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.
   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for each
   "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments attributable to the
   applicable "Loss Event". The amount of "Loss" we may charge, and for which you must reimburse us, is limited
   as described in Part D. (How Loss Reimbursement Deductibles Apply) of this Endorsement, and reduces any
   applicable Limits of Liability, except that "allocated loss adjustment expense" shall not reduce the policy limits of
   liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the fact,
   amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or recording the
   amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Accounts" within 30 days after
   receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE - (WORKERS
      COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE) of this policy will
      be charged to the applicable "Loss Reimbursement Deductible Account" up to the amount of the Deductibles
      shown in the Schedule.
   2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment expense" that
       we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement Deductible Account"
       up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
    3. Aggregate Deductible:
      The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss Events""
      shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of loss to the
      "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS COMPENSATION
      INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
   When used in reference to this policy:
   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking benefits or
   damages payable under this policy. These expenses include, but shall not be limited to: (1) attorneys fees and
   (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE) section D. and PART TWO -
   (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease; and
   (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by accident
   unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.
   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.




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F. Amendment of Conditions
   1. Recovery From Others
      Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and PART
      TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy are amended
      by adding the following paragraph.
      Recoveries shall be applied, in the following order, to reimburse:
      (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
      (b) us up to the amount we paid in excess of the deductible amount; and
      (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
      Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following additional
      paragraphs.
      A condition of the Deductible Program, which has been negotiated between you and us, is that security and/or
      prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you within thirty
      (30) days of the effectivedate of the policy. Failure to provide or maintain any such required security, including
      agreed upon installments by the dates due (if your program allows for security and/or prefunded loss deposits
      to be made in installments) shall be treated as failure to pay premium when due, and among other
      consequences, may result in cancellation of this endorsement or the policy for nonpayment of premium.
      Likewise, if you fail to execute and return to us agreements associated with the insurance and service
      programs, arising out of this policy and documentation evidencing same, within thirty (30) days from the
      inception of this policy or from the date of mailing by the company of said agreements (whichever is later), this
      endorsement or the policy may be canceled. Also, if you are unable to maintain or increase the security that
      you provide to secure the amounts for which you may be obligated under the deductible or if you fail to
      reimburse us for deductible amounts when due, this endorsement or the policy may be cancelled for
      nonpayment of premium .

      We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than ten
      days advance written notice stating the day and hour the cancellation is to take effect. Mailing that notice to
      you at your mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
      We may cancel the policy in accordance with the provisions under PART SIX - section D. (Cancellation) of
      this policy or any state amendatory endorsement amending such provisions.
      The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.

   3. Sole Representative
      Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy is
      replaced by the following.
     E. Sole Representative
        The insured first named in item 1 of the Information Page will act on behalf of all insureds to change this
        policy, reimburse deductible amounts, pay or receive premium, and give or receive notice of cancellation.




                                                      Countersigned by
                                                                                              Authorized Agent

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Policy Number: 57 WV        WQ0015                       Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804
                                                                                                       ABCDEFGHIJ
Endt. No.       16



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                 SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit:                                     $250,000 Per "Loss Event"

    Aggregate Deductible Limit:                                                  NONE Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.


    Additional information regarding the application of the "Loss Event" and Aggregate deductible is contained in
    the Insurance Program Agreement. The Insurance Program Agreement is between the Insured and the
    Insurer. The Agreement does not alter the rights of others under the policy.




2. This endorsement applies in the following state(s):
   DC, IA, IN, ME, MT, RI


The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is attached
is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a part
of the policy:
A. Purpose of This Endorsement:
    We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
    reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
    Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method of
    determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
   We may make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.
   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we may charge, and for which you must
   reimburse us, is limited as described in Part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
   shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Accounts" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
      (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE)
      of this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the
      amount of the Deductibles shown in the Schedule.
   2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
       Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
   3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
   When used in reference to this policy:
   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
   attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
   section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.
   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.




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F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy are
       amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation of this endorsement or the policy for
       nonpayment of premium. Likewise, if you fail to execute and return to us agreements associated with the
       insurance and service programs, arising out of this policy and documentation evidencing same, within
       thirty (30) days from the inception of this policy or from the date of mailing by the company of said
       agreements (whichever is later), this endorsement or the policy may be canceled. Also, if you are unable
       to maintain or increase the security that you provide to secure the amounts for which you may be
       obligated under the deductible or if you fail to reimburse us for deductible amounts when due, this
       endorsement or the policy may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than ten
       days advance written notice stating the day and hour the cancellation is to take effect. Mailing that notice
       to you at your mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
       The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change this
           policy, reimburse deductible amounts, pay or receive premium, and give or receive notice of
           cancellation.




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                                                                                                     ABCDEFGHIJ
       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE
Policy Number: 57 WV WQ0015                                 Endorsement Number: 17
Effective Date:04/01/2024   Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




                                                  SCHEDULE

 1. Deductible Limits

     Each "Loss Event" Deductible Limit: $250,000                                        Per "Loss Event"

     Aggregate Deductible Limit: NONE                                                    Per Aggregate Limit Period

     Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.
     Additional information regarding the application of the "Loss Event" and Aggregate deductible is contained in
     the Insurance Program Agreement.




 2. This endorsement applies in the following state(s):
    GA



 The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is attached
 is changed as follows:
 We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
 Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a part
 of the policy:
 A. Purpose of This Endorsement:
     We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
     reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
     Reimbursement Deductible.




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 Process Date:                                                      Policy Expiration Date: 04/01/2025
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B. How this Endorsement Applies:
   To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method of
   determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
   the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
   (PREMIUM) and all other provisions of this policy remain unchanged.
C. Handling Claims and Reimbursement:
   We may make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.
   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we may charge, and for which you must
   reimburse us, is limited as described in Part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
   shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Accounts" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
      (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE)
      of this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the
      amount of the Deductibles shown in the Schedule.
   2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
       Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
   3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
   When used in reference to this policy:
   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
   attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
   section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.




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   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.
   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.
F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy are
       amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following additional
       paragraphs.
       The amount of the Aggregate Deductible Limit is not subject t o reduction due to:
            1. mid-term cancellation of the policy and/or this endorsement by you or
            2. mid-term cancellation due to non-payment of amounts due under this policy and/or this
               endorsement.
       If you are unable to maintain or increase the security that you provide to secure the amounts payable under
       the deductible or if you fail to reimburse us for deductible amounts when due, this endorsement or the
       policy may be canceled.
       We may cancel the endorsement for non-payment of amounts due under this policy and/or this
       endorsement by mailing or delivering to you not less than ten days advance written notice stating the day
       and hour the cancellation is to take effect. Mailing that notice to you at your mailing address shown in the
       item 1. of the Information Page will be sufficient to prove notice.
       We may cancel the policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change this
           policy, reimburse deductible amounts, pay or receive premium, and give or receive notice of
           cancellation.
   4. Collateral
       We may require you to deliver specified collateral or security and adequate in our opinion to assure that
       we will be paid the reimbursements to which we shall become entitled under this policy. Your failure to
       deliver or maintain such collateral or security will be equivalent to failure to reimburse us for the purposes
       of this endorsement.




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Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION


                                                                                                       ABCDEFGHIJ
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804
Endt. No.      18



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                  SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit: $250,000                                        Per "Loss Event"

    Aggregate Deductible Limit:   NONE                                                  Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.


    This endorsement applies between you and us. It does not affect the right of others under the policy.


2. This endorsement applies in the following state(s):
   CT




The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is attached
is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a part
of the policy:
A. Purpose of This Endorsement:
    We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
    reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
    Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method of
    determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
   We may make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.
   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we may charge, and for which you must
   reimburse us, is limited as described in Part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
   shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Accounts" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
      (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE)
      of this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the
      amount of the Deductibles shown in the Schedule.
   2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
       Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
   3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
   When used in reference to this policy:
   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
   attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
   section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.
   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.




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F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy are
       amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation of this endorsement or the policy for
       nonpayment of premium. Likewise, if you fail to execute and return to us agreements associated with the
       insurance and service programs, arising out of this policy and documentation evidencing same, within
       thirty (30) days from the inception of this policy or from the date of mailing by the company of said
       agreements (whichever is later), this endorsement or the policy may be canceled. Also, if you are unable
       to maintain or increase the security that you provide to secure the amounts for which you may be
       obligated under the deductible or if you fail to reimburse us for deductible amounts when due, this
       endorsement or the policy may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than ten
       days advance written notice stating the day and hour the cancellation is to take effect. Mailing that notice
       to you at your mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
       The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change this
           policy, reimburse deductible amounts, pay or receive premium, and give or receive notice of
           cancellation.




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Policy Number: 57 WV WQ0015                      Effective Date: 04/01/2024


Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                                                                                       ABCDEFGHIJ
                                  RICHMOND, CA 94804
Endt. No. 19




    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


  PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                 SCHEDULE

1. Deductible Limits

   Each "Loss Event" Deductible Limit: $250,000                 Per "Loss Event"

   Aggregated Deductible Limit:     NONE                         Per Aggregate Limit Period

   Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.

   Additional information regarding the application of the deductible, including the aggregate deductible, is
   contained in the Insurance Program Agreement.

2. This endorsement applies in the following state(s):
    PA




   The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
   attached is changed as follows:
   We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of
   the Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and
   forms a part of the policy:
   A.    Purpose of This Endorsement:
        We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
        reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
        Reimbursement Deductible:
   B.    How This Endorsement Applies:
        To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different
        method of determining and paying the premium than the method described in PART FIVE - (PREMIUM)
        of this policy, the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply.
        Otherwise, PART FIVE - (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
   We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.
   To the extent the claim, proceeding or suit is within the deductible amount it will be serviced and paid
   according to the terms of the policy as if this endorsement did not apply. Under this endorsement, you will
   reimburse us for any deductible amount(s) we so advance, but our duties continue even if you do not
   reimburse us.
   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
   reimburse us, is limited as described in Part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment
   expense" shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY
   INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payments of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Accounts" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
   1.   The damages and benefits and "allocated loss adjustment expense" that we pay under PART ONE -
        (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE)
        of this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the
        amount of the Deductibles shown in the Schedule.
   2.   Each Loss Event Deductible:
        Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
        expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
        Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
   3.   Aggregate Deductible:
        The total amount that we charge to all "Loss Reimbursement Deductible Accounts" for all "Loss Events"
        shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of loss to
        the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS COMPENSATION
        INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
        The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information
        Page.
E. Definitions:
   When used in reference to this policy:
   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
   attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
   section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly form bodily injury by accident, in which case it is not bodily injury by disease.




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  "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
  injury by disease, all injury to any one employee.
   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.
F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy
       are amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) ou for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) may result in cancellation of this endorsement.
       Likewise, if you fail to execute and return to us agreements associated with the insurance and service
       programs, arising out of this policy and documentation evidencing same, within thirty (30) days from the
       inception of this policy or from the date of mailing by the company of said agreements (whichever is
       later), this endorsement may be canceled. If you are unable to maintain or increase the security that you
       provide to secure the amounts for which you may be obligated under the deductible, this endorsement
       may be cancelled. If you fail to reimburse us for deductible amounts when due, this endorsement or the policy
       may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than
       fifteen business days advance written notice stating the day and hour the cancellation is to take effect.
       Mailing that notice to you at your mailing address shown in item 1. of the Information Page will be
       sufficient to prove
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
       The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change
           this policy, reimburse deductible amounts, pay or receive premium, and give or receive notice of
           cancellation.




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Policy Number: 57 WV WQ0015                         Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
Endt. No. 20
                           RICHMOND, CA 94804



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                  SCHEDULE
1. Deductible Limits

   Each "Loss Event" Deductible Limit:   $250,000                                       Per "Loss Event"
   Aggregate Deductible Limit:           NONE                                           Per Aggregate Limit Period


   Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.




 2. This endorsement applies in the following state(s): OH
    NC, OR




The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is attached
is changed as follows:

We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a part
of the policy:
A. Purpose of This Endorsement:
    We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to reduce
    the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss Reimbursement
    Deductible.

B. How this Endorsement Applies:

    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method of
    determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy, the
    provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply.                 Otherwise, PART FIVE
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:

   We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.

   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event".       We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
   reimburse us, is limited as described in Part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
   shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Accounts" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
 D. How Loss Reimbursement Deductibles Apply:

       1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE
          (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE)
          of this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the amount
          of the Deductibles shown in the Schedule.
       2. Each Loss Event Deductible:
         Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment expense"
         that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement Deductible
         Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
  3.     Aggregate Deductible:
         The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
         Events"" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
         loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
         COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).

         The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
 E. Definitions:
 When used in reference to this policy:

 "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
 incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking benefits or
 damages payable under this policy. These expenses include, but shall not be limited to: (1) attorneys fees and
 (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE) section D. and PART TWO
 - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
 "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
 accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease; and
 (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by accident
 unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
 "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
 injury by disease, all injury to any one employee.
 "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
 because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.




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F. Amendment of Conditions
  1. Recovery From Others
     Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
     PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy are
     amended by adding the following paragraph.
     Recoveries shall be applied, in the following order, to reimburse:

     (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
     (b) us up to the amount we paid in excess of the deductible amount; and
     (c) you for deductible amounts you reimbursed to us.
  2. Cancelation
     Section D. - (Cancelation) under PART SIX - (CONDITIONS) is amended to include the following additional
     paragraphs.
     The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancelation.

     If you are unable to maintain or increase the security that you provide to secure the amounts payable
     under the deductible or if you fail to reimburse us for deductible amounts when due, this endorsement or
     the policy may be canceled.
     We may cancel this policy by mailing or delivering to you not less than ten days advance written notice
     stating the day and hour the cancelation is to take effect. Mailing that notice to you at your mailing
     address shown in item 1. of the Information Page will be sufficient to prove notice.
     We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancelation) of
     this policy or any state amendatory endorsement amending such provisions.

  3. Sole Representative
     Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy is
     replaced by the following.

     E. Sole Representative

        The insured first named in item 1 of the Information Page will act on behalf of all insureds to change this
        policy, reimburse deductible amounts, and pay or receive premium, give or receive notice of cancelation.




                                                      Countersigned by
                                                                                               Authorized Agent

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Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804
Endt. No.   21



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                  SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit:          $250,000                             Per "Loss Event"

    Aggregate Deductible Limit:                   NONE                                Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.




2. This endorsement applies in the following state(s): WA
    MD




The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
attached is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a
part of the policy:
A. Purpose of This Endorsement:
    We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
    reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
    Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method
    of determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:

   We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.

   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
   reimburse us, is limited as described in part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
   shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).

   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.

   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Account" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.

D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
      (WORKERS COMPENSATION INSURANCE)                    and PART TWO - (EMPLOYERS LIABILITY
      INSURANCE) of this policy will be charged to the applicable "Loss Reimbursement Deductible Account"
      up to the amount of the Deductibles shown in the Schedule.

   2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
       Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.

   3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).

       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:

   When used in reference to this policy:

   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
   attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
   section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).

   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.

   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.

   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.

F. Amendment of Conditions

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   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy
       are amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation of this endorsement or the policy for
       nonpayment of premium. Likewise, if you fail to execute and return to us agreements associated with the
       insurance and service programs, arising out of this policy and documentation evidencing same, within
       thirty (30) days from the inception of this policy or from the date of mailing by the company of said
       agreements (whichever is later), this endorsement or the policy may be canceled. Also, if you are unable
       to maintain or increase the security that you provide to secure the amounts for which you may be
       obligated under the deductible or if you fail to reimburse us for deductible amounts when due, this
       endorsement or the policy may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than ten
       days advance written notice stating the day and hour the cancellation is to take effect. Mailing that notice
       to you at your mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
       The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change
           this policy, reimburse deductible amounts, and pay or receive premium, give or receive notice of
           cancellation.




                                                         Countersigned by
                                                                                                  Authorized Agent
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Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                                                                                                   ABCDEFGHIJ
                           RICHMOND, CA 94804
Endt. No.    22



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                   SCHEDULE


1. Deductible Limits

    Each "Loss Event" Deductible Limit:                                  $250,000 Per "Loss Event"

    Aggregate Deductible Limit:                                               NONE Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.
    Additional information regarding the application of the "Loss Event" and Aggregate deductible is contained in
    the Insurance Program Agreement.




2. This endorsement applies in the following state(s):       WY
    CO, KS, LA, MO, NM, NV, UT




The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
attached is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a
part of the policy:
A. Purpose of This Endorsement:
   We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
   reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
   Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method
    of determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:

   We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.

   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
   reimburse us, is limited as described in part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
   shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).

   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.

   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Account" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.

D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
      (WORKERS COMPENSATION INSURANCE)                    and PART TWO - (EMPLOYERS LIABILITY
      INSURANCE) of this policy will be charged to the applicable "Loss Reimbursement Deductible Account"
      up to the amount of the Deductibles shown in the Schedule.

   2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
       Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.

   3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).

       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:

   When used in reference to this policy:

   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
   attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
   section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).

   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.

   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.

   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.




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F. Amendment of Conditions

   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy
       are amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation of this endorsement or the policy for
       nonpayment of premium. Likewise, if you fail to execute and return to us agreements associated with the
       insurance and service programs, arising out of this policy and documentation evidencing same, within
       thirty (30) days from the inception of this policy or from the date of mailing by the company of said
       agreements (whichever is later), this endorsement or the policy may be canceled. Also, if you are unable
       to maintain or increase the security that you provide to secure the amounts for which you may be
       obligated under the deductible or if you fail to reimburse us for deductible amounts when due, this
       endorsement or the policy may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than ten
       days advance written notice stating the day and hour the cancellation is to take effect. Mailing that notice
       to you at your mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
       The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change
           this policy, reimburse deductible amounts, and pay or receive premium, give or receive notice of
           cancellation.




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Policy Number: 57 WV WQ0015                           Effective Date: 04/01/2024



                                                                                                  ABCDEFGHI J
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804
Endt. No.      23



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE
            ALAE LIMITED TO DEDUCTIBLE

                                               SCHEDULE

1. Deductible Limits

   Bodily Injury by Acccident:                              ________________Per Accident
                                                        $250,000


   Bodily Injury by Disease                                  ________________Per Employee
                                                         $250,000

   Aggregate Deductible Limit:                           NONE________________Per Policy Period


   Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.




2. This endorsement applies in the following state(s):
    FL




The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
attached is changed as follows:
We (the insurer named on Page 1 of the Information Page) agree with you (the insured first named in item 1. of
the Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms
a part of the policy:
A. Purpose of This Endorsement:
   We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
   reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
   Reimbursement Deductible.
B. How This Endorsement Applies:
   To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method
   of determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
   the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
   (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
   We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through THREE.
   To the extent the claim, proceeding or suit is within the deductible amount it will be serviced and paid
   according to the terms of the policy as if this endorsement did not apply. Under this endorsement, you will
   reimburse us for any deductible amount(s) we so advance, but our duties continue even if you do not
   reimburse us.
   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each claim. We will charge to each "Loss Reimbursement Deductible Account" all payments attributable to
   the applicable claim. The amount of "Loss" we will charge, and for which you must reimburse us, is limited as
   described in Part D. (How Loss Reimbursement Deductibles Apply) of this Endorsement, and reduces any
   applicable Limits of Liability, except that "allocated loss adjustment expense" shall not reduce the policy limits
   of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Account" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
      (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE) of
      this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the amount of the
      Deductibles shown in the Schedule.
   2. Each Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one claim will be charged to the "Loss Reimbursement Deductible
       Account" up to the amount of the Per Accident or Per Employee Deductible Limit shown in the Schedule.
   3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all claims
       shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of loss to
       the claim that is consistent with the provisions of PART ONE - (WORKERS COMPENSATION
       INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
       The policy period aggregate cannot be less than the standard premium and is a function of your audited
       exposures.
E. Definitions:
   When used in reference to this policy:
   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy and which are considered to be Allocated Loss Adjustment
   Expense by the National Council on Compensation Insurance within the state of Florida. ALAE encompasses
   the following costs to us, which can be directly allocated to a particular claim:
       (1)   Fees of attorneys or other authorized representatives where permitted for legal services, whether by
             outside vendors or staff representatives.
       (2)   Court, Alternate Dispute Resolution, and other specific items of expense such as:
                a) Medical examinations of a claimant to determine the extent of the carrier’s liability, degree of
                   permanency, or length of disability
                b) Expert medical or other testimony
                c) Autopsy
                d) Witnesses and summonses
                e) Copies of documents such as birth and death certificates, and medical treatment records
                f)   Arbitration fees


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                g) Surveillance
                h) Appeal bond costs and appeal filing fees
       (3)   Medical cost containment expenses incurred with respect to a particular claim, whether by an
             outside vendor or done internally by a staff representative for the purpose of controlling losses, to
             ensure that only reasonable and necessary costs of services are paid. The expenses include:
                a) Bill-auditing expenses for any medical or vocational services rendered, including hospital bills
                   (inpatient or outpatient), nursing home bills, physician bills, chiropractic bills, medical
                   equipment charges, pharmacy charges, physical therapy bills, and medical or vocational
                   rehabilitation vendor bills
                b) Hospital and other treatment utilization reviews, including precertification/preadmission, and
                   concurrent or retrospective reviews
                c) Preferred provider network/organization expenses
                d) Medical fee review panel expenses
       (4)   Expenses that are not defined as losses and are directly related to and directly allocated to the
             handling of a particular claim for services that are required to be performed by statute or regulation.
   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a claim. Amounts charged to the deductible are reimbursable by you to us.
F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy
       are amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability
       under PART TWO – (EMPLOYERS LIABILITY INSURANCE);
       (b) you for any paid "Allocated Loss Adjustment Expense" associated with the recovery;
       (c) us up to the amount we paid in excess of the deductible amount; and
       (d) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or `maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation of the policy for nonpayment of premium.
       Also, if you are unable to maintain or increase the security that you provide to secure the amounts for
       which you may be obligated under the deductible or if you fail to reimburse us for deductible amounts
       when due, the policy may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than ten
       days advance written notice stating the day and hour the cancellation is to take effect. Mailing that notice
       to you at your mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.




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   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change
           this policy, reimburse deductible amounts, pay or receive premium and give or receive notice of
           cancellation.
           Multiple insureds will not be listed in the same policy unless they meet the Experience Rating Plan
           rules on combinability.




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              Case 24-11649-CTG           Doc 812-2       Filed 10/16/24      Page 213 of 499
Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804                                                       ABCDEFGHIJ

Endt. No.   24



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


 PART SEVEN - LOSS REIMBURSEMENT ENDORSEMENT

                                                SCHEDULE

1. Loss Reimbursement Limits

   Each "Loss Event" Loss Reimbursement Limit: $250,000                               Per "Loss Event"

   Aggregate Loss Reimbursement Limit:            NONE                                Per Aggregate Limit Period

   Your responsibility for Allocated Loss Adjustment Expense is limited to the loss reimbursement amounts.
   Additional information regarding the application of the deductible, including the aggregate deductible, is
   contained in the Insurance Program Agreement.

2. This endorsement applies in the following state(s):
   HI



   The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
   attached is changed as follows:
   We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of
   the Information Page) that this PART SEVEN-(LOSS ENDORSEMENT) is added to and forms a part of the
   policy:
   A. Purpose of This Endorsement:
      We have added PART SEVEN-(LOSS REIMBURSEMENT ENDORSEMENT) because you have chosen
      to reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
      Reimbursement Limit.
   B. How This Endorsement Applies:
        To the extent that PART SEVEN-(LOSS REIMBURSEMENT ENDORSEMENT) provides for a different
        method of determining and paying the premium than the method described in PART FIVE-(PREMIUM) of
        this policy, the provisions of PART SEVEN (LOSS REIMBURSEMENT ENDORSEMENT) apply.
        Otherwise, PART FIVE-(PREMIUM) and all other provisions of this policy remain unchanged.




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   C. Handling Claims and Reimbursement:
       We will make such investigation, defense or settlement as we deem prudent of any claim, suit or
       proceeding seeking benefits or damages payable under PART ONE through SIX.
       As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Account" for each
       "Loss Event". We will charge to each "Loss Reimbursement Account" all payments attributable to the
       applicable "Loss Event". The amount of "Loss" we will charge, and for which you must reimburse us, is
       limited as described in Part D. (How Loss Reimbursement Limits Apply) of this Endorsement, and
       reduces any applicable Limits of Liability, except that "allocated loss adjustment expense" shall not
       reduce the policy limits of liability under PART TWO-(EMPLOYERS LIABILITY INSURANCE).
      We will bill you periodically for charges to the "Loss Reimbursement Accounts". Our payment of "Loss"
      under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the fact,
      amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
      recording the amounts of "Loss" charged to the "Loss Reimbursement Accounts" as they come to our
      attention.
      You agree to reimburse us for all charges to the "Loss Reimbursement Accounts" 30 days after receipt of
      our billing, or within any period we may agree to in writing.
   D. How Loss Reimbursement Limits Apply:
       1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE-
          (WORKERS COMPENSATION INSURANCE) and PART TWO-(EMPLOYERS LIABILITY
          INSURANCE) of this policy will be charged to the applicable "Loss Reimbursement Account" up to
          the amount of the Loss Reimbursement Limit shown in the Schedule.
       2. Each Loss Event Loss Reimbursement Limit:
           Subject to the Aggregate Loss Reimbursement Limit, the damages, benefits and "allocated loss
           adjustment expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss
           Reimbursement Account" up to the amount of the Each "Loss Event" Loss Reimbursement Limit
           shown in the Schedule.
       3. Aggregate Loss Reimbursement Limit:
           The total amount that we may charge to all "Loss Reimbursement Accounts" for all "Loss Events"
           shall not exceed the Aggregate Loss Reimbursement Limit stated in the Schedule. We will assign a
           date of loss to the "Loss Event" that is consistent with the provisions of PART ONE-(WORKERS
           COMPENSATION INSURANCE) and PART TWO-(EMPLOYERS LIABILITY INSURANCE).
          The Aggregate Loss Reimbursement Limit is applicable to the policy term as shown in item 2. of the
          Information Page.
   E. Definitions:
       When used in reference to this policy:
       "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were
       specifically incurred for the investigation, settlement or defense of any actual claims, proceedings or suits
       seeking benefits or damages payable under this policy. These expenses include, but shall not be limited
       to: (1) attorneys fees and (2) costs incurred under PART ONE-(WORKERS COMPENSATION
       INSURANCE) section D. and PART TWO-(EMPLOYERS LIABILITY INSURANCE) section E.-(We Will
       Also Pay).
       "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
       accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by
       disease; and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily
       injury by accident unless it results directly from bodily injury by accident, in which case it is not bodily
       injury by disease.
       "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with
       respect to injury by disease, all injury to any one employee.




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      "Loss Reimbursement Account" is an account used to keep track of the amount of "Loss" we pay because of a
      "Loss Event". Amounts charged to the "Loss Reimbursement Account" are reimbursable by you to us.
   F. Amendment of Conditions
       1. Recovery From Others
           Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G.
           and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the
           policy are amended by adding the following paragraph.
           Recoveries shall be applied, in the following order, to reimburse:
           (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
           (b) us up to the amount we paid in excess of the loss reimbursement amount; and
           (c) you for loss reimbursement amounts you reimbursed to us.
       2. Cancellation
          Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
          additional paragraphs.
           A condition of the Deductible Program, which has been negotiated between you and us, is that
           security and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to
           us by you within thirty (30) days of the effective date of the policy. Failure to provide or maintain any
           such required security, including agreed upon installments by the dates due (if your program allows
           for security and/or prefunded loss deposits to be made in installments) shall be treated as failure to
           pay premium when due, and among other consequences, may result in cancellation of this
           endorsement or the policy for nonpayment of premium. Likewise, if you fail to execute and return to
           us agreements associated with the insurance and service programs, arising out of this policy and
           documentation evidencing same, within thirty (30) days from the inception of this policy or from the
           date of mailing by the company of said agreements (whichever is later), this endorsement or the
           policy may be canceled. Also, if you are unable to maintain or increase the security that you provide
           to secure the amounts for which you may be obligated under the deductible or if you fail to reimburse
           us for deductible amounts when due, this endorsement or the policy may be canceled for
           nonpayment of premium.
           We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less
           than ten days advance written notice stating the day and hour the cancellation is to take effect.
           Mailing that notice to you at your mailing address shown in item 1. of the Information Page will be
           sufficient to prove notice.
           We may cancel this policy in accordance with the provisions under PART SIX - section D.
           (Cancellation) of this policy or any state amendatory endorsement amending such provisions.
          The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
       3. Sole Representative
           Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation
           policy is replaced by the following.
           E. Sole Representative
               The insured first named in item 1 of the Information Page will act on behalf of all insureds to
               change this policy, pay loss reimbursement amounts, pay or receive premium, and give or
               receive notice of cancellation.




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Policy Number: 57 WV WQ0015                               Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                                                                                                       ABCDEFGHIJ
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804
Endt. No.       25



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


  PART SEVEN-LOSS REIMBURSEMENT ENDORSEMENT

                                                 SCHEDULE

1. Loss Reimbursement Limits

    Each "Loss Event" Loss Reimbursement Limit: $250,000                            Per "Loss Event"

    Aggregate Loss Reimbursement Limit:            NONE                             Per Aggregate Limit Period

    Your responsibility for Allocated Expenses is limited to the Loss Reimbursement amounts.
    Additional information regarding the application of the deductible, including the aggregate deductible, is
    contained in the Insurance Program Agreement.

2. This endorsement applies in the following state(s):
   OK



The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
attached is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN-(LOSS REIMBURSEMENT ENDORSEMENT) is added to and forms a
part of the policy:
A. Purpose of This Endorsement:
   We have added PART SEVEN-(LOSS REIMBURSEMENT ENDORSEMENT) because you have chosen to
   reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
   Reimbursement Limit.
B. How This Endorsement Applies:
    To the extent that PART SEVEN-(LOSS REIMBURSEMENT ENDORSEMENT) provides for a different
    method of determining and paying the premium than the method described in PART FIVE-(PREMIUM) of this
    policy, the provisions of PART SEVEN (LOSS REIMBURSEMENT ENDORSEMENT) apply. Otherwise,
    PART FIVE-(PREMIUM) and all other provisions of this policy remain unchanged.




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   C. Handling Claims and Reimbursement:
      We will make such investigation, defense or settlement as we deem prudent of any claim, suit or
      proceeding seeking benefits or damages payable under PART ONE through SIX.
       As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Account" for each
       "Loss Event". We will charge to each "Loss Reimbursement Account" all payments attributable to the
       applicable "Loss Event". The amount of "Loss " we will charge, and for which you must reimburse us, is
       limited as applicable Limits of Liability except that "allocated loss adjustment expense" shall not reduce
       the policy limits of liability under PART TWO-(EMPLOYERS LIABILITY INSURANCE).
       We will bill you periodically for charges to the "Loss Reimbursement Accounts". Our payment of "Loss"
       under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the fact,
       amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
       recording the amounts of "Loss" charged to the "Loss Reimbursement Accounts" as they come to our
       attention.
       The insured’s nonreimbursement of the Loss Reimbursement amounts shall not relieve us from payment
       of compensation for injuries or death sustained by an employee during the policy period.
      You agree to reimburse us for all charges to the "Loss Reimbursement Accounts" within 30 days after
      receipt of our billing, or within any period we may agree to in writing.
   D. How Loss Reimbursement Limits Apply:
       1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE-
          (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY
          INSURANCE) of this policy will be charged to the applicable "Loss Reimbursement Account" up to
          the amount of the Loss Reimbursement Limit shown in the Schedule.
       2. Each Loss Event Loss Reimbursement Limit:
           Subject to the Aggregate Loss Reimbursement Limit, the damages, benefits and "allocated loss
           adjustment expenses" that we pay as a result of any one "Loss Event" will be charged to the "Loss
           Reimbursement Account" up to the amount of the Each "Loss Event" Loss Reimbursement Limit
           shown in the Schedule.
       3. Aggregate Loss Reimbursement Limit:
           The total amount that we may charge to all "Loss Reimbursement Accounts" for all "Loss Events"
           shall not exceed the Aggregate Loss Reimbursement Limit stated in the Schedule. We will assign a
           date of loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
           COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
          The Aggregate Loss Reimbursement Limit is applicable to the policy term as shown in item 2. of the
          Information Page.
   E. Definitions:
       When used in reference to this policy:
       "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were
       specifically incurred for the investigation, settlement or defense of any actual claims, proceedings or suits
       seeking benefits or damages payable under this policy. These expenses include, but shall not be limited
       to: (1) attorneys fees and (2) costs incurred under PART ONE-(WORKERS COMPENSATION
       INSURANCE) section D. and PART TWO-(EMPLOYERS LIABILITY INSURANCE) section E.-(We Will
       Also Pay).
       "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
       accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by
       disease; and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily
       injury by accident unless it results directly from bodily injury by accident, in which case it is not bodily
       injury by disease.




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       "Loss Event" means: (1) all bodily injury to one or more employees in any accident or (2) with respect to
       injury by disease, all injury to any one employee.
      "Loss Reimbursement Account" is an account used to keep track of the amount of "Loss" we pay because
      of a "Loss Event". Amounts charged to the "Loss Reimbursement Accounts" are reimbursable by you to
      us.
   F. Amendment of Conditions
       1. Recovery From Others
           Recovery from others under PART ONE-(WORKERS COMPENSATION INSURANCE) section G.
           and PART TWO-(EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the
           policy are amended by adding the following paragraph.
           Recoveries shall be applied, in the following order, to reimburse:
           (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
           (b) us up to the amount we paid in excess of the loss reimbursement amount; and
           (c) you for loss reimbursement amounts you reimbursed to us.
       2. Cancellation
           Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
           additional paragraphs.
           A condition of the Deductible Program, which has been negotiated between you and us, is that
           security and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to
           us by you within thirty (30) days of the effective date of the policy. Failure to provide or maintain any
           such required security, including agreed upon installments by the dates due (if your program allows
           for security and/or prefunded loss deposits to be made in installments) shall be treated as failure to
           pay premium when due, and among other consequences, may result in cancellation of this
           endorsement or the policy for nonpayment of premium. Likewise, if you fail to execute and return to
           us agreements associated with the insurance and service programs, arising out of this policy and
           documentation evidencing same, within thirty (30) days from the inception of this policy or from the
           date of mailing by the company of said agreements (whichever is later), this endorsement or the
           policy may be canceled. Also, if you are unable to maintain or increase the security that you provide
           to secure the amounts for which you may be obligated under the deductible or if you fail to reimburse
           us for deductible amounts when due, this endorsement or the policy may be canceled for
           nonpayment of premium.
           We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less
           than ten days advance written notice stating the day and hour the cancellation is to take effect.
           Mailing that notice to you at your mailing address shown in item 1. of the Information Page will be
           sufficient to prove notice.
           We may cancel this policy in accordance with the provisions under PART SIX - section D.
           (Cancellation) of this policy or any state amendatory endorsement amending such provisions.
           The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
       3. Sole Representative
           Section E. (Sole Representative) under PART SIX-(CONDITIONS) of the workers compensation
           policy is replaced by the following.
           E. Sole Representative
               The insured first named in item 1 of the Information Page will act on behalf of all insureds to
               change this policy, pay loss reimbursement amounts, pay or receive premium, and give or
               receive notice of cancellation.




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Workers Compensation and Employers Liability Policy

AMENDATORY ENDORSEMENT
PART SEVEN - LOSS REIMBURSEMENT
DEDUCTIBLE - OHIO
                                                                         Named Insured and Address
 Policy Number                                                   SUNPOWER CORPORATION
 57 WV WQ0015                                                    880 HARBOUR WAY SOUTH, SUITE 600
This endorsement changes the policy effective on the RICHMOND, CA 94804
inception date of the policy unless another date is indicated
below.
 Effective Date           Effective hour is the same as stated
 04/01/2024               in the Information Page of the policy.
 Endt. No.
 26

With respect to the state of Ohio, it is agreed that item 2. Cancelation of the Loss Reimbursement Deductible
Endorsement attached to this policy is replaced by the following:

2. Cancellation and Non Renewal                                           (2) Discovery of a moral hazard or willful or
                                                                              reckless acts or omissions on your part
   A. CANCELLATION                                                            which increases any hazard insured
                                                                              against;
   1. The Named Insured first shown in the Declara-
      tions may cancel this policy by:                                    (3) The occurrence of a change in the
                                                                              individual risk which substantially in-
       (a) Mailing or delivering to us advance written                        creases any hazard insured against after
           notice of cancellation; or                                         insurance coverage has been issued or
                                                                              renewed except to the extent we should
       (b) Surrendering the policy to us or to any of
                                                                              reasonably have foreseen the change or
           our authorized agents.                                             contemplated the risk in writing the
   2. We may cancel this policy by mailing or deliver-                        contract;
      ing to the Named Insured first shown in the                         (4) Loss of applicable reinsurance or a sub-
      Declarations written notice of cancellation at                          stantial decrease in applicable reinsur-
      least:                                                                  ance, if the Superintendent has deter-
       (a) 10 days before the effective date of cancel-                       mined that reasonable efforts have been
           lation, if we cancel for non-payment of any                        made to prevent the loss of, or substan-
           premium when due;                                                  tial decrease in, the applicable reinsur-
                                                                              ance, or to obtain replacement coverage;
       (b) 30 days before the effective date of cancel-
           lation, if we cancel for any other reason and                  (5) Failure of an insured to correct material
           the policy has been in effect for less than 90                     violations of safety codes; or
           days; or
                                                                          (6) A determination by the Superintendent of
       (c) 30 days before the effective date of cancel-                       Insurance that the continuation of the
           lation, if we cancel and the policy has been                       policy would create a condition that the
           in effect for more than 90 days, and is not a                      would be hazardous to the policyholder
           renewal of a policy we issued, but only for                        or the public.
           one or more of the following reasons:
                                                                      3. We will mail or deliver our notice to the last
            (1) Discovery of fraud or material misre-                    mailing address known to us of the Named
                presentation in the procurement of the                   Insured first shown in the Declarations. We
                insurance or with respect to any claims                  will also mail the notice to the agent of record.
                submitted thereunder;
                                                                        If notice is mailed, proof of mailing will be
                                                                        sufficient proof of notice.



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  4. Notice of cancellation by us will state the             2. We will mail the notice of non-renewal at least 30
     effective date of cancellation and the specific            days before the expiration date of the policy.
     reasons for cancellation. The policy period will
     end on that date.                                         If the notice of non-renewal is mailed less than
                                                               30 days before the expiration date of the policy,
  5. If this policy is cancelled, we will send the             your coverage then in effect remains in effect
     Named Insured first shown in the Declarations             until 30 days after the date of the mailing of the
     any premium refund due.      If we cancel, the            notice, unless you notify us in writing that you
     refund will be pro-rata.                                  accept the non-renewal as stated.
  6. If the Named Insured cancels, we shall compute            We shall notify you of the amount of the
     the return premium at 90% of the pro-rata                 premium for the time after the expiration date
     unearned premium. We shall in any event be                that the coverage may remain in effect, and you
     entitled to retain any minimum retained premium           shall pay such premium unless you accept the
     stated in the Declarations.                               stated non-renewal. The premium shall be
  7. Premium adjustment may be made either at the              calculated using the rates applicable to your
     time cancellation is effected or as soon as               coverage then in effect.
     practicable after cancellation becomes effective,
                                                               Proof of mailing will be sufficient proof of notice.
     but payment or tender of unearned premium is
     not a condition of cancellation.                        3. If we offer to renew this policy and you do not
B. NON-RENEWAL                                                  accept our offer during the current policy period,
                                                                this policy will expire at the end of such policy
  1. If we elect not to renew this policy, we will mail         period.
     written notice of non-renewal to the Named
     Insured first shown in the Declarations, and
     agent if any, at the last mailing address known
     to us. The notice will contain the date of the
     notice and the policy number, and will state the
     expiration date of the policy.




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 Policy Number: 57 WV WQ0015                             Effective Date: 04/01/2024

 Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804
 Endt. No. 27


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         AMENDATORY ENDORSEMENT - OREGON
     PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE
We agree with you to the following:                              When      the   PART       SEVEN      -    LOSS
                                                                 REIMBURSEMENT                     DEDUCTIBLE
A. Item E. Definitions of Part Seven - Loss                      endorsement is deleted, the premium for any
   Reimbursement Deductible is amended as                        remaining portion of the policy term will be
   follows:    The definition of "Allocated Loss                 computed by using the rating plans currently filed
   Adjustment Expenses" is deleted and replaced by               and approved in Oregon.
   the following: Allocated loss adjustment expenses          C. Item 4. Premium Assessments is added under
   includes all expenses, as defined in NCCI Filing              F. Amendment of Conditions of PART SEVEN
   U-1292, paid by us and specifically incurred for              LOSS REIMBURSEMENT DEDUCTIBLE as
   the investigation, settlement or defense of any               follows:
   actual claim, proceeding or suit seeking benefits
   or damages payable under this policy.                          4. Premium Assessments
                                                                     The basis for the Workers’ Compensation
B. Item 2. Cancellation under F. Amendment of                        Premium Assessment will be premium earned
   Conditions of PART SEVEN - LOSS REIM-                             prior to any premium credits or modifications for
   BURSEMENT DEDUCTIBLE is amended to                                the PART SEVEN - LOSS REIMBURSE-
   include the following additional paragraphs.                      MENT DEDUCTIBLE endorsement.
   You must report all workers’ compensation                        The basis for any assessments by the Plan
   insurance claims to us. We retain responsibility to              Administrator for the Workers’ Compensation
   administer claims and to pay all costs and                       Insurance Plan specified by OAR 836-43-1 to
   expenses.                                                        836-43-090 will be premium earned prior to
   If we discover that you have on three occasions                  any premium credits or modifications for the
   within the policy period known of but not reported               PART SEVEN - LOSS REIMBURSEMENT
   a workers’ compensation insurance claim to us or                 DEDUCTIBLE endorsement.
   have on any occasion within the policy period
                                                              D. Item A. Inspection
   made direct payment of claim costs to the injured
   employee, this endorsement or the policy will be               Inspection under Part Six-Conditions Section
   cancelled.                                                     A. of the policy is amended to include the
   We will cancel the policy in accordance with ORS               following:
   656.427 Termination of guaranty contract by                   The Hartford, in cooperation with your agent,
   insurer by giving you 30 days written notice.                 makes Loss Control Services available to assist
   We will cancel the PART SEVEN - LOSS                          you in your loss prevention efforts. For further
   REIMBURSEMENT DEDUCTIBLE endorsement                          details, refer to the Important Message to
   effective not more than ten (10) days following the           Workers Compensation Policy Holders Notice
   date of the offense or retroactively to the date of           attached to your policy.
   the offense with penalties as stated below:




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                                                     (c) 1997 The Hartford
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E. Item 5. Final Premium

   Final Premium under          Part Five-Premium
   Section E. of the policy is amended to include the
   following additional paragraph.
   Your Deductible Credit will be recalculated based
   upon:

   a. your audited Standard Premium and

   b. the ranges and deductible credits shown in the
      Schedule below.

                        SCHEDULE                              DEDUCTIBLE CREDIT

   (1) Based on the estimated Oregon standard                * SEE OREGON SCHEDULE *
       Premium shown on the Policy.
   (2) Based on an audited Oregon Standard                   * SEE OREGON SCHEDULE *
       Premium that is 50% of the estimated Oregon
       Standard Premium shown on the Policy.

   (3) Based on an audited Oregon Standard                   * SEE OREGON SCHEDULE *
       Premium that is 150% of the estimated
       Oregon Standard Premium shown on the
       Policy.

   If the audited Oregon Standard Premium falls
   within the ranges shown above, the final
   deductible credit will be obtained by linear
   interpolation.  If the audited Oregon standard
   Premium is greater than 150% of your estimated
   Oregon premium shown on the policy, we will
   recalculate your final Deductible Credit based on
   the audited Oregon Standard Premium.




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                                                                                                   ABCDEFGHIJ



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE



Policy Number: 57 WV WQ0015                                Endorsement Number: 28
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




                                                        SCHEDULE

1. Deductible Limits
   Each ''Loss Event'' Deductible Limit:   $250,000                           Per ''Loss Event''
   Aggregate Deductible Limit:              NONE                               Per Aggregate Limit Period
   Your responsibility for reimbursing "allocated loss adjustment expense" is limited to the deductible amounts
   shown in the Schedule.

   Additional information regarding the application of the deductible, including the aggregate deductible, is
   contained in the Insurance Program Agreement.

2. This endorsement applies in the following state(s):
   CA


The      WORKERS           COMPENSATION         AND          PART SEVEN - (LOSS REIMBURSEMENT
EMPLOYERS LIABILITY POLICY to which this                     DEDUCTIBLE) apply. Otherwise, PART FIVE -
endorsement is attached is changed as follows:               (PREMIUM) and all other provisions of this policy
We (the insurer named in Item 1 of the Information           remain unchanged.
Page) agree with you (the insured first named in Item     C. Handling Claims and Reimbursement:
1 of the Information Page) that this PART SEVEN -            We will make such investigation, defense or
(LOSS REIMBURSEMENT DEDUCTIBLE) is added to                  settlement as we deem prudent of any claim, suit
and forms a part of the policy:                              or proceeding seeking benefits or damages
A. Purpose of This Endorsement:                              payable under PART ONE through SIX.
   We have added PART SEVEN - (LOSS                          As we pay ''Loss'' under your policy, we will set up
   REIMBURSEMENT DEDUCTIBLE) because you                     a separate ''Loss Reimbursement Deductible
   have chosen to reduce the cost of this insurance          Account'' for each ''Loss Event''. We will charge to
   policy by reimbursing us for all payments that are        each ''Loss Reimbursement Deductible Account''
   subject to a Loss Reimbursement Deductible.               all payments attributable to the applicable ''Loss
B. How This Endorsement Applies:                             Event.'' The amount of ''Loss'' we will charge, and
                                                             for which you must reimburse us, is limited as
   To the extent that PART SEVEN - (LOSS                     described in Part D. (How Loss Reimbursement
   REIMBURSEMENT DEDUCTIBLE) provides for a                  Deductibles Apply) of this Endorsement, and
   different method of determining and paying the            reduces any applicable Limits of Liability, except
   premium than the method described in PART FIVE -          that "allocated loss adjustment expense" shall not
   (PREMIUM) of this policy, the provisions of


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   reduce the policy limits of liability under PART         E. Definitions:
   TWO - (EMPLOYERS LIABILITY LIMITS).                         When used in reference to this policy:
   We will bill you periodically for charges to the            "Allocated Loss Adjustment Expense" includes all
   ''Loss Reimbursement Deductible Accounts''. Our             expenses we pay under this policy that were
   payment of ''Loss'' under this policy, as duly              specifically incurred for the investigation,
   recorded on our books, shall be deemed valid and            settlement or defense of any actual claims,
   binding to establish the fact, amount and                   proceedings or suits seeking benefits or damages
   justification of the ''Loss''; provided, however, we        payable under this policy.          These expenses
   will correct any errors in calculating or recording         include, but shall not be limited to (1) attorneys
   the amounts of ''Loss'' charged to the Deductibles          fees and (2) costs incurred under PART ONE -
   as they come to our attention.                              (WORKERS COMPENSATION INSURANCE)
   You agree to reimburse us for all charges to the            section D. and PART TWO - (EMPLOYERS
   ''Loss Reimbursement Deductible Accounts''                  LIABILITY INSURANCE) section E, - (We will Also
   within 30 days after receipt of our billing, or within      Pay).
   any period we may agree to in writing.                      ''Loss'' includes: (1) all benefits and all damages
   Notwithstanding the deductible, your failure to             that we pay under this policy because of bodily
   reimburse us for losses paid within the "Loss               injury by accident; (2) all benefits and all damages
   Reimbursement Deductible Accounts" shall not                that we pay under this policy because of bodily
   relieve us from the payment of compensation for             injury by disease; and (3) all expenses classified
   benefits due to or injuries sustained by your               as "Allocated Loss Adjustment Expense." A
   employee during the period of time the policy was           disease is not bodily injury by accident unless it
   in effect.                                                  results directly from bodily injury by accident, in
D. How Loss Reimbursement Deductibles Apply:                   which case it is not bodily injury by disease.
   1. The damages, benefits, and "allocated loss               ''Loss Event'' means: (1) all bodily injury to one or
      adjustment expenses" that we pay under                   more employees in any one accident or (2) with
      PART ONE (WORKERS COMPENSATION                           respect to injury by disease, all injury to any one
      INSURANCE)         and    PART     TWO      -            employee.
      (EMPLOYERS LIABILITY INSURANCE) of                       ''Loss Reimbursement Deductible Account'' is an
      this policy will be charged to the applicable            account used to keep track of the amount of
      ''Loss Reimbursement Deductible Account'' up             ''Loss'' we pay because of a ''Loss Event''.
      to the amount of the Deductibles shown in the            Amounts charged to the deductible are
      Schedule.                                                reimbursable by you to us.
   2. Each Loss Event Deductible:                           F. Amendment of Conditions
      Subject to the Aggregate Deductible Limit, the           1. Recovery From Others
      damages, benefits, and "allocated loss                      Recovery From Others under PART ONE -
      adjustment expense" that we pay as a result                 (WORKERS COMPENSATION INSURANCE)
      of any one ''Loss Event'' will be charged to the            section G. and PART TWO - (EMPLOYERS
      ''Loss Reimbursement Deductible Account'' up                LIABILITY       INSURANCE)      section    H.
      to the amount of the Each ''Loss Event''                    (Recovery From Others) to the policy are
      Deductible Limit shown in the Schedule.                     amended by adding the following paragraph.
   3. Aggregate Deductible:                                       Recoveries shall be applied, in the following
       The total amount that we may charge to all                 order, to reimburse:
       ''Loss Reimbursement Deductible Accounts''                 (a) any interest (including the Named
       for all ''Loss Events'' shall not exceed the                   Insured) that paid any amount in excess
       Aggregate Deductible Limit stated in the                       of our limits of liability;
       Schedule. We will assign date of loss to the
       ''Loss Event'' that is consistent with the                  (b) us up to the amount we paid in excess of
       provisions of PART ONE - (WORKERS                               the deductible amount; and
       COMPENSATION INSURANCE) and PART                            (c) you   for   deductible      amounts      you
       TWO         -   (EMPLOYERS         LIABILITY                    reimbursed to us.
       INSURANCE).                                             2. Cancellation
       The Aggregate Deductible Limit is applicable               Section D. - (Cancellation) under PART SIX -
       to the policy term as shown in Item 2 of the               (CONDITIONS) is amended to include the
       Information Page.                                          following additional paragraphs.




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       A condition of the Deductible Program, which                stating the day and hour the cancellation is to
       has been negotiated between you and us, is                  take effect. Mailing that notice to you at your
       that security and/or prefunded loss deposits,               mailing address shown in item 1. of the
       in an amount which is mutually agreeable, will              Information Page will be sufficient to prove
       be provided to us by you within thirty (30) days            notice.
       of the effective date of the policy. Failure to             We may cancel this policy in accordance with
       provide or maintain any such required                       the provisions under PART SIX - section D.
       security, including agreed upon installments                (Cancellation) of this policy or any state
       by the dates due (if your program allows for                amendatory endorsement amending such
       security and/or prefunded loss deposits to be               provisions.
       made in installments) may result in
       cancellation of this endorsement. Likewise, if              The amount of the Aggregate Deductible Limit
       you fail to execute and return to us                        is not subject to reduction by mid-term
       agreements associated with the insurance                    cancellation.
       and service programs, arising out of this policy            Cancellation under this provision will be
       and documentation evidencing same, within                   prospective and shall not affect our obligations
       thirty (30) days from the inception of this policy          under the policy during the time the policy was
       or from the date of mailing by the company of               in effect.
       said agreements (whichever is later), this              3. Sole Representative
       endorsement may be canceled. Also, if you
       are unable to maintain or increase the security            Section E. (Sole Representative) under PART
       that you provide to secure the amounts for                 SIX - (CONDITIONS) of the WORKERS
       which you may be obligated under the                       COMPENSATION POLICY is replaced by the
       deductible, this endorsement may be                        following.
       cancelled. If you fail to reimburse us for                 E. Sole Representative
       deductible     amounts      when     due,     this              The insured first named in Item 1 of the
       endorsement or the policy may be cancelled                      Information Page will act on behalf of all
       for nonpayment of premium.                                      insureds to change this policy, reimburse
       We may cancel this policy due to nonpayment                     deductible amounts, pay or receive
       of premium by mailing or delivering to you not                  premium, and give or receive notice of
       less than ten days advance written notice                       cancellation.




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Policy Number: 57 WV           WQ0015                            Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                                      880 HARBOUR WAY SOUTH, SUITE 600                                 ABCDEFGHIJ
                                      RICHMOND, CA 94804

Endt. No.       29



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE
                                                  SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit:                                     $250,000 Per "Loss Event"

    Aggregate Deductible Limit:                                                   NONE Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.
    Additional information regarding the application of the deductible, including the aggregate deductible, is
    contained in the Insurance Program Agreement.

2. This endorsement applies in the following state(s):
   NE,VA




The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is attached
is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a part
of the policy:
A. Purpose of This Endorsement:
    We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
    reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
    Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method of
    determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.



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C. Handling Claims and Reimbursement:
   We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.
   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
   reimburse us, is limited as described in Part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
   shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Accounts" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
      (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE)
      of this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the
      amount of the Deductibles shown in the Schedule.
   2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
       Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
   3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
   When used in reference to this policy:
   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
   attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
   section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.
   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.




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F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy are
       amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation of this endorsement for nonpayment of
       premium. Likewise, if you fail to execute and return to us agreements associated with the insurance and
       service programs, arising out of this policy and documentation evidencing same, within thirty (30) days
       from the inception of this policy or from the date of mailing by the company of said agreements
       (whichever is later), this endorsement may be canceled. Also, if you are unable to maintain or increase
       the security that you provide to secure the amounts for which you may be obligated under the deductible
       or if you fail to reimburse us for deductible amounts when due, this endorsement may be canceled for
       nonpayment of premium.
       We may cancel this endorsement due to nonpayment of premium by mailing or delivering to you not less
       than ten days advance written notice stating the day and hour the cancellation is to take effect. Mailing
       that notice to you at your mailing address shown in item 1. of the Information Page will be sufficient to
       prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
      The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change this
           policy, reimburse deductible amounts, pay or receive premium, and give or receive notice of
           cancellation.




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Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600                                          ABCDEFGHIJ
                           RICHMOND, CA 94804
Endt. No.       30



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                 SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit:   $250,000                                    Per "Loss Event"

    Aggregate Deductible Limit:           NONE                                        Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.


    Additional information regarding the application of the deductible, including the aggregate deductible, is
    contained in the Insurance Program Agreement.



2. This endorsement applies in the following state(s):
   NH



The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
attached is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a
part of the policy:
A. Purpose of This Endorsement:
   We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
   reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
   Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method
    of determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
    We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
    seeking benefits or damages payable under PART ONE through SIX.
    As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
    each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
    attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
    reimburse us, is limited as described in part D. (How Loss Reimbursement Deductibles Apply) of this
    Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
    shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
    We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
    "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
    fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
    recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Account" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
    1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
       (WORKERS COMPENSATION INSURANCE)                    and PART TWO - (EMPLOYERS LIABILITY
       INSURANCE) of this policy will be charged to the applicable "Loss Reimbursement Deductible Account"
       up to the amount of the Deductibles shown in the Schedule.
    2. Each Loss Event Deductible:
        Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
        expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
        Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
    3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
    When used in reference to this policy:
    "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
    incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
    benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
    attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
    section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
    "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
    accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
    and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
    accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
    "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
    injury by disease, all injury to any one employee.
    "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
    because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.




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F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy
       are amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as a material change in conditions,
       and among other consequences, may result in cancellation of this endorsement or the policy. Likewise, if
       you fail to execute and return to us agreements associated with the insurance and service programs,
       arising out of this policy and documentation evidencing same, within thirty (30) days from the inception of
       this policy or from the date of mailing by the company of said agreements (whichever is later), this
       endorsement or the policy may be canceled. Also, if you are unable to maintain or increase the security
       that you provide to secure the amounts for which you may be obligated under the deductible or if you fail
       to reimburse us for deductible amounts when due, this endorsement or the policy may be canceled for a
       material change in conditions.
       Mailing the cancellation notice to you at your mailing address shown in item 1. of the Information Page
       will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
      The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The Named Insured(s) in item 1 of the Information Page will act on behalf of all insureds to change
           this policy, reimburse deductible amounts, and pay or receive premium, give or receive notice of
           cancellation.




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Policy Number: 57 WV WQ0015                             Effective Date: 04/01/2024
Named Insured and Address: SUNPOWER CORPORATION                                                       ABCDEFGHIJ
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804
Endt. No.    31



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            AMENDATORY ENDORSEMENT - PART SEVEN -
               LOSS REIMBURSEMENT DEDUCTIBLE
                       (NEW HAMPSHIRE)
   Paragraph 3. Sole Representative under section F. Amendment of Conditions of the PART SEVEN - LOSS
   REIMBURSEMENT DEDUCTIBLE endorsement attached to this policy is replaced by the following:
   E. The insured first named in item 1 of the Information Page will act on behalf of all insureds to change this
       policy, reimburse deductible amounts, pay or receive premium and give us notice of cancelation. If we cancel
       this policy, we will give each named insured notice of cancelation.




                                                         Countersigned by
                                                                                            Authorized Agent




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               Case 24-11649-CTG           Doc 812-2       Filed 10/16/24      Page 233 of 499
Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804
                                                                                                     ABCDEFGHI J
Endt. No.        32



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                  SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit: $250,000                                      Per "Loss Event"

    Aggregate Deductible Limit:         NONE                                          Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.


    Additional information regarding the application of the deductible, including the aggregate deductible, is
    contained in the Insurance Program Agreement.



2. This endorsement applies in the following state(s):
   VT



The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
attached is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a
part of the policy:
A. Purpose of This Endorsement:
    We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
    reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
    Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method
    of determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
   We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.
   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
   reimburse us, is limited as described in part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
   shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Account" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
      (WORKERS COMPENSATION INSURANCE)                    and PART TWO - (EMPLOYERS LIABILITY
      INSURANCE) of this policy will be charged to the applicable "Loss Reimbursement Deductible Account"
      up to the amount of the Deductibles shown in the Schedule.
   2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
       Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
   3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
   When used in reference to this policy:
   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
   attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
   section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.




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   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.
F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy
       are amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation of the policy for nonpayment of premium.
       Likewise, if you fail to execute and return to us agreements associated with the insurance and service
       programs, arising out of this policy and documentation evidencing same, within thirty (30) days from the
       inception of this policy or from the date of mailing by the company of said agreements (whichever is later),
       the policy may be canceled. Also, if you are unable to maintain or increase the security that you provide
       to secure the amounts for which you may be obligated under the deductible or if you fail to reimburse us
       for deductible amounts when due, the policy may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than ten
       days advance written notice stating the day and hour the cancellation is to take effect. Mailing that notice
       to you at your mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
       The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change
           this policy, reimburse deductible amounts, and pay or receive premium, give or receive notice of
           cancellation.




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Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804                                                              ABCDEFGHIJ

Endt. No.        33



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                   SCHEDULE


1. Deductible Limits

    Each "Loss Event" Deductible Limit:    $250,000                                   Per "Loss Event"

    Aggregate Deductible Limit:            NONE                                       Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.
    Additional information regarding the application of the deductible, including the aggregate deductible, is
    contained in the Insurance Program Agreement.




2. This endorsement applies in the following state(s): New York




The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
attached is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a
part of the policy:
A. Purpose of This Endorsement:
   We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
   reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
   Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method
    of determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:

   We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.

   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
   reimburse us, is limited as described in part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
   shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).

   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.

   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Account" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.

D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
      (WORKERS COMPENSATION INSURANCE)                    and PART TWO - (EMPLOYERS LIABILITY
      INSURANCE) of this policy will be charged to the applicable "Loss Reimbursement Deductible Account"
      up to the amount of the Deductibles shown in the Schedule.

   2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
       Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.

   3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).

       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:

   When used in reference to this policy:

   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
   attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
   section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).

   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.

   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.

   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.



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F. Amendment of Conditions

   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy
       are amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation of this endorsement or the policy for
       nonpayment of premium. Likewise, if you fail to execute and return to us agreements associated with the
       insurance and service programs, arising out of this policy and documentation evidencing same, within
       thirty (30) days from the inception of this policy or from the date of mailing by the company of said
       agreements (whichever is later), this endorsement or the policy may be canceled. Also, if you are unable
       to maintain or increase the security that you provide to secure the amounts for which you may be
       obligated under the deductible or if you fail to reimburse us for deductible amounts when due, this
       endorsement or the policy may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you and the office of
       the Chair of the Workers’ Compensation Board not less than ten days advance written notice stating the
       day and hour the cancellation is to take effect. Mailing that notice to you at your mailing address shown in
       item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy for reasons other than nonpayment of premium in accordance with the
       provisions under PART SIX - section D. (Cancellation) of this policy. Such notice will be mailed or
       delivered to you and the office of the Chair of the Workers’ Compensation Board not less than thirty days
       advance written notice stating the day and hour the cancellation is to take effect.
      The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change
           this policy, reimburse deductible amounts, and pay or receive premium, give or receive notice of
           cancellation.




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Workers Compensation and Employers Liability Policy


AMENDATORY ENDORSEMENT
PART SEVEN - LOSS REIMBURSEMENT
DEDUCTIBLE - VERMONT
                                                                                Named Insured and Address
Policy Number
                                                                     SUNPOWER CORPORATION
57 WV WQ0015
                                                                     880 HARBOUR WAY SOUTH, SUITE 600
This endorsement changes the policy effective on the                 RICHMOND, CA 94804
inception date of the policy unless another date is indicated
below.
Effective Date            Effective hour is the same as stated
 04/01/2024               in the Information Page of the policy.
 Endt. No.
34


  With respect to the state of Vermont, it is agreed that item 2. Cancelation of the Loss Reimbursement Deductible
  Endorsement attached to this policy is replaced by the following:

     2. Cancelation

          Section D. - (Cancelation) under PART SIX - (CONDITIONS) is amended to include the following additional
          paragraphs:

          The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancelation.

          If you are unable to maintain or increase the security that you provide to secure the amounts payable under
          the deductible or if you fail to reimburse us for deductible amounts when due, this endorsement or the policy
          may be canceled.
          We may cancel the endorsement by mailing or delivering to you not less than forty-five(45) days advance
          written notice stating the day and hour the cancelation is to take effect. Mailing that notice to you at your
          mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
          We may cancel this policy in accordance with the provisions under PART SIX section D. - (Cancelation) of
          this policy or any endorsement amending such provisions.




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                                                       (c) 1992, The Hartford
               Case 24-11649-CTG           Doc 812-2       Filed 10/16/24      Page 240 of 499
Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804
                                                                                                      ABCDEFGHIJ
Endt. No.   35



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                 SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit:        $250,000                               Per "Loss Event"

    Aggregate Deductible Limit:                NONE                                   Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.
    Additional information regarding the application of the deductible, including the aggregate deductible, is
    contained in the Insurance Program Agreement.

2. This endorsement applies in the following state(s):
   IL




The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
attached is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a
part of the policy:
A. Purpose of This Endorsement:
   We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
   reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
   Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method
    of determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
    We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
    seeking benefits or damages payable under PART ONE through SIX.
    As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
    each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
    attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
    reimburse us, is limited as described in part D. (How Loss Reimbursement Deductibles Apply) of this
    Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
    shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
    We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
    "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
    fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
    recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Account" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
    1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
       (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE) of
       this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the amount of the
       Deductibles shown in the Schedule.
    2. Each Loss Event Deductible:
        Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
        expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
        Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
    3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
    When used in reference to this policy:
    "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
    incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
    benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
    attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
    section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
    "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
    accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
    and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
    accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
    "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
    injury by disease, all injury to any one employee.
    "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
    because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.




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F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy
       are amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as a material change in conditions,
       and among other consequences, may result in the policy being rerated as a guaranteed cost program
       using filed programs or cancellation of the policy for violation of the terms and conditions of the policy.
       Likewise, if you fail to execute and return to us agreements associated with the insurance and service
       programs, arising out of this policy and documentation evidencing same, within thirty (30) days from the
       inception of this policy or from the date of mailing by the company of said agreements (whichever is later),
       the policy may be rerated as a guaranteed cost program using filed programs or canceled for violation of
       the terms and conditions of the policy. Also, if you are unable to maintain or increase the security that
       you provide to secure the amounts for which you may be obligated under the deductible or if you fail to
       reimburse us for deductible amounts when due, the policy may be rerated as a guaranteed cost program
       using filed programs or canceled for violation of the terms and conditions of the policy.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
      The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change
           this policy, reimburse deductible amounts, pay or receive premium, and give notice of cancellation.




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               Case 24-11649-CTG           Doc 812-2       Filed 10/16/24      Page 243 of 499
Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804
                                                                                                     ABCDEFGHI J
Endt. No.     36



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                 SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit: $250,000                                      Per "Loss Event"

    Aggregate Deductible Limit:          NONE                                         Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.


    Additional information regarding the application of the deductible, including the aggregate deductible, is
    contained in the Insurance Program Agreement.



2. This endorsement applies in the following state(s):
   TN



The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
attached is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a
part of the policy:
A. Purpose of This Endorsement:
    We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
    reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
    Reimbursement Deductible.
B. How this Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method
    of determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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              Case 24-11649-CTG             Doc 812-2        Filed 10/16/24       Page 244 of 499
C. Handling Claims and Reimbursement:
   We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
   seeking benefits or damages payable under PART ONE through SIX.
   As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
   each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
   attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
   reimburse us, is limited as described in part D. (How Loss Reimbursement Deductibles Apply) of this
   Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
   shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Account" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
      (WORKERS COMPENSATION INSURANCE)                    and PART TWO - (EMPLOYERS LIABILITY
      INSURANCE) of this policy will be charged to the applicable "Loss Reimbursement Deductible Account"
      up to the amount of the Deductibles shown in the Schedule.
   2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
       Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
   3. Aggregate Deductible:
       The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
       Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
       loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
       COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
   When used in reference to this policy:
   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
   benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
   attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
   section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
   and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
   accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.
   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.




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              Case 24-11649-CTG            Doc 812-2       Filed 10/16/24       Page 245 of 499
F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy
       are amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
       If you are unable to maintain or increase the security that you provide to secure the amounts payable
       under the deductible or if you fail to reimburse us for deductible amounts when due, this endorsement
       may be canceled resulting in the policy being rerated as a guaranteed cost program using filed programs.
       We may cancel this policy by mailing or delivering to you not less than ten days advance written notice
       stating the day and hour the cancellation is to take effect. Mailing that notice to you at your mailing
       address shown in item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change
           this policy, reimburse deductible amounts, and pay or receive premium, give or receive notice of
           cancellation.




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              Case 24-11649-CTG           Doc 812-2       Filed 10/16/24      Page 246 of 499
Policy Number: 57 WV WQ0015                             Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                                                                                                   ABCDEFGHIJ
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804
Endt. No.       37



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                  SCHEDULE


1. Deductible Limits

    Each "Loss Event" Deductible Limit: $250,000                                     Per "Loss Event"

    Aggregate Deductible Limit:   NONE                                               Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.
    Additional information regarding the application of the "Loss Event" and Aggregate deductible is contained in
    the Insurance Program Agreement.




2. This endorsement applies in the following state(s):
   MI




The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is attached
is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a part
of the policy:
A. Purpose of This Endorsement:
   We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
   reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
   Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method of
    determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy, the
    provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
    We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
    seeking benefits or damages payable under PART ONE through SIX.
    We will pay all benefits due an injured employee and seek reimbursement from the employer.
    As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
    each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments attributable
    to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must reimburse us, is
    limited as described in part D. (How Loss Reimbursement Deductibles Apply) of this Endorsement, and
    reduces any applicable Limits of Liability, except that "allocated loss adjustment expense" shall not reduce the
    policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
    We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
    "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the fact,
    amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or recording
    the amounts of "Loss" charged to the Deductibles as they come to our attention.
    You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Account" within 30 days
    after receipt of our billing, or within any period we may agree to in writing.
   Notwithstanding the deductible, your failure to reimburse us for losses paid within the "Loss Reimbursement
   Deductible Accounts" shall not relieve us from the payment of compensation for benefits due to or injuries
   sustained by your employee during the period of time the policy was in effect.
D. How Loss Reimbursement Deductibles Apply:
    1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
       (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE)
       of this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the amount
       of the Deductibles shown in the Schedule.
    2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment expense"
       that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement Deductible
       Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
    3. Aggregate Deductible:
        The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
        Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
        loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
        COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
    When used in reference to this policy:
    "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
    incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking benefits
    or damages payable under this policy. These expenses include, but shall not be limited to: (1) attorneys fees
    and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE) section D. and PART
    TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
    "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
    accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease; and
    (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by accident
    unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.




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   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.
   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.
F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy are
       amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you within
       thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required security,
       including agreed upon installments by the dates due (if your program allows for security and/or prefunded
       loss deposits to be made in installments) shall be treated as failure to pay premium when due, and among
       other consequences, may result in cancellation of this endorsement or the policy for nonpayment of
       premium. Likewise, if you fail to execute and return to us agreements associated with the insurance and
       service programs, arising out of this policy and documentation evidencing same, within thirty (30) days from
       the inception of this policy or from the date of mailing by the company of said agreements (whichever is
       later), this endorsement or the policy may be canceled. Also, if you are unable to maintain or increase the
       security that you provide to secure the amounts for which you may be obligated under the deductible or if
       you fail to reimburse us for deductible amounts when due, this endorsement or the policy may be canceled
       for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than ten
       days advance written notice stating the day and hour the cancellation is to take effect. Mailing that notice to
       you at your mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation) of
       this policy or any state amendatory endorsement amending such provisions.
      The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy is
       replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change
           this policy, reimburse deductible amounts, and pay or receive premium, give or receive notice of
           cancellation.




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Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600                                                 ABCDEFGHIJ
                           RICHMOND, CA 94804
Endt. No.       38



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit:       $250,000                                  Per "Loss Event"

    Aggregate Deductible Limit:               NONE                                      Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.
    Additional information regarding the application of the "Loss Event" and Aggregate deductible is contained in
    the Insurance Program Agreement.




2. This endorsement applies in the following state(s):

    SC


The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is attached
is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a part
of the policy:
A. Purpose of This Endorsement:
   We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
   reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
   Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method of
    determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
    We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
    seeking benefits or damages payable under PART ONE through SIX.
    As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
    each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
    attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
    reimburse us, is limited as described in Part D. (How Loss Reimbursement Deductibles Apply) of this
    Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
    shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
   "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
   fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
   recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Accounts" within 30 days
   after receipt of our billing, or within any period we may agree to in writing.
D. How Loss Reimbursement Deductibles Apply:
    1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
       (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE)
       of this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the
       amount of the Deductibles shown in the Schedule.
    2. Each Loss Event Deductible:
       Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
       expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
       Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
    3. Aggregate Deductible:
        The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
        Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
        loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
        COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
    When used in reference to this policy:
    "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
    incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
    benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
    attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
    section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
    "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
    accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
    and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
    accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
    "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
    injury by disease, all injury to any one employee.
    "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
    because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.




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F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy are
       amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following additional
paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation of this endorsement or the policy for
       nonpayment of premium. Likewise, if you fail to execute and return to us agreements associated with the
       insurance and service programs, arising out of this policy and documentation evidencing same, within
       thirty (30) days from the inception of this policy or from the date of mailing by the company of said
       agreements (whichever is later), this endorsement or the policy may be canceled. Also, if you are unable
       to maintain or increase the security that you provide to secure the amounts for which you may be
       obligated under the deductible or if you fail to reimburse us for deductible amounts when due, this
       endorsement or the policy may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than ten
       days advance written notice stating the day and hour the cancellation is to take effect. Mailing that notice
       to you at your mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
      The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
           The insured first named in item 1 of the Information Page will act on behalf of all insureds to change this
           policy, reimburse deductible amounts, pay or receive premium, and give or receive notice of
           cancellation.




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Policy Number: 57 WV WQ0015                                Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600                                             ABCDEFGHIJ
                           RICHMOND, CA 94804
Endt. No.        39



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    PART SEVEN - LOSS REIMBURSEMENT DEDUCTIBLE

                                                   SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit: $250,000                                           Per "Loss Event"

    Aggregate Deductible Limit:            NONE                                            Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.
Additional information regarding the application of the deductible, including the aggregate deductible, is contained in
the Insurance Program Agreement.




2. This endorsement applies in the following state(s): AR




The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is attached
is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a part
of the policy:
A. Purpose of This Endorsement:
   We have added PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
   reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
   Reimbursement Deductible.
B. How This Endorsement Applies:
    To the extent that PART SEVEN - (LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method of
    determining and paying the premium than the method described in PART FIVE - (PREMIUM) of this policy,
    the provisions of PART SEVEN (LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE -
    (PREMIUM) and all other provisions of this policy remain unchanged.




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C. Handling Claims and Reimbursement:
    We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
    seeking benefits or damages payable under PART ONE through SIX. We are responsible for all "Losses"
    that occur during the term of this policy whether or not such loss is handled by us or by a Third Party
    Administrator (TPA).
    As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
    each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
    attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
    reimburse us, is limited as described in Part D. (How Loss Reimbursement Deductibles Apply) of this
    Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment expense"
    shall not reduce the policy limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).
    We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment of
    "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish the
    fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating or
    recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
    You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Accounts" within 30 days
    after receipt of our billing, or within any period we may agree to in writing.
    If claims are handled by a third party administrator, the TPA is responsible to us for guidance and final
    authority in determining whether an injury or illness constitutes a compensable claim.
   You may not pay claims directly or decline to report claims to us or, if applicable, the TPA. You may not
   attempt to control or influence the claims adjustment process, regardless of whether the claim is handled by
   us or a TPA, except to the extent allowed by law. You will cooperate fully in furnishing to us or, if applicable,
   the TPA, all information which we or the TPA deem relevant to the claim.
D. How Loss Reimbursement Deductibles Apply:
    1. The damages, benefits and "allocated loss adjustment expenses" that we pay under PART ONE -
       (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE)
       of this policy will be charged to the applicable "Loss Reimbursement Deductible Account" up to the
       amount of the Deductibles shown in the Schedule.
    2. Each Loss Event Deductible:
        Subject to the Aggregate Deductible Limit, the damages, benefits and "allocated loss adjustment
        expense" that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
        Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.
    3. Aggregate Deductible:
        The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
        Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a date of
        loss to the "Loss Event" that is consistent with the provisions of PART ONE - (WORKERS
        COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).
       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
E. Definitions:
    When used in reference to this policy:
    "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
    incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking
    benefits or damages payable under this policy. These expenses include, but shall not be limited to: (1)
    attorneys fees and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE)
    section D. and PART TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).
    "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
    accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease;
    and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by
    accident unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.
    "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
    injury by disease, all injury to any one employee.




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   "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
   because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.
F. Amendment of Conditions
   1. Recovery From Others
       Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
       PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy are
       amended by adding the following paragraph.
       Recoveries shall be applied, in the following order, to reimburse:
       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.
   2. Cancellation
       Section D. - (Cancellation) under PART SIX - (CONDITIONS) is amended to include the following
       additional paragraphs.
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you
       within thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation of this endorsement or the policy for
       nonpayment of premium. Likewise, if you fail to execute and return to us agreements associated with the
       insurance and service programs, arising out of this policy and documentation evidencing same, within
       thirty (30) days from the inception of this policy or from the date of mailing by the company of said
       agreements (whichever is later), this endorsement or the policy may be canceled. Also, if you are unable
       to maintain or increase the security that you provide to secure the amounts for which you may be
       obligated under the deductible or if you fail to reimburse us for deductible amounts when due, this
       endorsement or the policy may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing or delivering to you not less than ten
       days advance written notice stating the day and hour the cancellation is to take effect. Mailing that notice
       to you at your mailing address shown in item 1. of the Information Page will be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
      The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancellation.
   3. Sole Representative
       Section E. (Sole Representative) under PART SIX - (CONDITIONS) of the workers compensation policy
       is replaced by the following.
       E. Sole Representative
         The insured first named in item 1 of the Information Page will act on behalf of all insureds to change this
         policy, reimburse deductible amounts, pay or receive premium, and give or receive notice of
         cancellation.
   4. Your Duties If Injury Occurs
       PART FOUR - YOUR DUTIES IF INJURY OCCURS of the workers compensation policy is amended to
       include the following additional paragraph.
       7. Each insured is responsible for reporting all claims within the deductible amount to us.




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Policy Number: 57 WV WQ0015                              Effective Date: 04/01/2024

Named Insured and Address:
                                 SUNPOWER CORPORATION
                                                                                                       ABCDEFGHIJ
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804
Endt. No.     40



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



     PART SEVEN-LOSS REIMBURSEMENT DEDUCTIBLE

                                                 SCHEDULE

1. Deductible Limits

    Each "Loss Event" Deductible Limit: $250,000                                      Per "Loss Event"

    Aggregate Deductible Limit: NONE                                                  Per Aggregate Limit Period

Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.


Additional information regarding the application of the "Loss Event" and Aggregate deductible is contained in the
Insurance Program Agreement.

2. This endorsement applies in the following state(s):


    AZ


The WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which this endorsement is
attached is changed as follows:
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this PART SEVEN-(LOSS REIMBURSEMENT DEDUCTIBLE) is added to and forms a
part of the policy:
A. Purpose of This Endorsement:
   We have added PART SEVEN-(LOSS REIMBURSEMENT DEDUCTIBLE) because you have chosen to
   reduce the cost of this insurance policy by reimbursing us for all payments that are subject to a Loss
   Reimbursement Deductible plus all "allocated loss adjustment expense".
B. How this Endorsement Applies:
    To the extent that PART SEVEN-(LOSS REIMBURSEMENT DEDUCTIBLE) provides for a different method
    of determining and paying the premium than the method described in PART FIVE-(PREMIUM) of this policy,
    the provisions of PART SEVEN-(LOSS REIMBURSEMENT DEDUCTIBLE) apply. Otherwise, PART FIVE-
    (PREMIUM) and all other provisions of this policy remain unchanged.




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   C. Handling Claims and Reimbursement:
       We will make such investigation, defense or settlement as we deem prudent of any claim, suit or
       proceeding seeking benefits or damages payable under PART ONE through SIX.
       As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account"
       for each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments
       attributable to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must
       reimburse us, is limited as described in Part D. (How Loss Reimbursement Deductibles Apply) of this
       Endorsement, and reduces any applicable Limits of Liability, except that "allocated loss adjustment
       expense" shall not reduce the policy limits of liability under PART TWO-(EMPLOYERS LIABILITY
       INSURANCE).
      We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts". Our payment
      of "Loss" under this policy, as duly recorded on our books, shall be deemed valid and binding to establish
      the fact, amount and justification of the "Loss"; provided, however, we will correct any errors in calculating
      or recording the amounts of "Loss" charged to the Deductibles as they come to our attention.
      You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Accounts" within 30
      days after receipt of our billing, or within any period we may agree to in writing.
   D. How Loss Reimbursement Deductibles Apply:
       1. The damages and benefits that we pay under PART ONE-(WORKERS COMPENSATION INSURANCE)
          and PART TWO-(EMPLOYERS LIABILITY INSURANCE) of this policy will be charged to the applicable
          "Loss Reimbursement Deductible Account" up to the amount of the Deductible shown in the Schedule.
       2. Each Loss Event Deductible:
          Subject to the Aggregate Deductible Limit, the damages and benefits (including "allocated loss
          adjustment expense") that we pay as a result of any one "‘Loss Event" will be charged to the "Loss
          Reimbursement Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit
          shown in the Schedule.
       3. Aggregate Deductible:
           The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss
           Events" shall not exceed the Aggregate Deductible Limit stated in the Schedule. We will assign a
           date of loss to the "Loss Event" that is consistent with the provisions of PART ONE-(WORKERS
           COMPENSATION INSURANCE) and PART TWO-(EMPLOYERS LIABILITY INSURANCE).
          The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information
          Page.
   E. Definitions:
       When used in reference to this policy:
       "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were
       specifically incurred for the investigation, settlement or defense of any actual claims, proceedings or suits
       seeking benefits or damages payable under this policy. These expenses include, but shall not be limited
       to: (1) attorneys fees and (2) costs incurred under PART ONE-(WORKERS COMPENSATION
       INSURANCE) section D. and PART TWO-(EMPLOYERS LIABILITY INSURANCE) section E. - (We Will
       Also Pay).
       "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
       accident and (2) all benefits and all damages that we pay under this policy because of bodily injury by
       disease and (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily
       injury by accident unless it results directly from bodily injury by accident, in which case it is not bodily
       injury by disease.
       "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect
       to injury by disease, all injury to any one employee.




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      "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we
      pay because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us.
   F. Amendment of Conditions
       1. Recovery From Others
           Recovery from others under PART ONE-(WORKERS COMPENSATION INSURANCE) section G.
           and PART TWO-(EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the
           policy are amended by adding the following paragraph.
           Recoveries shall be applied, in the following order, to reimburse:
           (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
           (b) us up to the amount we paid in excess of the deductible amount; and
           (c) you for deductible amounts you reimbursed to us.
       2. Cancelation
          Section D.-(Cancelation) under PART SIX-(CONDITIONS) is amended to include the following
          additional paragraphs.
           The amount of the Aggregate Deductible Limit is not subject to reduction by mid-term cancelation.
           If you fail to reimburse us for deductible amounts when due, we may, at our discretion, cancel this
           policy in accordance with the terms and conditions of such policy for non payment of premium.
          We may cancel the policy in accordance with the provisions under PART SIX-section D.
          (Cancelation) of this policy or any state amendatory endorsement amending such provisions.
       3. Sole Representative
           Section E. (Sole Representative) under PART SIX-(CONDITIONS) of the workers compensation
           policy is replaced by the following.
           E. Sole Representative
               The insured first named in item 1 of the Information Page will act on behalf of all insureds to
               change this policy, reimburse deductible amounts, pay or receive premium, and give or receive
               notice of cancelation.




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                                                                                                          ABCDEFGHIJ
         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                     LOSS REIMBURSEMENT - LARGE DEDUCTIBLE

Policy Number: 57 WV WQ0015                                 Endorsement Number: 41
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804


                                                 SCHEDULE
1. Deductible Limits

    Each "Loss Event" Deductible Limit: $250,000                                     Per "Loss Event"

    Aggregate Deductible Limit: NONE                                                 Per Aggregate Limit Period

    Your responsibility for Allocated Loss Adjustment Expenses is limited to the deductible amounts.



2. This endorsement applies in the following state(s):
    TX



This endorsement applies to the WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY to which it
is attached. This endorsement also applies to the insurance provided by any endorsement to this policy.
We (the insurer named in item 1. of the Information Page) agree with you (the insured first named in item 1. of the
Information Page) that this endorsement is added to and forms a part of the policy:
A. Purpose Of This Endorsement:
    We have added this endorsement because you have chosen to reduce the cost of this insurance policy by
    reimbursing us for all payments that are subject to a Loss Reimbursement Deductible plus all "allocated loss
    adjustment expense".
B. Handling Claims and Reimbursement:

    We will make such investigation, defense or settlement as we deem prudent of any claim, suit or proceeding
    seeking benefits or damages payable under PART ONE through SIX.

    As we pay "Loss" under your policy, we will set up a separate "Loss Reimbursement Deductible Account" for
    each "Loss Event". We will charge to each "Loss Reimbursement Deductible Account" all payments attributable
    to the applicable "Loss Event". The amount of "Loss" we will charge, and for which you must reimburse us, is
    limited as described in part C. (How Loss Reimbursement Deductibles Apply) of this Endorsement, and reduces
    any applicable Limits of Liability, except that "allocated loss adjustment expense" shall not reduce the policy
    limits of liability under PART TWO - (EMPLOYERS LIABILITY INSURANCE).




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Process Date:                                                          Policy Expiration Date: 04/01/2025
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   We will bill you periodically for charges to the "Loss Reimbursement Deductible Accounts" plus all "allocated
   loss adjustment expense". Our payment of "Loss" and all "allocated loss adjustment expense" under this policy,
   as duly recorded on our books, shall be deemed valid and binding to establish the fact, amount and justification
   of the "Loss" provided, however, we will correct any errors in calculating or recording the amounts of "Loss" or
   "allocated loss adjustment expenses" charged to the Deductibles as they come to our attention.

   You agree to reimburse us for all charges to the "Loss Reimbursement Deductible Account" and all "allocated
   loss adjustment expense" within 30 days after receipt of our billing, or within any period we may agree to in
   writing.

C. How Loss Reimbursement Deductibles Apply:
   1. The damages, benefits that we pay under PART ONE - (WORKERS COMPENSATION INSURANCE) and
   PART TWO - (EMPLOYERS LIABILITY INSURANCE) of this policy will be charged to the applicable "Loss
   Reimbursement Deductible Account" up to the amount of the Deductibles shown in the Schedule. Your
   responsibility for reimbursing "allocated loss adjustment expense" is limited to the deductible amount.

   2. Each Loss Event Deductible:
    Subject to the Aggregate Deductible Limit, the damages, benefits (excluding "allocated loss adjustment
   expense"), that we pay as a result of any one "Loss Event" will be charged to the "Loss Reimbursement
   Deductible Account" up to the amount of the Each "Loss Event" Deductible Limit shown in the Schedule.

   3. Aggregate Deductible:
    The total amount that we may charge to all "Loss Reimbursement Deductible Accounts" for all "Loss Events"
   shall not exceed the Aggregate Deductible Limit stated in the Schedule plus all "allocated loss adjustment
   expense". We will assign a date of loss to the "Loss Event" that is consistent with the provisions of PART ONE -
   (WORKERS COMPENSATION INSURANCE) and PART TWO - (EMPLOYERS LIABILITY INSURANCE).

       The Aggregate Deductible Limit is applicable to the policy term as shown in item 2. of the Information Page.
D. Definitions:

   When used in reference to this policy:

   "Allocated Loss Adjustment Expense" includes all expenses we pay under this policy that were specifically
   incurred for the investigation, settlement or defense of any actual claims, proceedings or suits seeking benefits
   or damages payable under this policy. These expenses include, but shall not be limited to: (1) attorneys fees
   and (2) costs incurred under PART ONE - (WORKERS COMPENSATION INSURANCE) section D. and PART
   TWO - (EMPLOYERS LIABILITY INSURANCE) section E. - (We Will Also Pay).

   "Loss" includes: (1) all benefits and all damages that we pay under this policy because of bodily injury by
   accident; (2) all benefits and all damages that we pay under this policy because of bodily injury by disease; and
   (3) all expenses classified as "Allocated Loss Adjustment Expense". A disease is not bodily injury by accident
   unless it results directly from bodily injury by accident, in which case it is not bodily injury by disease.

   "Loss Event" means: (1) all bodily injury to one or more employees in any one accident or (2) with respect to
   injury by disease, all injury to any one employee.

    "Loss Reimbursement Deductible Account" is an account used to keep track of the amount of "Loss" we pay
    because of a "Loss Event". Amounts charged to the deductible are reimbursable by you to us in addition to all
    "allocated loss adjustment expense".

E. Other Conditions

    1. Recovery From Others
        Recovery from others under PART ONE - (WORKERS COMPENSATION INSURANCE) section G. and
        PART TWO - (EMPLOYERS LIABILITY INSURANCE) section H. (Recovery From Others) of the policy
        shall be applied, in the following order, to reimburse:




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       (a) any interest (including the Named Insured) that paid any amount in excess of our limits of liability;
       (b) us up to the amount we paid in excess of the deductible amount; and
       (c) you for deductible amounts you reimbursed to us.


   2. Cancellation
       A condition of the Deductible Program, which has been negotiated between you and us, is that security
       and/or prefunded loss deposits, in an amount which is mutually agreeable, will be provided to us by you within
       thirty (30) days of the effective date of the policy. Failure to provide or maintain any such required
       security, including agreed upon installments by the dates due (if your program allows for security and/or
       prefunded loss deposits to be made in installments) shall be treated as failure to pay premium when due,
       and among other consequences, may result in cancellation the policy for nonpayment of premium. If you
       are unable to maintain or increase the security that you provide to secure the amounts for which you may
       be obligated under the deductible or if you fail to reimburse us for deductible amounts when due, this the
       policy may be canceled for nonpayment of premium.
       We may cancel this policy due to nonpayment of premium by mailing by certified mail, or delivering to you
       in person, not less than ten days advance written notice stating the day and hour the cancellation is to
       take effect. Mailing that notice to you at your mailing address shown in item 1. of the Information Page will
       be sufficient to prove notice.
       We may cancel this policy in accordance with the provisions under PART SIX - section D. (Cancellation)
       of this policy or any state amendatory endorsement amending such provisions.
       In the event that we initiate cancellation of this policy the aggregate limit of this endorsement will be pro
       rated for the term for which the policy is inforce. If you should initiate cancellation of this policy the
       aggregate limit will not be reduced.


   3. Sole Representative
       The insured first named in item 1. of the Information Page will act on behalf of all insureds to reimburse
       deductible amounts.




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Policy Number: 57 WV WQ0015                       Effective Date: 04/01/2024

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
Endt. No.  42
                           RICHMOND, CA 94804



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       NOTICE TO INSURED - NEW YORK


If you elect to use Workers’ Compensation deductible endorsement Form WC 99 05 12, you will be responsible for
the reimbursement to us of all allocated loss adjustment expenses from Workers’ Compensation and Employer’s
Liability claims but this responsibility is limited by the deductible limit on your policy.

I hereby acknowledge I have read and understood the above statement. I have elected to use Form WC 99 05 12.




                                             Accepted by:

                                                     Title:

                                                     Date:




Form WC 99 05 13    Printed in U.S.A.

                                           (c) 2001, The Hartford
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         Longshore and Harbor Workers’
                      Compensation Act Coverage Endorsement
Policy Number: 57 WV WQ0015                                Endorsement Number: 43
Effective Date: 04/01/2024                    Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804


This endorsement applies only to work subject to the Longshore and Harbor Workers’ Compensation Act in a state
shown in the Schedule. The policy applies to that work as though that state were listed in item 3.A of the Information
Page.
General Section C. Workers’ Compensation Law is replaced by the following:
C. Workers’ Compensation Law
   Workers’ Compensation Law means the workers or workmen’s compensation law and occupational disease law of
   each state or territory named in item 3.A. of the Information Page and the Longshore and Harbor Workers’
   Compensation Act (33 USC Sections 901-950). It includes any amendments to those laws that are in effect during
   the policy period. It does not include any other federal workers or workmen’s compensation law, other federal
   occupational disease law or the provisions of any law that provide nonoccupational disability benefits.
Part Two (Employers Liability Insurance), C. Exclusions., exclusions 8, does not apply to work subject to the
Longshore and Harbor Workers’ Compensation Act.
This endorsement does not apply to work subject to the Defense Base Act, the Outer Continental Shelf Lands Act, or
the Nonappropriated Fund Instrumentalities Act.
                                                    Schedule
                                                                          Longshore and Harbor Workers’
State                                                                  Compensation Act Coverage Percentage
IF ANY                                                                 TO BE DETERMINED AT AUDIT




The rates for classifications with code numbers not followed by the letter "F" are rates for work not ordinarily subject to
the Longshore and Harbor Workers’ Compensation Act. If this policy covers work under such classifications, and if the
work is subject to the Longshore and Harbor Workers’ Compensation Act, those non-F classification rates will be
increased by the Longshore and Harbor Workers’ Compensation Act Coverage Percentage shown in the Schedule.

                                                               Countersigned by
Form WC 00 01 06A Printed in U.S.A.                                                            Authorized Representative
                                                                                                               A
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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



           LONGSHORE AND HARBOR WORKERS' COMPENSATION ACT
                  COVERAGE ENDORSEMENT - CALIFORNIA



Policy Number: 57 WV WQ0015                                Endorsement Number: 44
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                           SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement applies only to work subject to the               workmen's compensation law, other federal
Longshore and Harbor Workers' Compensation Act in                  occupational disease law or the provisions of any
California. The policy applies to that work as though              law that provide nonoccupational disability benefits.
California were listed in Item 3.A. of the Information
Page.                                                         Part Two (Employers Liability Insurance), C. Exclusions.,
General Section C. Workers' Compensation Law is               exclusion 8, does not apply to work subject to the
replaced by the following:                                    Longshore and Harbor Workers' Compensation Act.

C. Workers' Compensation Law                                  This endorsement does not apply to work subject to the
    Workers' Compensation Law means the workers' or           Defense Base Act, the Outer Continental Shelf Lands
    workmen's compensation law and occupational               Act, or the Nonappropriated Fund Instrumentalities Act.
    disease law of each state or territory named in Item
    3.A. of the Information Page and the Longshore and        The estimated premium for the Longshore and Harbor
    Harbor Workers' Compensation Act (33 USC                  Workers' Compensation Act coverage provided by this
    Sections 901-950). It includes any amendments to          endorsement is as shown in the Schedule below or Item
    those laws that are in effect during the policy period.   4 of the Information Page.
    It does not include any other federal workers' or


                                                       SCHEDULE

                                                     Estimated                 Rate Per               Estimated
Code                                                  Annual                   $100 of                 Annual
 No.                   Classification               Remuneration             Remuneration             Premium
                                                                                           TO BE DETERMINED AT AUDIT
                    IF ANY




                                                Total Estimated Annual Premium              $ Included



                                          Countersigned by
                                                                                            Authorized Representative
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   VOLUNTARY COMPENSATION AND EMPLOYERS
                      LIABILITY COVERAGE ENDORSEMENT


Policy Number 57 WV WQ0015                             Endorsement Number: 45
Effective Date 04/01/2024                   Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                               880 HARBOUR WAY SOUTH, SUITE 600
                               RICHMOND, CA 94804



This endorsement adds       Voluntary     Compensation             described in Item 1 of the Schedule were subject
Insurance to the policy.                                           to the workers compensation law shown in Item 1
                                                                   of the Schedule. We will pay those amounts to
A. How This Insurance Applies                                      the persons who would be entitled to them under
  This insurance applies to bodily injury by accident or           the law.
  bodily injury by disease. Bodily injury includes              C. Exclusions
  resulting death.                                                 This insurance does not cover:
  1. The bodily injury must be sustained by an employee            1. any obligation imposed by a workers
     included in the group of employees described in the              compensation or occupational disease law, or
     Schedule.                                                        any similar law.
  2. The bodily injury must arise out of and in the                2. bodily  injury   intentionally    caused     or
     course of employment necessary or incidental to                  aggravated by you.
     work in a state listed in Item 1 of the Schedule.
                                                                D. Before We Pay
  3. The bodily injury must occur in the United States of
     America, its territories or possessions or Canada,            Before we pay benefits to the persons entitled to
     and may occur elsewhere if the employee is a                  them, they must:
     United States or Canadian citizen temporarily away            1. Release you and us, in writing, of all
     from those places.                                               responsibility for the injury or death.
  4. Bodily injury by accident must occur during the               2. Transfer to us their right to recover from
     policy period.                                                   others who may be responsible for the injury
  5. Bodily injury by disease must be caused or                       or death.
     aggravated by the conditions of your employment.              3. Cooperate with us and do everything
     The employee’s last day of last exposure to the
                                                                       necessary to enable us to enforce the right to
     conditions causing or aggravating such bodily
                                                                       recover from others.
     injury by disease must occur during the policy
     period.                                                       If the persons entitled to the benefits of this
B. We Will Pay                                                     insurance fail to do those things, our duty to pay
                                                                   ends at once. If they claim damages from you or
  We will pay an amount equal to the benefits that would           from us for the injury or death, our duty to pay
  be required of you if you and your employees                     ends at once.




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E. Recovery From Others                                       F. Employers Liability Insurance

  If we make a recovery from others, we will keep an             Part Two (Employers Liability Insurance) applies
  amount equal to our expenses of recovery and the               to bodily injury covered by this endorsement as
  benefits we paid. We will pay the balance to the               though the State of employment shown in the
  persons entitled to it. If the persons entitled to the         Schedule were shown in item 3.A. of the
  benefits of this insurance make a recovery from                Information Page.
  others, they must reimburse us for the benefits we
  paid them.



                                                  Schedule

                                                                                  Designated Workers
Employees                                             State of Employment          Compensation Law

Volunteer workers in the course and                  Hawaii                      The state where the
scope of activities subject to the                                               injured volunteer resides
direction or control of (named
insured).




                                                  Countersigned by
                                                                                             Authorized Agent




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                   VOLUNTARY COMPENSATION AND EMPLOYERS
                       LIABILITY COVERAGE ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 46
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                               880 HARBOUR WAY SOUTH, SUITE 600
                               RICHMOND, CA 94804




This endorsement adds Voluntary Compensation In-             described in the Schedule were subject to the
surance to the policy.                                       Workers Compensation Law shown in the
                                                             Schedule. We will pay those amounts to the
A. How This Insurance Applies                                persons who would be entitled to them under the
   This insurance applies to bodily injury by accident       law.
   or bodily injury by disease. Bodily injury includes
   resulting death.                                      C. Exclusions
   1. The bodily injury must be sustained by an             This insurance does not cover:
       employee included in the group of employees          1. any obligation imposed by a workers compen-
       described in the Schedule.                               sation or occupational disease law, or any
   2. The bodily injury must arise out of and in the            similar law.
       course of employment necessary or incidental         2. bodily     injury intentionally caused   or
       to work in a state listed in the Schedule.               aggravated by you.
   3. The bodily injury must occur in the United
       States of America, its territories or             D. Before We Pay
       possessions, or Canada, and may occur                Before we pay benefits to the persons entitled to
       elsewhere if the employee is a United States         them, they must:
       or Canadian citizen temporarily away from            1. Release you and us, in writing, of all respon-
       those places.                                            sibility for the injury or death.
   4. Bodily injury by accident must occur during the       2. Transfer to us their right to recover from
       policy period.                                           others who may be responsible for the injury
   5. Bodily injury by disease must be caused or                or death.
       aggravated by the conditions of your                 3. Cooperate with us and do everything
       employment. The employee's last day of last              necessary to enable us to enforce the right to
       exposure to the conditions causing or                    recover from others.
       aggravating such bodily injury by disease must       If the persons entitled to the benefits of this
       occur during the policy period.                      insurance fail to do those things, our duty to pay
                                                            ends at once. If they claim damages from you or
B. We Will Pay                                              from us for the injury or death, our duty to pay
   We will pay an amount equal to the benefits that         ends at once.
   would be required of you if you and your employees
                                                         E. Recovery From Others




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     If we make a recovery from others, we will keep          F. Employers Liability Insurance
     an amount equal to our expenses of recovery and             Part Two (Employers Liability Insurance) applies
     the benefits we paid. We will pay the balance to            to bodily injury covered by this endorsement as
     the persons entitled to it. If the persons entitled to      though the State of Employment shown in the
     the benefits of this insurance make a recovery              Schedule were shown in Item 3.A. of the
     from others, they must reimburse us for the                 Information Page.
     benefits we paid them.




                                                         SCHEDULE

                                                                                Designated Workers
  Employees                                   State of Employment               Compensation Law

Volunteer workers in the                      All states except:               The state where the
course and scope of activities                CA, HI, MI, NJ, WI               injured volunteer resides.
subject to the direction or
control of (named insured).




                                          Countersigned by
                                                                                       Authorized Representative

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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                      VOLUNTARY COMPENSATION AND EMPLOYERS
                          LIABILITY COVERAGE ENDORSEMENT
                                      CALIFORNIA

Policy Number: 57 WV WQ0015                                 Endorsement Number: 47
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



If the employer named in Item 1 of the Information Page has in his employment persons not entitled to compensation
under Division 4 of the Labor Code of the State of California, this policy shall operate as an election on the part of the
employer to come under the compensation provisions of Division 4 with respect to those persons described in the
Schedule below.

This policy applies to those persons described in the Schedule below as employees.

                                                      SCHEDULE

All officers and employees not subject                  CALIFORNIA                 CALIFORNIA
to Workers Compensation laws




                                          Countersigned by
                                                                                              Authorized Representative

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          VOLUNTARY COMPENSATION AND EMPLOYERS
           LIABILITY REIMBURSEMENT ENDORSEMENT

Policy Number: 57 WV WQ0015                             Endorsement Number: 48
Effective Date: 04/01/2024                   Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                                 SUNPOWER CORPORATION
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804

This endorsement adds Voluntary Compensation and Employers Liability Reimbursement to the policy.
A. How This Reimbursement Applies                                     imposed by the laws or regulations of the
  This reimbursement applies to bodily injury by                      United States of America in effect as of the
  accident or bodily injury by disease. Bodily injury                 inception date of this policy.
  includes resulting death.                                         2. any obligation imposed by a workers
   1. The bodily injury must be sustained by an                        compensation or occupational disease law,
      employee included in the employees described                     or any similar law,
      in the Schedule.                                              3. bodily injury intentionally caused           or
   2. The bodily injury must occur in the course of                    aggravated by you,
     employment necessary or incidental to work in a                4. liability for any consequence, whether direct
     country listed in the Schedule.                                   or indirect, of war, invasion, act of Foreign
   3. Bodily injury by accident must occur during the                  enemy, hostilities (whether war be declared or
      policy period.                                                   not),     civil war,     rebellion, revolution,
   4. Bodily injury by disease must be caused or                       insurrection or military or usurped power. No
                                                                       endorsement now or subsequently attached
      aggravated by the conditions of your
                                                                       to this policy shall be construed as overriding
      employment. The employee’s last exposure to
                                                                       or waiving this limitation unless specific
      those conditions of your employment must
                                                                       reference is made thereto.
      occur during the policy period.
B. We Will Reimburse                                             D. Before We Pay
  We will reimburse you for all amounts paid by you                 Before we reimburse you for the benefits to the
  whether such amounts are:                                         persons entitled to them, you must have them:
                                                                    1. release you and us, in writing, of all
   1. voluntary payments for the benefits that would
      be required of you if you and your employees                     responsibility for the injury or death,
      described in the Schedule were subject to the                 2. transfer to us their right to recover from
      workers compensation law shown in the                            others who may be responsible for their
      Schedule, or                                                     injury or death,
   2. sums to which Part Two (Employers Liability                   3. cooperate with us and do everything
      Insurance) would apply if the Country of                          necessary to enable us to enforce the right to
      Employment shown in the Schedule were                             recover from others.
      shown in Item 3.A. of the Information Page.                   If the persons entitled to the benefits paid fail to
C. Exclusions                                                       do these things, our duty to reimburse ends at
   This insurance does not cover:                                   once. If they claim damages from us for the
   1. any occurrences         in the United States,                 injury or death, our duty to reimburse ends at
      Canada, and any country or jurisdiction which                 once.
      is the subject of trade or economic sanctions


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  E. Recovery From Others                                           F. Reimbursement For Actual Loss Sustained
     If we make a recovery from others, we will keep                  This     endorsement     provides    only    for
     an amount equal to our expenses of recovery                      reimbursement for loss you actually sustain. In
     and the benefits we reimbursed. We will pay                      order for you to recover loss or expense under
     the balance to the persons entitled to it. If the                this reimbursement agreement you must:
     persons entitled to the benefits make a recovery                  1. actually sustain and pay the loss or expense in
     from others, they must repay us for the amounts                      money after trial, or
     that we have reimbursed you.
                                                                       2. secure our consent for the payment of the loss
                                                                          or expense.




                                                   SCHEDULE


Employees                                  Country of Employment                          Designated Workers
                                                                                          Compensation Law

ALL EMPLOYEES HEADQUARTERED               WORLDWIDE PER FORM WC990041C                    STATE OF HIRE
IN STATES SHOWN IN ITEM 3
OF THE INFORMATION PAGE.




                                                   Countersigned by
                                                                                             Authorized Representative




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             Voluntary Compensation Maritime
                                 Coverage Endorsement

Policy Number: 57 WV WQ0015                               Endorsement Number: 49
Effective Date: 04/01/2024                  Effective hour is the same as stated in the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement adds Voluntary Compensation                    C. Exclusions
Maritime Insurance to the policy.                                  This insurance does not cover:
A. How This Insurance Applies                                        1. any obligation imposed by a workers’
                                                                        compensation or occupational disease law, or
  This insurance applies to bodily injury by accident
                                                                        any similar law.
  or bodily injury by disease. Bodily injury includes
  resulting death.                                                   2. bodily  injury intentionally     caused       or
                                                                        aggravated by you.
  1. The bodily injury must be sustained by an
     employee who is master or member of the crew
                                                                D. Before We Pay
     of a vessel described in the Schedule.
                                                                    Before we pay benefits to the persons entitled to
  2. The bodily injury must occur in employment that
                                                                    them, they must:
     is necessary or incidental to work described in
     item 2 of the Schedule.                                         1. Release you and us, in writing, of all
                                                                        responsibility for the injury or death.
  3. The bodily injury must occur in the territorial
     limits of, or in the operation of a vessel sailing              2. Transfer to us their right to recover from
     directly between the ports of, the continental                     others who may be responsible for the injury
     United States of America, Alaska, Hawaii or                        or death.
     Canada.
                                                                     3. Cooperate with us and do everything
  4. Bodily injury by accident must occur during the                    necessary to enable us to enforce the right to
     policy period.                                                     recover from others.
  5. Bodily injury by disease must be caused or                     If the persons entitled to the benefits of this
     aggravated by the conditions of your                           insurance fail to do those things, our duty to pay
     employment. The employee’s last day of last                    ends at once. If they claim damages from you or
     exposure to the conditions causing or                          from us for the injury or death, our duty to pay
     aggravating such bodily injury by disease must                 ends at once.
     occur during the policy period.
                                                                E. Recovery From Others
B. We Will Pay                                                     If we make a recovery from others, we will keep
  We will pay an amount equal to the benefits that                 an amount equal to our expenses of recovery
  would be required of you if you and your employees               and the benefits we paid. We will pay the
  described in item 1 of the Schedule were subject to              balance to the persons entitled to it. If the
  the workers’ compensation law shown in item 1 of                 persons entitled to the benefits of this insurance
  the Schedule. We will pay those amounts to the                   make a recovery from others, they must
  persons who would be entitled to them under that                 reimburse us for the benefits we paid them.
  law.


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                                                    Schedule


   1. Employees                                                   Workers Compensation Law
      Master and members of the crews of these vessels:




   2. Description of Work: IF ANY




                                               Countersigned by
                                                                              Authorized Representative




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                                                                                                   ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              CONNECTICUT FOREIGN VOLUNTARY COMPENSATION
             AND EMPLOYERS LIABILITY COVERAGE ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 50
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804




This endorsement adds Foreign Voluntary                    Section 2. How This Insurance Applies
Compensation Insurance to the policy to which it is
attached, effective on the inception date of the           This additional coverage applies only to bodily injury
policy unless a different date is indicated. State law     by accident or to bodily injury by disease. Bodily
may already provide benefits to employees working          injury includes resulting death.
outside of the United States of America and this
endorsement does not limit or reduce any benefits          A. An employee listed in Item 1. of the Schedule of
required by state workers compensation law.                   this endorsement must sustain the bodily injury.

Section 1. Employees Covered                               B. The bodily injury must arise out of and occur in
                                                              the course of your employment in the
A.   The additional coverage provided by this                 country(ies) listed in Item 1. of the Schedule of
     endorsement applies only to employees listed             this endorsement.
     in Item 1. of the Schedule of this endorsement
     provided they are hired within the limits of the      C. Bodily injury by accident must occur during the
     United States of America. It provides additional         policy period.
     coverage for the listed employees while they
     are traveling or temporarily residing in the          D. The conditions of your workplace must cause
     country(ies) named in Item 1. of the Schedule            or aggravate the bodily injury by disease. The
     of this endorsement. Each period of travel or            employee’s last day of last exposure to those
     temporary residence for each listed employee             conditions causing or aggravating such bodily
     may be no longer than the maximum number                 injury must occur during the policy period.
     of consecutive days shown in Item 1. of the
     Schedule of this endorsement.
                                                           Section 3. Exclusions
B.   This insurance does not apply to any
     employees you hire outside the limits of the          This endorsement amends Section C. of Part Two
     United States of America.                             of the Policy by adding the following exclusions for
                                                           coverage under this endorsement:




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A.   Bodily injury arising from any direct or indirect               2. Transfer to us their right to recover from
     consequence of war, invasion, act of foreign                       others who may be responsible for the
     enemy, hostilities (whether war is declared or                     injury or death to the extent of our
     not), civil war, rebellion, revolution, insurrection,              payment or reimbursement; and
     or military or usurped power. No current or
     subsequent endorsement to this policy will                      3. Cooperate with us and do everything
     override or waive this limitation;                                 necessary to enable us to enforce the
                                                                        right to recover from others.
B.   Compensation or benefits imposed by any
     occupational disease, disability benefits law,                 If a person entitled to payment under this
     plan or any similar law or plan; and                           section refuses to accept voluntary payments
                                                                    offered, we may,at our discretion, withdraw the
C. Bodily injury you intentionally cause or                         offer to pay compensation benefits. If this
   aggravate.                                                       happens, we will notify you and the employee
                                                                    that we will no longer be bound by the
Section 4. Voluntary Workers Compensation                           provisions of this section.

This endorsement amends Section A. of Part One                 D. Under this or any other policy we have issued
of the policy by adding the following coverage:                   to you, it is possible that the provisions for a
                                                                  workers compensation law, plan, or any similar
On your behalf, we will voluntarily pay an amount                 law or plan may hold you or us legally liable for
equal to the benefits you would be required to pay if             any injury where payments have been made or
you and the employees described in Item 1. of the                 would otherwise be made under Section 4. of
Schedule     were     subject   to   the    workers               this endorsement. If this happens, we agree
compensation law of the state designated in Item 1.               that we will make no further payments under
of the Schedule of this endorsement.                              Section 4. if Section 5. of this endorsement
                                                                  applies.
We will pay those amounts to the persons who
would be entitled to them under such law. If this is           Section 5. Legal       Liability   Under   Workers
not possible, we will reimburse you for amounts you            Compensation Law
are required to pay under the law.
                                                               A.   If you are required to pay any benefits to an
The following provisions apply to this insurance:                   employee listed in Item 1. of the Schedule of
                                                                    this    endorsement      under   a     workers
A.   In no event will our liability under this section              compensation or occupational disease law of
     exceed the amount we or you would have been                    the country(ies) listed in Item 1. of the
     obligated to pay if the employment and injury                  Schedule of this endorsement, we will
     had been subject to the state workers                          reimburse you up to, but not in excess of, the
     compensation law designated in Item 1. of the                  cost of benefits that would be payable under
     Schedule of this endorsement. The only                         the applicable workers compensation law of the
     exception to this is as provided for in Section 6-             state designated in the same Schedule.
     Repatriation Expense.
                                                               B.   We will not be liable for any loss for which you
B.   We have the option of requesting you to pay                    had other valid and collectible insurance.
     sums due directly to persons entitled to them
     on our behalf. We will reimburse you for these            C. We assume no obligation to defend or
     payments when you provide us with                            reimburse you for any suit or proceeding
     satisfactory proof of payment.                               against you outside of the United States of
                                                                  America.
C. Before we are required to make any payment
   or reimburse you, the persons entitled or paid
   must:

      1. Release you and us in writing from all
         responsibility for the bodily injury or
         death;




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D. The coverage that Section 5. affords does not                 and seeking damages on account of any
   cover fines or penalties imposed on you for                   insurance this section of this endorsement
   failure to comply with the requirements of any                affords. We assume no obligation to defend or
   workers compensation or occupational disease                  reimburse you for any suit or any proceeding
   law of any country(ies) named in Item 1. of the               brought against you outside the United States
   Schedule of this endorsement.                                 of America.

Section 6. Repatriation Expense                             B.   The limit of our liability under Part Two will be in
                                                                 accordance with the following provisions:
This section only applies to coverage provided
under Sections 4. and 5. of this endorsement.                    The words "damages because of bodily injury
                                                                 by accident or disease, including resulting in
Medical expenses include additional expenses of                  death" in Section 7-B above include damages
repatriation to the United States of America incurred            for care and loss of services. These words also
as a result of bodily injury to the employees listed in          include damages for which you are liable
Item 1. of the Schedule of this endorsement. In the              because of suits or claims others bring against
event that an employee is injured, our liability is              you to recover the damages obtained from
limited to the amount by which these expenses                    such others because of bodily injury your
exceed the normal cost of returning the employee.                employees listed in Item 1. of the Schedule of
In the event of an employee’s death, our liability is            this endorsement sustain arising out of and in
limited to the amount by which the expenses of                   the course of their employment.
returning the body exceed the normal cost of
returning an employee who is alive and in good                   The limit of liability in Item 3. of the Schedule of
health.                                                          this endorsement that applies to "bodily injury
                                                                 by accident" is the most we will pay for all
Our liability will never exceed the amount indicated             damages, including damages for care and loss
in Item 2. of the Schedule of this endorsement for               of services, to one or more employees listed in
one covered employee or accident.                                item 1. of the Schedule of this endorsement in
                                                                 any one accident.
The policy does not afford coverage for repatriation
expenses unless a specific limit of liability for each           The limit of liability in Item 3. of the Schedule of
covered employee and accident appears in Item 2.                 this endorsement that applies to "bodily injury
of the Schedule of this endorsement.                             by disease—policy limit" is the most we will pay
                                                                 for all damages because of bodily injury by
                                                                 disease, including resulting death, regardless
Section 7. Employers Liability                                   of the number of employees listed in item 1. of
                                                                 the Schedule of this endorsement who sustain
The following agreement replaces Section B. of                   bodily injury by disease outside the United
Part Two-Employers Liability of the policy with                  States of America.
respect to the coverage this endorsement provides:
                                                                 The limit shown in Item 3. of the Schedule of
B.   We Will Pay                                                 this endorsement for "bodily injury by disease—
     We will pay, on your behalf, all sums that you              each employee" is the most we will pay for all
     become legally obligated to pay as damages                  damages because of bodily injury by disease to
     because of bodily injury by accident or disease,            any one employee listed in item 1. of the
     including resulting death, sustained in any                 Schedule of this endorsement.
     country(ies) designated in Item 1. of the
     Schedule of this endorsement other than the                 The limits of liability designated in this
     United States of America by any of your                     endorsement supersede and are not
     employees listed in Item 1. of the Schedule of              cumulative with any limit(s) of liability
     this endorsement arising out of and in the                  elsewhere in the policy. The inclusion of more
     course of employment by you.                                than one insured does not increase the limits of
                                                                 our liability.
The following provisions apply to Section 7. of this
endorsement:                                                     We will not make any additional payments for
                                                                 any claims for damages after we have paid the
A.   We will reimburse you for all reasonable                    applicable limit of liability as shown in Items 2.
     expenses you incur, including attorney fees in              and 3. of the Schedule of this endorsement.
     defending any suit against you alleging injury


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Section 8. Premium                                                      approved by the appropriate regulatory
                                                                        authority for the state workers compensation
In addition to the provisions of Part Five—Premium                      law designated in Item 1. of the Schedule of
of the policy, the following provisions will apply to                   this endorsement.
this endorsement:
                                                                    C. You must maintain payroll records for any
A.    We will compute the premium for this coverage                    employee covered by the provisions of this
      in accordance with Part Five of the policy, upon                 endorsement.
      all remuneration paid to employees shown in
      Item 1. of the Schedule of this endorsement                   Section 9. Other Insurance
      while traveling or residing in the country(ies)
      listed in the same Schedule for a period of no                The following provision replaces Section E of Part
      longer than the maximum number of                             One and Section F of Part Two of the policy with
      consecutive days per policy period indicated in               respect to the coverage this endorsement provides:
      Item 1. of the Schedule of this endorsement.
                                                                    The insurance for a loss covered by this
      Each period of travel or temporary residence                  endorsement will be excess insurance over and
      for each listed employee may be no longer than                above any other insurance, except with respect to
      the maximum number of consecutive days                        insurance provided under Section 5. The limits of
      shown in Item 1. of the Schedule of this                      liability for this insurance will be reduced by an
      endorsement.                                                  amount equal to the limits of liability other insurance
B.    We will determine the premium for this                        affords.
      coverage on the basis of the workers
      compensation rules, classifications, and rates



                                                         Schedule

     1. Name(s) of Employees                  Country(ies) of            Maximum Number            Designated Workers
                                               Operations                 of Consecutive           Compensation Law
                                                                               Days

                                                                                                             CT




     2. Limits of Liability for Repatriation Expense
        $                            Each employee
        $                            Each accident


     3. Limits of Liability for Part Two—Employers Liability
        $                             Bodily injury by accident—each accident
        $                             Bodily injury by disease—each employee
        $                             Bodily injury by disease—policy limit




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                                                                                                       ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                            WAIVER OF OUR RIGHT TO RECOVER
                              FROM OTHERS ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 51
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule.

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

                                                   SCHEDULE



China Lake Trust
c/o Wells Fargo Delaware Trust Company, National Association as Trustee
919 North Market Street, Suite 1600
Wilmington, DE 19801
Attn: Corporation Trust




                                      Countersigned by
                                                                                       Authorized Representative

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                                                                                                       ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                            WAIVER OF OUR RIGHT TO RECOVER
                              FROM OTHERS ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 51
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule.

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

                                     SCHEDULE
ANY PERSON OR ORGANIZATION FROM WHOM YOU ARE REQUIRED BY WRITTEN CONTRACT
OR AGREEMENT TO OBTAIN THIS WAIVER FROM US.
ENDORSEMENT IS NOT APPLICABLE IN KY, NH, NJ OR ANY MO CONSTRUCTION RISK.




                                      Countersigned by
                                                                                       Authorized Representative

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                                                                                                       ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                            WAIVER OF OUR RIGHT TO RECOVER
                              FROM OTHERS ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 51
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule.

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

                                                   SCHEDULE



                 Eastern Municipal District
Attn: Field Engineering Department
P.O. Box 8300
Perris, CA 92572-8300
Desc: Spec 1222-2 Solar Photovoltaic Renewable Energy Design/Build Project
2270 Tumble Road
Perris, CA 92770




                                      Countersigned by
                                                                                       Authorized Representative

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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          WAIVER OF OUR RIGHT TO RECOVER FROM
                           OTHERS ENDORSEMENT - CALIFORNIA

 Policy Number: 57 WV WQ0015                             Endorsement Number:         52
 Effective Date: 04/01/2024                    Effective hour is the same as stated on the Declarations of the policy.
 Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not enforce our
right against the person or organization named in the Schedule.        (This agreement applies only to the extent that you
perform work under a written contract that requires you to obtain this agreement from us.)
  You must maintain payroll records accurately segregating the remuneration of your employees while engaged in the work
 described in the Schedule.
The additional premium for this endorsement shall be      2.00       % of the California workers’ compensation premium
otherwise due on such remuneration.


                                                       SCHEDULE

Person or Organization                           Job Description
ANY PERSON OR ORGANIZATION FROM WHOM YOU ARE REQUIRED BY WRITTEN CONTRACT OR
AGREEMENT TO OBTAIN THIS WAIVER OF RIGHTS FROM US.




                                                       Countersigned by
                                                                                          Authorized Representative

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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          WAIVER OF OUR RIGHT TO RECOVER FROM
                           OTHERS ENDORSEMENT - CALIFORNIA

 Policy Number: 57 WV WQ0015                             Endorsement Number:         52
 Effective Date: 04/01/2024                    Effective hour is the same as stated on the Declarations of the policy.
 Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not enforce our
right against the person or organization named in the Schedule.        (This agreement applies only to the extent that you
perform work under a written contract that requires you to obtain this agreement from us.)
  You must maintain payroll records accurately segregating the remuneration of your employees while engaged in the work
 described in the Schedule.
The additional premium for this endorsement shall be      5.00       % of the California workers’ compensation premium
otherwise due on such remuneration.


                                                       SCHEDULE

Person or Organization                                             Job Description



                China Lake Trust                                 All California Operations
c/o Wells Fargo Delaware Trust Company,
National Association as Trustee
919 North Market Street, Suite 1600
Wilmington, DE 19801
Attn: Corporation Trust




                                                       Countersigned by
                                                                                          Authorized Representative

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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          WAIVER OF OUR RIGHT TO RECOVER FROM
                           OTHERS ENDORSEMENT - CALIFORNIA

 Policy Number: 57 WV WQ0015                             Endorsement Number:         52
 Effective Date: 04/01/2024                    Effective hour is the same as stated on the Declarations of the policy.
 Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not enforce our
right against the person or organization named in the Schedule.        (This agreement applies only to the extent that you
perform work under a written contract that requires you to obtain this agreement from us.)
  You must maintain payroll records accurately segregating the remuneration of your employees while engaged in the work
 described in the Schedule.
The additional premium for this endorsement shall be      5.00       % of the California workers’ compensation premium
otherwise due on such remuneration.


                                                       SCHEDULE

Person or Organization                                             Job Description



      Eastern Municipal District                                 Spec 1222-2 Solar Photovoltaic Renewable
Attn: Field Engineering Department                               Energy Design/Build Project
P.O. Box 8300                                                    2270 Tumble Road
Perris, CA 92572-8300                                            Perris, CA 92770




                                                       Countersigned by
                                                                                          Authorized Representative

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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          WAIVER OF OUR RIGHT TO RECOVER FROM
                           OTHERS ENDORSEMENT - CALIFORNIA

 Policy Number: 57 WV WQ0015                             Endorsement Number:         52
 Effective Date: 04/01/2024                    Effective hour is the same as stated on the Declarations of the policy.
 Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not enforce our
right against the person or organization named in the Schedule.        (This agreement applies only to the extent that you
perform work under a written contract that requires you to obtain this agreement from us.)
  You must maintain payroll records accurately segregating the remuneration of your employees while engaged in the work
 described in the Schedule.
The additional premium for this endorsement shall be      5.00       % of the California workers’ compensation premium
otherwise due on such remuneration.


                                                       SCHEDULE

Person or Organization                           Job Description
ANY PERSON OR ORGANIZATION FROM WHOM YOU ARE REQUIRED BY WRITTEN CONTRACT OR
AGREEMENT TO OBTAIN THIS WAIVER OF RIGHTS FROM US.
The Irvine Company LLC
Attn: Liliana Klee
110 Innovation Drive
Irvine, CA 92617




                                                       Countersigned by
                                                                                          Authorized Representative

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                                                                                                   ABCDEFGHIJ


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           TEXAS WAIVER OF OUR RIGHT TO
                        RECOVER FROM OTHERS ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 53
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




This endorsement applies only to the insurance             of the operations described in the Schedule where
provided by the policy because Texas is shown in           you are required by a written contract to obtain this
Item 3.A. of the Information Page.                         waiver from us.
We have the right to recover our payments from             This endorsement shall not operate directly or
anyone liable for an injury covered by this policy. We     indirectly to benefit anyone not named in the
will not enforce our right against the person or           Schedule.
organization named in the Schedule, but this waiver        The premium for this endorsement is shown in the
applies only with respect to bodily injury arising out     Schedule.

                                                    Schedule


1.   ( )    Special Waiver
            Name of person or organization

     (X )   Blanket Waiver
            Any person or organization for whom the Named Insured has agreed by written contract to furnish
            this waiver.

2.   Operations: ALL TEXAS OPERATIONS



3.   Premium:
     The premium charge for this endorsement shall be 2.00         percent of the premium developed on payroll
     in connection with work performed for the above person(s) or organization(s) arising out of the operations
     described.

4.   Advance Premium:




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           TEXAS WAIVER OF OUR RIGHT TO
                        RECOVER FROM OTHERS ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 53
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




This endorsement applies only to the insurance             of the operations described in the Schedule where
provided by the policy because Texas is shown in           you are required by a written contract to obtain this
Item 3.A. of the Information Page.                         waiver from us.
We have the right to recover our payments from             This endorsement shall not operate directly or
anyone liable for an injury covered by this policy. We     indirectly to benefit anyone not named in the
will not enforce our right against the person or           Schedule.
organization named in the Schedule, but this waiver        The premium for this endorsement is shown in the
applies only with respect to bodily injury arising out     Schedule.

                                            Schedule
                           Eastern Municipal District
                           Attn: Field Engineering Department
1.   (x)    Special Waiver P.O. Box 8300, Perris, CA 92572-8300
            Name of person or organization

     ( )    Blanket Waiver
            Any person or organization for whom the Named Insured has agreed by written contract to furnish
            this waiver.

2.   Operations:
      Spec 1222-2 Solar Photovoltaic Renewable Energy Design/Build Project
      2270 Tumble Road
      Perris, CA 92770
3.   Premium:
     The premium charge for this endorsement shall be 5.00         percent of the premium developed on payroll
     in connection with work performed for the above person(s) or organization(s) arising out of the operations
     described.

4.   Advance Premium:




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                                                                                                   ABCDEFGHIJ


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           TEXAS WAIVER OF OUR RIGHT TO
                        RECOVER FROM OTHERS ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 53
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




This endorsement applies only to the insurance             of the operations described in the Schedule where
provided by the policy because Texas is shown in           you are required by a written contract to obtain this
Item 3.A. of the Information Page.                         waiver from us.
We have the right to recover our payments from             This endorsement shall not operate directly or
anyone liable for an injury covered by this policy. We     indirectly to benefit anyone not named in the
will not enforce our right against the person or           Schedule.
organization named in the Schedule, but this waiver        The premium for this endorsement is shown in the
applies only with respect to bodily injury arising out     Schedule.

                                            Schedule
                           China Lake Trust c/o Wells Fargo Delaware Trust Company, National
                           Association as Trustee, 919 North Market Street, Suite
1.   (x)    Special Waiver 1600,Wilmington, DE 19801 | Attn: Corporation Trust
            Name of person or organization

     ( )    Blanket Waiver
            Any person or organization for whom the Named Insured has agreed by written contract to furnish
            this waiver.

2.   Operations: ALL TEXAS OPERATIONS



3.   Premium:
     The premium charge for this endorsement shall be 5.00         percent of the premium developed on payroll
     in connection with work performed for the above person(s) or organization(s) arising out of the operations
     described.

4.   Advance Premium:




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        UTAH WAIVER OF SUBROGATION ENDORSEMENT


Policy Number: 57 WV WQ0015                            Endorsement Number: 54
Effective Date: 04/01/2024                  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                 This agreement shall not operate directly or indirectly
provided by the policy because Utah is shown in Item           to benefit anyone not named in the Schedule. Our
3.A. of the Information Page.                                  waiver of rights does not release your employees’
We have the right to recover our payments from anyone          rights against third parties and does not release our
liable for an injury covered by this policy. We will not       authority as trustee of claims against third parties.
enforce our right against the person or organization
named in the Schedule. (This agreement applies only to
the extent that you perform work under a written contract
that requires you to obtain this agreement from us.)


                                                    Schedule
ANY PERSON OR ORGANIZATION FROM WHOM YOU ARE REQUIRED BY WRITTEN CONTRACT OR
AGREEMENT TO OBTAIN THIS WAIVER OF RIGHTS FROM US.




                                      Countersigned by
                                                                                         Authorized Representative

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        UTAH WAIVER OF SUBROGATION ENDORSEMENT


Policy Number: 57 WV WQ0015                            Endorsement Number: 54
Effective Date: 04/01/2024                  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                 This agreement shall not operate directly or indirectly
provided by the policy because Utah is shown in Item           to benefit anyone not named in the Schedule. Our
3.A. of the Information Page.                                  waiver of rights does not release your employees’
We have the right to recover our payments from anyone          rights against third parties and does not release our
liable for an injury covered by this policy. We will not       authority as trustee of claims against third parties.
enforce our right against the person or organization
named in the Schedule. (This agreement applies only to
the extent that you perform work under a written contract
that requires you to obtain this agreement from us.)


                                                    Schedule



China Lake Trust
c/o Wells Fargo Delaware Trust Company, National Association as Trustee
919 North Market Street, Suite 1600
Wilmington, DE 19801
Attn: Corporation Trust




                                      Countersigned by
                                                                                         Authorized Representative

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        UTAH WAIVER OF SUBROGATION ENDORSEMENT


Policy Number: 57 WV WQ0015                            Endorsement Number: 54
Effective Date: 04/01/2024                  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                 This agreement shall not operate directly or indirectly
provided by the policy because Utah is shown in Item           to benefit anyone not named in the Schedule. Our
3.A. of the Information Page.                                  waiver of rights does not release your employees’
We have the right to recover our payments from anyone          rights against third parties and does not release our
liable for an injury covered by this policy. We will not       authority as trustee of claims against third parties.
enforce our right against the person or organization
named in the Schedule. (This agreement applies only to
the extent that you perform work under a written contract
that requires you to obtain this agreement from us.)


                                                    Schedule



Eastern Municipal District
Attn: Field Engineering Department
P.O. Box 8300
Perris, CA 92572-8300
Desc: Spec 1222-2 Solar Photovoltaic Renewable Energy Design/Build Project
2270 Tumble Road
Perris, CA 92770




                                      Countersigned by
                                                                                         Authorized Representative

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                             PREMIUM DISCOUNT ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 55
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




The premium for this policy and the policies, if any, listed in Item 3 of the Schedule may be eligible for a discount.
This endorsement shows your estimated discount in Item 1 or 2 of the Schedule. The final calculation of premium
discount will be determined by our manuals and your premium basis as determined by audit. Premium subject to
retrospective rating is not subject to premium discount.

                                                    SCHEDULE
1. Table of States

         Alabama                         Illinois                Montana                      South Carolina
         Arkansas                        Kansas                  Nebraska                     South Dakota
         California                      Kentucky                New Hampshire                Tennessee
         Colorado                        Louisiana               New Mexico                 x Texas
         Connecticut                     Maine                   New York                     Utah
         District of Columbia            Maryland                Oklahoma                     Vermont
         Georgia                         Michigan                Oregon                       Virginia
         Hawaii                          Mississippi                                          West Virginia
                                         Missouri                                             Wyoming

    or any other State that has approved the premium discount plan applicable to the total policy premium on an
    interstate basis at the effective date of the policy.

2. Average percentage discount:          6.7    %

3. Other policies:

4. If there are no entries in Items 1, 2 and 3 of the Schedule, see the Premium Discount Endorsement attached
   to your policy number:




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

  WEST VIRGINIA EMPLOYERS LIABILITY INSURANCE INTENTIONAL ACT
                    EXCLUSION ENDORSEMENT


Policy Number: 57 WV WQ0015                                   Endorsement Number:        56
Effective Date: 04/01/2024           Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Part Two - Employers Liability Insurance, C. - Exclusions, 5. is replaced by the following:

      This insurance does not cover:

      5. bodily injury intentionally caused or aggravated by you or which is the result of your engaging in conduct
         equivalent to an intentional tort, however defined, including your deliberate intention as that term is
         defined by W. Va. Code S   S 23-4-2(d)(2).




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ENDEMIC DISEASE ENDORSEMENT

Policy Number: 57 WV WQ0015                               Endorsement Number:                57
Effective Date: 04/01/2024                Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement changes the Voluntary Compensation and Employers' Liability Reimbursement
Endorsement WC 99 00 41 C.

The word "disease" as used in that endorsement includes any endemic diseases.

The coverage applies as if endemic diseases were included in the provisions of the Workers' Compensation Law
designated in the Schedule.




                                                   Countersigned by . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                Authorized Representative




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           REPATRIATION ENDORSEMENT
 Policy Number: 57 WV WQ0015                                      Endorsement Number: 58
 Effective Date: 04/01/2024              Effective hour is the same as stated on the Information Page of the policy.
 Named Insured and Address:       SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804



This endorsement changes the Voluntary                        2. in the event of death, to the amount by which
Compensation    and    Employers’    Liability                   expenses exceed the normal cost of returning the
Reimbursement Endorsement WC 99 00 41 C.                         employee if alive and in good health.
Our reimbursement includes the additional                     In no event shall our reimbursement exceed the
expenses of repatriation to the United States of              bodily injury by accident limit shown in Item 3.B. of
America necessarily incurred as a direct result of            the Information Page as respects any one such
bodily injury.                                                employee whether dead or alive.
Our reimbursement shall be limited as follows:
1. to the amount by which such expenses exceed
   the normal cost of returning the employee if in
   good health, or




                                       Countersigned by
                                                                                     Authorized Representative


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                                                                                                         ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        OUTER CONTINENTAL SHELF LANDS ACT
                             COVERAGE ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 59
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the work described in Item 4 of the Information Page or in the Schedule as
subject to the Outer Continental Shelf Lands Act. The policy will apply to that work as though the location shown
in the Schedule were a state named in Item 3.A. of the Information Page.

General Section C. Workers Compensation Law is replaced by the following:

C. Workers Compensation Law
    Workers Compensation Law means the workers or workmen's compensation law and occupational disease
    law of each state or territory named in Item 3.A. of the Information Page and the Outer Continental Shelf
    Lands Act (43 U.S.C. Sections 1331 et seq.). It includes any amendments to those laws that are in effect
    during the policy period. It does not include any other federal workers or workmen's compensation law, other
    federal occupational disease law or the provisions of any law that provide nonoccupational disability benefits.

Part Two (Employers Liability Insurance), C. Exclusions., exclusion 8, does not apply to work subject to the Outer
Continental Shelf Lands Act.


                                                   SCHEDULE

Description and Location of Work IF ANY




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                                                                                                          ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            MARITIME COVERAGE ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 60
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                           SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement changes how insurance provided by                   injury by accident or by disease must be
Part Two (Employers Liability Insurance) applies to                  brought in the United States of America, its
bodily injury to a master or member of the crew of any               territories or possessions or Canada.
vessel.                                                      C. Exclusions is changed by removing exclusion 10
                                                                and by adding exclusions 13 and 14.
A. How This Insurance Applies is replaced by the                This insurance does not cover:
   following.
                                                                13. Bodily injury covered by a Protection and
   A. How This Insurance Applies                                     Indemnity Policy or similar policy issued to you
        This insurance applies to bodily injury by                   or for your benefit. This exclusion applies
        accident or bodily injury by disease. Bodily                 even if the other policy does not apply
        injury includes resulting death.                             because of another insurance clause,
   1. The bodily injury must arise out of and in the                 deductible or limitation of liability clause, or
        course of the injured employee's employment                  any similar clause.
        by you.                                                 14. Your duty or obligation to provide
   2. The employment must be necessary or                            transportation, wages, maintenance, and cure.
        incidental to work described in item 1 of the                This exclusion does not apply if a premium
        Schedule       of    the   Maritime    Coverage              entry is shown in item 2 of the Schedule,
        Endorsement.                                                 except that punitive damages related to your
   3. The bodily injury must occur in the territorial                duty or obligation to provide transportation,
        limits of, or in the operation of a vessel sailing           wages, maintenance, and cure under any
        directly between the ports of, the continental               applicable maritime law are excluded even if a
        United States of America, Alaska, Hawaii or                  premium is paid for transportation, wages,
        Canada.                                                      maintenance, and cure coverage.
   4. Bodily injury by accident must occur during the        D. We will Defend is changed by adding the
        policy period.                                          following statement.
   5. Bodily injury by disease must be caused or                We will treat a suit or other action in rem against a
        aggravated by the conditions of your                    vessel owned or chartered by you as a suit against
        employment. The employee's last day of last             you.
        exposure to the conditions causing or
        aggravating such bodily injury by disease must       G. Limits of Liability
        occur during the policy period.                         Our liability to pay for damages is limited. Our
   6. If you are sued, the original suit and any                limits of liability are shown in the Schedule. They
        related legal actions for damages for bodily            apply as explained below.




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    1. Bodily Injury by Accident. The limit shown for              arising out of work in each state shown in item
        "bodily injury by accident each accident'' is the          3.A of the Information Page. Bodily injury by
        most we will pay for all damages covered by                disease will be deemed to occur in the state of
        this insurance because of bodily injury to one             the vessel's home port.
        or more employees in any one accident.                     Bodily injury by disease does not include
    A disease is not bodily injury by accident unless it           disease that results directly from a bodily
    results directly from bodily injury by accident.               injury by accident.
    2. Bodily Injury by Disease. The limit shown for           3. We will not pay any claims for damages after
        ''bodily injury by disease-aggregate'' is the             we have paid the applicable limit of our liability
        most we will pay for all damages covered by               under this insurance.
        this insurance because of bodily injury by
        disease to one or more employees. The limit
        applies separately to bodily injury by disease


                                            SCHEDULE
                          Designs, manufactures and deliver solar panels and systems.
1. Description of work.





2. Transportation, Wages, Maintenance and Cure Premium $

Exclusion: This insurance does not cover punitive damages related to your duty or obligation to provide
transportation, wages, maintenance, and cure under any applicable maritime law even if a premium is paid for
transportation, wages, maintenance, and cure coverage.

3. Limits of Liability
    Bodily Injury by Accident                         $                      each accident
    Bodily Injury by Disease                          $                      aggregate




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         ALTERNATE EMPLOYER ENDORSEMENT
   Policy Number: 57 WV WQ0015                            Endorsement Number: 61
   Effective Date: 04/01/2024                    Effective hour is the same as stated in the Information page of the policy.
   Named Insured and Address: SUNPOWER CORPORATION
                              880 HARBOUR WAY SOUTH, SUITE 600
                              RICHMOND, CA 94804


   This endorsement applies only with respect to bodily injury to your employees while in the course of special or
   temporary employment by the alternate employer in the state named in Item 2 of the Schedule. Part One (Workers
   Compensation Insurance) and Part Two (Employers Liability Insurance) will apply as though the alternate employer
   is insured. If an entry is shown in Item 3 of the Schedule the insurance afforded by this endorsement applies only to
   work you perform under the contract or at the project named in the Schedule.
   Under Part One (Workers Compensation Insurance) we will reimburse the alternate employer for the benefits
   required by the workers compensation law if we are not permitted to pay the benefits directly to the persons entitled
   to them.
   The insurance afforded by this endorsement is not intended to satisfy the alternate employer’s duty to secure its
   obligations under the workers compensation law. We will not file evidence of this insurance on behalf of the
   alternate employer with any government agency.
   We will not ask any other insurer of the alternate employer to share with us a loss covered by this endorsement.
   Premium will be charged for your employees while in the course of special or temporary employment by the
   alternate employer.
   The policy may be canceled according to its terms without sending notice to the alternate employer.
   Part Four (Your Duties If Injury Occurs) applies to you and the alternate employer. The alternate employer will
   recognize our right to defend under Parts One and Two and our right to inspect under Part Six.

                                                      SCHEDULE
1. Alternate Employer                                                                             Address
   As Required By Written Contract




2. State of Special or
   Temporary Employment


3. Contract or Project




   Form WC 00 03 01 A Printed in U.S.A.                        Countersigned by
                                                                                            Authorized Representative
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
               TEXAS NOTICE OF MATERIAL CHANGE ENDORSEMENT

Policy Number: 57 WV WQ0015                             Endorsement Number: 62
Effective Date: 04/01/2024                  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance provided by the policy because Texas is shown in Item 3.A. of the
Information Page.
In the event of cancellation or other material change of the policy, we will mail advance notice to the person or
organization named in the Schedule. The number of days advance notice is shown in the Schedule.
This endorsement shall not operate directly or indirectly to benefit anyone not named in the Schedule.



                                                          SCHEDULE

1. Number of days advance notice:     45 days




2. Notice will be mailed to:   China Lake Trust
                               c/o Wells Fargo Delaware Trust Company, National
                               Association as Trustee
                               919 North Market Street, Suite 1600
                               Wilmington, DE 19801: Attn: Corporation Trust




                                                Countersigned by
                                                                                           Authorized Representative


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                                                                                                       ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               CANCELLATION AND NON-RENEWAL ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 63
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance provided by the policy because North Carolina is shown in Item
3.A. of the Information Page.

It is hereby understood and agreed that all cancellation provisions in the policy addressing the required number of
days notice for cancellation by us or non-renewal by us are amended as follows:

 o    10           days notice will be given for notice of cancellation for non-payment of premium.
 o    30           days notice will be given for notice of cancellation for any other reason.
 o    45           days notice will be given for non-renewal.



Notwithstanding the provisions above, in no event will the number of days notice for cancellation or for non-
renewal be fewer than the number of days required by North Carolina law.

 If the provisions above are blank, the number of days notice required by North Carolina law will apply.

In the event of cancellation or nonrenewal of the policy, we will mail notice to the named insured, and to the
additional person(s) or organization(s) named in the Schedule below, as required by North Carolina law:


 SCHEDULE




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POLICY NUMBER: 57 WV WQ0015


                                                                                                          ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


           FLORIDA - NOTICE OF CANCELLATION
      TO DESIGNATED PERSON(S) OR ORGANIZATION(S)
            OTHER THAN THE NAMED INSURED
This policy is subject to the following conditions.

                                                      SCHEDULE

Name of Person(s) or Organization(s)                                    Mailing Address
China Lake Trust                                              919 North Market Street, Suite 1600
c/o Wells Fargo Delaware Trust Company,                       Wilmington, DE 19801
National Association as Trustee                               Attn: Corporation Trust




This endorsement modifies insurance provided under Part Six – Conditions, D. Cancellation:

We may cancel this policy by mailing or delivering to the person(s) or organization(s) listed in the Schedule above,
written notice of cancellation at least:

     a.   10 days before the effective date of cancellation or as required by statute, whichever is longer, if we
          cancel for nonpayment of premium; or

     b.   30 days before the effective date of cancellation or as required by statute, whichever is longer, if the
          policy has been in effect for 90 days or less, if we cancel for any other reason; or

          45 days if the policy has been in effect for more than 90 days, or as required by statute, whichever is
          longer, if we cancel for any other reason.

If notice is mailed, proof of mailing to the address shown in the Schedule above will be sufficient proof of notice.




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POLICY NUMBER: 57 WV WQ0015


                                                                                                        ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


           FLORIDA - NOTICE OF NON-RENEWAL
      TO DESIGNATED PERSON(S) OR ORGANIZATION(S)
            OTHER THAN THE NAMED INSURED
This policy is subject to the following conditions.

                                                      SCHEDULE

Name of Person(s) or Organization(s)                                    Mailing Address
China Lake Trust                                              919 North Market Street, Suite 1600
c/o Wells Fargo Delaware Trust Company,                       Wilmington, DE 19801
National Association as Trustee                               Attn: Corporation Trust




This endorsement modifies insurance provided under Part Six – Conditions, D. Cancellation:

We may non-renew this policy by mailing or delivering to the person(s) or organization(s) listed in the Schedule
above, written notice of non-renewal at least:

     a.     45 days before the effective date of non-renewal or as required by statute, whichever is longer, if we
            non-renew for any reason.

If notice is mailed, proof of mailing to the address shown in the Schedule above will be sufficient proof of notice.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       NOTICE OF CANCELLATION OR NONRENEWAL TO DESIGNATED
                       CERTIFICATE HOLDER



Policy Number: 57 WV WQ0015                                 Endorsement Number: 66
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This policy is subject to the following additional                  certificate holder in the schedule, at least the
Conditions when a number of days are shown in the                   number of days in advance of the nonrenewal
schedule for any of the below Parts:                                effective date, as shown in Part D.
A. If this policy is cancelled by the Company, other           If notice is mailed, proof of mailing notice to the
    than for non-payment of premium, notice of such            certificate holder’s mailing address as shown in the
    cancellation will be provided to the certificate           schedule will be sufficient proof of notice. If the
    holder in the schedule, at least the number of             number of days notice in the schedule for any Part is
    days in advance of the cancellation effective              left blank or is shown as zero, no notice will be
    date, as shown in Part A.                                  provided to the scheduled certificate holder under
B. If this policy is cancelled by the Company for              that Part.
    non-payment of premium, notice of such                     Any notification rights provided by this endorsement
    cancellation will be provided to the certificate           apply only to active certificate holder(s) who were
    holder in the schedule within the number of days           issued a certificate of insurance applicable to this
    notice of the cancellation effective date, as              policy’s term.
    shown in Part B.                                           Failure to provide such notice to the certificate
C. If this policy is cancelled by the insured, notice of       holder(s) will not amend or extend the date the
    such cancellation will be provided to the                  cancellation becomes effective, nor will it negate
    certificate holder in the schedule, within the             cancellation of the policy. Failure to send notice
    number of days notice of the cancellation                  shall impose no liability of any kind upon the
    effective date, as shown in Part C.                        Company or its agents or representatives.
D. If this policy is nonrenewed by the Company,
   notice of such nonrenewal will be provided to the


                                                      Schedule

Number of Days Notice:                                Name and Mailing Address of Certificate Holder
                                                      China Lake Trust
        Part A:     45
                                                      c/o Wells Fargo Delaware Trust Company,
        Part B:     10
                                                      National Association as Trustee
        Part C:     45                                919 North Market Street, Suite 1600
        Part D:     45                                Wilmington, DE 19801
                                                      Attn: Corporation Trust

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       NOTICE OF CANCELLATION OR NONRENEWAL TO DESIGNATED
                       CERTIFICATE HOLDER



Policy Number: 57 WV WQ0015                                 Endorsement Number: 67
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This policy is subject to the following additional                  certificate holder in the schedule, at least the
Conditions when a number of days are shown in the                   number of days in advance of the nonrenewal
schedule for any of the below Parts:                                effective date, as shown in Part D.
A. If this policy is cancelled by the Company, other           If notice is mailed, proof of mailing notice to the
    than for non-payment of premium, notice of such            certificate holder’s mailing address as shown in the
    cancellation will be provided to the certificate           schedule will be sufficient proof of notice. If the
    holder in the schedule, at least the number of             number of days notice in the schedule for any Part is
    days in advance of the cancellation effective              left blank or is shown as zero, no notice will be
    date, as shown in Part A.                                  provided to the scheduled certificate holder under
B. If this policy is cancelled by the Company for              that Part.
    non-payment of premium, notice of such                     Any notification rights provided by this endorsement
    cancellation will be provided to the certificate           apply only to active certificate holder(s) who were
    holder in the schedule within the number of days           issued a certificate of insurance applicable to this
    notice of the cancellation effective date, as              policy’s term.
    shown in Part B.                                           Failure to provide such notice to the certificate
C. If this policy is cancelled by the insured, notice of       holder(s) will not amend or extend the date the
    such cancellation will be provided to the                  cancellation becomes effective, nor will it negate
    certificate holder in the schedule, within the             cancellation of the policy. Failure to send notice
    number of days notice of the cancellation                  shall impose no liability of any kind upon the
    effective date, as shown in Part C.                        Company or its agents or representatives.
D. If this policy is nonrenewed by the Company,
   notice of such nonrenewal will be provided to the


                                                      Schedule

Number of Days Notice:                                Name and Mailing Address of Certificate Holder
                                                      "AS REQUIRED BY CONTRACT"
        Part A:     30
        Part B:     10
        Part C:     30
        Part D:     30


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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       NOTICE OF CANCELLATION OR NONRENEWAL TO DESIGNATED
                       CERTIFICATE HOLDER



Policy Number: 57 WV WQ0015                                 Endorsement Number: 68
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This policy is subject to the following additional                  If notice is mailed, proof of mailing notice to the
Conditions when a number of days are shown in the                   certificate holder’s mailing address as shown in
schedule for any of the below Parts:                                the schedule will be sufficient proof of notice. If
A. If this policy is cancelled by the Company for                   the number of days notice in the schedule for
    non-payment of premium, notice of such                          any Part is left blank or is shown as zero, no
    cancellation will be provided to the certificate                notice will be provided to the scheduled
    holder in the schedule within the number of days                certificate holder under that Part.
    notice of the cancellation effective date, as              Any notification rights provided by this endorsement
    shown in Part A.                                           apply only to active certificate holder(s) who were
B. If this policy is cancelled by the insured, notice of       issued a certificate of insurance applicable to this
    such cancellation will be provided to the                  policy’s term.
    certificate holder in the schedule, within the             Failure to provide such notice to the certificate
    number of days notice of the cancellation                  holder(s) will not amend or extend the date the
    effective date, as shown in Part B.                        cancellation becomes effective, nor will it negate
C. If this policy is nonrenewed by the Company,                cancellation of the policy. Failure to send notice
   notice of such nonrenewal will be provided to the           shall impose no liability of any kind upon the
   certificate holder in the schedule, at least the            Company or its agents or representatives.
   number of days in advance of the nonrenewal
   effective date, as shown in Part C.


                                                      Schedule

Number of Days Notice:                                Name and Mailing Address of Certificate Holder

        Part A:     10                                China Lake Trust
                                                      c/o Wells Fargo Delaware Trust Company,
        Part B:     45                                National Association as Trustee
                                                      919 North Market Street, Suite 1600
        Part C:     45                                Wilmington, DE 19801
                                                      Attn: Corporation Trust




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       NOTICE OF CANCELLATION OR NONRENEWAL TO DESIGNATED
                       GOVERNMENT AL ENTITY



Policy Number: 57 WV WQ0015                                Endorsement Number: 69
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This policy is subject to the following additional            D. If this policy is nonrenewed by the Company,
Conditions when a number of days are shown in the                  notice of such nonrenewal will be provided to the
schedule for any of the below Parts:                               governmental entity in the schedule, at least the
A. If this policy is cancelled by the Company, other               number of days in advance of the nonrenewal
    than for non-payment of premium, or if                         effective date, as shown in Part D.
    coverages or limits are reduced below the                 If notice is mailed, proof of mailing notice to the
    minimum level contractually required by the               governmental entity’s mailing address as shown in
    governmental entity, notice of such cancellation          the schedule will be sufficient proof of notice. If the
    or reduction in coverage will be provided to the          number of days notice in the schedule for any Part is
    governmental entity in the schedule, at least the         left blank or is shown as zero, no notice will be
    number of days in advance of the cancellation             provided to the scheduled governmental entity under
    effective date, as shown in Part A.                       that Part.
B. If this policy is cancelled by the Company for             Any notification rights provided by this endorsement
   non-payment of premium, notice of such                     apply only to active governmental entity(ies) who
   cancellation will be provided to the governmental          were issued a certificate of insurance applicable to
   entity in the schedule within the number of days           this policy’s term.
   notice of the cancellation effective date, as              Failure to provide such notice to the government
   shown in Part B.                                           entity(ies) will not amend or extend the date the
C. If this policy is cancelled by the insured, notice of      cancellation becomes effective, nor will it negate
   such cancellation will be provided to the                  cancellation of the policy. Failure to send notice
   governmental entity in the schedule, within the            shall impose no liability of any kind upon the
   number of days notice of the cancellation                  Company or its agents or representatives.
   effective date, as shown in Part C.
                                                      Schedule

Number of Days Notice:                                Name and Mailing Address of Governmental Entity
      Part A:   60                                    NAVFAC Atlantic
      Part B:   30                                    6506 Hampton Blvd
      Part C:   60                                    Norfolk, VA 23508
      Part D:   60




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


             NOTICE OF CANCELLATION TO CERTIFICATE HOLDER(S)



Policy Number: 57 WV WQ0015                                Endorsement Number: 70
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This policy is subject to the following additional               ten (10) days of the cancellation effective date to
Conditions:                                                      the certificate holder(s) with mailing addresses
A. If this policy is cancelled by the Company, other             on file with the agent of record or the Company.
   than for non-payment of premium, notice of such          Any notification rights provided by this endorsement
   cancellation will be provided at least thirty (30)       apply only to active certificate holder(s) who were
   days in advance of the cancellation effective            issued a certificate of insurance applicable to this
   date to the certificate holder(s) with mailing           policy’s term.
   addresses on file with the agent of record or the        If notice is mailed, proof of mailing to the last known
   Company.                                                 mailing address of the certificate holder(s) on file
B. If this policy is cancelled by the Company for           with the agent of record or the Company will be
   non-payment of premium, or by the insured,               sufficient proof of notice.
   notice of such cancellation will be provided within




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    NOTICE OF CANCELLATION TO DESIGNATED CERTIFICATE HOLDER



Policy Number: 57 WV WQ0015                                 Endorsement Number: 71
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This policy is subject to the following additional                  certificate holder(s) in the schedule, within the
Conditions when a number of days are shown in the                   number of days notice of the cancellation
schedule for any of the below Parts:                                effective date, as shown in Part C.
A. If this policy is cancelled by the Company, other           If notice is mailed, proof of mailing notice to the
    than for non-payment of premium, notice of such            certificate holder’s mailing address as shown in the
    cancellation will be provided to the certificate           schedule will be sufficient proof of notice. If the
    holder in the schedule, at least the number of             number of days notice in the schedule for any Part is
    days in advance of the cancellation effective              left blank or is shown as zero, no notice will be
    date, as shown in Part A.                                  provided to the scheduled certificate holder under
B. If this policy is cancelled by the Company for              that Part.
    non-payment of premium, notice of such                     Any notification rights provided by this endorsement
    cancellation will be provided to the certificate           apply only to active certificate holder(s) who were
    holder in the schedule within the number of days           issued a certificate of insurance applicable to this
    notice of the cancellation effective date, as              policy’s term.
    shown in Part B.
C. If this policy is cancelled by the insured, notice of
    such cancellation will be provided to the

                                                      Schedule

Number of Days Notice:                                Name and Mailing Address of Certificate Holder

        Part A:    60                                 NAVFAC Atlantic
                                                      6506 Hampton Blvd
        Part B:    30                                 Norfolk, VA 23508

        Part C:    60




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                      CALIFORNIA CANCELATION ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 72
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Name of California Insurer:

This endorsement applies only to the insurance                    increases the hazard for frequency or severity
provided by the policy because California is shown in             of loss;
Item 3.A. of the Information Page.                           j. The occurrence of any change in your
The cancelation condition in Part Six (Conditions) of             business or operation that requires additional
the policy is replaced by these conditions:                       or different classification for premium
Cancelation                                                       calculation;
1. You may cancel this policy. You must mail or              k. The occurrence of any change in your
   deliver advance written notice to us stating when              business or operation which contemplates an
   the cancelation is to take effect.                             activity excluded by our reinsurance treaties.
2. We may cancel this policy for one or more of the       3. If we cancel your policy for any of the reasons
   following reasons:                                        listed in (a) through (f), we will give you 10 days
   a. Non-payment of premium;                                advance written notice, stating when the
                                                             cancelation is to take effect. Mailing that notice to
   b. Failure to report payroll;                             you at your mailing address shown in Item 1 of the
   c. Failure to permit us to audit payroll as               Information Page will be sufficient to prove notice.
        required by the terms of this policy or of a         If we cancel your policy for any of the reasons
        previous policy issued by us;                        listed in Items (g) through (k), we will give you 30
   d. Failure to pay any additional premium                  days advance written notice; however, we agree
        resulting from an audit of payroll required by       that in the event of cancelation and reissuance of
        the terms of this policy or any previous policy      a policy effective upon a material change in
        issued by us;                                        ownership or operations, notice will not be
   e. Material misrepresentation made by you or              provided.
        your agent;                                       4. If we mail the notice to you, the stated periods of
   f. Failure to cooperate with us in the                    notice and your right to remedy the condition will
        investigation of a claim;                            be extended by 5 days if the place of mailing and
                                                             your mailing address is within California, 10 days
   g. Material failure to comply with federal or state
                                                             if the place of mailing or your mailing address is
        safety orders or written recommendations of
                                                             outside of California and 20 days if the place of
        our designated loss control representatives;
                                                             mailing or your mailing address is outside of the
   h. The occurrence of a material change in the             United States.
        ownership of your business;
                                                          5. The policy period will end on the day and hour
   i. The occurrence of any change in your                   stated in the cancelation notice.
        business or operations that materially

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                                                                        AB
                         PRODUCER COMPENSATION NOTICE


You can review and obtain information on The Hartford’s producer compensation practices at
www.TheHartford.com or at 1-800-592-5717.




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                                                                                                       ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                POLICY AMENDATORY ENDORSEMENT - CALIFORNIA


Policy Number: 57 WV WQ0015                                 Endorsement Number: 74
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                   880 HARBOUR WAY SOUTH, SUITE 600
                                   RICHMOND, CA 94804




It is agreed that, anything in the policy to the contrary         increase in indemnity payment not covered
notwithstanding, such insurance as is afforded by                 under the policy when the aggregate total
this policy by reason of the designation of California            amount of the reimbursement payments paid in
in Item 3 of the Information Page is subject to the               a policy year exceeds one hundred dollars
following provisions:                                             ($100).
                                                                  If we notify you in writing, within 30 days of the
1.   Minors Illegally Employed - Not Insured.                     payment, that you are obligated to reimburse
     This policy does not cover liability for additional          us, we will bill you for the amount of increase in
     compensation imposed on you under Section                    indemnity payment and collect it no later than
     4557, Division IV, Labor Code of the State of                the final audit. You will have 60 days, following
     California, by reason of injury to an employee               notice of the obligation to reimburse, to appeal
     under sixteen years of age and illegally                     the decision of the insurer to the Department of
     employed at the time of injury.                              Insurance.
2.   Punitive     or    Exemplary      Damages      -         4. Application of Policy. Part One, "Workers
     Uninsurable.      This policy does not cover                Compensation Insurance", A, "How This
     punitive or exemplary damages where                         Insurance Applies", is amended to read as
     insurance of liability therefor is prohibited by            follows:
     law or contrary to public policy.                            This workers compensation insurance applies
3.   Increase     in     Indemnity     Payment       -            to bodily injury by accident or disease, including
     Reimbursement.         You are obligated to                  death resulting therefrom. Bodily injury by
     reimburse us for the amount of increase in                   accident must occur during the policy period.
     indemnity payments made pursuant to                          Bodily injury by disease must be caused or
     Subdivision (d) of Section 4650 of the California            aggravated by the conditions of your
     Labor Code, if the late indemnity payment                    employment. Your employee's exposure to
     which gives rise to the increase in the amount               those conditions causing or aggravating such
     of payment is due less than seven (7) days                   bodily injury by disease must occur during the
     after we receive the completed claim form from               policy period.
     you. You are obligated to reimburse us for any          5.   Rate Changes. The premium and rates with
     increase in indemnity payments not covered                   respect to the insurance provided by this policy
     under this policy and will reimburse us for any              by reason of the designation of California in



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     Item 3 of the Information Page are subject to              the final premium is more than the premium you
     change if ordered by the Insurance                         paid to us, you must pay us the balance. If it is
     Commissioner of the State of California                    less, we will refund the balance to you. The
     pursuant to Section 11737 of the California                final premium will not be less than the highest
     Insurance Code.                                            minimum premium for the classifications
6.   Long Term Policy. If this policy is written for a          covered by this policy.
     period longer than one year, all the provisions            If this policy is canceled, final premium will be
     of this policy shall apply separately to each              determined in the following way unless our
     consecutive twelve-month period or, if the first           manuals provide otherwise:
     or last consecutive period is less than twelve             a. If we cancel, final premium will be
     months, to such period of less than twelve                    calculated pro rata based on the time this
     months, in the same manner as if a separate                   policy was in force. Final premium will not
     policy had been written for each consecutive                  be less than the pro rata share of the
     period.                                                       minimum premium.
7.   Statutory Provision. Your employee has a                   b. If you cancel, final premium may be more
     first lien upon any amount which becomes                      than pro rata; it will be based on the time
     owing to you by us on account of this policy,                 this policy was in force, and may be
     and in the case of your legal incapacity or                   increased by our short-rate cancelation
     inability to receive the money and pay it to the              table and procedure. Final premium will not
     claimant, we will pay it directly to the claimant.            be less than the pro rata share of the
8.   Part Five, "Premium", E, "Final Premium", is                  minimum premium.
     amended to read as follows:                           It is further agreed that this policy, including all
     The premium shown on the Information Page,            endorsements forming a part thereof, constitutes the
     schedules, and endorsements is an estimate.           entire contract of insurance. No condition, provision,
     The final premium will be determined after this       agreement, or understanding not set forth in this
     policy ends by using the actual, not the              policy or such endorsements shall affect such
     estimated, premium basis and the proper               contract or any rights, duties, or privileges arising
     classifications and rates that lawfully apply to      therefrom.
     the business and work covered by this policy. If




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                                                                                                        ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     POLICY TERMS CONTROLLING ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 75
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




Notwithstanding the existence of any contract, service arrangement, agreement or obligation between Us (the
insurer named in Item 1. of the Information Page) and you (the insured first named in Item 1. of the Information
Page) that references or relates to this Policy, if there is any conflict between the terms contained in such contract,
service arrangement, agreement or obligation and the terms contained in this Policy, then the Policy terms will
prevail.




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                                                                                                       ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT
                    DISCLOSURE ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 76
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




 Name of California Insurer:

This endorsement addresses the requirements of the           "Act of Terrorism" means any act that is certified by
Terrorism Risk Insurance Act of 2002 as amended              the Secretary of the Treasury, in consultation with the
and extended by the Terrorism Risk Insurance                 Secretary of Homeland Security, and the Attorney
Program Reauthorization Act of 2019. It serves to            General of the United States, as meeting all of the
notify you of certain limitations under the Act, and that    following requirements:
your insurance carrier is charging premium for losses        a. The act is an act of terrorism.
that may occur in the event of an Act of Terrorism.
                                                             b. The act is violent or dangerous to human life,
Your policy provides coverage for workers                       property or infrastructure.
compensation losses caused by Acts of Terrorism,
including workers compensation benefit obligations           c.   The act resulted in damage within the United
dictated by state law. Coverage for such losses is still          States, or outside of the United States in the case
subject to all terms, definitions, exclusions, and                of the premises of United States missions or
conditions in your policy, and any applicable federal             certain air carriers or vessels.
and/or state laws, rules, or regulations.                    d. The act has been committed by an individual or
Definitions                                                     individuals as part of an effort to coerce the
                                                                civilian population of the United States or to
The definitions provided in this endorsement are                influence the policy or affect the conduct of the
based on and have the same meaning as the                       United States Government by coercion.
definitions in the Act. If words or phrases not defined
in this endorsement are defined in the Act, the              "Insured Loss" means any loss resulting from an act
definitions in the Act will apply.                           of terrorism (and, except for Pennsylvania, including
                                                             an act of war, in the case of workers compensation)
"Act" means the Terrorism Risk Insurance Act of              that is covered by primary or excess property and
2002, which took effect on November 26, 2002, and            casualty insurance issued by an insurer if the loss
any amendments thereto, including any amendments             occurs in the United States or at the premises of
resulting from the Terrorism Risk Insurance Program          United States missions or to certain air carriers or
Reauthorization Act of 2019.                                 vessels.
                                                             "Insurer Deductible" means, for the period beginning
                                                             on January 1, 2021, and ending on December 31,
                                                             2027, an amount equal to 20% of our direct earned
                                                             premiums during the immediately preceding calendar
                                                             year.




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Limitation of Liability
The Act limits our liability to you under this policy. If     2. Notwithstanding item 1 above, the United States
aggregate Insured Losses exceed $100,000,000,000                 Government will not make any payment under the
in a calendar year and if we have met our Insurer                Act for any portion of Insured Losses that exceed
Deductible, we are not liable for the payment of any             $100,000,000,000.
portion of the amount of Insured Losses that exceeds          3. The premium charge for the coverage your policy
$100,000,000,000; and for aggregate Insured Losses               provides for Insured Losses is included in the
up to $100,000,000,000, we will pay only a pro rata              amount shown in Item 4 of the Information Page
share of such Insured Losses as determined by the                or in the Schedule below.
Secretary of the Treasury.
Policyholder Disclosure Notice
1. Insured Losses would be partially reimbursed by
   the United States Government. If the aggregate
   industry Insured Losses occurring in any calendar
   year exceed $200,000,000, the United States
   Government would pay 80% of our Insured
   Losses that exceed our Insurer Deductible.


                                                       Schedule


                     State                                  Rate                              Premium




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                                                                                                   ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                 EMPLOYERS' LIABILITY COVERAGE AMENDATORY
                        ENDORSEMENT - CALIFORNIA


Policy Number: 57 WV WQ0015                                 Endorsement Number: 77
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




The insurance afforded by Part Two (Employers'               C. The "Exclusions" section is modified as
Liability Insurance) by reason of designation of                follows (all other exclusions in the
California in item 3 of the information page is subject         "Exclusions" section remain as is):
to the following provisions:                                     1. Exclusion 1 is amended to read as
                                                                    follows:
A. "How This Insurance Applies," is amended to
   read as follows:                                                  1. liability assumed under a contract.
    A. How This Insurance Applies                                2. Exclusion 2 is deleted.
        This employers' liability insurance applies to           3. Exclusion 7 is amended to read as
        bodily injury by accident or bodily injury by               follows:
        disease. Bodily injury means a physical injury,              7. damages arising out of coercion,
        including resulting death.                                      criticism,    demotion,       evaluation,
        1. The bodily injury must arise out of and in                   reassignment, discipline, defamation,
           the course of the injured employee's em-                     harassment,                  humiliation,
           ployment by you.                                             discrimination against or termination
                                                                        of any employee, termination of
        2. The employment must be necessary or                          employment, or any personnel
           incidental to your work in California.                       practices, policies, acts or omissions.
        3. Bodily injury by accident must occur                  4. The following exclusions are added:
           during the policy period.
                                                                     1. bodily injury to any member of the
        4. Bodily injury by disease must be caused                      flying crew of any aircraft.
           or aggravated by the conditions of your
           employment. The employee's last day of                    2. bodily injury to an employee when you
           last exposure to the conditions causing or                   are deprived of statutory or common
           aggravating such bodily injury by disease                    law defenses or are subject to penalty
           must occur during the policy period.                         because of your failure to secure your
                                                                        obligations      under  the     workers'
        5. If you are sued, the original suit and any                   compensation law(s) applicable to you
           related legal actions for damages for                        or otherwise fail to comply with that
           bodily injury by accident or by disease                      law.
           must be brought in the United States of                   3. liability arising from California Labor
           America, its territories or possessions, or                  Code Section 2810.3 which relates to
           Canada.                                                      labor contracting.


                                      Countersigned by
                                                                                     Authorized Representative

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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      VIRGINIA AMENDATORY ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 78
Effective Date: 04/01/2024      Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the Virginia insurance provided by the policy because Virginia is shown in Item
3.A. of the Information Page.
For Virginia insurance, Part Six D. (Conditions-Cancellation) is replaced by:

1. You may cancel this policy. You must mail or deliver advance written notice to us. You must provide written
   notice of your cancellation, including the date of and reasons for the cancellation, to the Workers
   Compensation Commission.
2. We may cancel this policy. We will provide you with 30 days notice of cancellation. We will provide the Workers
   Compensation Commission with immediate notice of such cancellation. This provision does not apply if you have
   obtained other insurance and that insurer has notified the Workers Compensation Commission that it is now
   providing your insurance.
3. In the event of cancellation by you or us, you must provide 30 days written notice of the cancellation to your
   covered employees.
4. We may nonrenew your policy. We will provide 30 days notice to you and to the Workers Compensation
   Commission of our decision to nonrenew. This provision does not apply if you have obtained other insurance
   and that insurer has notified the Workers Compensation Commission that it is now providing your insurance.
5. If you fail to pay the premium due on this policy we may cancel the policy by providing 10 days notice to you
   and to the Workers Compensation Commission.




                                            Countersigned by
                                                                                      Authorized Representative
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          UTAH WORKPLACE SAFETY
                          PROGRAM ENDORSEMENT

Policy Number: 57 WV WQ0015                               Endorsement Number: 79
Effective Date: 04/01/2024        Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804


This endorsement applies only to the insurance provided by the policy because Utah is shown in Item 3.A. of the
Information Page.
This endorsement is to inform you that you may be required to establish a workplace safety program and of the
premium increase which will occur for failure or refusal to establish such a program.
You may be required to establish such a program if:
1. You have an experience modification factor of 1.00 or higher as determined by NCCI; or
2. You have a three-year loss ratio of 100% or higher.
If you are required to implement a workplace safety program, the program must include a written accident and
injury reduction plan and must be reviewed annually.

Your premiums may be increased by 5% over any existing rates and premium modifications for failure or refusal to
establish a workplace safety program. If an increase has been made to your premium for failure or refusal to
establish a workplace safety program, the amount of the increase is listed in the Schedule below.

                                                SCHEDULE




                                  Countersigned by
                                                                                    Authorized Representative


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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                               DISTRICT OF COLUMBIA
                            CANCELLATION ENDORSEMENT
Policy Number: 57 WV WQ0015                           Endorsement Number: 80
Effective Date: 04/01/2024                  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement applies only to the insurance provided by the policy because District of Columbia is shown in item 3.A.
of the Information Page.
The Cancellation Condition of the policy is replaced by this Condition.

D. Cancellation

   1. You may cancel this policy. You must mail or deliver advance notice to us stating when the cancellation is to
      take effect.

   2. We may cancel this policy. We will mail or deliver to you and the Mayor not less than 30 days advance written
      notice stating when the cancellation is to take effect. Mailing this notice to you at your mailing address last
      known to us will be sufficient to prove notice.
   3. The policy period will end on the day and hour stated in the cancellation notice.




                                                            Countersigned by
                                                                                          Authorized Representative



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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           AMENDATORY ENDORSEMENT
                                  COLORADO

Policy Number:57 WV WQ0015                                 Endorsement Number:         81
Effective Date: 04/01/2024                 Effective hour is the same as stated in the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




It is agreed that this policy covers all employees of the insured, including statutory employees, and covers all
business operations of the insured in any lawful endeavors, whether naturally connected or not, with respect to
compensation and other benefits required of the insured by the Workers Compensation Law.




                                                      Countersigned by
                                                                                       Authorized Representative

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       CONNECTICUT APPLICATION OF WORKERS
                       COMPENSATION INSURANCE ENDORSEMENT

Policy Number: 57 WV WQ0015                               Endorsement Number: 82
Effective Date: 04/01/2024                    Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                                 SUNPOWER CORPORATION
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804




This endorsement applies only to the insurance provided by Part One (Workers Compensation Insurance) because
Connecticut is shown in item 3.A. of the Information Page.

Section A, "How This Insurance Applies" of Part One, "Workers Compensation Insurance," is amended to read as
follows:

This workers compensation insurance applies to injury by accident or injury by disease. Injury includes resulting death.

(1) Injury by accident must occur during the policy period.
(2) Injury by disease must be caused or aggravated by exposure during the policy period to conditions of your
    employment.




                                                    Countersigned by
                                                                                    Authorized Representative


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Workers Compensation and Employers Liability Policy



New York Limit of Liability Endorsement
                                                                   Named Insured and Address
 Policy Number
                                                           SUNPOWER CORPORATION
 57 WV WQ0015
                                                           880 HARBOUR WAY SOUTH, SUITE 600
This endorsement changes the policy effective on the       RICHMOND, CA 94804
inception date of the policy unless another date is
indicated below.
 Effective Date     Effective hour is the same as stated
 04/01/2024         in the Information Page of the policy.
Endt. No.
 83




This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because New York
is shown in item 3.A of the Information Page.

We may not limit our liability to pay damages for which we become legally liable to pay because of bodily injury to your
employees if the bodily injury arises out of and in the course of employment that is subject to and is compensable under
the Workers Compensation Law of New York.




                                                              Countersigned by . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                  Authorized Agent

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Special Pennsylvania Endorsement
Inspection of Manuals
                                                                      Named Insured and Address
 Policy Number
 57 WV WQ0015
 This endorsement changes the policy effective on the        SUNPOWER CORPORATION
inception date of the policy unless another date is          880 HARBOUR WAY SOUTH, SUITE 600
                                                             RICHMOND, CA 94804
indicated below.
 Effective Date     Effective hour is the same as stated
04/01/2024          in the Information Page of the policy.
 Endt. No.
  84




The manuals of rules, rating plans, and classifications are approved pursuant to the provisions of Section 654 of the
Insurance Company Law of May 17, 1921, P.L. 682, as amended, and are on file with the Insurance Commissioner of the
Commonwealth of Pennsylvania.




                                                             Countersigned by
                                                                                     Authorized Representative
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Pennsylvania Notice
                                                                         Named Insured and Address
Policy Number
57 WV WQ0015
This endorsement changes the policy effective on the         SUNPOWER CORPORATION
inception date of the policy unless another date is          880 HARBOUR WAY SOUTH, SUITE 600
                                                             RICHMOND, CA 94804
indicated below.
 Effective Date     Effective hour is the same as stated
04/01/2024          in the Information Page of the policy.
Endt. No.
 85



An Insurance Company, its agents, employees or service contractors acting on its behalf, may provide services to reduce
the likelihood of injury, death or loss. These services may include any of the following or related services incident to the
application for, issuance, renewal or continuation of, a policy of insurance:
   1. surveys;

   2. consultation or advice; or

   3. inspections.

The "Insurance Consultation Services Exemption Act" of Pennsylvania provides that the Insurance Company, its agents,
employees or service contractors acting on its behalf, is not liable for damages from injury, death or loss occurring as a
result of any act or omission by any person in the furnishing of or the failure to furnish these services.
The Act does not apply:

   1. if the injury, death or loss occurred during the actual performance of the services and was caused by the
      negligence of the Insurance Company, its agents, employees or service contractors;

   2. to consultation services required to be performed under a written service contract not related to a policy of
      insurance; or

   3. if any acts or omissions of the Insurance Company, its agents, employees or service contractors are judicially
      determined to constitute a crime, actual malice, or gross negligence.




                                                          Countersigned by
                                                                                               Authorized Representative
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     COLORADO CLASSIFICATION ENDORSEMENT


Policy Number: 57 WV WQ0015                                    Endorsement Number: 86
Effective Date 04/01/2024                     Effective hour is the same as stated on the Information Page of the policy.

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance provided by Part One (Workers Compensation Insurance)
because Colorado is shown in Item 3.A. of the Information Page.

Section B. Classifications of Part Five (Premium) is amended by adding the following:

The assignment of a proper classification resulting in higher premium is allowed only if the misclassification was
caused by your failure to provide accurate or complete data. If your operation changes during the policy term, you
must notify us within ninety days of the change. Failure to notify us will be considered a failure to provide accurate
or complete data.

Section E. Final Premium of Part Five is amended by adding this sentence at the end of the first paragraph:

Payments to us or to you based on improper classification may be collected or refunded during the term of the
policy and for twelve months after the term.




                                                    Countersigned by
                                                                                  Authorized Representative
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          FLORIDA EMPLOYMENT AND WAGE INFORMATION RELEASE
                           ENDORSEMENT


Policy Number: 57 WV WQ0015                                    Endorsement Number: 87
Effective Date: 04/01/2024                     Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This policy requires you to release certain                       We will safeguard the information and maintain its
employment and wage information maintained by the                 confidentiality. We will limit use of the information to
State of Florida pursuant to federal and state                    verifying compliance with the terms of the policy.
unemployment compensation laws except to the
extent prohibited or limited under federal law. By
entering into this policy, you consent to the release of
the information.




                                            Countersigned by
                                                                                     Authorized Representative




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       WORKERS’ COMPENSATION COST CONTAINMENT CERTIFICATION
                      DISCLOSURE STATEMENT
Cost Containment Certification is available from the Colorado Workers’ Compensation Cost Containment Board. If you
obtain certification, your policy will be subject to a premium credit which will be shown separately on your policy.

PLEASE CHECK ONE (1) OF THE FOLLOWING BOXES BASED UPON YOUR BUSINESS ENTITY
QUALIFICATION:

     I am aware if my business does qualify for experience and/or schedule rating under my workers’ compensation
insurance policy and my business has implemented a certified workers’ compensation risk management program, my
policy is subject to a 5% premium credit if the loss experience has improved since the last renewal date of workers’
compensation insurance. This 5% premium credit is in addition to any schedule rating for which I may qualify.

or,

    I am aware if my business does not qualify for experience and/or schedule rating under my workers’
compensation insurance policy and my business entity has implemented a certified workers’ compensation risk
management program, my policy is subject to the following premium credit:

                       Premium Dividend                                         Dividend Criteria
                             10%                           If my business has been loss free for at least the last year
                                                           immediately preceding the effective date of the premium
                                                           credit.
                               8%                          If my business had one medical loss exceeding $250 in
                                                           the last year immediately preceding the effective date of
                                                           the premium credit.
                               6%                          If my business had two medical losses, each exceeding
                                                           $250, in the last year immediately preceding the effective
                                                           date of the premium credit.
                               4%                          If my business had three medical losses, each exceeding
                                                           $250, in the last year immediately preceding the effective
                                                           date of the premium credit.
                               2%                          If my business had three medical losses, each exceeding
                                                           $250, and one claim for loss of time in the last year
                                                           immediately preceding the effective date of the premium
                                                           credit.
                               0%                          If my business had more than three medical losses and
                                                           one claim for loss of time in the last year immediately
                                                           preceding the effective date of the premium credit.


                          ***PLEASE SIGN AND RETURN***
Insured Signature        ______________________________

Policy Number             57 WV      WQ0015

Issuing Office
Issuing Office
Address




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    PENNSYLVANIA ACT 86-1986 ENDORSEMENT
                  NONRENEWAL, NOTICE OF INCREASE OF PREMIUM,
                     AND RETURN OF UNEARNED PREMIUM


Policy Number: 57 WV WQ0015                                           Endorsement Number: 89
Effective Date: 04/01/2024                      Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                     Notice of Increase in Premium
provided by the policy because Pennsylvania is shown
                                                                   1. We will provide you with not less than 30 days
in Item 3.A. of the Information Page.                                 advance notice of an increase in renewal
The policy conditions are amended by adding the
                                                                      premium of this policy, if it is our intent to offer
following regarding nonrenewal, notice of increase in
                                                                      such renewal.
premium, and return of unearned premium.
                                                                   2. The above notification requirements will be
Nonrenewal                                                            satisfied if we have issued a renewal policy more
1. We may elect not to renew the policy. We will mail                 than 30 days prior to its effective date.
   each named insured, by first class mail, not less
                                                                   3. If a policy has been written or is to be written on a
   than 60 days advance notice stating when the
                                                                      retrospective rating plan basis, the notice of
   nonrenewal will take effect. Mailing that notice to
                                                                      increase in premium provision of this
   you at your mailing address last known to us will be
                                                                      endorsement does not apply.
   sufficient to prove notice.
2. Our notice of nonrenewal will state our specific                Return of Unearned Premium
   reasons for not renewing.                                       1. If this policy is canceled and there is unearned
3. If we have indicated our willingness to renew, we                  premium due you:
   will not send you a notice of nonrenewal. However,
                                                                      a. If the Company cancels, the unearned
   the policy will still terminate on its expiration date if:
                                                                         premium will be returned to you within 10
    a. you notify us or the agent or broker who                          business days after the effective date of
       procured this policy that you do not want the                     cancellation.
       policy renewed; or
                                                                      b. If you cancel, the unearned premium will be
    b. you fail to pay all premiums when due; or                         returned within 30 days after the effective
    c. you obtain other insurance as a replacement of                    date of cancellation.
       the policy.




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2. Because this policy was written on the basis of an      3. These return or unearned premium provisions
   estimated premium and is subject to a premium              shall not apply if this policy is written on a
   audit, the unearned premium specified in 1a. and           retrospective rating plan basis.
   1b. above, if any, shall be returned on an
   estimated basis.       Upon our completion of
   computation of the exact premium, an additional
   return premium or charge will be made to you
   within 15 days of the final computation.




                                                  Countersigned by
                                                                                 Authorized Representative


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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     PREMIUM DUE DATE ENDORSEMENT


Policy Number: 57 WV WQ0015                                      Endorsement Number: 90
Effective Date: 04/01/2024                    Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:         SUNPOWER CORPORATION
                                   880 HARBOUR WAY SOUTH, SUITE 600
                                   RICHMOND, CA 94804




Section D of Part Five of the policy is replaced by this provision.

                                                    PART FIVE
                                                    PREMIUM


D. Premium is amended to read:                                    compensation law is not valid. The due date for
                                                                  audit and retrospective premiums is the date of
   You will pay all premium when due. You will
                                                                  the billing.
   pay the premium even if part or all of a workers




                                              Countersigned by
                                                                                      Authorized Representative
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               PART FIVE - PREMIUM AMENDATORY ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 91
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




This endorsement amends Part Five - Premium of the policy as follows:

Part Five - Premium, Section A. (Our Manuals) is replaced by the following provision:

A. Our Manuals

   All premium for this policy will be determined by our manuals of rules, rates and loss costs (as applicable),
   rating plans, forms, endorsements, and classifications, and such manuals are expressly incorporated by
   reference into, and apply to, this policy and any renewals (our manuals). As used in this policy and any
   renewals, our manuals means manuals that have been:

    1. Developed in any format and filed by the state-designated workers compensation rating or advisory
       organization on our behalf with the appropriate state insurance regulatory authority; or
    2. Developed in any format and filed by the respective state rating bureau on our behalf with the appropriate
       state insurance regulatory authority; or
    3. Developed in any format and filed by us with the appropriate state insurance regulatory authority; and
    4. For each or any of the three scenarios above, the manuals also must be approved for use by the
       appropriate state insurance regulatory authority, or as otherwise authorized by law as applicable.

    We may change our manuals and apply the changes to this policy and any renewals if such manual changes
    are approved for use by the appropriate state insurance regulatory authority, or an otherwise authorized by law
    as applicable.

Part Five - Premium, Section D. (Premium Payments) is replaced by the following provision:

D. Premium Payments
    You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law
    is not valid. The due date for audit and retrospective premiums is the due date specified in the billing for the
    policy.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     UTAH CANCELLATION ENDORSEMENT

Policy Number: 57 WV WQ0015                            Endorsement Number:      92
Effective Date: 04/01/2024                    Effective hour is the same as stated on the Information Page of the policy.

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                        when due, in which case we will mail or deliver
provided by the policy because Utah is shown in                       to you not less than 10 days advance written
Item 3.A. of the Information Page.                                    notice stating when the cancellation is to take
                                                                      effect. Should we cancel for nonpayment of
Cancellation Section (D) of Part Six - Conditions is
                                                                      premiums, we must state this as the reason for
replaced by the following:                                            the cancellation on our notice of cancellation.
A. Cancellation                                                       Should we cancel for any of the other reasons
   1. You may cancel this policy. You must mail or                    above, we must either state the facts on which
      deliver advance notice to us stating when the                   our decision is based or notify you of your rights
      cancellation is to take effect.                                 to make a written request for that information.
                                                                      Mailing a cancellation notice via first class to
   2. If this policy has been previously renewed or                   you at your mailing address last known to us
      has been in effect for at least 60 days, the                    will be sufficient to prove notice.
      provisions of this paragraph 2 apply. We
      may cancel this policy for one of the                        3. If this policy has not previously been renewed
      following reasons:                                              and has been in effect less than 60 days, we
                                                                      may cancel the policy for any reason and
      a. You fail to pay all premiums when due;                       without a statement of reasons. We will deliver
      b. A material misrepresentation;                                to you not less than 10 days advance written
                                                                      notice stating when the cancellation is to take
      c. A substantial change in the risk                             effect.
         assumed, unless we should reasonably
         have     foreseen    the  change      or                  4. The policy period will end on the day and hour
         contemplated the risk when entering into                     stated in the cancellation notice.
         the contract;
                                                                B. Renewal / Nonrenewal
      d. Substantial breaches of contractual
         duties, conditions or warranties.                         1. You have the right to have the insurance
                                                                      renewed unless:
      We will mail or deliver to you not less than
      30 days advance written notice stating when                     a. The policy has been cancelled;
      the cancellation is to take effect, except in                   b. The policy is expressly designated as
      the event you fail to pay your premiums                            nonrenewable;




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     c. You fail to pay the renewal premium by                 2. If we offer to renew the policy but on less
        the due date. We will mail the renewal                    favorable terms or at higher rates, the new
        notice to you not more than 45 days nor                   terms or rates will take effect on the renewal
        less than 14 days prior to the renewal                    date if we delivered or sent by first class mail
        effective date.   The renewal notice will                 to you notice of the new terms or rates at
        include the estimated renewal premium,                    least 30 days prior of the expiration date of
        how it may be paid, and state that failure                the prior policy. The prior notice requirement
        to pay the renewal premium by the due                     does not apply if the only change is a rate
        date extinguishes your right to the                       increase generally applicable to your class of
        renewal; or                                               business, a rate increase resulting from a
                                                                  classification change, or a policy form
     d. We give you 30 days notice of                             change made to make the form consistent
        nonrenewal prior to the expiration or the                 with Utah law.
        anniversary date.     We must deliver or
        send the notice by first class to your last
        known mailing address.




                                           Countersigned by
                                                                                Authorized Representative




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                                                                                                   ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        CONNECTICUT NONRENEWAL AND RENEWAL ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 93
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




This endorsement applies because Connecticut is           G. Renewal
shown in Item 3.A. of the Information Page.                  We may elect to renew the policy. In accordance
Part Six - Conditions, of the policy is revised by           with Connecticut General Statutes Annotated
adding the following:                                        Section 38a-323, we will provide you at least 60
F. Nonrenewal                                                days' advance notice of our intent to renew if,
                                                             compared to this policy, the terms or conditions of
   We may elect not to renew the policy. Unless              the renewal policy include any reduction in
   otherwise provided by Connecticut General                 coverage limits, coverage provisions added or
   Statutes Annotated Section 38a-323, we will               revised that reduce coverage or increases in
   provide you at least 60 days' advance notice of           deductibles.
   our intention not to renew. Advance notice will be
   provided to you by one of the following methods:          This conditional renewal notice will be provided to
                                                             you by one of the following methods:
   1. Registered mail
   2. Certified mail                                         1. Registered mail
   3. Mail evidenced by a certificate of mailing             2. Certified mail
   4. Delivered to the named insured at the                  3. Mail evidenced by a certificate of mailing
      address shown in the policy                            4. Delivered to the named insured at the
                                                                address shown in the policy
   Mailing such notice to you at your address, shown         Mailing such notice to you at your address, shown
   in Item 1. of the Information Page, will be deemed        in Item 1., of the Information Page, will be
   sufficient notice under this section.                     deemed sufficient notice under this section.
   The notice of intent not to renew will state or be
   accompanied by a statement specifying the                 This conditional renewal notice will include or be
   reason for such nonrenewal.                               accompanied by a statement clearly identifying
                                                             any reduction in coverage limits, coverage
                                                             provisions added or revised that reduce coverage
                                                             or increases in deductibles, under the renewal
                                                             policy.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           HAWAII NOTIFICATION ENDORSEMENT




Policy Number: 57 WV WQ0015                                Endorsement Number: 94
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804


This endorsement applies to the insurance provided             not provided as percentages of standard premium,
by this policy because Hawaii is shown in Item 3.A.            the percentages would vary by policy based on any
of the Information Page                                        premium discounts applied to the individual policy.
                                                               Hawaii law also requires the disclosure of the
Hawaii Law requires that all policies issued to                percentages of premiums expended during the
employers for workers compensation insurance                   previous year by the insurer for claims paid in the
disclose clearly to employers as separate figures the          same categories. These percentages are provided
portion of the premium charged for categories (1)              below in column B based on the most recent
through (5) below. Category (6) is provided for                available calendar year data. The figures in Column
informational purposes only so that the figures total          B may not total to 100% since premiums collected in
100% in Column A. These figures are provided                   any individual calendar year will not correspond
below in column A as percentages of standard                   exactly to the claims and expenses paid in that
premium because the rates are filed and approved               calendar year.
on a standard premium basis. If the figures were


      Category                                                                                   A                B

(1)   Medical care, services, and supplies

(2)   Wage loss benefits including temporary total, temporary partial, and permanent total
      disability benefits and their related benefits

(3)   Indemnity benefits for permanent partial disability

(4)   Death benefits

(5)   Loss control and administrative costs, attorney’s fees of the insurer, the cost of
      employer requested medical examinations and private investigation costs

(6)   Production costs, general expense, premium tax, Special Compensation Fund,
      miscellaneous tax Hawaii Hurricane Relief Fund


                                       Countersigned by
                                                                           Authorized Representative
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    ARIZONA COUNTERSIGNATURE EXCLUSION ENDORSEMENT


Policy Number: 57 WV WQ0015                        Endorsement Number: 95
Effective Date: 04/01/2024                   Effective hour is the same as stated on the Information Page of the policy.

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance               "This endorsement shall not be binding unless
provided by the policy because Arizona is shown in           countersigned by a duly authorized agent of the
Item 3.A. of the Information Page.                           company, provided that if this endorsement takes effect
                                                             as of the effectivedate of the policy and, at issue of
Pursuant to A.R.S.      S20-229(C),
                        S               the following
                                                             said policy, forms a part thereof, countersigned on the
wording, as may be contained in this policy, does not
                                                             Information Page of said policy by a duly
apply in Arizona.                                            authorized Agent of the company shall constitute valid
   "This policy is not binding unless countersigned by       countersignature of this endorsement."
   our authorized representative."




                                              Countersigned by
                                                                                      Authorized Representative




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        NEW JERSEY PART TWO EMPLOYERS LIABILITY ENDORSEMENT


Policy Number: 57 WV WQ0015                               Endorsement Number: 96
Effective Date: 04/01/2024                  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                     This insurance does not provide for the payment of
provided by Part Two (Employers Liability Insurance)               any common law negligence damages or other
because New Jersey is shown in Item 3.A. of the                    damages when the provisions of Article 2 of the
information page.                                                  New Jersey Workers Compensation Law have
With respect to Exclusion C5, this insurance does not              been rejected by you and your employee(s) as
cover any and all intentional wrongs within the                    provided in N.J.S.A. 34:15-9.
exception allowed by N.J.S.A. 34:15-8 including but               With respect to paragraph F., the "Other
not limited to, bodily injury caused or aggravated                Insurance" provision is replaced with the following:
by an intentional wrong committed by you or your
                                                                     F. Other Insurance
employees, or bodily injury resulting from an act or
omission by you or your employees, which is                             We will not pay more than our share of
substantially certain to result in injury.                              damages and costs covered by this insurance
                                                                        and other insurance or self-insurance.
With respect to Exclusion C7 we will defend any                         Subject to any limits of liability that apply, all
claim, proceeding or suit for damages where bodily                      shares will be equal until the loss is paid. If
injury is alleged. We have the right to investigate and                 any insurance or self-insurance is exhausted,
settle. We will not defend or continue to defend after                  the shares of all remaining insurance and
the applicable limits of the insurance have been paid.                  self-insurance will be equal until the loss is
Such policy limits include any legal costs assessed                     paid.
against you on behalf of your employee(s).
                                                                        This insurance, however, is excess over any
                                                                        other applicable insurance with respect to
We may not limit our liability to pay damages for
                                                                        claims for bodily injury arising out of
which we become legally liable to pay because of
                                                                        employer practices, policies, acts or
bodily injury to an infant under the age of 18 years in
                                                                        omissions enumerated in C7 above, whether
a proceeding made pursuant to Article 2 as provided
                                                                        such other insurance is stated to be primary,
in N.J.S.A. 34:15-10.
                                                                        contributory, excess, contingent or otherwise.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               OREGON CANCELLATION ENDORSEMENT

Policy Number: 57 WV WQ0015                                Endorsement Number: 97
Effective Date: 04/01/2024               Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:       SUNPOWER CORPORATION
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804




This endorsement applies only to the insurance                      b) If we cancel for other reasons, we will mail
provided by the policy because Oregon is shown in                      the notice of cancellation at least 45 days
Item 3.A. of the Information Page.                                     before the cancellation is to take effect.
The Cancellation Condition of the policy is replaced                c) If we cancel for nonpayment, we will mail
by this Condition:                                                     notice of cancellation at least 10 days
                                                                       before the cancellation is to take place.
D. Cancellation
   1. You may cancel this policy. You must mail or              3. Mailing notice to you at your last known mailing
      deliver advance written notice to us, stating                address will be sufficient to prove notice.
      when the cancellation is to take effect. If you           4. The policy period will end at 12 midnight on the
      provide for other insurance or self-insurance,               day stated in the cancellation notice.
      your cancellation of coverage will take effect
      upon the effective date of that insurance.                5. When coverage is placed with another carrier
                                                                   as of the policy expiration date, a rejected
   2. We may cancel this policy. We will mail to                   renewal policy shall be withdrawn without
      you advance written notice notice stating                    charge, providing notice of nonrenewal is
      when the cancellation is to take effect.                     mailed and postmarked on or before the
                                                                   expiration date and is received from the insured
      a) If we cancel, based on our decision not to
                                                                   by the insurer no later than 10 calendar days
         offer insurance to all employers within your
                                                                   after said expiration date.
         premium category, we will mail the notice
         of cancellation at least 90 days before the
         cancellation is to take effect.




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    WORKERS’ COMPENSATION SELECTION OF DESIGNATED MEDICAL
               PROVIDER DISCLOSURE STATEMENT

If you select two Designated Medical Providers meeting the following qualifications, a premium credit will
be applied to your policy. For policies eligible for this credit as well as schedule rating, the combination
of the 2.5% credit and the schedule modification cannot exceed +/-25%.

       A qualified Designated Medical Provider is a medical provider, who:
               1) Has a knowledge of work injuries;
                 2) Is knowledgeable of fee schedules;
                 3) Is decisive on medical-maximum-improvement determinations;
                 4) Communicates with you, the employer on such issues as case management and
                     wellness programs;
                 5) Is knowledgeable of the employers operations.

       The names of the providers must be posted and well publicized by you, the employer.




                                ** SIGN AND RETURN **


I am aware of the availability of a premium credit of 2.5%, if I select two qualified Designated Medical
Providers. For policies eligible for this credit as well as schedule rating, the combination of the 2.5%
credit and the schedule modification cannot exceed +/-25%.


Insured Signature

Policy Number            57 WV WQ0015

Issuing Office
Issuing Office
Address




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                                                                                                            ABCDEFGHIJ


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         NEVADA CANCELLATION AND NONRENEWA L ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 99
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies to the insurance provided                b. A failure by the policyholder to:
by this policy, because Nevada is shown in Item 3.A.                   (1) Report any payroll;
of the Information Page.
                                                                       (2) Allow the insurer to audit any payroll
Part Six – Conditions, D. Cancellation of the policy is                    in accordance with the terms of the
replaced by the following:                                                 policy or any previous policy issued
A. Midterm Cancellation                                                    by the insurer; or
    1. You may cancel this policy by mailing or                        (3) Pay     any    additional  premium
       delivering advance written notice to us                             charged because of an audit of any
       stating when the cancellation is to take                            payroll as required by the terms of
       effect.                                                             the policy or any previous policy
    2. We will provide you not less than 10 days                           issued by the insurer;
       notice if this policy is cancelled because you             c.   A material failure by the policyholder to
       failed to pay a premium or remit an amount                      comply with any federal or state order
       due because of an endorsement for a                             concerning safety or any written
       deductible when due.                                            recommendation      of    the   insurer’s
    3. We will provide you not less than 30 days                       designated representative for loss
       notice for any other cancellation reason                        prevention;
       permitted under Nevada law, including                      d. A material change in ownership of the
       failure to pay additional premium charged                     policyholder or any change in the
       due to an audit of any payroll under the                      policyholder’s business or operations
       terms of the current or previous policy.                      that:
    4. No policy of industrial insurance that has                      (1) Materially increases the hazard for
       been in effect for at least 70 days or that has                     frequency or severity of loss;
       been renewed may be cancelled, except on                        (2) Requires additional or different
       any one of the following grounds:                                   classifications for the calculation of
        a. A failure by the policyholder to pay a                          premiums; or
           premium for the policy of industrial                        (3) Contemplates an activity that is
           insurance when due, including the                               excluded by any reinsurance treaty
           failure of the policyholder to remit an                         of the insurer;
           amount due because of an endorsement
           for a deductible;




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        e. A material misrepresentation made by             2. We will provide the information within 30
           the policyholder; or                                 working days after we receive your written
        f.   A failure by the policyholder to                   request. We may charge a reasonable fee
             cooperate with the insurer in conducting           for providing the information.
             an investigation of a claim.                D. Notices
   5. We cannot cancel the policy when the                   1. We will provide advance written notice of
      referenced reasons are corrected by you                   cancellation or nonrenewal as provided in A
      within the time specified in the written notice           and B above. This notice must be served
      of cancellation.                                          personally on or sent by first-class mail or
B. Nonrenewal                                                   electronic transmission to the employer.
    1. We may elect not to renew the policy. We              2. Notices will state the effective date of the
       will provide to you a written notice of our              cancellation or nonrenewal and will be
       intention not to renew at least 60 days                  accompanied by a written explanation of the
       before the expiration date.                              specific reasons for the cancellation or
                                                                nonrenewal.
   2. We need not provide notice of our intention
       not to renew if you have accepted                    3. A written notice of cancellation is not
       replacement coverage, if you have                       required if we mutually agree with you to
       requested or agreed to nonrenewal, or if the            cancel the policy and reissue a new policy
       policy  is    expressly   designated      as            based upon a material change in ownership
       nonrenewable.                                           or operation of your business.
C. Information About Claims Paid                         E. Compliance with Law
    1. If you request information for the renewal of         1. Any of these provisions that conflict with a
       the policy, we will provide you with                     law that controls the cancellation or renewal
       information regarding claims paid on your                or nonrenewal of the insurance in this policy
       behalf.                                                  is changed by this statement to comply with
                                                                the law.




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                                                                                                           ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


  ARIZONA ALCOHOL- AND DRUG-FREE WORKPLACE PREMIUM CREDIT
                        ENDORSEM ENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 100
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                  c.   Comply with the alcohol and drug testing
provided by the policy because Arizona is shown in                   policy requirements in accordance with Title
Item 3.A. of the Policy Information Page.                            23, Chapter 2, Article 14.
This endorsement provides notice that premium for               d. Conduct alcohol and drug testing of
your policy may be affected by the Arizona Alcohol-                  prospective employees.
and Drug-Free Workplace Premium Credit Program.                 e. Conduct alcohol and drug testing of an
You may qualify for a 5% premium credit if you have                  employee after the employee has been injured.
established and maintain a qualifying alcohol- and              f. Allow us to have access to the alcohol and
drug-free workplace program in accordance with                       drug testing results under d. and e. above.
Title 23, Chapter 2, Article 14 of Arizona Statutes.
                                                           3.   The determination that you have established and
We will determine your eligibility for this premium             maintain a qualifying program must be made
credit after total premium has been paid for the                during each policy term that you receive the
policy period and may be revised at the time your               premium credit.
final premium audit is processed.
                                                           4.   Your certification and any other information
The determination that you have a qualifying                    relied upon by the insurer in granting the
program must be made each year that you receive                 premium credit must be kept in the insurer’s
the premium credit. To implement a premium credit               underwriting files and made available to the
program, the following guidelines must be                       Department of Insurance upon request.
established:
                                                           5.   The premium credit may be applied after total
1. Insurers offering the premium credit program                 premium has been paid for the policy period and
     may apply a 5% premium credit to qualifying                may be revised at final audit to the employer’s
     employers.                                                 policy. The credit is applicable as a supplement
2. To receive the premium credit, you must:                     to deviated rates and is applied in a multiplicative
     a. Provide a written statement to the insurer              manner, after the application of the experience
         prior to or within 30 days after the beginning         modification, and before the application of the
         of the policy effective date each year,                premium discount and expense constant.
         certifying that the business has implemented      6.   You must reimburse the premium credit if it is
         a program meeting the requirements of Title            determined that you were not in compliance with
         23, Chapter 2, Article 14.                             the provisions of the program.
     b. At any time during the term of the policy,         7.   Minimum premium policies are eligible for this
         provide additional information to the insurer,         premium credit.
         as required, to confirm that a qualifying         8.   Residual market employers are eligible to apply
         program has been established and is being              for this premium credit.
         maintained.



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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




        FLORIDA EMPLOYERS LIABILITY COVERAGE ENDORSEM ENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 101
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                              880 HARBOUR WAY SOUTH, SUITE 600
                              RICHMOND, CA 94804




   C. Exclusion 5, Section C.of Part Two of the                       of your engaging in conduct equivalent
      policy is replaced by the following:                            to an intentional tort, however defined, or
                                                                      other tortious conduct, such that you
                                                                      lose your immunity from civil liability
       This insurance does not cover                                  under the workers compensation laws.
         5. bodily injury intentionally caused or
           aggravated by you or which is the result




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    CONNECT ICUT WORKERS COMPENSA TION FUNDS ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 102
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                               880 HARBOUR WAY SOUTH, SUITE 600
                               RICHMOND, CA 94804




This endorsement applies only to the insurance            The purpose of the assessment is to finance the
provided by Part One (Workers’ Compensation               expenses of administering the workers
Insurance) because Connecticut is shown in Item           compensation laws.
3.A. of the Information Page.
                                                          THE AMOUNT SHOWN ON THE INFORMATION
The amount shown on the Information Page for the          PAGE FOR THE CONNECTICUT SECOND
Connecticut workers compensation fund assessment          INJURY FUND SURCHARGE IS REQUIRED OF
is required of you under Section 31-345 of the            YOU UNDER CONNECTICUT REGULATIONS TO
Connecticut General Statutes. We will pay these           FINANCE THE CONNECTICUT SECOND INJURY
assessments to the Connecticut State Treasurer.           FUND. WE WILL PAY THIS SURCHARGE TO THE
                                                          CONNECTICUT STATE TREASURER.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     ILLINOIS WORKERS COMPENSATION AND EMPLOYERS LIABILITY
             INSURANCE POLICY EXCLUSIO N ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 103
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




C. Change Part Two – C. Exclusions 1. as follows:                 benefits payable under the Workers
   This insurance does not cover                                  Compensation Act and the Workers
                                                                  Occupational Disease Act. This exclusion
   1. liability assumed under a contract, and/or                  does not apply to a warranty that your work
      any agreement to waive your right to limit                  will be done in a workmanlike manner;
      your liability for contribution to the amount of




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           NORTH CAROLINA AMENDED COVERAGE ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 104
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                               880 HARBOUR WAY SOUTH, SUITE 600
                               RICHMOND, CA 94804




This endorsement applies only to the insurance                        (3) Increased hazard or material
provided by the policy because North Carolina is                          change in the risk assumed that
shown in Item 3.A. of the Information Page.                               could not have been reasonably
                                                                          contemplated by you and us at the
The Cancellation Condition of the policy is replaced                      time of assumption of the risk.
by this Condition:                                                    (4) Substantial breach of contractual
                                                                          duties, conditions, or warranties that
D. Cancellation and Nonrenewal                                            materially affects the insurability of
   1. You may cancel this policy.                                         the risk.
      If you cancel this policy, you must mail or                     (5) A fraudulent act against us by you or
      deliver advance written notice to us stating                        your representative that materially
      when the cancellation is to take effect.                            affects the insurability of the risk.
   2. We may cancel this policy.                                      (6) Willful failure by you or your
                                                                          representative          to      institute
      (a) If this policy has been in effect for fewer                     reasonable loss control measures
           than 60 days and is not a renewal policy,                      that materially affect the insurability
          we may cancel this policy for any reason                        of the risk after written notice by us.
           by giving you at least 30 days prior                       (7) Loss of faculative reinsurance or
          written notice of cancellation and the                          loss of or substantial changes in
           reasons for cancellation by registered or                      applicable reinsurance as provided
           certified mail, return receipt requested.                      in G.S. 58-41-30.
      (b) If this policy has been in effect for at                    (8) Your conviction of a crime arising
           least 60 days or is a renewal policy, we                       out of acts that materially affect the
           may not cancel this policy without your                        insurability of the risk
           prior written consent, except for any one
           of the following reasons:                                  (9) A determination by the Commissioner
           (1) Nonpayment of premium in                                   that the continuation of this policy
                accordance with the policy terms.                         would place us in violation of the
                                                                          laws of North Carolina.
           (2) An act or omission by you or your                      (10)You fail to meet the requirements
                representative that constitutes                           contained in our corporate charter,
                material misrepresentation or                             articles of incorporation, or bylaws,
                nondisclosure of a material fact in                       when we are a company organized
                obtaining the policy, continuing the                      for the sole purpose of providing
                policy, or presenting a claim under                       members of an organization with
                the policy.                                               insurance coverage in North
                                                                          Carolina.
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      (c) If we cancel for any of the reasons listed                   anniversary date we must provide you
          in paragraph (b), we must provide you                        with notice of nonrenewal at least
          with at least 15 days prior written notice of                45 days prior to the anniversary date of
          cancellation stating the precise reason for                  the policy.
          cancellation. We may provide this notice                (c) The notice of nonrenewal must state the
          by registered or certified mail, return                      precise reason for nonrenewal. Failure
          receipt requested, to you and any other                      to send this notice, as provided in
          person designated in the policy to receive                   paragraphs 3 and 5, to any other person
          notice of cancellation at the addresses                      designated in the policy to receive this
          shown in the policy or, if not indicated in                  notice invalidates the nonrenewal only
          the policy, at the last known addresses.                     as to that other person's interest.
          Whenever notice of cancellation is given                (d) Any nonrenewal attempted or made that
          by registered or certified mail,                             is not in compliance with paragraphs (a),
          cancellation will not be effective unless                    (b) and (c) is not effective. Paragraphs
          and until that method is employed and                        (a), (b) and (c) do not apply if you have
          completed. Notice of intent to cancel                        obtained insurance elsewhere, have
          given by registered or certified mail shall                  accepted replacement coverage, or
          be conclusively presumed completed                           have requested or agreed to
          three days after the notice is sent if, on                   nonrenewal.
          the same day that notice is sent by
          registered or certified mail, the insurer            4. Whenever we lower coverage limits, raise
          also provides notice by first-class mail                deductibles, or raise premium rates for
          and by electronic means if available as                 reasons within our exclusive control and
          defined in G.S. 58-2-255(a) to the insured              other than at your request, we will mail you
          and any other person designated in the                  written notice of the change at least 30 days
          policy to receive notice. Any such                      in advance of the effective date of the
          supplemental notice given by electronic                 change. As used in this paragraph, the
          means shall be effective for the limited                phrase, "reasons within our exclusive
          purpose of establishing this conclusive                 control" does not mean experience
          presumption. Notice of cancellation may                 modification changes, exposure changes, or
          also be given by any method permitted for               loss cost rate changes.
          service of process pursuant to Rule 4 of             5. We must provide the notice required by
          the North Carolina Rules of Civil                       paragraphs 3 and 4 by mail to you and any
          Procedure. Failure to send notice as                    other person designated in the policy to
          provided in this paragraph to any other                 receive this notice at the addresses shown in
          person designated in the policy to receive              the policy or, if not indicated in the policy, at
          notice of cancellation invalidates the                  the last known addresses. Mailing copies of
          cancellation only as to that other person's             the notice by regular first-class mail satisfies
          interest.                                               the notice requirements of paragraphs
      (d) Cancellation for nonpayment of premium                  3, 4 and 5.
          is not effective if the amount due is paid           6. We will also send copies of the notice
          before the effective date stated in the                 required by this endorsement to the agent or
          notice of cancellation.                                 broker of record, though failure to send
   3. We may refuse to renew this policy.                         copies of the notice to the agent or broker of
      (a) If this policy is for a term of one year or             record will not invalidate a cancellation or
          less, we must provide you with notice of                nonrenewal. Mailing copies of the notice by
          nonrenewal at least 45 days prior to the                regular first-class mail to the agent or broker
          expiration date of the policy.                          of record satisfies the requirements of this
                                                                  paragraph. Notice of nonrenewal may also
      (b) If this policy is for a term of more than               be given by any method permitted for
          one year or for an indefinite term, then to             service of process pursuant to Rule 4 of the
          nonrenew the policy at the policy                       North Carolina Rules of Civil Procedure.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              MARYLAND NOTIFICATION OF 45-DAY UNDERWRITING
                          PERIOD ENDORSMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 105
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                           SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement applies only to the insurance                  change in coverage, change in deductible, or
provided by the policy because Maryland is shown in             other change to a policy.
Item 3.A. of the Information Page.                          2. If we recalculate your premium because we
                                                               discovered a material risk factor during the
1. Your policy is subject to a 45-day underwriting             underwriting period, we will provide to you, by
   period beginning on the effective date of                   certificate of mailing or by delivery of
   coverage. In accordance with Md. Code Ann. Ins.             electronic means in accordance with Md.
   §12-106, if we discover a material risk factor              Code Ann. Ins. §27-601.2, written notice of
   during the underwriting period, we may:                     the following information by no later than the
   a. Cancel this policy during the underwriting               end of the underwriting period:
       period if you do not meet our underwriting              a. The amount of the recalculated premium;
       standards; or
                                                               b. The reason for the increase or reduction
   b. Recalculate your premium from the effective                   in the premium; and
       date of the policy if you meet our underwriting
       standards.                                              c. Your right to cancel this policy and
                                                                    receive a pro rata refund of any premium
    A material risk factor means a risk factor that:.               paid by notifying us of the cancellation.
    o Was incorrectly recorded or not disclosed by          3. If you cancel this policy following receipt of a
       the insured in an application for insurance;            notice of recalculated premium, you will
    o Was in existence on the date of the                      receive a pro rata refund of any premium paid,
       application; and                                        regardless of whether your policy is a
    o Modifies estimated annual premium charged                retrospectively rated policy.
       on the policy in accordance with the rates and
       supplementary rating information filed by the        4. Nothing in this endorsement prohibits us from
       carrier                                                 conducting an audit in accordance with the
                                                               provisions of your policy or charging and
    A material risk factor does not include:                   collecting the final premium based on the
    o Information that constitutes a material                  results of the audit.
       misrepresentation;or
    o A change initiated by an insured, including           5. This endorsement does not apply if your
       any request by the insured that results in a            policy is a renewal policy.




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PREMIUM DISCOUNT TABLE - TEXAS
                                                                                                ABCDEFGHIJ
   Standard     Discount           Standard             Discount        Standard           Discount
   Premium                         Premium                              Premium
     0 to 5,026   0.0%           9,406 to       9,595    4.5%         86,364 to      100,877   9.0%
 5,027 to 5,080   0.1            9,596 to       9,793    4.6         100,878 to      104,545   9.1
 5,081 to 5,135   0.2            9,794 to       9,999    4.7         104,546 to      108,490   9.2
 5,136 to 5,191   0.3           10,000 to      10,215    4.8         108,491 to      112,745   9.3
 5,192 to 5,248   0.4           10,216 to      10,439    4.9         112,746 to      117,346   9.4
 5,249 to 5,307   0.5           10,440 to      10,674    5.0         117,347 to      122,340   9.5
 5,308 to 5,367   0.6           10,675 to      10,919    5.1         122,341 to      127,777   9.6
 5,368 to 5,428   0.7           10,920 to      11,176    5.2         127,778 to      133,720   9.7
 5,429 to 5,491   0.8           11,177 to      11,445    5.3         133,721 to      140,243   9.8
 5,492 to 5,555   0.9           11,446 to      11,728    5.4         140,244 to      147,435   9.9
 5,556 to 5,621   1.0           11,729 to      12,025    5.5         147,436 to      155,405 10.0
 5,622 to 5,688   1.1           12,026 to      12,337    5.6         155,406 to      164,285 10.1
 5,689 to 5,757   1.2           12,338 to      12,666    5.7         164,286 to      174,242 10.2
 5,758 to 5,828   1.3           12,667 to      13,013    5.8         174,243 to      185,483 10.3
 5,829 to 5,900   1.4           13,014 to      13,380    5.9         185,484 to      198,275 10.4
 5,901 to 5,974   1.5           13,381 to      13,768    6.0         198,276 to      212,962 10.5
 5,975 to 6,050   1.6           13,769 to      14,179    6.1         212,963 to      229,999 10.6
 6,051 to 6,129   1.7           14,180 to      14,615    6.2         230,000 to      249,999 10.7
 6,130 to 6,209   1.8           14,616 to      15,079    6.3         250,000 to      273,809 10.8
 6,210 to 6,291   1.9           15,080 to      15,573    6.4         273,810 to      302,631 10.9
 6,292 to 6,375   2.0           15,574 to      16,101    6.5         302,632 to      338,235 11.0
 6,376 to 6,462   2.1           16,102 to      16,666    6.6         338,236 to      383,333 11.1
 6,463 to 6,551   2.2           16,667 to      17,272    6.7         384,334 to      442,307 11.2
 6,552 to 6,643   2.3           17,273 to      17,924    6.8         442,308 to      511,904 11.3
 6,644 to 6,737   2.4           17,925 to      18,627    6.9         511,905 to      565,789 11.4
 6,738 to 6,834   2.5           18,628 to      19,387    7.0         565,790 to      632,352 11.5
 6,835 to 6,934   2.6           19,388 to      20,212    7.1         632,353 to      716,666 11.6
 6,935 to 7,037   2.7           20,213 to      21,111    7.2         716,667 to      826,923 11.7
 7,038 to 7,142   2.8           21,112 to      22,093    7.3         826,924 to      977,272 11.8
 7,143 to 7,251   2.9           22,094 to      23,170    7.4         977,273 to    1,194,444 11.9
 7,252 to 7,364   3.0           23,171 to      24,358    7.5       1,194,445 to    1,535,714 12.0
 7,365 to 7,480   3.1           24,359 to      25,675    7.6       1,535,715 to    2,149,999 12.1
 7,481 to 7,599   3.2           25,676 to      27,142    7.7       2,150,000 to    3,583,333 12.2
 7,600 to 7,723   3.3           27,143 to      28,787    7.8       3,583,334 to 10,749,999 12.3
 7,724 to 7,851   3.4           28,788 to      30,645    7.9          10,750,000 and over     12.4
 7,852 to 7,983   3.5           30,646 to      32,758    8.0
 7,984 to 8,119   3.6           32,759 to      35,185    8.1
 8,120 to 8,260   3.7           35,186 to      37,999    8.2
 8,261 to 8,407   3.8           38,000 to      41,304    8.3
 8,408 to 8,558   3.9           41,305 to      45,238    8.4
 8,559 to 8,715   4.0           45,239 to      49,999    8.5
 8,716 to 8,878   4.1           50,000 to      55,882    8.6
 8,879 to 9,047   4.2           55,883 to      63,333    8.7
 9,048 to 9,223   4.3           63,334 to      73,076    8.8
 9,224 to 9,405   4.4           73,077 to      86,363    8.9

Above Table Based on the Following Discounts
First $5,000              0.0%
Next $95,000              9.5
Next $400,000             11.9
Over $500,000             12.4



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                                                                                                       ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          ILLINOIS AMENDATORY ENDORSEMENT



Policy Number: 57 WV WQ0015                                Endorsement Number: 107
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies because Illinois is shown in       A. Inspection
Item 3.A. of the Information Page.
                                                            We have the right, but are not obliged, to inspect your
Part Two - Employers Liability Insurance, Section B.        workplaces at any time. Our inspections are not safety
(We Will Pay), Item 3. of the policy is replaced by the     inspections. They relate only to the insurability of the
following:                                                  workplaces and the premiums to be charged. We may
                                                            give you reports on the conditions we find. We may also
3. For consequential bodily injury to a party to a civil    recommend changes. While they may help reduce
   union, spouse, child, parent, brother or sister of       losses, we do not undertake to perform the duty of any
   the injured employee; provided that these                person to provide for the health or safety of your
   damages are the direct consequence of bodily             employees or the public. We do not warrant that your
   injury that arises out of and in the course of the       workplaces are safe or healthful or that they comply with
   injured employee's employment by you; and                laws, regulations, codes, or standards. The National
                                                            Council on Compensation Insurance has the same
Part Five - Premium, Section G. (Audit) of the policy is    rights we have under this provision.
replaced by the following:
                                                            Part Six - Conditions, Section D. (Cancellation) of the
G. Audit                                                    policy is replaced by the following:

You will let us examine and audit all your records that     D. Cancellation
relate to this policy. These records include ledgers,
journals, registers, vouchers, contracts, tax reports,      1. You may cancel this policy. You will mail or deliver
payroll and disbursement records, and programs for             advance written notice to us, stating when the
storing and retrieving data. We may conduct the audits         cancellation is to take effect.
during regular business hours during the policy period      2. We may cancel this policy. We will mail to each
and within three years after the policy ends. Information      named insured at the last known mailing address
developed by audit will be used to determine final             advance written notice stating when the
premium. The National Council on Compensation                  cancellation is to take effect. We will maintain
Insurance has the same rights we have under this               proof of mailing of the notice of cancellation. A
provision.                                                     copy of all such notices shall be sent to the broker
                                                               or agent of record, if known, at the last known
Part Six - Conditions, Section A. (Inspection) of the          mailing address. The broker or agent of record
policy is replaced by the following:                           may opt to accept notification electronically.




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3. If we cancel because you do not pay all premium         Part Six - Conditions of the policy is changed by
   when due, we will mail the notice of cancellation at    adding the following:
   least ten days before the cancellation is to take
   effect. If we cancel for any other reason, we will      F. Nonrenewal
   mail the notice:
    a. At least 30 days before the cancellation is to      1. We may elect not to renew the policy. We will mail
       take effect if the policy has been in force for        to each named insured the nonrenewal notice at
       60 days or less;                                       the last known mailing address at least 60 days
                                                              prior to the expiration of the current policy. We will
    b. At least 60 days before the cancellation is to
                                                              maintain proof of mailing of the nonrenewal notice.
       take effect if the policy has been in force for
                                                              An exact and unaltered copy of such notice will
       61 days or more.
                                                              also be sent to the named insured's producer, if
4. If this policy has been in effect for 60 days or           known, or the producer of record at the last known
   more, we may cancel only for one of the following          mailing address. The named insured's producer, if
   reasons:                                                   known, or the producer of record may opt to
    a. Nonpayment of premium;                                 accept notification electronically.
    b. The policy was issued because of a material         2. If we fail to give at least 60 days' notice prior to the
       misrepresentation;                                     expiration date of the current policy, the policy will
                                                              automatically be extended for one year under the
    c.   You violated any of the terms and conditions
                                                              same terms and conditions. We may increase the
         of the policy;
                                                              renewal premium, but such increase must be less
    d. The risk originally accepted has measurably            than 30% of this policy's premium and notice of
       increased;                                             such increase must be delivered to the named
    e. The Director has determined that we no                 insured on or before the date of expiration of this
       longer have adequate reinsurance to meet our           policy. Additionally, in accordance with 215 ILCS
       needs; or                                              5/462a, we may be required to provide the named
                                                              insured with 30 days' written notice prior to the
    f.   The Director has determined that continuation
                                                              expiration of this policy if the renewal premium is
         of coverage could place us in violation of the
                                                              in excess of 5% above the rate recommendation
         laws of Illinois.
                                                              filed with and approved by the Illinois Department
5. Our notice of cancellation will state our reasons for      of Insurance.
   cancelling.
                                                           3. Our notice of nonrenewal will provide a specific
6. The policy period will end on the day and hour             explanation on the reasons for not renewing.
   stated in the cancellation notice.
                                                           4. If we fail to provide the notice of nonrenewal as
                                                              required, the policy will still terminate on its
Part Six - Conditions, Section E. (Sole Representative)
                                                              expiration date if:
of the policy is replaced by the following:
                                                               a. You notify us or the producer who procured
E. Sole Representative                                            this policy that you do not want the policy
                                                                  renewed; or
The insured first named in Item 1 of the Information           b. You fail to pay all premiums when due; or
Page will act on behalf of all insureds to change this         c.   You obtain other insurance as a replacement
policy, receive return premium, or give us notice of                of the policy.
cancellation.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


      CATASTROPHE (OTHER THAN CERTIFIED ACTS OF TERRORISM)
                     PREMIUM ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 108
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement is notification that we are charging     For purposes of this endorsement, Catastrophe
premium to cover the losses that may occur in the         (Other Than Certified Acts of Terrorism) is defined as:
event of a Catastrophe (Other Than Certified Acts of      A single event or peril resulting in a group of claims
Terrorism) as that term is defined below. Your policy     with aggregate workers compensation losses in
provides coverage for workers compensation losses         excess of $50 million. This $50 million threshold
caused by a Catastrophe (Other Than Certified Acts        applies per occurrence, across all states for which
of Terrorism). Coverage for such losses is subject to     claims arise from a single event or peril.
all terms, definitions, exclusions, and conditions in
your policy, and any applicable federal and/or state      The premium charge for the coverage your policy
laws, rules, or regulations. This premium charge          provides for workers compensation losses caused by
does not provide funding for Certified Acts of            a Catastrophe (Other Than Certified Acts of
Terrorism contemplated under the Terrorism Risk           Terrorism) is shown in Item 4 of the Information Page
Insurance Program Reauthorization Act Disclosure          or in the Schedule below.
Endorsement attached to this policy.

                                                        Schedule

                       State                            Rate                              Premium




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       CATASTROPHE (OTHER THAN CERTIFIED ACTS OF TERRORISM)
                      PREMIUM ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 109
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement is notification that your insurance             Terrorism Risk Insurance Act of 2002 (as
carrier is charging premium to cover the losses that             amended) but that meets all of the following
may occur in the event of a Catastrophe (Other Than              criteria:
Certified Acts of Terrorism) as that term is defined             a. It is an act that is violent or dangerous to
below. Your policy provides coverage for workers                    human life, property, or infrastructure;
compensation losses caused by a Catastrophe
(Other Than Certified Acts of Terrorism). This                   b. The act results in damage within the United
premium charge does not provide funding for                         States, or outside of the United States in the
Certified Acts of Terrorism contemplated under the                  case of the premises of United States
Terrorism Risk Insurance Program Reauthorization                    missions or air carriers or vessels as those
Act Disclosure Endorsement (WC 00 04 22 C),                         terms are defined in the Terrorism Risk
attached to this policy.                                            Insurance Act of 2002 (as amended); and
                                                                 c.   It is an act that has been committed by an
For purposes of this endorsement, the following                       individual or individuals as part of an effort to
definitions apply:                                                    coerce the civilian population of the United
o   Catastrophe (Other Than Certified Acts of                         States or to influence the policy or affect the
    Terrorism): Any single event, resulting from an                   conduct of the United States Government by
    Earthquake, Noncertified Act of Terrorism, or                     coercion.
    Catastrophic Industrial Accident, which results in      o    Catastrophic Industrial Accident: A chemical
    aggregate workers compensation losses in                     release, large explosion, or small blast that is
    excess of $50 million.                                       localized in nature and affects workers in a small
o   Earthquake: The shaking and vibration at the                 perimeter the size of a building.
    surface of the earth resulting from underground         The premium charge for the coverage your policy
    movement along a fault plane or from volcanic           provides for workers compensation losses caused by
    activity.                                               a Catastrophe (Other Than Certified Acts of
o   Noncertified Act of Terrorism: An event that is not     Terrorism) is shown in Item 4 of the Information Page
    certified as an Act of Terrorism by the Secretary       or in the Schedule below.
    of      the   Treasury      pursuant     to     the

                                                          Schedule

                       State                              Rate                                Premium




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                                                                                                     ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


 FLORIDA TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION
                      ACT ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 110
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement addresses requirements of the                 d) The act has been committed by an individual
Terrorism Risk Insurance Act of 2002 as amended by                or individuals as part of an effort to coerce the
the     Terrorism    Risk    Insurance    Program                 civilian population of the United States or to
Reauthorization Act of 2019.                                      influence the policy or affect the conduct of
Definitions                                                       the United States Government by coercion.
The definitions provided in this endorsement are           3. "Insured Loss" means any loss resulting from an
based on and have the same meaning as the                     act of terrorism (including an act of war, in the
definitions in the Act. If words or phrases not defined       case of workers compensation) that is covered by
in this endorsement are defined in the Act, the               primary or excess property and casualty
definitions in the Act will apply.                            insurance issued by an insurer if the loss occurs
                                                              in the United States or at the premises of United
1. "Act" means the Terrorism Risk Insurance Act of            States missions or to certain air carriers or
   2002, which took effect on November 26, 2002,              vessels.
   and    any    amendments,      including   any
   amendments resulting from the Terrorism Risk            4. "Insurer Deductible" means, for the period
   Insurance Program Reauthorization Act of 2019.             beginning on January 1, 2021, and ending on
                                                              December 31, 2027, an amount equal to 20% of
2. "Act of Terrorism" means any act that is certified         our direct earned premiums, during the
   by the Secretary of the Treasury, in consultation          immediately preceding calendar year.
   with the Secretary of Homeland Security, and the
   Attorney General of the United States, as meeting           Limitation of Liability
   all of the following requirements:                          The Act may limit our liability to you under this
    a) The act is an act of terrorism.                         policy. If aggregate Insured Losses exceed
                                                               $100,000,000,000 in a calendar year and if we
    b) The act is violent or dangerous to human life,          have met our Insurer Deductible, we may not be
       property or infrastructure.                             liable for the payment of any portion of the
    c) The act resulted in damage within the United            amount of Insured Losses that exceeds
       States, or outside of the United States in the          $100,000,000,000; and for aggregate Insured
       case of the premises of United States                   Losses up to $100,000,000,000, we may only
       missions or certain air carriers or vessels.            have to pay a pro rata share of such Insured
                                                               Losses as determined by the Secretary of the
                                                               Treasury.




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   Policyholder Disclosure Notice                               3. The premium charged for the coverage
       1. Insured Losses would be partially                        for Insured Losses under this policy is
          reimbursed by the United States                          included in the amount shown in Item 4
          Government. If the aggregate industry                    of the Information Page or the Schedule
          Insured Losses occurring in any calendar                 below.
          year exceed $200,000,000, the United
          States Government would pay 80% of
          our Insured Losses that exceed our
          Insurer Deductible.
       2. Notwithstanding item 1 above, the United
          States Government may not have to
          make any payment under the Act for any
          portion of the Insured Losses that
          exceeds $100,000,000,000.


                                                     Schedule




                                                                          Rate per $100 of Remuneration




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                                                                                                       ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      NEW YORK WORKERS' COMPENSATION
                    POLICYHOLDER NOTICE OF RIGHT TO APPEAL


Policy Number: 57 WV WQ0015                                 Endorsement Number: 111
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




Policyholder Disputes
Policyholders are entitled to inquire, challenge and       1. The Rating Board will review the request and
dispute issues relating to classification, ownership,         respond to the parties within sixty (60) days, either
premium     auditing,   and/or   other    New York            granting   the    parties     or  their   authorized
Compensation Insurance Rating Board ("Rating                  representatives their request or sustaining the
Board") rulings or decisions pertaining to this policy.       Rating Board's original ruling.
Please refer to the New York Workers' Compensation         2. If not satisfied with the outcome of 1. above, the
Policyholder Notice of Right to Appeal process noted          parties may then request, in writing, a conference
below.                                                        with members of the Rating Board staff. The
Inquiries may also be directed to the New York State          request must state the nature of the complaint and
Department of Financial Services (DFS) at:                    supply any supporting documents. The appropriate
http://www.dfs.ny.gov/about/contactus.htm#consumer            Department Vice President or his or her designated
                                                              representative will preside at the conference.
  or by calling the Consumer Hotline at 800-342-3736
     (Monday through Friday, 8:30 AM to 4:30 PM).          3. If the dispute is not resolved by the conference, the
                                                              parites may then appeal to the Underwriting
New York Workers' Compensation Policyholder                   Committee of the Rating Board for a hearing to
Notice of Right to Appeal Process                             consider the staff ruling. This appeal must be in
An insured, or its representative (hereafter referred to      writing and must specify the reasons for the appeal
as "insured"), may appeal the application of a rule or        and the nature of the complaint.
procedure contained in the New York Workers'                  Following the Committee's receipt of the appeal
Compensation & Employers' Liability Manual. Rules or          request, the parties will be notified about the time
procedures are defined as those determinations either         and place for the hearing. The appeal will be heard
by a carrier or the Rating Board, which define the            at the next Underwriting Committee meeting for
variables which make up the policy conditions.                which appropriate time can be devoted to the
Examples include: classification codes, ownership             matter. After the hearing, the parites will be advised,
information, premium audits, and any other                    in writing, of the Underwriting Committee decision
determination which may affect the policy.                    on the compliant.
To be considered for a review, a written request           4. If the Underwriting Committee ruling is not
explaining the reason(s) for the appeal must be               satisfactory to either party, then the aggrieved party
submitted to the Rating Board. Upon receipt of the            may request a hearing at the New York State
request for review, the following actions will be taken:      Department of Financial Services to consider the
                                                              disputed decision.
                                                           5. The decision of the New York State Department of
                                                              Financial Services may be appealed to a court of
                                                              law, by the parties involved or the Rating Board.


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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          90-DAY REPORTING REQUIREMENT -
                        NOTIFICATION OF CHANGE IN OWNERSHIP
                                   ENDORSEMENT
Policy Number: 57 WV WQ0015                                Endorsement Number: 112
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804




You must report any change in ownership to us in writing within 90 days of the date of the change. Change in
ownership includes sales, purchases, other transfers, mergers, consolidations, dissolutions, formations of a new
entity and other changes provided for in the applicable experience rating plan. Experience rating is mandatory for
all eligible insureds. The experience rating modification factor, if any, applicable to this policy, may change if there
is a change in your ownership or in that of one or more of the entities eligible to be combined with you for
experience rating purposes.
Failure to report any change in ownership, regardless of whether the change is reported within 90 days of such
change, may result in revision of the experience rating modification factor used to determine your premium.
This reporting requirement applies regardless of whether an experience rating modification is currently applicable
to this policy.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        ARIZONA CANCELLATION AND NONRENEWAL ENDORSEMENT



Policy Number: 57 WV WQ0015                                Endorsement Number: 113
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies because Arizona is shown in Item 3.A. of the Information Page.

Part Six - Conditions, Section D. (Cancellation) of the policy is replaced by the following:

D. Cancellation and Nonrenewal
    1. You may cancel this policy. You must mail or deliver advance written notice to us stating when the
       cancellation is to take effect.
    2. If you cancel or fail to renew this policy, we must promptly notify the Industrial Commission of Arizona.
    3. We may cancel this policy if you fail to pay premium when due, or when one or both of the parties to a
       professional employer agreement terminate the agreement.
        o If we cancel or nonrenew this policy, we must provide to you and the Industrial Commission of Arizona
           at least 30 days' notice of the cancellation or nonrenewal.
        o Notice to you may be sent via mail or delivered by electronic means as follows:
            o   Mailing that notice to you at your last-known mailing address on file with us will be sufficient proof
                of notice.
            o   Delivery to an email address at which you have consented to receive notices or documents.
            o   Posting on a portal, secure website, electronic network or site accessible via the Internet or a
                mobile application, computer, mobile device, tablet, or other electronic device, together with a
                separate notice that includes a description of the document or notice that was posted and that
                was provided by email to the email address at which you consented to receive notice, or by any
                other delivery method to which you consented.
            o    If you consented to have the notice emailed in accordance with Arizona law, emailing that notice
                 to you at your last-known email address as provided by you to us will be sufficient proof of notice.
                 o   If the email notice is: (1) rejected for delivery; (2) returned to us; or (3) we become aware that
                     the email address provided by you is no longer valid, then we will also mail that notice to you
                     by US Postal Service certified mail, certificate of mailing, or first-class mail using intelligent
                     mail barcode, or another similar tracking method used or approved by the US Postal Service.
            o   If we nonrenew this policy and fail to give you notice of nonrenewal, coverage will not extend
                beyond the policy period.
    4. The policy period will end on the date and time stated in the cancellation or nonrenewal notice.
    5. Any of these provisions that conflict with a law that controls the cancellation of the insurance in this policy
       is changed by this statement to comply with the law.

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       MARYLAND CANCELLATION AND NONRENEWAL ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 114
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                                   SUNPOWER CORPORATION
                                   880 HARBOUR WAY SOUTH, SUITE 600
                                   RICHMOND, CA 94804



This endorsement applies because Maryland is                      3. The effective dates of the cancellation or
shown in Item 3.A. of the Information Page.                          nonrenewal are determined as follows:
Part Six-Conditions, Section D. (Cancellation) of the                a. Except for cancellation for nonpayment
policy is replaced by the following:                                     of premium, the policy period will end on
D. Cancellation and Nonrenewal                                           the day and hour stated in the
     1. You may cancel this policy. You will mail or                     cancellation or nonrenewal notice, or 45
          deliver advance written notice to us stating                   days after the date the notice is received
         when the cancellation is to take effect.                        by the Maryland Workers Compensation
                                                                         Commission's designee, whichever date
     2. We may cancel or nonrenew this policy as                         is later.
          follows:                                                   b. For cancellation for nonpayment of
          a. If the policy is cancelled for nonpayment                   premium, the policy period will end on
               of premium, we will file with the                         the day and hour stated in the
               Maryland Workers Compensation                             cancellation notice, or 10 days after the
               Commission's designee, and serve you                      date the notice is received by the
               by certificate of mailing, not less than 10               Maryland Workers Compensation
               days advance written notice stating                       Commission's designee, whichever date
               when the cancellation will take effect.                   is later.
          b. If the policy is cancelled for reasons               4. The provisions in D-2 and D-3 do not apply
               other than nonpayment of premium or if                to the cancellation of a policy or binder
               the policy is nonrenewed, we will file with           during the 45-day underwriting period in
               the Maryland Workers Compensation                     accordance with Section 12-106 of Maryland
               Commission's designee, and serve by                   Code, Insurance. Refer to Section 12-106 of
               certified mail or personal service to you,            Maryland Code, Insurance for the
               not less than 45 days' advance written                cancellation provisions that apply during the
               notice stating when the cancellation or               45-day underwriting period.
               nonrenewal will take effect.
     Mailing this notice by certified mail to you at your
     mailing address last known to us creates a
     presumption of actual delivery of notice. You
     may be able to rebut this presumption by
     providing evidence that the notice was not
     delivered.



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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                                                           ABCD
                            TEXAS AMENDATORY ENDORSEMENT                                   EFGHI
Policy Number: 57 WV WQ0015                                 Endorsement Number: 115
                                                                                               J
Effective Date:04/01/2024   Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement applies only to the insurance provided by the policy because Texas is shown in Item 3.A. of the
Information Page.

GENERAL SECTION
B. Who Is Insured is amended to read:
   You are insured if you are an employer named in Item 1 of the Information Page. If that employer is a
   partnership or joint venture, and if you are one of its partners or members, you are insured, but only in your
   capacity as an employer of the partnership's or joint venture's employees.
D. State is amended to read:
   State means any state or territory of the United States of America, and the District of Columbia.

PART ONE - WORKERS COMPENSATION INSURANCE
E. Other Insurance is amended by adding this sentence:
   This Section only applies if you have other insurance or are self-insured for the same loss.
F. Payments You Must Make
   This Section is amended by deleting the words "workers compensation" from number 4.
H. Statutory Provisions
   This Section is amended by deleting the words "after an injury occurs" from number 2.

PART TWO - EMPLOYERS LIABILITY INSURANCE
C. Exclusions
   Sections 2 and 3 are amended to add:
   This exclusion does not apply unless the violation of law caused or contributed to the bodily injury.
   Section 6 is amended to read:
   6. bodily injury occurring outside the United States of America, its territories or possessions, and Canada.
       This exclusion does not apply to bodily injury to a citizen or resident of the United States of America, Mexico
       or Canada who is temporarily outside these countries.
D. We Will Defend
   This Section is amended by deleting the last sentence.

PART FOUR - YOUR DUTIES IF INJURY OCCURS
Number 6 of this part is amended to read:
   6. Texas law allows you to make weekly payments to an injured employee in certain instances. Unless
      authorized by law, do not voluntarily make payments, assume obligations or incur expenses, except at your
      own cost.


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PART FIVE - PREMIUM
A. Our Manuals is amended by adding this sentence:
   In this part, "our manuals" means manuals approved or prescribed by the Texas Department of Insurance.
C. Remuneration
   Number 2 is amended to read:
   2. All other persons engaged in work that would make us liable under Part One (Workers Compensation
        Insurance) of this policy. This paragraph 2 will not apply if you give us proof that the employers of these
        persons lawfully secured workers compensation insurance.
D. Premium Payments is amended by adding this sentence:
   The billing statement or invoice for audit additional premiums and/or retrospective additional premiums
   establishes the date the premium is due.
E. Final Premium
   Number 2 is amended to read:
   2. If you cancel, final premium will be calculated pro rata based on the time this policy was in force. Final
        premium will not be less than the pro rata share of the minimum premium.

PART SIX - CONDITIONS
A. Inspection is amended by adding this sentence:
   Your failure to comply with the safety recommendations made as a result of an inspection may cause the policy
   to be canceled by us.
C. Transfer of Your Rights and Duties is amended to read:
   Your rights and duties under this policy may not be transferred without our written consent. If you die, coverage
   will be provided for your surviving spouse or your legal representative. This applies only with respect to their
   acting in the capacity as an employer and only for the workplaces listed in Items 1 and 4 on the Information
   Page.
D. Cancellation is amended to read:
   1. You may cancel this policy. You must mail or deliver advance notice to us stating when the cancellation is
        to take effect.
   2. We may cancel this policy. We may also decline to renew it. We must give you written notice of cancellation
        or nonrenewal. That notice will be sent certified mail or delivered to you in person. A copy of the written
        notice will be sent to the Texas Department of Insurance-Division of Workers' Compensation.
   3. Notice of cancellation or nonrenewal must be sent to you not later than the 30th day before the date on
        which the cancellation or nonrenewal becomes effective, except that we may send the notice not later than
        the 10th day before the date on which the cancellation or nonrenewal becomes effective if we cancel or do
        not renew because of:
        a. Fraud in obtaining coverage;
        b. Misrepresentation of the amount of payroll for purposes of premium calculation;
        c. Failure to pay a premium when payment was due;
        d. An increase in the hazard for which you seek coverage that results from an action or omission and that
             would produce an increase in the rate, including an increase because of failure to comply with
             reasonable recommendations for loss control or to comply within a reasonable period with
             recommendations designed to reduce a hazard that is under your control;
        e. A determination by the Commissioner of Insurance that the continuation of the policy would place us in
             violation of the law, or would be hazardous to the interests of subscribers, creditors, or the general
             public.
   4. If another insurance company notifies the Texas Department of Insurance-Division of Workers'
        Compensation that it is insuring you as an employer, such notice must be a cancellation of this policy
        effective when the other policy starts.

Add the following to the policy:

PART SEVEN - OUR DUTY TO YOU FOR CLAIM NOTIFICATION
A. Claims Notification
   We are required to notify you of any claim that is filed against your policy. Thereafter we must notify you of any
   proposal to settle a claim or, on receipt of a written request from you, of any administrative or judicial proceeding
   relating to the resolution of a claim, including a benefit review conference conducted by the Texas Department
   of Insurance-Division of Workers' Compensation. You may, in writing, elect to waive this notification
   requirement.
   We must, on the written request from you, provide you with a list of claims charged against your policy,
   payments made and reserves established on each claim, and a statement explaining the effect of claims on
   your premium rates. We must furnish the requested information to you in writing no later than the 30th day

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    after the date we receive your request. The information is considered to be provided on the date the information
    is received by the United States Postal Service or is personally delivered.

COMPLAINT NOTICE:

DISPUTE RESOLUTION SERVICES

NCCI'S DISPUTE RESOLUTION PROCESS DOES NOT APPLY TO WORKERS COMPENSATION CLAIMS.

For workers compensation claim disputes, see "CLAIM COMPLAINT" below. For issues related to a
violation of law related to your policy, see "VIOLATIONS OF LAW" below.

Important Note: The dispute resolution services provided through the Dispute Resolution Process (Process) of the
National Council on Compensation Insurance (NCCI) are voluntary. The Process is not an administrative remedy
that must be exhausted before you pursue relief in court. Using the Process does not prevent you or the carrier
that issued the policy from pursuing any available legal remedies at any time.

NCCI can assist in the resolution of a dispute regarding your policy that is related to any of the following matters:
   o The application or interpretation of rules contained in the various NCCI manuals (including, but not limited
       to, classification codes and experience rating modifications)
   o Rating programs
   o Endorsements
   o Forms

Contact the carrier that issued the policy and attempt to resolve the dispute directly. If you and the carrier cannot
agree, then contact NCCI to ask for assistance. NCCI's Basic Manual rule, Dispute Resolution Process, addresses
disputes. You may obtain dispute resolution services only after you have made a reasonable attempt to first resolve
the dispute directly with the carrier and after you have paid any undisputed premium due to the carrier.

Send your request for assistance by mail to NCCI, Dispute Resolution Services, 901 Peninsula Corporate Circle,
Boca Raton, FL 33487-1362; or by fax to 561-893-5043; or by email to disputeresolution@ncci.com.

THIS NOTICE OF THE DISPUTE RESOLUTION PROCESS IS FOR INFORMATION ONLY AND DOES NOT
BECOME A PART, TERM, OR CONDITION OF THIS POLICY.

VIOLATIONS OF LAW:

If you believe there has been a violation of law related to your policy, file a complaint with the Texas Department of
Insurance:

Phone: 1-800-252-3439                                      Online: tdi.texas.gov
Email: ConsumerProtection@tdi.texas.gov                    Mail: MC CO-CP, PO Box 12030, Austin, TX 78711-2030

CLAIM COMPLAINT:

If there is a workers compensation claim complaint involving one of your employees, then contact the Texas
Department of Insurance - Division of Workers' Compensation, Compliance and Investigations by mail to MC: CI,
PO Box 12050, Austin, TX 78711-2050; or by fax to 512-490-1030; or by email to
DWCCOMPLAINTS@tdi.texas.gov.

THIS NOTICE IS FOR INFORMATION ONLY AND DOES NOT BECOME A PART, TERM, OR CONDITION OF
THIS POLICY.




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                                                                                                          ABCDEFGHIJ
       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         FLORIDA WORKERS COMPENSATION INSURANCE GUARANTY
                ASSOCIATION SURCHARGE ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 116
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies because Florida is shown in Item 3.A. of the Information Page.

Part Five - Premium, Section D. (Premium Payments) of the policy is revised by adding the following:

Florida statutes establish the Florida Workers' Compensation Insurance Guaranty Association Act.

On behalf of the Florida Workers' Compensation Insurance Guaranty Association (Association), we are required to
bill and collect a surcharge, for all workers compensation and employers liability insurance policies as prescribed
by order of the Florida Office of Insurance Regulation.

The Association will use the funds collected through the surcharge to:
  1. Pay for covered claims
  2. Pay for reasonable costs to administer these covered claims
  3. Avoid excessive delay in payment and to avoid financial loss to claimants because of the insolvency of a
     carrier

Part Six - Conditions of the policy is revised by adding the following:

  F.   Florida Workers' Compensation Insurance Guaranty Association Surcharge

       Failure to pay the Florida Workers' Compensation Insurance Guaranty Association surcharge will result in this
       policy being subject to pro rata cancellation in accordance with Part Six - Conditions, Section D. (Cancelation).

                                                       Schedule



Surcharge rate       0.0 %




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  NEW YORK CONSTRUCTION CLASSIFICATION PREMIUM ADJUSTMENT PROGRAM
                     EXPLANATORY ENDORSEMENT
The New York Construction Classification Premium Adjustment Program (NYCCPAP) allows premium credits for
some employers in the construction industry. These credits exist to recognize the difference in wage rates
between employers within the same construction industries in New York.

Credits are earned for average wages in excess of $23.24 per hour for each eligible class. If your policy shows
one of the following classification codes, and you are experience rated, you are eligible to apply for an NYCCPAP
credit:

      0042        5057        5193        5429        5491        5606        6003        6229        6325        9526
      3365        5059        5213        5443        5506        5610        6005        6233        6400        9527
      3724        5102        5221        5445        5507        5645        6017        6235        6701        9534
      3726        5160        5222        5462        5508        5648        6018        6251        7536        9539
      3737        5183        5223        5473        5536        5651        6045        6252        7538        9545
      5000        5184        5348        5474        5538        5701        6204        6306        7601        9549
      5022        5188        5402        5479        5545        5703        6216        6319        7855        9553
      5037        5190        5403        5480        5547        5709        6217                    8227
      5040                    5428

If you have any eligible classes on your policy, you should have been notified by your insurance carrier or the
New York Compensation Insurance Rating Board approximately four months prior to the inception date of this
policy. If you believe you may be eligible for a credit and have not received an application, you should
immediately contact your agent, insurance carrier, or the New York Compensation Insurance Rating Board.

The basis for determining the credit is the limited payroll of each employee for the number of hours worked
(excluding overtime premium pay) for each construction classification (other than employees engaged in the
construction of one or two-family residential housing). For policies with effective dates between January 1 and
March 31, the payroll submitted is for the third quarter, as reported to taxing authorities, for the second calendar
year preceding the policy effective date. For policies with effective dates between April 1 and December 31, the
payroll submitted is for the third quarter, as reported to taxing authorities, for the calendar year preceding the
policy effective date. Total payroll (and not limited payroll) is to be reported for employees engaged in the
construction of one or two-family residential housing.

Credits are calculated by the New York Compensation Insurance Rating Board. Completed applications can be
submitted to: Attention: Audit Division, New York Compensation Insurance Rating Board, 733 Third Avenue,
New York, New York 10017, email: cpap@nycirb.org or via entry on the CPAP online application on the Rating
Board's website http://www.nycirb.org/cpap.

The application for credit on a renewal policy must be received by the Rating Board three (3) months prior to the
policy renewal effective date. The Rating Board will accept and process an application if it is received between
the renewal policy effective and expiration date, however, it must be accompanied with an explanation from the
employer stating the reason for the delay.

Under no circumstances will an original application be accepted for any policy if it is received after the expiration
date of the policy to which the credit would have applied, nor will a revised application be accepted if it is received
later than one (1) year from the expiration date of the policy to which the credit would have applied.

The New York Workers' Compensation and Employers' Liability Insurance Manual, and not this endorsement,
govern the implementation and use of the NYCCPAP.



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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

EXPERIENCE RATING MODIFICATION FACTOR REVISION ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 118
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




This endorsement is added to Part Five - Premium of the policy.
The premium for the policy is adjusted by an experience rating modification factor. The factor shown on the
Information Page may be revised and applied to the policy in accordance with our manuals and endorsements.
We will issue an endorsement to show the revised factor, if different from the factor shown, when it is calculated.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       NEBRASKA CANCELLATION AND NONRENEWAL ENDORSEMENT


Policy Number: 57 WV WQ0015                            Endorsement Number: 119
Effective Date: 04/01/2024               Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




1.   You may cancel this policy within the policy               7.     The nonrenewal shall not be effective until
     period by giving notice to us, fixing the date                    thirty (30) days after the giving of notice to
     on which the cancellation is to be effective.                     you and to the Nebraska Workers’
                                                                       Compensation Commission.
2.   The notice, from you, is to be sent by
     certified mail.                                            8.     The cancellation shall not be effective until
                                                                       thirty (30) days after the giving of notice to
3.   We are required by Nebraska Law to give                           you and to the Nebraska Workers’
     notice of your intent to cancel a policy to the                   Compensation Court, except the cancellation
     Nebraska Workers’ Compensation Court.                             shall be effective ten (10) days after the
                                                                       giving of notice if the cancellation is based
4.   The cancellation shall not be effective until                     on:
     ten (10) days after the mailing of the notice
     to the            Nebraska           Workers’                     a.   nonpayment of premiums;
     Compensation Court that the policy is
     being      canceled. However, if you have                         b.   failure of the insured to reimburse
     secured insurance with another insurer, the                            deductible losses as required under the
     cancellation will be effective as of the                               policy; or
     effective date of such other notice of
     coverage.                                                         c.   failure of the insured, if covered,
5.   We may cancel or nonrenew this policy                                  pursuant to the Assigned Risk Plan to
     within the policy period by giving notice to                           comply with workplace safety laws
     you and to the Nebraska Workers’                                       found in Nebraska statutes.
     Compensation Court, fixing the date on
     which the cancellation or nonrenewal is to be              9.     All notices shall be provided in writing and
     effective.                                                        shall be deemed given upon mailing by
                                                                       certified mail, except that we may give notice
6.   The notice from us will contain a brief                           to the Nebraska Workers’ Compensation
     statement of the reasons for cancellation or                      Court by approved electronic means. Notice
     nonrenewal and will be sent to you by                             provided to        the Nebraska Workers’
     certified mail.                                                   Compensation Court by approved electronic
                                                                       means shall be deemed given upon receipt.




                                        Countersigned by
                                                                                         Authorized Representative

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                                                                                                       ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     FLORIDA INSUFFICIENT FUNDS ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 120
Effective Date: 04/01/2024   Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies because Florida is shown in Item 3.A of the Information Page.

Add the following to Part Six - Conditions of the policy:

G. Insufficient Funds

Our rules allow us to impose an insufficient funds fee of up to $15 per occurrence if you make a payment of
premium by debit card, credit card, electronic funds transfer (EFT), or electronic check that is returned, declined,
or cannot be processed due to insufficient funds. However, we will not charge you an insufficient funds fee if the
failure in payment resulted from fraud or misuse on your account from which the payment was
made and such fraud or misuse was not attributed to you.

The Schedule below shows the insufficient funds fee we will impose if you make a payment of premium by debit
card, credit card, electronic funds transfer (EFT), or electronic check that is returned, declined, or cannot be
processed due to insufficient funds.




                                                       Schedule

Insufficient Funds Fee                                      $15




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


   FLORIDA NON-COOPERATION WITH PREMIUM AUDIT ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 121
Effective Date: 04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804




This endorsement applies because Florida is                 If you do not provide all the specific records
shown in Item 3.A. of the Information Page.                 required and/or fail to permit access to your
                                                            premises or worksites as applicable, and if we
This endorsement adds the following provisions to           satisfy the conditions above on or before 90 days
Part Five-Premium, G. Audit of the policy:                  from the date of policy termination, we may
                                                            continue to try and conduct the audit and/or reopen
We are required to complete the premium audit               the audit for up to three years from the date of
process no later than 90 days after policy                  policy    termination.    Alternatively,    we     may
termination. If you fail to return the final mail audit     immediately bill you a premium not to exceed three
or refuse to cooperate in completing the final              times the most recent estimated annual premium
physical audit or final physical onsite audit, you          on this policy. If you provide all the specific records
must pay us a premium not to exceed three times             required and/or permit access to the premises or
the most recent estimated annual premium on this            worksites as applicable to complete the premium
policy subject to the following conditions:                 audit process within the three-year period, we will
                                                            determine your final premium in accordance with
 1. We make two good faith efforts to obtain the            Part Five-Premium, E. Final Premium of the policy.
    final mail audit or complete the final physical
    audit or final physical onsite audit.                   If we cannot complete the audit because you do not
                                                            permit us to make a physical inspection of your
 2. We document the audit file regarding the two            operation or provide us with the necessary records,
    good faith attempts to obtain the required audit        you must pay us $500 to defray the costs of the
    information.                                            audit. The $500 charge may be imposed only if we
                                                            have incurred actual travel expenses and we
 3. After the two good faith attempts to obtain             notified you in writing of the potential charge when
    records or gain access to your premises or your         access was denied. Denial of access to records
    worksites, we send a letter by certified mail to        and your premises or worksites by your agent or
    you advising you of the specific records that are       representative is considered the same as a denial
    required or the premises or worksites that must         by you.
    be accessed and the premium that will be
    charged if you continue to refuse access to the
    records, premises, and/or worksites.




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If you understate or conceal payroll, or                  the Florida Department of Revenue and any self-
misrepresent or conceal employee duties to avoid          audits supported by the quarterly earnings report.
proper classification for premium calculations or         The report must include a sworn statement by an
misrepresent or conceal information pertinent to the      officer or principal of your company attesting to the
calculation and application of an experience rating       accuracy of the information in it. If you have an
modification factor, then you, your agent or your         employee who suffered a compensable injury and
attorney, must pay us a penalty charge of 10 times        was not reported as having earned wages on your
the difference in the amount of premium that you          last quarterly earnings report, you must indemnify
paid and the amount that you should have paid and         us for all workers compensation benefits paid to or
reasonable attorney’s fees. The penalty may be            on behalf of the employee unless you establish that
enforced in the Florida circuit courts.                   the employee was hired after the filing of the
                                                          quarterly report, in which case you and the
At the end of each quarter, you must submit to us a       employee must attest to fact that the employee was
copy of the quarterly earnings reports you filed with     employed by you at the time of injury.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         NEBRASKA EXPERIENCE RATING
                  MODIFICATION FACTOR REVISION ENDORSEMENT

Policy Number: 57 WV WQ0015                                Endorsement Number: 122
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804




This endorsement applies because Nebraska is                   2. Only to premiums earned after the date that
shown in Item 3.A. of the Information Page.                        you or your agent is first notified of the revised
                                                                   experience rating modification factor if the
A. If multiple states are shown in Item 3.A. of the                change occurred more than 30 days after the
   Information Page, this endorsement does not                     policy effective date.
   apply if the premiums attributable to Nebraska              3. Sections D.1 and D.2. of this endorsement
   (calculated using prior experience rating                       notwithstanding, retroactively to the policy
   modifications) are less than 50% of the total                   effective date or the rating effective date if the
   premium for the risk. If more than 50% of your                  rating effective date is later than the policy
   premium is derived from Nebraska, the application               effective date when:
   of this endorsement applies only to the Nebraska                a. The change in the experience rating
   premium.                                                             modification factor is the result of a
B. The premium for the policy is adjusted by an                         revision in your classifications or an
   experience rating modification factor. The factor                    appeals board or other appropriate
   shown on the Information Page may be revised                         administrative process or judicial decision.
   and applied to the policy in accordance with our                b. The delay in the calculation of the
   manuals and endorsements. We will issue an                           experience rating modification factor is
   endorsement to show the revised factor, if                           due to your failure to make available all
   different from the factor shown, when it is                          your records for examination and audit for
   calculated.                                                          us or for a previous carrier.
C. If the ultimately determined experience rating           E. An increase or decrease in the experience rating
   modification factor applying to this policy is a            modification factor due to a change in ownership
   decrease from that shown on the Information                 or combinability status is applied as of the date of
   Page, it will be applied retroactively to the policy        the change in accordance with our manuals.
   effective date or to the rating effective date if the
   rating effective date is later than the policy
   effective date.
D. If the experience rating modification factor is an
   increase from that shown on the Information
   Page, it will apply as follows:
   1. Retroactively to the policy effective date, or to
        the rating effective date if the rating effective
        date is later than the policy effective date, if
        the adjustment is within 30 days after the
        policy effective date.

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                                                                                                          ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 123
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Part Five - Premium, Section G. (Audit) of the Workers Compensation and Employers Liability Insurance Policy is
revised by adding the following:

If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
information as requested, we may apply an Audit Noncompliance Charge. The method for determining the Audit
Noncompliance Charge by state, where applicable, is shown in the Schedule below.

If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge,
we will revise your premium in accordance with our manuals and Part 5 - Premium, E. (Final Premium) of this
policy.

Failure to cooperate with this policy provision may result in the cancellation of your insurance coverage, as
specified under the policy.

                                                      Schedule

               State(s)                   Basis of Audit Noncompliance           Maximum Audit Noncompliance
                                                     Charge                            Charge Multiplier

 AL, AR, CO, CT, DC, DE, GA, IA,             Estimated Annual Premium                      Up to two times
 ID, IL, KY, MD, ME, MI, MN, MS,
 NE, NJ, NM, OR, RI, SC, SD, TN,
 UT, VA, VT, WV

 AZ, HI, KS, OK                              Estimated Annual Premium                         Two times

 NC                                          Estimated Annual Premium                     Up to three times

 NV                                          Estimated Annual Premium                      Up to one times

 WI                                          Estimated Annual Premium                         One time




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                                                                                                             ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            CALIFORNIA SHORT-RATE CANCELATION ENDORSEMENT

Policy Number: 57 WV WQ0015                                Endorsement Number: 124
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




It is agreed that, anything in the policy to the contrary notwithstanding, such insurance as is afforded by this policy
by reason of the designation of California in Item 3 of the Information Page is subject to the following provisions:
If you cancel the policy and a disclosure was provided in accordance with Section 481(c) of the California
Insurance Code, final premium will be based on the time this policy was in force and increased by the short-rate
cancelation table below:
Extended                    Percent of    Extended                  Percent of    Extended                   Percent of
Number of                   Full Policy   Number of                 Full Policy   Number of                  Full Policy
  Days                      Premium         Days                    Premium         Days                     Premium
    1          ..........       5%         95-98       ..........      37%        219-223       ..........      69%
    2          ..........       6%         99-102      ..........      38%        224-228       ..........      70%
   3-4         ..........       7%        103-105      ..........      39%        229-232       ..........      71%
   5-6         ..........       8%        106-109      ..........      40%        233-237       ..........      72%
   7-8         ..........       9%        110-113      ..........      41%        238-241       ..........      73%
  9-10         ..........     10%         114-116      ..........      42%        242-246      (8 mos.)         74%
 11-12         ..........     11%         117-120      ..........      43%        247-250       ..........      75%
 13-14         ..........     12%         121-124     (4 mos.)         44%        251-255       ..........      76%
 15-16         ..........     13%         125-127      ..........      45%        256-260       ..........      77%
 17-18         ..........     14%         128-131      ..........      46%        261-264       ..........      78%
 19-20         ..........     15%         132-135      ..........      47%        265-269       ..........      79%
 21-22         ..........     16%         136-138      ..........      48%        270-273      (9 mos.)         80%
 23-25         ..........     17%         139-142      ..........      49%        274-278       ..........      81%
 26-29         ..........     18%         143-146      ..........      50%        279-282       ..........      82%
 30-32        (1 mo.)         19%         147-149      ..........      51%        283-287       ..........      83%
 33-36         ..........     20%         150-153     (5 mos.)         52%        288-291       ..........      84%
 37-40         ..........     21%         154-156      ..........      53%        292-296       ..........      85%
 41-43         ..........     22%         157-160      ..........      54%        297-301       ..........      86%
 44-47         ..........     23%         161-164      ..........      55%        302-305     (10 mos.)         87%
 48-51         ..........     24%         165-167      ..........      56%        306-310       ..........      88%
 52-54         ..........     25%         168-171      ..........      57%        311-314       ..........      89%
 55-58         ..........     26%         172-175      ..........      58%        315-319       ..........      90%
 59-62       (2 mos.)         27%         176-178      ..........      59%        320-323       ..........      91%
 63-65         ..........     28%         179-182     (6 mos.)         60%        324-328       ..........      92%
 66-69         ..........     29%         183-187      ..........      61%        329-332       ..........      93%
 70-73         ..........     30%         188-191      ..........      62%        333-337     (11 mos.)         94%
 74-76         ..........     31%         192-196      ..........      63%        338-342       ..........      95%
 77-80         ..........     32%         197-200      ..........      64%        343-346       ..........      96%
 81-83         ..........     33%         201-205      ..........      65%        347-351       ..........      97%
 84-87         ..........     34%         206-209      ..........      66%        352-355       ..........      98%
 88-91       (3 mos.)         35%         210-214     (7 mos.)         67%        356-360       ..........      99%
 92-94         ..........     36%         215-218      ..........      68%        361-365     (12 mos.)        100%

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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                       RHODE ISLAND
                                     SAFETY INSPECTION
                                       ENDORSEMENT

Policy Number: 57 WV WQ0015                               Endorsement Number:125
Effective Date:04/01/2024    Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance provided by the policy because Rhode Island is shown in Item 3.A. of
the Information Page.
If you pay annual premium of more than twenty-five thousand dollars ($25,000) for workers compensation insurance,
you may request that we inspect your site or sites of employment. You must make this request in writing. Inspection
will be made within sixty days following your request. We will make a written report to you for your use in enhancing
the safety and health of your employees on the site or sites inspected.
If your workers compensation premiums are less than fifty thousand dollars ($50,000) or your experience
modification is less than 1.5, you may request one (1) inspection per calendar year. You may be entitled to two (2)
such inspections in one (1) calendar year.




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System Date: 08/95
                                                                                                              A
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                RHODE ISLAND DIRECT LIABILITY
                                   STATUTE ENDORSEMENT




This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because Rhode
Island is shown in Item 3.A. of the Information Page.

1.   Your employee, or the persons entitled to sue you for damages in the event of the death of the employee, may add
     us as a defendant in a suit against you to recover damages because of bodily injury or death to your employee.
2.   We are directly liable to pay to your injured employee, or to the persons entitled to sue you for damages in the
     event of the death of your employee, the damages for which you are liable.
This endorsement is subject to all provisions of Part Two (Employers Liability Insurance) that do not conflict with the
direct liability statute (Section 28.36.11) of the Rhode Island Workers' Compensation Law.




                                                  Countersigned by ________________________________________
                                                                                      Authorized Representative
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           VERMONT CHANGES: PROPERTY/CASUALTY - CIVIL UNION
                            ENDORSEMENT




Policy Number: 57 WV WQ0015                                  Endorsement Number: 127
Effective Date: 04/01/2024                     Effective hour is the same as stated on the Information Page of the policy.

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement is part of the policy to which it is           union and their families. In order to receive benefits
attached and provides benefits under the policy for             in accordance with the endorsement, the civil union
parties to a civil union. Vermont law requires that             must be established in the state of Vermont
insurance policies offered to married persons and               according to Vermont law.
their families be made available to parties to a civil

                         It is understood that policy definitions and provisions designating:

                            - an insured                               - covered person(s)
                            - named insured                            - you and / or your
                            - who is insured                           - spouse
                            - who is an insured                        - family member
                            - who is a named insured


and any other policy definitions and provisions                 relationship out of a marriage are used, to include
designating an insured under this policy, are                   parties to a civil union and their families under
amended, wherever appearing, where terms                        Vermont law.
denoting a martial relationship or family




                                        Countersigned by
                                                                                   Authorized Representative



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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                                                                     ABCDEFGHIJ

                                 VERMONT LAW ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 128
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because
Vermont is shown in Item 3.A. of the Information Page.

1. We may not limit our liability to pay damages if a judgment for damages is entered against you and we
   continue the suit or other action without your consent.


2. No action will lie against us to recover for a loss under this insurance unless it is brought within one year after
   the amount of loss is made certain either by agreement between the parties with our consent or by actual trial
   and final judgment. If you are bankrupt or insolvent, anyone who obtains such judgment or agreement has a
   right of action against us to recover under the policy to the extent that insurance is provided for the damages
   or loss.


3. If you pay a judicial judgment or claim for any of our liability under this insurance, that will not bar you from an
   action or right of action against us.




                                       Countersigned by
                                                                                           Authorized Representative




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                                                                                                       ABCDEFGHIJ
         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      VERMONT CANCELLATION AND NONRENEWAL
                                 ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 129
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies because Vermont is shown in Item 3.A. of the Information Page.

Part Six-Conditions, Section. D. (Cancellation) of the policy is replaced by the following:

D. Cancellation and Nonrenewal

1. You may cancel this policy. You will mail or deliver advance written notice to us stating when the cancellation
   is to take effect.
2. We may cancel this policy. We must provide to you by certified mail, and file with the Commissioner of Labor
   (Commissioner) or their designee as provided by Vt. Admin. Code 13-4-1:24.0000, at least 45 days' advance
   written notice stating when the cancellation is to take effect. Mailing notice by certified mail to you at your
   mailing address last known to us will be sufficient to prove notice.
3. The policy period will end on the day and hour stated in the cancellation notice.
4. We may elect not to renew the policy. We must provide to you by certified mail, and give notice to the
   Commissioner or their designee as provided by Vt. Admin. Code 13-4-1:24.0000, at least 45 days' advance
   written notice stating when the nonrenewal is to take effect. If we do not give 45 days' notice, the policy will
   automatically be extended for 45 days from the date the notice is received by you and the Commissioner.
5. In the following circumstances, notice of nonrenewal to you is not required, and the policy will expire upon
   notice to the Commissioner or their designee as provided by Vt. Admin. Code 13-4-1:24.0000:
    a. We offer to continue the insurance by delivery of a renewal contract to you, or
    b. You notify us in writing that you do not want to renew the policy, or
    c.    You obtain other insurance or a guarantee contract, or you establish and maintain, to the satisfaction of
          the Commissioner, security for compensation.
6. Any of these provisions that conflict with a law that controls the cancellation of the insurance in this policy is
   changed by this statement to comply with the law.




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                                                                                                        ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

MARYLAND ALCOHOL- AND DRUG-FREE WORKPLACE PREMIUM CREDIT
                      ENDORSEMENT

Policy Number: 57 WV WQ0015                                Endorsement Number: 130
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                                 SUNPOWER CORPORATION
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804




This endorsement provides notice that the premium for your policy may be affected by the Maryland Alcohol- and
Drug-Free Workplace Premium Credit.
You may qualify for a premium credit if you have established and maintain an alcohol- and drug-free workplace
policy that includes one or more of the qualifying programs included in Section 11-329 of Maryland Code,
Insurance.
You may request a premium credit by submitting a written statement to us certifying that you have established and
maintain an alcohol- and drug-free workplace policy that includes one or more of the qualifying programs in
accordance with Section 11-329 of Maryland Code, Insurance and our filed and approved rating program rules.
We have the right to require additional information to verify that you have established and maintain a qualifying
program.
Your certification is required for each policy year that you receive the premium credit.
Your policy is subject to additional premium, for reimbursement of premium credit, and cancellation provisions of
the policy if we determine that you misrepresented your compliance with the program rules.
Minimum premium policies are not eligible for this premium credit. The premium credit must not be used to
reduce the premium below the minimum premium.

                                                      Schedule

Premium Credit %              4%




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    PENNSYLVANIA AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 131
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804




Part Five - Premium, Section G. (Audit) of the Workers Compensation and Employers Liability Insurance Policy is
revised by adding the following:
If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
information as requested, we may apply an Audit Noncompliance Charge (ANC).
The charge is determined by applying the ANC Multiplier to the ANC Basis shown in the table below:

                                    ANC Basis                        ANC Multiplier
                            Estimated Annual Premium                    Two times

If you allow us to examine and audit all of your records after we have applied an ANC, we will remove the ANC
and revise your premium in accordance with our manuals and Part 5 - Premium, E. (Final Premium) of this policy.
The application of the ANC is subject to the following conditions:
        a) Carriers must comply with all applicable state laws and/or regulations related to audits of workers
           compensation insurance policies.
        b) The Audit Noncompliance Charge Endorsement is optional. When used, the Audit Noncompliance
           Charge Endorsement and/or applicable state-specific endorsement must be attached to the policy at
           inception of the policy term being audited.
        c) The carrier must make two attempts to obtain the audit information and/or complete the audit. At
           each attempt, the carrier must notify the employer regarding the specific required records and the
           amount of the ANC to be applied if the employer continues to refuse to comply with the audit.
        d) The carrier must adequately document the audit file regarding the above attempts to obtain the
           required audit information.
These ANC conditions apply to mail/email, telephone, computer (remote access), and physical audits, unless
otherwise provided by state law.

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The scenarios listed below may occur and are treated as follows:


If an ANC is applied and the employer…                   Then the carrier…

Pays the ANC and later allows the audit                  o   Performs the final audit and determines the final
                                                             policy premium based on the results of the audit;
                                                             and

                                                         o   Refunds the ANC to the employer, or applies the
                                                             ANC amount to any outstanding balance on the
                                                             policy

                                                         Submits a unit statistical correction report to remove the
                                                         ANC from the previously reported Unit Statistical data.


Does not pay the ANC but later allows the audit          Performs the final audit and determines the final policy
                                                         premium based on the results of the audit

Pays the ANC but does not later allow the audit
                                                         Does not change the previously reported:
                                                            o Unit Statistical data
Does not pay the ANC and does not later allow the           o Noncompliance transactions
audit.




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                                                                                                          ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          OREGON AMENDATORY ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 132
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804




This endorsement applies because Oregon is shown in Item 3.A. of the Information Page.
Part Two - Employers Liability Insurance, Section C. (Exclusions), Item 5. of the policy is replaced by the following:
    5. Any bodily injury intentionally caused or aggravated by you, or that is the result of your engaging in
       conduct equivalent to an intentional tort, however defined, including as described by ORS 656.156, or
       other tortious conduct, or conduct or activity as described by ORS 656.018(3), such that you lose your
       immunity from civil liability under the workers compensation laws of Oregon;
Part Two - Employers Liability Insurance, Section C. (Exclusions) of the policy is revised by adding the following:
  13. Any cause of action or remedy arising out of or under ORS 656.019 or ORS 654.305 through
       ORS 654.336.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         LOUISIANA AMENDATORY ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 133
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804




This endorsement applies because Louisiana is                     If this policy is cancelled, final premium will be
shown in Item 3.A. of the Information Page.                       determined in the following way, unless our
                                                                  manuals provide otherwise:
Part Two - Employers Liability Insurance, Section 1.              1. If we cancel, final premium will be calculated
(Actions Against Us) of the policy is replaced by the                  pro rata based on the time that this policy
following:                                                             was in force. Final premium will not be less
I. Actions Against Us                                                  than the pro rata share of the minimum
     You may not bring an action against us under                      premium.
     this insurance unless:                                       2. If you cancel, final premium will be
     1. You have complied with all the terms of this                   calculated using one of the following
          policy; and                                                  methods as listed in the Schedule of this
                                                                       endorsement:
     2. The amount you owe has been determined                         a. Pro rata based on the time that this
          with our consent or by actual trial and final                    policy was in force. Final premium will
          judgement.                                                       not be less than the pro rata share of the
     The bankruptcy or insolvency of you or your                           minimum premium, or
     estate will not relieve us of our obligations under               b. More than pro rata; it will be based on the
     this Part.                                                            time that this policy was in force, and
Part Five - Premium, Section E. (Final Premium) of                         increased by our short-rate cancellation
the policy is replaced by the following:                                   procedure that has been filed with and
E. Final Premium                                                           approved by the commissioner. Final
     The premium shown on the Information Page,                            premium will not be less than the
     schedules, and endorsements is an estimate.                           minimum premium.
     The final premium will be determined after this         Part Five - Premium, Section G. (Audit) of the policy
     policy ends by using the actual, not the                is revised by adding the following:
     estimated, premium basis and the proper                 G. Audit
     classifications and rates that lawfully apply to the         If you do not allow us to examine and audit all of
     business and work covered by this policy. If the             your records that relate to this policy, and/or do
     final premium is more than the premium you                   not provide audit information as requested, we
     paid to us, you must pay us the balance. If it is            may apply an Audit Noncompliance Charge
     less, we will refund the balance to you. The final           equal to a maximum of up to two times the
     premium will not be less than the highest                    estimated annual premium. The method for
     minimum premium for the classifications                      determining the Audit Noncompliance Charge,
     covered by this policy.                                      and the maximum dollar amount, is shown in the
                                                                  Schedule of this endorsement.

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     If you allow us to examine and audit all of your               g. Such other reasons that are approved by
     records after we have applied an Audit                              the commissioner of insurance
     Noncompliance Charge, we will revise your                   2. The insurer is required to provide notification
     premium in accordance with our manuals and                     of cancellation as follows:
     Part Five - Premium, Section E. (Final Premium)                a. A notice of cancellation of insurance
     of this policy.                                                     coverage by us will be in writing or by
     Failure to cooperate with this policy provision                     electronic means and will be mailed or
     may result in the cancellation of your insurance                    delivered to you at the mailing address
     coverage, as specified under the policy.                            shown on the policy or your last address of
Part Six - Conditions, Section D. (Cancellation) of the                  record. Notices of cancellation based on
policy is replaced by the following:                                     conditions 1.b. through 1.g. of Section D-1
D. Cancellation                                                          will be mailed or delivered at least 30 days
                                                                         before the effective date of the
     For Home and Community-Based Services                               cancellation; notices of cancellations
     (HCBS) providers, refer to Section G. in lieu of                    based on condition 1.a. of Section D-1 will
     Section D. for cancellation provisions.                             be mailed or delivered at least 10 days
     1. If coverage has not been in effect for 60                        before the effective date of cancellation.
          days and the policy is not a renewal,                          The notice will state the effective date of
          cancellation will be effected by mailing or                    the cancellation.
          delivering a written or electronic (in                    b. We will provide you with a written or
          accordance with the Louisiana Uniform                          electronic statement specifying the
          Electronic Transactions Act) notice to you at                  reason for the cancellation when you
          the mailing address shown on the policy or                     request such a statement in writing.
          your last address of record at least 60 days                   Your written or electronic request must
          before the cancellation effective date, except                 state that you hold us harmless from
          in cases where cancellation is based on                        liability for any communication:
          nonpayment of premium. Notice of                               (1) Giving notice of or specifying the
          cancellation based on nonpayment of                                 reasons for a cancellation, or
          premium will be mailed or delivered at least
          10 days before the effective date of                           (2) For any statement made in connection
          cancellation. After coverage has been in                            with an attempt to discover or verify
          effect for more than 60 days or after the                           the existence of conditions that would
          effective date of a renewal policy, we will not                     be a reason for cancellation under this
          cancel the policy unless the cancellation is                        endorsement.
          based on at least one of the following                 3. We will provide a notice of cancellation or a
          reasons:                                                  statement of reasons for cancellation where
          a. Nonpayment of premium                                  cancellation for nonpayment of premium is
                                                                    effected by a premium finance company or
          b. Fraud or material misrepresentation                    other entity pursuant to a power of attorney
               made by you or with your knowledge in                or other agreement executed by or on behalf
               obtaining the policy, continuing the                 of you.
               policy, or in presenting a claim under the        4. We may decide not to renew your policy. If we
               policy                                               decide not to renew your policy, we will mail or
          c. Activities or omissions on your part that              deliver written or electronic notice to you at the
               change or increase any hazard insured                mailing address shown on the policy or your
               against, including a failure to comply               last address of record. Such notice of
              with loss control recommendations                     nonrenewal will be mailed or delivered at least
          d. Change in the risk that increases the                  60 days before the policy expiration date. Such
               risk of loss after insurance coverage has            notice to you will include your loss-run
               been issued or renewed, including an                 information for the period the policy has been in
               increase in exposure due to regulation,              force within, but not to exceed the last three
               legislation, or court decision                       years of coverage. If the notice is mailed or
          e. Determination by the commissioner of                   delivered less than 60 days before expiration,
               insurance that continuing the policy                 coverage will remain in effect under the same
              would jeopardize your solvency or would               terms and conditions until 60 days after notice
               place us in violation of the insurance               is mailed or delivered. Earned premium for any
               laws of this state or any other state                period of coverage that extends beyond the
                                                                    policy expiration date will be considered pro
          f. Violation or breach by the insured of any              rata based on the previous year's rate. For
               policy terms or conditions                           purposes of this endorsement, the transfer of a

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      policyholder between companies within the                     of the current or previous year's rate. If you
      same insurance group will not be a refusal to                 accept the renewal, the premium increase, if
      renew. In addition, changes in the deductible,                any, and other changes will be effective the
      changes in rate, changes in the amount of                     day following the prior policy's expiration
      insurance, or reductions in policy limits or                  date.
      coverage will not be refusals to renew.                    8. Paragraph 7 does not apply to changes:
   5. Notice of nonrenewal will not be required if                  a. In a rate or plan filed with the
      we or a company within the same insurance                          commissioner of insurance and
      group has offered to issue a renewal policy,                       applicable to an entire class of business
      or where you have obtained replacement                        b. Based on the altered nature or extent of
      coverage or have agreed in writing to obtain                       the risk insured
      replacement coverage.
   6. If we provide the notice described in                         c. In policy forms filed and approved with
      paragraph 4 above and thereafter we extend                         the commissioner and applicable to an
      the policy for 90 days or less, an additional                      entire class of business
      notice of nonrenewal is not required with                     d. Requested by the insured
      respect to the extension.                                  9. Proof of mailing or delivery of notice of
   7. We must mail or deliver to you at the mailing                 cancellation, or of nonrenewal or of premium
      address shown on the policy or your last                      or coverage changes, to the named insured
      address of record, written or electronic                      at the mailing address shown in the policy or
      notice of any rate increase, change in                        the last address of record, will be sufficient
      deductible, or reduction in limits or coverage                proof of notice.
      at least 30 days before the expiration date of
      the policy. If we fail to provide such 30-day         Part Six - Conditions of the policy is revised by
      notice, the coverage provided to you at the           adding the following provision:
      expiring policy's rate, terms, and conditions
      will remain in effect until notice is given or        F. Your Right to Remove Agent
      until the effective date of replacement                   We will not change or remove the agent of
      coverage obtained by you, whichever occurs                record who wrote this policy before the
      first. For the purposes of this paragraph,                termination or renewal of this policy unless you
      notice is considered given 30 days following              request the change or removal. If you request
      the date of mailing or delivery of the notice. If         the change or removal of the agent, we will notify
      you elect not to renew, any earned premium                the agent in writing 10 calendar days before the
      for the period of extension of the terminated             change or removal.
      policy will be calculated pro rata at the lower


                                                      Schedule
     1. If you cancel, final premium for this policy will be calculated: X pro rata, or        more than pro rata

     2. Basis of Audit
        Noncompliance Charge               Estimated Annual Premium

         Maximum Audit
         Noncompliance Charge
         Multiplier                        Two times

         Maximum Audit
         Noncompliance Charge
         $ Amount




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Part Six-Conditions, Section D. (Cancellation) of                    g. Such other reasons that are
the policy is replaced for Home and Community-                            approved by the commissioner of
Based Services (HCBS) providers by adding                                 insurance
Part Six-Conditions, Section G. The following                     2. The insurer is required to provide
cancellation provisions are to be used when the                      notification of cancellation as follows:
policy provides coverage to an HCBS provider                         a. A notice of cancellation of insurance
and are intended to comply with Chapter 50 of                             coverage by us will be in writing or
the Louisiana Administrative Code, Title 48, Part                         by electronic means and will be
I, Sections 5007, 5014, and 5015:                                         mailed or delivered to you and the
G. Cancellation-Home and Community-                                       certificate holder (LDH Health
     Based Services (HCBS) Providers                                      Standards Section) at the mailing
     1. If coverage has not been in effect for 60                         address shown on the policy or your
         days and the policy is not a renewal,                            last address of record. Notices of
         cancellation will be effected by mailing or                      cancellation based on conditions
         delivering a written or electronic (in                           1.a. through 1.g. of Section G-1 will
         accordance with the Louisiana Uniform                            be mailed or delivered 30 days
         Electronic Transations Act) notice to you                        before the effective date of the
         and the certificate holder (LDH Health                           cancellation. The notice will state
         Standards Section) at the mailing                                the effective date of the cancellation.
         address shown on the policy or your last                    b. we will provide you and the
         address of record 60 days before any                             certificate holder 9LDH Health
         cancellation or change of coverage,                              Standards Section) with a written or
         except in cases where cancellation is                            electronic statement specifying the
         based on nonpayment of premium.                                  reason for the cancellation when you
         Notice of cancellation based on                                  request such a statement in writing.
         nonpayment of premium will be mailed                             Your written or electronic request
         or delivered 30 days before the effective                        must state that you hold us
         date of cancellation. After coverage has                         harmless from liability for any
         been in effect for more than 60 days or                          communication:
         after the effective date of a renewal                            (1) Giving notice of or specifying the
         policy, we will not cancel the policy                                 reasons for a cancellation or
         unless the cancellation is based on at
         least one of the following reasons:                              (2) For any statement made in
         a. Nonpayment of premium                                              connection with an attempt to
                                                                               discover or verify the existence
         b. Fraud or material misrepresentation                                of conditions that would be a
              made by you or with your knowledge                               reason for cancellation under
              in obtaining the policy, continuing                              this endorsement
              the policy, or in presenting a claim                3. We will provide a notice of cancellation
              under the policy                                       or a statement of reasons for
         c. Activities or omissions on your part                     cancellation to you and the certificate
              that change or increase any hazard                     holder (LDH Health Standards Section)
              insured against, including a failure to                where cancellation for nonpayment of
              company with loss control                              premium is effected by a premium
              recommendations                                        finance company or other entity pursuant
         d. Change in the risk that increases the                    to a power of attorney or other
              risk of loss after insurance coverage                  agreement executed by or on behalf of
              has been issued or renewed,                            you.
              including an increase in exposure                   4. We may decide not to renew your policy.
              due to regulation, legislation, or                     If we decide not to renew your policy, we
              court decision                                         will mail or deliver written or electronic
         e. Determination by the commissioner                        notice to you at the mailing address
              of insurance that continuing the                       shown on the policy or your last address
              policy would jeopardize your                           of record. Such notice of nonrenewal
              solvency or would place us in                          will be mailed or delivered at least 60
              violation of the insurance laws of this                days before the policy expiration date.
              state or any other state                               Such notice to you will include your loss-
         f. Violation or breach by the insured of                    run information for the period the policy
              any policy terms or conditions                         has been in force within, but not to

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      exceed, the last three years of coverage.                    the coverage provided to you at the
      If the notice is mailed or delivered less                    expiring policy's rate, terms, and
      than 60 days before expiration, coverage                     conditions will remain in effect until
      will remain in effect under the same                         notice is given or until the effective date
      terms and conditions until 60 days after                     of replacement coverage obtained by
      the notice is mailed or delivered.                           you, whichever occurs first. For the
      Earned premium for any period of                             purposes of this paragraph, notice is
      coverage that extends beyond the policy                      considered given 30 days following the
      expiration date will be considered pro                       date of mailing or delivery of the notice.
      rata based on the previous year's rate.                      If you elect not to renew, any earned
      For purposes of the endorsement, the                         premium for the period of extension of
      transfer of a policyholder between                           the terminated policy will be calculated
      companies within the same insurance                          pro rata at the lower of the current or
      group will not be a refusal to renew. In                     previous year's rate. If you accept the
      addition, changes in the deductible,                         renewal, the premium increase, if any,
      changes in rate, changes in the amount                       and other changes will be effective the
      of insurance, or reductions in policy                        day following the prior policy's expiration
      limits or coverage will not be refusals to                   date.
      renew.                                                    8. Paragraph 7 does not apply to changes:
   5. Notice of nonrenewal will not be                             a. In a rate or plan filed with the
      required if we or a company within the                           commissioner of insurance and
      same insurance group has offered to                              applicable to an entire class of
      issue a renewal policy, or where you                             business
      have obtained replacement coverage or                        b. Based on the altered nature or
      have agreed in writing to obtain                                 extent of the risk insured
      replacement coverage.
   6. If we provide the notice described in                        c. In policy forms filed and approved
      paragraph 4 above, and thereafter we                             with the commissioner and
      extend the policy for 90 days or less, an                        applicable to an entire class of
      additional notice of nonrenewal is not                           business
      required with respect to the extension.                      d. Requested by the insured
   7. We must mail or deliver to you and the                    9. Proof of mailing or delivery of notice of
      certificate holder (LDH Health Standards                     cancellation, or of nonrenewal, or of
      Section) at the mailing address shown                        premium or coverage changes to the
      on the policy or the last address of                         named insured and the certificate holder
      record, written or electronic notice of any                  (LDH Health Standards Section) where
      rate increase, change in deductible, or                      applicable at the mailing address shown
      reduction in limits or coverage 30 days                      in the policy or at the last address of
      before the expiration date of the policy. If                 record, will be sufficient proof of notice.
      we fail to provide such 30-day notice,




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              LOUISIANA COST CONTAINMENT ACT ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 134
Effective Date: 04/01/2024     Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:  SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




This endorsement applies only to the insurance           You may also be eligible for an additional five (5)
provided by the policy because Louisiana is shown        percent reduction in your premium if you have
in Item 3.A. of the Information Page.                    attended a cost containment meeting and have
You may be eligible for two (2) percent reduction in     subsequently satisfactorily implemented an
your premium if you attend a cost containment            occupational safety and health program prescribed
meeting conducted by the Occupational, Safety            by the OSHA Section. In order for you to receive
and Health Administation (OSHA) Section of the           the reduction, you must submit to us a Certificate
Office of Workers Compensation Administration.           of Satisfactory Implementation of Occupational,
In order for you to receive the reduction, you must      Safety and Health Program from the OSHA
submit to us a certificate of attendance from the        Section. The reduction will apply for a period of
OSHA Section.        The reduction will apply for a      one year and will be applied to the policy becoming
period of one year and will be applied to the policy     effective after the date of your certification.
becoming effective after the date you attended the
cost containment meeting.




                                            Countersigned by
                                                                                    Authorized Representative


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                                                                                                          ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               MISSOURI EMPLOYER-PAID MEDICAL ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 135
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                                  SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804



This endorsement applies because Missouri is shown in Item 3.A. of the Information Page.

As a Missouri employer, you have the right, as provided by Section 287.957 of the Revised Statutes of Missouri,
to have medical-only claims that do not exceed 20% of the current primary and excess loss split point amount, as
shown in the Schedule below, excluded from your experience rating modification calculation. This will only be
allowed when you pay all of the employee's medical costs; there is no lost time from the employment, other than
the first three days or less of disability; and no claim is filed. The current primary and excess loss split point
amount is provided in the rating values of NCCI's     Experience Rating Plan Manual.    You still must report all
injuries, regardless of the dollar amount, to the Division of Workers' Compensation and to us.

However, it should be noted that if, at any time, the medical expenses that are paid out of pocket due to a
particular injury ever exceed 20% of the current primary and excess loss split point amount and/or the employee
misses more than three days from work due to the injury, then this injury must be reported to us as a claim. We
will pay the full amount of the claim, which includes any reimbursements due to you for past medical expenses
incurred by you for this particular claim. As a result, the total amount of losses incurred by us due to this claim will
be included in your experience rating modification calculation.


                                                      Schedule

20% of the Current Primary and Excess Loss Split Point Amount




(Ed. 8-16)
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           LOUISIANA DUTY TO DEFEND ENDORSEMENT

Policy Number: 57 WV WQ0015                                 Endorsement Number: 136
Effective Date: 04/01/2024                Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies to the insurance provided             The duty to defend provision of the policy is
by the policy because Louisiana is shown in Item               replaced by this provision.
3.A. of the Information Page.


                                         Part Two - Employers’ Liability


D. We Will Defend
   We have the right and duty to defend, at our                have the right to investigate and settle these claims,
   expense, any claim, proceeding or suit against              proceedings and suits. Our duty to defend ends
   you for damages payable by this insurance. We               when the limit of liability has been exhausted by the
                                                               payment of a judgment or settlement.




                                            Countersigned by
                                                                                   Authorized Representative
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    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     MISSOURI CANCELLATION AND NONRENEWAL ENDORSEMENT


Policy Number: 57 WV WQ0015                          Endorsement Number: 137
Effective Date: 04/01/2024       Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                           SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                    e. our insolvency;
provided by the policy because Missouri is shown                  f. our involuntary loss of reinsurance for the
in Item 3.A. of the Information Page.                                policy.
The Cancellation Condition of the policy is
                                                               4. The policy period will end on the day and hour
replaced by the following:
                                                                  stated in the cancellation notice.
Cancellation                                                   Nonrenewal
1. You may cancel this policy. You will mail or                1. We may elect not to renew the policy. We will
   deliver advance written notice to us, stating                  mail to you not less than 60 days advance
   when the cancellation is to take effect.                       written notice stating when the nonrenewal will
2. We may cancel this policy. We will mail or                     take effect and our reason for nonrenewal.
   deliver to you not less than 60 days advance                   Proof of mailing of this notice to you at your
   written notice stating when the cancellation is to             mailing address shown in Item 1 of the
   take effect and our reason for cancellation.                   Information Page will be sufficient to prove
   Proof of mailing of this notice to you at your                 notice.
   mailing address shown in Item 1 of the                      2. If we fail to provide the notice of nonrenewal as
   Information Page will be sufficient to prove                   required, the policy will still terminate on its
   notice.                                                        expiration date if:
3. The 60-day notice requirement does not apply                  a. we show you our willingness to renew the
   where cancellation is based on one or more of                    policy but you notify us or the agent or broker
   the following reasons:                                           who procured this policy that you do not want
  a. nonpayment of premium;                                         the policy renewed; or
  b. fraud or material misrepresentation affecting               b. you fail to pay all premiums when due; or
     the policy or in the presentation of a claim                c. you obtain other insurance as a replacement
     under the policy;                                              of the policy.
  c. a violation of policy terms;
  d. changes in conditions after the effective date
     of the policy materially increasing the
     hazards originally insured;

                                            Countersigned by
                                                                                          Authorized Representative
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                                                                                                        ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                         MISSOURI AMENDATORY ENDORSEMENT



Policy Number: 57 WV WQ0015                                Endorsement Number: 138
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies because Missouri is shown in Item 3.A. of the Information Page.
Part Five - Premium, Section G. (Audit) of the policy is replaced by the following:
    G. Audit
        You will let us examine and audit all of your records relating to this policy during regular business hours
        throughout and after the policy period. These records include ledgers, journals, registers, vouchers,
        contracts, tax reports, payroll and disbursement records, and programs for storing and retrieving data.
        Information developed by audit will be used to determine final premium. Insurance rate service
        organizations have the same rights that we have under this provision.
        Audits must be completed and billed, and any premiums will be returned, within 120 days of policy
        expiration or cancellation unless:
              1. Delay is caused by your failure to respond to reasonable audit requests, provided that the
                 requests are timely and adequately documented; or
              2. A written agreement between you and us provides a longer time frame.
        If you or we have any objection to the results of any audit, you or we may send a written notice
        demanding a reconsideration of the audit within three years from the date of expiration or cancellation of
        this policy. The written notice must be based upon sufficiently clear and specific facts as to why the audit
        should be reconsidered.
        If you do not allow us to examine and audit all of your records relating to this policy, and/or do not provide
        audit information as timely and reasonably requested, we may apply an Audit Noncompliance Charge
        equal to a maximum of up to two times the estimated annual premium. The method for determining the
        Audit Noncompliance Charge is shown in the Schedule below.
        If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance
        Charge, we will revise your premium in accordance with our manuals and Part 5 - Premium, E. (Final
        Premium) of this policy.
        Failure to cooperate with this policy provision may also result in the cancellation of your insurance
        coverage, as specified under the policy and allowed under Missouri law.


                                                     Schedule

                    Basis of Audit                                              Maximum Audit
                Noncompliance Charge                                  Noncompliance Charge Multiplier

              Estimated Annual Premium                                           Up to two times


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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  MISSOURI PROPERT Y AND CASUALTY GUARANTY
                          ASSOCIATION ENDO RSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 139
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                      worth of more than $25 million on the later of
provided by the policy because Missouri is shown in                 the end of the insured’s most recent fiscal
Item 3.A. of the Information Page.                                  year or the December thirty-first of the year
                                                                    next preceding the date the insurer becomes
Missouri Property and Casualty Insurance Guaranty                   an insolvent insurer; provided that an
Association Coverage Limits.                                        insured’s net worth on such date shall be
                                                                    deemed to include the aggregate net worth
1. Subject to the provisions of the Missouri                        of the insured and all of its affiliates as
   Property and Casualty Insurance Guaranty                         calculated on a consolidated basis.
   Association Act (Act), if we are a member of the                 If the insured prepares an annual report to
   Missouri Property and Casualty Insurance                         shareholders, or an annual report to
   Guaranty     Association     (Association),  the                 management reflecting net worth, then such
   Association will pay claims covered under the                    report for the fiscal year immediately
   Act if we become insolvent.                                      preceding the date of insolvency of the
2. The Act contains various exclusions, conditions                  insurer will be used to determine net worth.
   and limitations that govern a claimant’s eligibility         b. However, the association will not:
   to collect payment from the Association and
   affect the amount of any payment. The following                  (1) Pay an amount in excess of the
   limitation applies subject to all other provisions                   applicable limit of insurance of the policy
   of the Act:                                                          from which a claim arises; or

    a. Claims covered by the Association do not                     (2) Return to an insured any unearned
       include a claim by or against an insured of                      premium in excess of $25,000
       an insolvent insurer if the insured has a net                These limitations have no effect on the
                                                                    coverage we will provide under this policy.



                                        Countersigned by
                                                                                       Authorized Representative




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                   KANSAS FINAL PREMIUM ENDORSEMENT




Policy Number: 57 WV WQ0015                                 Endorsement Number: 140
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                            SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




This endorsement changes how the final premium is determined. The change applies only to the premium
charged because Kansas is shown in Item 3.A. of the Information Page.

    O   Kansas final premium will not be less than the highest minimum premium for the classifications covered
        by this policy unless there are two or more classifications covered and the highest rated classification
        has less than $500 payroll.
    O   When this occurs the final premium will not be less than one-half of the sum of the two highest minimum
        premiums for any classifications covered by the policy other than Clerical Office and Salespersons.
    O   When the highest rated classification has less than $500 payroll and Standard Exception classifications
        are the only classifications showing payrolls, the final premium will not be less than the minimum
        premium for the classification showing the highest payroll.
    O   Final premium for a multiple state policy will be that of the state with the single highest minimum
        premium, even if that state is on an "if any" basis. If two or more states have the same highest minimum
        premium, the minimum premium is determined by the state with the largest amount of standard premium.
    O   Minimum premium is subject to final adjustment at audit and will be determined only on the basis of the
        classifications developing premium.
    O   If the final earned premium is less than the minimum premium determined at audit, then that minimum
        premium must be charged.
    O   If no classification develops premium, the final premium shall be a flat charge of $200.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                      KANSAS CANCELLATION AND
                                      NONRENEWAL ENDORSEMENT

Policy Number: 57 WV WQ0015                                  Endorsement Number: 141
Effective Date: 04/01/2024                     Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                                 SUNPOWER CORPORATION
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804




This endorsement applies only to the insurance                       d. there are unfavorable underwriting factors,
provided by the policy because Kansas is shown in                       specific to you, that were not present when the
Item 3.A. of the Information Page.                                      policy took effect;
The Cancellation Condition of the policy is replaced                 e. the Commissioner has determined that our
by these two Conditions:                                                continuation of coverage could place us in a
                                                                        hazardous financial condition or in violation of
Cancellation
                                                                        the laws of Kansas; or
1. You may cancel this policy.         You will mail or              f. the Commissioner has determined that we no
   deliver advance written notice to us stating when                    longer have adequate reinsurance to meet our
   the cancellation is to take effect.                                  needs.
2. We may cancel this policy. If we cancel because               4. Our notice of cancellation will state our reasons for
   you fail to pay all premium when due, we will mail               canceling.
   or deliver to you not less than 10 days advance
   written notice stating when the cancellation is to            5. The policy period will end on the day and hour
   take effect. If we cancel for any other reason, we               stated in the cancellation notice.
   will mail or deliver to you not less than 30 days
                                                                 Nonrenewal
   advance written notice stating when the
   cancellation is to take effect. Mailing notice to you         1. We may elect not to renew the policy. We will mail
   at your last known address will be sufficient to                 to you not less than 60 days advance written notice
   prove notice.                                                    when the nonrenewal will take effect. Mailing that
                                                                    notice to you at your mailing dress shown in Item 1
3. If this policy has been in effect for 90 days or
                                                                    of the Information Page will be sufficient to prove
   more, we may cancel only for one of the following
                                                                    notice.
   reasons:
                                                                 2. Our notice of nonrenewal will state our reasons for
   a. nonpayment of premium;
                                                                    not renewing.
   b. the policy was issued because of a material
      misrepresentation;
   c. you violated any of the material terms and
      conditions of the policy;


                                                                   Countersigned by
                                                                                                Authorized Representative

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POLICY NUMBER: 57 WV WQ0015
NAME OF INSURER:



Our President and Secretary have signed this policy. Where required by law, the Information Page has been
countersigned by our duly authorized representative.




          Kevin Barnett, Secretary                               M. Ross Fisher, President




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            GEORGIA CANCELLATION, NONRENEWAL,
                                AND CHANGE ENDORSEMENT
Policy Number: 57 WV WQ0015                                 Endorsement Number: 143
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                   880 HARBOUR WAY SOUTH, SUITE 600
                                   RICHMOND, CA 94804


This endorsement applies because Georgia is shown in                     must send a notice of cancellation or
Item 3.A. of the policy Information Page.                                nonrenewal by certified mail, return receipt
Part Six - Conditions, Section D. (Cancellation) of the                  requested, to you at your last address of record
policy is replaced by the following:                                     at least 75 days before the effective date of
                                                                         cancellation or nonrenewal.
D. Cancellation, Nonrenewal, and Change
                                                                      3. If we increase current policy premium by more
     1. You may cancel this policy. You must mail or                     than 15% (other than any increase in premium
         deliver advance notice to us in writing, or deliver             due to change in risk or exposure, including a
         advance notice orally or electronically, stating                change in experience rating modification or
         when the cancellation is to take effect. We may                 resulting from an audit of auditable coverages),
         require that you provide written, electronic, or                we must deliver a notice of our action (including
         other recorded verification of the request before               dollar amount of the increase in renewal
         the cancellation takes effect. The cancellation is              premium more than 15%) to you, by first class
         subject to the following:                                       mail, at your last address of record at least 45
         a. If only your interest is affected, the effective             days before the expiration date of this policy.
              date of cancellation will be the later of the           4. If we reduce the policy coverage, we must
              date we receive notice from you or the date                provide you with written notice at least 45 days
              specified in the notice.                                   before the effective date of the reduction in
         b. If by statute, regulation, or contract this                  coverage. The notice will be delivered to you in
              policy may not be cancelled unless notice is               person or by first class mail to your last address
              given to a governmental agency or other                    of record. A reduction in coverage made by us
              third party, we will mail or deliver at least 10           includes elimination of coverage, a decrease in
              days' notice to you and the third party as                 scope or less coverage, or the addition of an
              soon as practical after receiving your                     exclusion. Requests made by you to change,
              request for cancellation.                                  reduce, or eliminate coverage are not
              Our notice will state the effective date of                considered reductions in coverage.
              cancellation, which will be the later of the            5. If you fail to submit to, or allow an audit for, the
              following:                                                 current or most recently expired policy term, we
              1) 10 days from the date of mailing or                     may, after two documented efforts to notify you
                   delivering our notice, or                             and your agent of potential cancellation, send
              2) The effective date of cancellation stated               via certified mail or statutory overnight delivery,
                   in your notice to us.                                 return receipt requested, written notice to you at
                                                                         least 10 days before the effective date of
     2. We may cancel or nonrenew this policy. We                        cancellation in lieu of the number of days' notice
         must mail or deliver notice at least 10 days                    otherwise required by state law. However, we
         before the effective date of cancellation if this               must not mail a cancellation notice within 20
         policy has been in effect less than 60 days or if               days of the first documented effort to notify you
         we cancel for nonpayment of premium. If this                    of potential cancellation.
         policy has been in effect 60 or more days and                6. The policy period will end on the day and hour
         we cancel for a reason other than nonpayment                    stated in the cancellation notice except as
         of premium, or if we nonrenew this policy, we                   provided for above.
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         MONTANA AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 144
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804




This endorsement applies because Montana is shown in Item 3.A. of the Information Page.
Part Five - Premium, Section G. (Audit) of the Workers Compensation and Employers Liability Insurance Policy is
revised by adding the following:
If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
information as requested, we will apply an Audit Noncompliance Charge equal to one times the estimated annual
premium.
If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge, we
will revise your premium in accordance with our manuals and Part 5 - Premium, E. (Final Premium) of this policy.
Failure to cooperate with this policy provision may result in the cancellation of your insurance coverage, as
specified under the policy.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          ARIZONA AMENDATORY ENDORSEMENT



Policy Number: 57 WV WQ0015                                 Endorsement Number: 145
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies because Arizona is shown in Item 3.A. of the Information Page.

Item 2. of the Information Page is replaced by the following:

    2. The policy period is from
                               Dd04/01/2024            to 04/01/2025                 12:01 a.m. in the time zone of
       the insured’s mailing address. For endorsements issued during the policy period, the effective date is in the
        time zone of the insured’s mailing address.




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    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             MICHIGAN LAW ENDORSEMENT

Policy Number: 57 WV WQ0015                          Endorsement Number: 146
Effective Date: 04/01/2024   Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804



This endorsement applies only to the insurance provided by the policy because Michigan is shown in Item 3.A. of
the Information Page.
Michigan law requires that we attach this paragraph to your policy in the language specified by the statute. To
help you understand the paragraph, the following definitions are added:
1. We are "the insurer issuing this policy"
2. You are "the insured employer"
3. "Michigan workmen’s compensation act" means the Workers’ Disability Compensation Act of 1969
4. "Workmen’s compensation" means workers compensation
5. "The bureau of workmen’s compensation" means the Bureau of Workers’ Disability Compensation
"Notwithstanding any language elsewhere contained in this contract or policy of insurance, the accident fund or
the insurer issuing this policy hereby contracts and agrees with the insured employer:
Compensation
a. That it will pay to the persons that may become entitled thereto all workmen’s compensation for which the
   insured employer may become liable under the provisions of the Michigan workmen’s compensation act for all
   compensable injuries or compensable occupational diseases happening to his employees during the life of this
   contract or policy;
Medical Services
b. That it will furnish or cause to be furnished to all employees of the employer all reasonable medical surgical,
   and hospital services and medicines when they are needed, which the employer may be obligated to furnish or
   cause to be furnished to his employees under the provisins of the Michigan workmen’s compensation act, and
   that it will pay to the persons entitled thereto for all such services and medicines when they are needed for all
   compensable injuries or compensable occupational diseases happening to his employees during the life of this
   contract or policy;
Rehabilitation Services
c. That it will furnish or cause to be furnished such rehabilitation services for which the insured employer may
   become liable to furnish or cause to be furnished under the provisions of the Michigan workmen’s
   compensation act for all compensable injuries or compensable occupational diseases happening to his
   employees during the life of this contract or policy;
Funeral Expenses
d. That it will pay or cause to be paid the reasonable expense of the last sickness and burial of all employees
   whose deaths are caused by compensable injuries or compensable occupational diseases happening during
   the life of this contract or policy and arising out of and in the course of their employment with the employer,
   which the employer may be obligated to pay under the provisions of the Michigan workmen’s compensation
   act;

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Scope of Contract
e. That this insurance contract or policy shall for all purposes be held and deemed to cover all the business the
   said employer is engaged in at the time of the issuance of this contract or policy and all other businesses, if
   any, the employer may engage in during the life thereof, and all employees the employer may employ in any of
   his businesses during the period covered by this policy;

Obligations Assumed
f. That it hereby assumes all obligations imposed upon the employer by his acceptance of the Michigan
   workmen’s compensation act, as far as the payment of compensation, death benefits, medical, surgical,
   hospital care or medicine and rehabilitation services is concerned;

Termination Notice
g. That it will file with the bureau of workmen’s compensation at Lansing, Michigan, at least 20 days before the
   taking effect of any termination or cancellation of this contract or policy, a notice giving the date at which it is
   proposed to terminate or cancel this contract or policy; and that any termination of this policy shall not be
   effective as far as the employees of the insured employer are concerned until 20 days after notice of the
   proposed termination or cancellation is received by the bureau of workmen’s compensation;
Conflicting Provisions
h. That all the provisions of this contract, if any, which are not in harmony with this paragraph are to be
   constructed as modified hereby, and all conditions and limitations in the policy, if any, conflicting herewith are
   hereby made null and void.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

  MICHIGAN NOTICE OF POLICYHOLDER ENDORSEMENT


Policy Number: 57 WV WQ0015                              Endorsement Number: 147
Effective Date: 04/01/2024                   Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                         You must state that you believe your payroll
provided by the policy because Michigan is shown                       expenditures have changed by 20% or more,
in Item 3.A. of the Information Page.                                  and you must state the reasons for that belief.
1. Rates and Premium                                                   We will complete the audit within 120 days of
                                                                       receipt of your request if you provide us with all
   The policy contains rates and classifications that                  information we need to perform the audit.
   apply to your type of business. If you have any
   questions regarding the rates or classifications,               3. Reserves or Redemption
   please contact us or your agent.                                    You may request reserve and redemption
   You may obtain pertinent rating information by                      information that relates to the premium for this
   submitting a written request to us at our address                   policy. Your request must be in writing sent to
   shown on this endorsement. We may require                           our address shown in this endorsement. We
   you to pay a reasonable charge for furnishing                       will provide you with that information within
   the information.                                                    thirty (30) days of receipt of your request.
   You may also submit a written request for a                         If you believe that the policy premiums are
   review of the method by which your rates and                        excessive because we set unreasonable
   premiums were determined.           If you are not                  reserves or because of the unreasonable
   satisfied with the results of the review, you may                   redemption of claim, you may request a
   appeal to the Commissioner of Insurance at the                      meeting with our management representative.
   address shown in this endorsement.                                  Your request must be in writing sent to our
2. Payroll Audits                                                      address shown in this endorsement. If you are
                                                                       not satisfied with the results of the meeting,
   You may request a payroll audit once each                           you     may     appeal     to     the   Insurance
   calendar year. Your request must be in writing,                     Commissioner at the address shown in this
   sent to our address shown in this endorsement.                      endorsement.




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                                              Addresses


                                                                      Company Address

 Commissioner of Insurance
 Michigan Insurance Bureau                                 Hartford Specialty
 P.O. Box 30220                                            Company
 Lansing, MI 48909                                         One Hartford Plaza
                                                           Hartford, CT. 06155




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   MONTANA INTENTIONAL INJURY EXCLUSION ENDORSEMENT



Policy Number: 57 WV WQ0015                         Endorsement Number:       148
Effective Date: 04/01/2024                Effective hour is the same as stated on the Information Page of the policy.

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance               C. Exclusions
provided by the policy because Montana is shown
                                                                 This insurance does not cover:
in Item 3.A. of the Information Page.
                                                                 5. bodily injury caused by your intentional,
Exclusion 5 of Section C - Exclusions of Part Two                   malicious or deliberate act, whether or not the
(Employers Liability Insurance) of the policy is                    act was intended to cause injury to the
replaced by the following exclusion:                                employee injured, or whether or not you had
                                                                    actual knowledge that an injury was certain to
                                                                    occur.




                                         Countersigned by:
                                                                                      Authorized Representative




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                         MONTANA SAFETY ENDORSEMENT
Policy Number: 57 WV WQ0015                              Endorsement Number: 149
Effective Date: 04/01/2024                    Effective hour is the same as stated on the information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement applies only to the insurance                We must provide safety consultation services to you which
provided by the Policy because insurance is provided to       include consideration of the hazard, experience, and the
you in Montana.                                               size of your operations. We will notify you of the type of
                                                              safety consultation services available and the location
You must establish and administer an education-based
                                                              where the safety consultation services may be requested.
safety program for all employees including temporary
                                                              If we furnish or fail to furnish safety consultation
workers. The program shall consist of a safety training
                                                              services related to, in connection with, or incidental to
program which includes new employee general safety
                                                              providing workers compensation, we are not responsible
orientation, job - or task - specific safety training, and
                                                              for damages from any injury, loss, or death occurring as a
continuous refresher safety training encompassing
                                                              result of any act of omission by us, our employees or our
periodic safety meetings. The education-based safety
                                                              service contractors in the course of providing safety
program will also include periodic hazard assessments,
                                                              consultation services to you.
with corrective actions identified, and appropriate
documentation of performance of the activities.               However, we may be responsible for any safety
                                                              consultation services required to be performed under the
If you have more then five employees, then you must           provisions of a written service contract for which a
have a comprehensive and effective safety program             specific charge is made and not incidental to a policy of
which has a safety committee, established procedures          insurance; for damages caused by our actions or
for reporting and investigating all work-related              omission to act in which it was judicially determined that
incidents, accidents, injuries, and illnesses, and            the act or omission constituted a crime or involved actual
established procedures that assign specific safety            malice; or if the injury, loss, or death occurred during the
responsibilities and safety performance accountability.       actual performance of safety consultation services and
                                                              was directly and proximately caused by us.




                                      Countersigned by
                                                                                          Authorized Representative

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                                                                                                        ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        ARKANSAS AMENDATORY ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 150
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804




This endorsement applies because Arkansas is shown in Item 3.A. of the Information Page.
Part Two - Employers Liability Insurance, Section C. (Exclusions), Item 2 of the policy is replaced by the following:
    2. Punitive or exemplary damages because of bodily injury to an employee employed in violation of law;
       punitive or exemplary damages are defined by Arkansas Bulletin No. 4-82 as those damages which are
       imposed to punish a wrongdoer and to deter others from similar conduct;
Part Six - Conditions, Section D. (Cancellation) of the policy is replaced by the following:
D. Cancellation:
    1. You may cancel this policy. You must mail or deliver at least 30 days' advance written notice of
       cancellation to us. Cancellation is effective at 12:01 a.m. 30 days after we receive notice unless you
       specify a later date for cancellation.
        You may cancel coverage effective less than 30 days after written notice has been received by us if you
        have obtained other coverage or become a self-insurer.
    2. We may cancel this policy. If we cancel because you fail to pay all premiums when due, we will mail or
       deliver to you and to the Arkansas Workers Compensation Commission not less than 10 days advance
       written notice stating when the cancellation is to take effect. If we cancel for any other reason, we will mail
       or deliver to you and to the Arkansas Workers Compensation Commission not less than 30 days advance
       written notice stating when the cancellation is to take effect. Mailing notice to you at your mailing address
       shown in Item 1 of the Information Page will be sufficient notice.
    3. The policy period will end on the day and hour stated in the cancellation notice.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         MONTANA AMENDATORY ENDORSEMENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 151
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804




This endorsement applies because Montana is shown in Item 3.A. of the Information Page.
General Section, Section C. (Workers Compensation Law) of the policy is changed by adding the following:
The provisions of this policy conform to the minimum requirements of Montana law and control over any conflicting
statutes of any state in which the insured resides on or after the effective date of this policy.
Part Six - Conditions, Section D. (Cancellation) of the policy is replaced by the following:
D. Cancellation
   1. You may cancel this policy. You will mail or deliver advance written notice to us stating when the
       cancellation is to take effect.
   2. We may cancel this policy. We will provide you and the Montana Department of Labor and Industry not
       less than 20 days advance written notice stating when the cancellation is to take effect. We will provide
       the notice to you via mail or via electronic delivery in accordance with the Electronic Delivery of Insurance
       Notices or Documents law (MCA 33-15-601 et seq.). Mailing notice to you at your last known address or
       delivery via electronic means in compliance with the Electronic Delivery of Insurance Notices or
       Documents law will be sufficient to prove notice.
   3. If this policy has been in effect for 60 days or more, we may cancel only for one of the following reasons:
       a. A nonpayment of premium;
       b. A material misrepresentation;
       c. A substantial change in the risk we assumed under the policy unless it was reasonable for us to
          foresee the change or contemplate the risk when we issued the policy;
       d. A substantial breach of the duties, conditions or warranties under the policy;
       e. The Commissioner has determined that continuation of the policy would place us in violation of the
          laws of Montana;
       f. We are financially impaired; or
       g. Any other reason that is approved by the Commissioner.
   4. Our notice of cancellation will state our reasons for canceling.




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Part Six - Conditions of the policy is changed by adding the following:
F. Nonrenewal
   1. We may elect not to renew. We will provide you and your agent not less than 45 days advance written
      notice stating our intention not to renew this policy. We will provide the notice to you via mail or via
      electronic delivery in accordance with the Electronic Delivery of Insurance Notices or Documents law.
      Mailing notice to you at your last known address or delivery via electronic means in compliance with the
      Electronic Delivery of Insurance Notices or Documents law will be sufficient to prove notice.
   2. We do not have to renew the policy if you are insured elsewhere, accept replacement insurance, or
      request or agree to nonrenewal, or if the policy is expressly designated as being nonrenewable.
   3. Our notice of nonrenewal will state our reasons for not renewing.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                MICHIGAN AMENDATORY ENDORSEMENT

Policy Number: 57 WV WQ0015                           Endorsement Number:         152
Effective Date: 04/01/2024                    Effective hour is the same as stated on the Information Page of the policy.

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Notice given by or on behalf of the insured to our              any claim made by you if it shall be shown not to have
authorized agent, with particulars sufficient to identify       been reasonably possible to give notice within the
the insured, shall be considered notice to us.                  prescribed time period and that notice was given as
                                                                soon as was reasonably possible.
Failure to give any notice required by this Condition
within the time period specified shall not invalidate




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         NEW HAMPSHIRE CERTIFIED MANAGED CARE ENDORSEMENT


Policy Number:     57 WV WQ0015                             Endorsement Number: 153
Effective Date: 04/01/2024                 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                  The managed care credit is to be applied in a
provided by the policy because New Hampshire is                 multiplicative manner, after application of the
shown in Item 3.A. of the Information Page.                     experience modification factor. Also, all other
                                                                credits/debits must be applied in a multiplicative
You will receive a ten percent (10%) premium credit if          manner, after the application of the experience
you subscribe to the services of an approved Managed            modification factor and the managed care credit and
Care Program.                                                   before the application of the expense constant or
In order to receive this credit, you are enrolled by your       premium discount, if any.
insurance company or subscribe individually to obtain           The credit can only be issued at inception of the
the services of a Certified Managed Care Program.               policy. Minimum premium policies are not eligible for
Certified Managed Care Programs are programs that               this credit. The credit is not applicable to assigned
are approved by the New Hampshire Department of                 risk policies.
Labor and ratified by the New Hampshire Advisory
Council on Workers Compensation.




                                      Countersigned by
                                                                                          Authorized Representative


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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        OKLAHOMA EMPLOYERS LIABILITY
                   INTENTIONAL TORT EXCLUSION ENDORSEM ENT


Policy Number: 57 WV WQ0015                                Endorsement Number: 154
Effective Date:04/01/2024 Effective Hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Part Two – Employers Liability Insurance, C – Exclusions, 5. is replaced by the following:

This insurance does not cover:
        5. bodily injury intentionally caused or aggravated by you, or bodily injury that you knew or should have
            known was substantially certain to occur from an act caused, committed, or aggravated by you;




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   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            OKLAHOMA FRAUD WARNING
                                ENDORSEMENT


Policy Number: 57 WV WQ0015                           Endorsement Number: 155
Effective Date:04/01/2024    Effective Hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




This endorsement applies only to the insurance provided by the Policy because Oklahoma is shown in Item 3.A. of the
Information Page.


          WARNING: ANY PERSON WHO KNOWINGLY, AND WITH INTENT TO INJURE,
                   DEFRAUD OR DECEIVE ANY INSURER, MAKES ANY CLAIM FOR THE
                   PROCEEDS OF AN INSURANCE POLICY CONTAINING ANY FALSE,
                   INCOMPLETE OR MISLEADING INFORMATION IS GUILTY OF A
                   FELONY.




                                                Countersigned by
                                                                                          Authorized Representative
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    MAINE NOTICE OF FILING OF FIRST REPORTS
                          OF INJURY WITHIN SEVEN DAYS



Policy Number: 57 WV WQ0015                                Endorsement Number: 156
Effective Date: 04/01/2024        Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance             after the employer receives notice or knowledge of the
provided by this policy because Maine is shown in          injury, as provided by 39-A M.R.S.A. sec. 303. First
Item 3.A. of the Information Page.                         Reports of Injury can be mailed, electronically
                                                           submitted or faxed to the Workers' Compensation
Employer's First Report of Occupational Injury or
                                                           Board at 207-287-5895.
Disease, form WCB-1, required to be filed for injuries
arising out of and in the course of an employee's          Contact us immediately if an injury occurs which may
employment that has caused the employee to lose a          be required to be reported to the Workers'
day's work shall be reported to and received by the        Compensation Board.
Workers' Compensation Board within SEVEN days




                                    Countersigned by
                                                                               Authorized Representative




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                                                                                                  ABCDEFGHIJ



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


             MAINE SUPPLEMENTA L BENEFITS FUND ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 157
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the Insurance            compensation to employees made pursuant to 39-A
provided by the policy because Maine is shown in          M.R.S.A. § 213(3),(4).
Item 3.A. of the Information Page.
                                                          We are authorized pursuant to 39-A M.R.S.A. § 356
Title 39-A of Maine Revised Statute Annotated,            to collect a surcharge from you to pay the
sections 355A through section 356 establishes the         assessments required pursuant to 39-A M.R.S.A.
Maine Supplemental Benefits Fund to reimburse             § 154(3). Your surcharge will be calculated in
insurers and self-insurers for their payments of          accordance with 39-A M.R.S.A. § 154(3)(B-1).




                                                 Schedule


Surcharge:                %




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


            MAINE FINAL PREMIUM AUDIT ENDORSEMENT


Policy Number: 57 WV WQ0015                             Endorsement Number: 158
Effective Date: 04/01/2024       Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement applies only to the insurance provided by the policy because Maine is shown in Item 3.A. of the
Information Page.
Part Five (Premium), Condition E, Final Premium, and Condition G, Audit, are changed by adding these Conditions:
E. Final Premium
   We are required by Maine regulation to complete our final premium audit not later than 120 days after the policy
   period ends.
   If we are unable to examine and audit your records because of your failure to cooperate, we will mail advance
   written notice to you stating the reasons for our inability to establish the final premium. Your final premium will
   be established no later than 120 days from the time we are able to complete the examination and audit of your
   records.
   If we have not established the final premium within the 120-day time limitation, we may not bill or collect any
   additional premium that exceeds the latest billed annual premium.
G. Audit
   You may request a final premium audit to determine whether you are entitled to a refund, if we have not
   established the final premium within the 120-day time limit. You will mail or deliver written notice to us
   requesting the audit.




                                        Countersigned by
                                                                                       Authorized Representative


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                                                                                             ABCDEFGHIJ
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


  OKLAHOMA ELECTION OF COVERAGE NOTIFICATION ENDORSEMENT



Policy Number: 57 WV WQ0015                                Endorsement Number: 159
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                       LIMITED   LIABILITY   COMPANY
provided by the policy because Oklahoma is shown                     MEMBERS, OR ANY OR ALL OF
in Item 3.A. of the Information Page.                                YOUR STOCKHOLDER-EMPLOYEES
                                                                     AS EMPLOYEES FOR THE PURPOSE
                                                                     OF    WORKERS    COMPENSATION
NOTICE:    YOU HAVE THE OPTION TO ELECT
                                                                     INSURANCE     COVERAGE     BY
           TO INCLUDE, AS APPLICABLE,
                                                                     ENDORSING    THE    POLICY  IN
           YOUR SOLE PROPRIETOR, ANY OR
                                                                     ACCORDANCE WITH SECTION 3 OF
           ALL  OF   YOUR   PARTNERSHIP
                                                                     TITLE 85 OF THE OKLAHOMA
           MEMBERS, ANY OR ALL OF YOUR
                                                                     STATUTES.




                                     Countersigned by
                                                                                   Authorized Representative



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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                   WEST VIRG INIA CANCELLATION ENDO RSEMENT



Policy Number: 57 WV WQ0015                               Endorsement Number: 160
Effective Date: 04/01/2024        Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804




This endorsement applies only to the insurance               4. We may also choose not to renew this policy
provided by the policy because West Virginia is                 by providing sixty (60) days advance written
shown in Item 3.A. of the Information Page.                     notice.


Part Six, D (Conditions-Cancellation) is replaced by:        5. Our mailing of the Notice of Cancellation or
                                                                Non-Renewal to your mailing address as
                                                                listed in Item 1 of the information page will
    D. Cancellation
                                                                be sufficient notice of our intent to cancel.
    1. You may cancel this policy. You must mail                We will also provide notice of the
       or deliver advance written notice to us by               cancellation or non-renewal of the policy to
       stating when the cancellation is to take                 the West Virginia Insurance Commissioner
       effect.                                                  at least ten (10) days prior to the effective
                                                                date of termination, within ten (10) days of
                                                                receipt of your request for cancellation, as
    2. We may cancel this policy at any time by
                                                                applicable.
       providing you thirty (30) days advance
       written notice.


    3. Notwithstanding #2 above, if you fail to pay
       any premium due or refuse to comply with a
       premium audit under this policy, we may
       cancel the policy by providing you ten (10)
       days advance written notice.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    NEW HAMPSHIRE AMENDATORY ENDORSEMENT

Policy Number: 57 WV WQ0015                         Endorsement Number: 161
Effective Date: 04/01/2024     Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the New Hampshire coverage provided by the policy because New Hampshire is
shown in Item 3.A. of the Information Page.

For New Hampshire coverage, the Cancellation condition of the policy is amended and replaced by:

1. You may cancel this policy. You must mail or deliver advance written notice to us.
2. We may cancel this policy. We will file a written termination notice with the Commissioner of the Department of
   Labor and will send a copy to you.
3. In case of nonpayment of premium, the cancellation will take effect 30 days after the termination notice is filed.
4. In case of cancellation for reasons other than nonpayment of premium, cancellation will take effect 45 days after
   the notice of termination is filed.

5. If you have obtained coverage from another insurance carrier or have qualified as a self-insurer, cancellation is
   effective on the date you obtained the coverage or qualified as a self-insurer.




                                                   Countersigned by
                                                                                          Authorized Representative


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  System Date: 04-96
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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  MAINE INSPECTION IMMUNITY ENDORSEMENT
         (TITLE 14 MAINE REVISED STATUTES ANNOTATED SECTION 167)

 Policy Number: 57 WV WQ0015                             Endorsement Number: 162
 Effective Date: 04/01/2024                      Effective hour is the same as stated on the Information Page of the policy.
 Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804



THE FOLLOWING LIMITS OUR LIABILITY

 We, the insurance company, our agents, employees, or service contractors, are not liable for damages from injury,
 death or loss occurring as a result of any act or omission in the furnishing of or the failure to furnish insurance
 inspection services related to, in connection with or incidental to the issuance or renewal of a policy of property or
 casualty insurance.
 This exemption from liability does not apply:

 A. If the injury, loss or death occurred during the actual performance of inspection services and was proximately caused
    by our negligence or by the negligence of our agents, employees or service contractors;
 B. To any inspection services required to be performed under the provisions of a written service contract or defined loss
    prevention program;
 C. In any action against us, our agents, employees, or service contractors for damages proximately caused by our acts or
    omissions which are determined to constitute a crime, actual malice or gross negligence; or
 D. If we fail to provide this written notice to the insured whenever a policy is issued or when new policy forms are issued
    upon renewal.




                                                                  Countersigned by
                                                                                              Authorized Representative


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                                                                                                          ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                               NEW MEXICO CANCELLATION AND
                                NONRENEWAL ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 163
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies to the insurance provided                        hazards insured against. We must give
by the policy because New Mexico is shown in Item                         written notice to you at least 15 days prior
3.A. of the Information Page.                                             to the effective date of cancellation.
Part Six – Conditions, Section D. Cancellation of the                c. You presented a claim based on fraud or
policy is replaced by the following:                                      material misrepresentation. We must give
D. Cancellation                                                           written notice to you at least 15 days prior
                                                                          to the effective date of cancellation.
     1. You may cancel this policy by giving us
         advance written notice stating when the                     d. There has been a substantial change in
         cancellation is to take effect.                                  the risk assumed by us since the policy
                                                                          was issued. We must give written notice
     2. At any time during the policy period, regardless
                                                                          to you at least 30 days prior to the
         of the number of days the policy has been in
                                                                          effective date of cancellation.
         effect, we may cancel this policy for
         nonpayment of premium when due. We must                     e. Revocation or suspension of driver's license
         give written notice to you at least 10 days prior                of the named insured or other operator who
         to the effective date of the cancellation.                       either resides in the same household or
                                                                          customarily operates the vehicle. We must
     3. If the policy has been in effect less than 60
                                                                          give written notice to you at least 15 days
         days and is not a renewal policy, we may
                                                                          prior to the effective date of cancellation.
         cancel this policy without cause by giving
         written notice to you at least 10 days prior to         5. We will give the required Notice of Cancellation
         the effective date of the cancellation. The                 stating the reason(s) for cancellation before the
         cancellation effective date must fall within this           cancellation is effective. The notice will state
         period of less than 60 days.                                the time that the cancellation is to take effect.
                                                                     The written notice of cancellation will be sent to
     4. Subject to Subsection 2. above, if the policy
                                                                     your last address of record with us.
         has been in effect for 60 days or more or is a
         renewal, we may cancel this policy only for         Part Six – Conditions of the policy is changed by
         one or more of the following reasons:               adding the following:
         a. The policy was obtained through material         F. Nonrenewal
              misrepresentation, fraudulent statements,          1. If we decide not to renew this policy, we must
              omissions or concealment of fact material              give you written notice of our intention at least
              to the acceptance of the risk or to the                30 days prior to the expiration of the policy.
              hazard assumed by us. We must give                     The written notice of nonrenewal will be sent
              written notice to you at least 15 days prior           to your last address of record with us.
              to the effective date of cancellation.             2. This renewal section does not apply to any
         b. Willful and negligent acts or omissions by               policy of insurance issued to an insured that
              you have substantially increased the                   has its principal place of business outside the
                                                                     state of New Mexico.

Form WC 30 06 01 A Printed in U.S.A.
Process Date:                                                              Policy Expiration Date:
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    WEST VIRGINIA WORKERS COMPENSATION INSURANCE RECOVERY
                    FROM OTHER ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number:        164
Effective Date: 04/01/2024               Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Part One - Workers Compensation Insurance, G. - Recovery From Others, is replaced by the following:

      We have your rights to recover our payments from anyone liable for the injury. You will do everything
      necessary to protect those rights for us and to help us enforce them.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                     NEW HAMPSHIRE SOLE
                                 REPRESENTATIVE ENDORSEMENT

Policy Number: 57      WV WQ0015                           Endorsement Number: 165

Effective Date: 04/01/2024                   Effective hour is the same as stated on the Information Page of the policy.

Named Insured and Address: SUNPOWER       CORPORATION
                                 880 HARBOUR WAY SOUTH, SUITE 600
                                 RICHMOND, CA 94804




This endorsement applies only to the insurance provided by the policy because New Hampshire is shown in Item
3.A. of the Information Page.

Condition E, "Sole Representative," of the policy is replaced by the following:

"The insured first named in Item 1 of the Information Page will act on behalf of all insureds to change this policy,
receive return premium or to give us notice of cancellation. If we cancel this policy, we will give each named
insured notice of cancellation."




                                                Countersigned by
                                                                                  Authorized Representative




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            OKLAHOMA CANCELLATION, NONRENEWAL AND CHANGE
                            ENDORSEMENT

Policy Number: 57 WV WQ0015                                    Endorsement Number: 166
Effective Date: 04/01/2024                  Effective Hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement applies to the insurance provided                 g. Conviction of the named insured of a crime
by the policy because Oklahoma is shown in Item 3.A.                  having as one of its necessary elements an act
of the Information Page.                                              increasing any hazard insured against; or
The Cancellation Condition in Part Six (Conditions)                h. Loss of or substantial changes in applicable
of the policy is amended by adding the following                      reinsurance.
provision:
                                                               Part 6 (Conditions) of the policy is amended by adding
5. If this policy has been in effect for more than 45          the following provisions:
   business days or is a renewal policy, we may
                                                               F. Nonrenewal
   cancel only for one of the following reasons:
  a. Nonpayment of premium;                                       If we elect not to renew this policy, we will mail or
                                                                  deliver written notice of nonrenewal to you at least
  b. Discovery     of     fraud    or   material
     misrepresentation in the procurement of the                  45 days before:
     insurance or with respect to any claims                      a. The expiration date of this policy; or
     submitted under it;                                          b. An anniversary date of this policy, if it is written
  c. Discovery of willful or reckless acts or                        for a term longer than one year or with no fixed
     omissions on the part of the named insured                      expiration date.
     which increase any hazard insured against;                Any notice of nonrenewal will be mailed or delivered
  d. The occurrence of a change in the risk which              to you at the last mailing address known to us.
     substantially increases any hazard insured
                                                               If notice is mailed:
     against after insurance coverage has been
     issued or renewed;                                           a. It will be considered to have been given to you
  e. A violation of local fire, health, safety,                      on the day it is mailed.
     building, or construction regulation or                      b. Proof of mailing will be sufficient proof of
     ordinance with respect to any insured                           notice.
     property or the occupancy thereof which
     substantially increases any hazard insured                If notice of nonrenewal is not mailed or delivered at
     against;                                                  least 45 days before the expiration date or an
                                                               anniversary date of this policy, coverage will remain
  f. A     determination    by     the  Insurance              in effect until 45 days after notice is given. Earned
     Commissioner that the continuation of the                 premium for such extended period of coverage will be
     policy would place the insurer in violation of            calculated pro rata based on the rates applicable to
     the insurance laws of this state;                         the expiring policy.




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We will not provide notice of nonrenewal if:                          b. Proof of mailing will be sufficient proof of
                                                                         notice.
   a. We, or another company within the same
      insurance group, have offered to issue a                If you accept the renewal, the premium increase or
      renewal policy; or                                      deductible, limits or coverage changes will be effective
                                                              the day following the prior policy’s expiration or
   b. You have obtained replacement coverage or               anniversary date.
      have agreed in writing to obtain replacement
                                                              If notice is not mailed or delivered at least 45 days
      coverage.
                                                              before the expiration date or anniversary date of this
If we have provided the required notice of                    policy, the premium, the deductible, limits and coverage
nonrenewal as described above, and thereafter                 in effect prior to the changes will remain in effect until the
extend the policy for a period of 90 days or less, we         earlier of:
will not provide an additional nonrenewal notice with
respect to the period of extension.                              a. 45 days after notice is given; or
                                                                 b. The effective date of replacement coverage
G. Notice of Premium or Coverage Changes
   Upon Renewal                                                     obtained by you.
   If we elect to renew this policy, we will give written     If you then elect not to renew, any earned premium for
   notice of any premium increase, change in                  the resulting extended period of coverage will be
   deductible, or reduction in limits or coverage, to         calculated pro rata at the lower of the new rates or rates
   you, at the last mailing address know to us.               applicable to the expiring policy.
   Any such notice will be mailed or delivered to             We will not provide notice of the following:
   you at least 45 day before:
                                                                 a. Changes in a rate or plan filed with or approved
   a. The expiration date of this policy; or                        by the Insurance Commissioner or filed pursuant
                                                                    to the Property and Casualty Competitive Loss
   b. An anniversary date of this policy, if it is
                                                                    Cost Rating Act and applicable to an entire class
      written for a term longer than one year or
                                                                    of business; or
      with no fixed expiration date.
                                                                 b. Changes based upon the altered nature of extent
   If notice is mailed:
                                                                    of the risk insured; or.
   a. It will be considered to have been given to
                                                                 c. Changes in policy forms filed with or approved
      you on the day it is mailed.
                                                                    by the Insurance Commissioner and applicable
                                                                    to an entire class of business.




                                      Countersigned by
                                                                                     Authorized Representative




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               MAINE CANCELLATION AND
                              NONRENEWAL ENDORSEMENT

Policy Number: 57 WV WQ0015                             Endorsement Number: 167
Effective Date: 04/01/2024      Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804




This endorsement applies only to the insurance provided by the policy because Maine is shown in Item 3.A. of the
Information Page.

Part Six - (Conditions) is changed by adding these conditions:
D. Cancellation

   5. If this policy has been renewed or has been in effect for 60 days or more, we may cancel only for one of the
      following reasons:
      a. Nonpayment of premium.
      b. Fraud or a material misrepresentation was made in obtaining the policy, continuing the policy or
         presenting a claim under the policy.
      c. The risk accepted when the policy was issued substantially increased.
      d. Your failure to comply with reasonable loss control recommendations.
      e. A substantial breach of contractual duties, conditions or warranties under the policy.
      f. The Superintendent has determined that continuation of the policy could jeopardize our solvency or place
         us in violation of the law.

Nonrenewal
  1. We may elect not to renew the policy. We will mail or deliver to you not less than 30 days advance written
     notice. A post office certificate of mailing to you at your last known address will be conclusive proof of
     receipt of that notice on the third calendar day after mailing.




                                                          Countersigned by
                                                                                        Authorized Representative

     Form WC 18 06 03 Printed in U.S.A.
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     System Date: 05-96
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       KENTUCKY CANCELLATION AND NONRENEWAL ENDORSEMENT

Policy Number: 57 WV WQ0015                                Endorsement Number: 168
Effective Date: 04/01/2024       Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                   c) discovery of willful or reckless acts or
provided by the policy because Kentucky is shown in                 omissions on your part increasing any hazard
Item 3.A. of the Information Page.                                  originally insured;
The Cancellation condition of the policy is replaced             d) changes in conditions after the effective date
by the following:                                                   of the policy or any renewal substantially
   Cancellation                                                     increasing any hazard originally insured;
1. You may cancel this policy. You will deliver or mail          e) a violation of any local fire, health, safety,
                                                                    building, or construction regulation or
    advance written notice to us, stating when the
                                                                    ordinance at any of your covered workplaces
    cancellation is to take effect.
                                                                    substantially increasing any hazard originally
2. We may cancel this policy. We will deliver or mail               insured;
   to you not less than 75 days advance written notice
                                                                 f) our involuntary loss of reinsurance for the
   stating when the cancellation is to take effect and
   our reason or reasons for cancellation. If we                    policy;
   cancel for nonpayment of premium or within 60                 g) a determination by the commissioner that the
   days of the date of issuance of the policy, we will              continuation of the policy would place us in
   deliver or mail this notice not less than 14 days                violation of Kentucky insurance laws.
   prior to the effective date of cancellation. Proof of      Nonrenewal
   mailing of this notice to you at your mailing address
   shown in Item 1 of the Information Page will be            1. We may elect not to renew the policy. We will
   sufficient to prove notice.                                   deliver or mail to you not less than 75 days
                                                                 advance written notice stating our intention not
3. After coverage has been in effect more than 60                to renew and our reason or reasons for
   days or after the effective date of a renewal policy,         nonrenewal. Proof of mailing of this notice to
   we may not cancel the policy unless cancellation is           you at your mailing address shown in Item 1 of
   based on one or more of the following reasons:                the Information Page will be sufficient to prove
  a) nonpayment of premium;                                      notice.
  b) discovery of fraud or material misrepresentation         2. If we fail to provide the notice of nonrenewal as
     made by you or with your knowledge in                       required, the policy will be deemed to be
     obtaining the policy, continuing the policy, or             renewed for the ensuing policy period upon
     presenting a claim under the policy;                        payment of the appropriate premium, and
                                                                 coverage will continue until you have accepted




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   replacement coverage with another insurer, until              renewed and the date on which coverage
   you have agreed to the nonrenewal, or until the               ceased to exist. Proof of mailing of the renewal
   policy is canceled.                                           premium to us or our agent on or before the due
3. If we have delivered or mailed to you a renewal               date will constitute a presumption of receipt on
   notice, bill, certificate, or policy not less than 30         or before the due date.
   days before the end of the current policy period            4. If we offer to renew the policy for a premium
   clearly stating the amount and due date of the                 amount more than 25% greater than the
   renewal premium charge, then the policy will                   premium amount for the current policy term for
   terminate on the due date without further notice               like coverage and like risks, we will deliver or
   unless the renewal premium is received by us or                mail to you and to your agent not less than 75
   our agent on or before the due date.            If the         days advance written notice of the renewal
   policy terminates in this manner, we will deliver              premium amount.      We may at our option, in
   or mail to you within 15 days of termination at                order to comply with this requirement, extend
   your mailing address shown in Item 1 of the                    the period of coverage of the current policy at
   Information Page a notice that the policy was not              the expiring premium.




                                        Countersigned by
                                                                                    Authorized Representative




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              KENTUCKY NOTICE OF APPEAL RIGHTS ENDORSEMENT


Policy Number: 57 WV WQ0015                                  Endorsement Number: 169
Effective Date: 04/01/2024                  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance provided by the policy because Kentucky is shown in Item 3.A. of the
Information Page.


                                           NOTICE OF YOUR RIGHTS
If you believe that the rates or the rating system under this policy have been incorrectly or improperly applied, you
may request a review of the manner in which the rate or rating system has been applied. You must make your
request in writing to us or the National Council on Compensation Insurance, Inc. (NCCI). We or NCCI has thirty (30)
days to grant or reject your request for a review and to notify you in writing whether your request has been granted or
rejected. If your request is granted, we or NCCI shall conduct the review within ninety (90) days of receiving your
request. If your request is rejected or if you are dissatisfied with the results of the review, you may appeal to the
commissioner for further review. You must make your appeal within thirty (30) days of receipt of the rejection or of
the results of your review. Your appeal is to be sent to:

                                                     Legal Division

                                               Department of Insurance

                                                     P.O. Box 517

                                                  Frankfort, KY 40602

Your request for an appeal should include a statement of the facts and how the rates or rating system were
incorrectly or improperly applied. Also, enclose copies of the results of the review and any other correspondence
from us or NCCI. If your appeal shows good cause, the commissioner shall hold a hearing. The commissioner may,
after the hearing, issue a final order affirming, modifying or reversing our or NCCI's action.




                                                  Countersigned by:
                                                                                      Authorized Representative

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                                                                                                          ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          90-DAY REPORTING REQUIREMENT -
                        NOTIFICATION OF CHANGE IN OWNERSHIP
                                   ENDORSEMENT
Policy Number: 57 WV WQ0015                                Endorsement Number: 170
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804




You must report any change in ownership to us in writing within 90 days of the date of the change. Change in
ownership includes sales, purchases, other transfers, mergers, consolidations, dissolutions, formations of a new
entity and other changes provided for in the applicable experience rating plan. Experience rating is mandatory for
all eligible insureds. The experience rating modification factor, if any, applicable to this policy, may change if there
is a change in your ownership or in that of one or more of the entities eligible to be combined with you for
experience rating purposes.
Failure to report any change in ownership, regardless of whether the change is reported within 90 days of such
change, may result in revision of the experience rating modification factor used to determine your premium.
This reporting requirement applies regardless of whether an experience rating modification is currently applicable
to this policy.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


      CATASTROPHE (OTHER THAN CERTIFIED ACTS OF TERRORISM)
                     PREMIUM ENDORSEMENT


Policy Number: 57 WV WQ0015                                 Endorsement Number: 171
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement is notification that we are charging     For purposes of this endorsement, Catastrophe
premium to cover the losses that may occur in the         (Other Than Certified Acts of Terrorism) is defined as:
event of a Catastrophe (Other Than Certified Acts of      A single event or peril resulting in a group of claims
Terrorism) as that term is defined below. Your policy     with aggregate workers compensation losses in
provides coverage for workers compensation losses         excess of $50 million. This $50 million threshold
caused by a Catastrophe (Other Than Certified Acts        applies per occurrence, across all states for which
of Terrorism). Coverage for such losses is subject to     claims arise from a single event or peril.
all terms, definitions, exclusions, and conditions in
your policy, and any applicable federal and/or state      The premium charge for the coverage your policy
laws, rules, or regulations. This premium charge          provides for workers compensation losses caused by
does not provide funding for Certified Acts of            a Catastrophe (Other Than Certified Acts of
Terrorism contemplated under the Terrorism Risk           Terrorism) is shown in Item 4 of the Information Page
Insurance Program Reauthorization Act Disclosure          or in the Schedule below.
Endorsement attached to this policy.

                                                        Schedule

                       State                            Rate                              Premium




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                         EXHIBIT B
              Insurance Policy 57 WPR WQ0297
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                                         Customer Privacy Notice
                         The Hartford Financial Services Group, Inc. and Affiliates
                                      (herein called “we, our, and us”)

                          This Privacy Policy applies to our United States Operations


We value your trust. We are committed to the               c) insurance companies;
responsible:                                               d) administrators; and
a) management;                                             e) service providers;
b) use; and                                                who help us serve You and service our business.
c) protection;
of Personal Information.                                   When allowed by law, we may share certain
                                                           Personal Financial Information with other
This notice describes how we collect, disclose, and        unaffiliated third parties who assist us by performing
protect Personal Information.                              services or functions such as:
We collect Personal Information to:                        a) taking surveys;
a) service your Transactions with us; and                  b) marketing our products or services; or
b) support our business functions.                         c) offering financial products or services under a
                                                               joint agreement between us and one or more
We may obtain Personal Information from:                       financial institutions.
a) You;                                                    We, and third parties we partner with, may track
b) your Transactions with us; and                          some of the pages You visit through the use of:
c) third parties such as a consumer-reporting
   agency.                                                 a) cookies;
                                                           b) pixel tagging; or
Based on the type of product or service You apply          c) other technologies;
for or get from us, Personal Information such as:          and currently do not process or comply with any web
a) your name;                                              browser’s “do not track” signal or other similar
b) your address;                                           mechanism that indicates a request to disable online
c) your income;                                            tracking of individual users who visit our websites or
d) your payment; or                                        use our services.
e) your credit history;                                    For more information, our Online Privacy Policy,
may be gathered from sources such as applications,         which governs information we collect on our website
Transactions, and consumer reports.                        and our affiliate websites, is available at
To serve You and service our business, we may              https://www.thehartford.com/online-privacy-policy.
share certain Personal Information. We will share          We will not sell or share your Personal Financial
Personal Information, only as allowed by law, with         Information with anyone for purposes unrelated to
affiliates such as:                                        our business functions without offering You the
a) our insurance companies;                                opportunity to:
b) our employee agents;                                    a) “opt-out;” or
c) our brokerage firms; and                                b) “opt-in;”
d) our administrators.                                     as required by law.
As allowed by law, we may share Personal                   We only disclose Personal Health Information
Financial Information with our affiliates to:              with:
a) market our products; or                                 a) your authorization; or
b) market our services;                                    b) as otherwise allowed or required by law.
to You without providing You with an option to
prevent these disclosures.                                 Our employees have access to Personal
                                                           Information in the course of doing their jobs, such
We may also share Personal Information, only as            as:
allowed by law, with unaffiliated third parties
including:                                                 a) underwriting policies;
                                                           b) paying claims;
a) independent agents;                                     c) developing new products; or
b) brokerage firms;                                        d) advising customers of our products and
                                                               services.
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We use manual and electronic security procedures                             a)   credit history;
to maintain:                                                                 b)   income;
a) the confidentiality; and                                                  c)   financial benefits; or
b) the integrity of;                                                         d)   policy or claim information.
Personal Information that we have. We use these                              Personal Financial Information may include Social
procedures to guard against unauthorized access.                             Security Numbers, Driver’s license numbers, or
Some techniques we use to protect Personal                                   other government-issued identification numbers, or
Information include:                                                         credit, debit card, or bank account numbers.
a) secured files;                                                            Personal Health Information means health
b) user authentication;                                                      information such as:
c) encryption;                                                               a) your medical records; or
d) firewall technology; and                                                  b) information about your illness, disability or injury.
e) the use of detection software.
                                                                             Personal Information means information that
We are responsible for and must:                                             identifies You personally and is not otherwise
a) identify information to be protected;                                     available to the public. It includes:
b) provide an adequate level of protection for that                          a) Personal Financial Information; and
    data;                                                                    b) Personal Health Information.
and
c) grant access to protected data only to those                              Transaction means your business dealings with us,
    people who must use it in the performance of                             such as:
    their job-related duties.                                                a) your Application;
Employees who violate our privacy policies and                               b) your request for us to pay a claim; and
procedures may be subject to discipline, which may                           c) your request for us to take an action on your
include termination of their employment with us.                                account.

We will continue to follow our Privacy Policy                                You means an individual who has given us
regarding Personal Information even when a                                   Personal Information in conjunction with:
business relationship no longer exists between us.                           a) asking about;
                                                                             b) applying for; or
As used in this Privacy Notice:                                              c) obtaining;
Application means your request for our product or                            a financial product or service from us if the product
service.                                                                     or service is used mainly for personal, family, or
                                                                             household purposes.
Personal Financial Information means financial
information such as:

If you have any questions or comments about this privacy notice, please feel free to contact us at The Hartford - Consumer Rights and Privacy
Compliance Unit, One Hartford Plaza, Mail Drop: HO1-09, Hartford, CT 06155, or at ConsumerPrivacyInquiriesMailbox@thehartford.com.

This Customer Privacy Notice is being provided on behalf of The Hartford Financial Services Group, Inc. and its affiliates (including the
following as of February 2024), to the extent required by the Gramm-Leach-Bliley Act and implementing regulations:

1stAGChoice, Inc.; Access CoverageCorp, Inc.; Access CoverageCorp Technologies, Inc.; Business Management Group, Inc.; Cervus Claim
Solutions, LLC; First State Insurance Company; FTC Resolution Company LLC; Hart Re Group L.L.C.; Hartford Accident and Indemnity
Company; Hartford Administrative Services Company; Hartford (Asia) Limited; Hartford Casualty General Agency, Inc.; Hartford Casualty
Insurance Company; Hartford Corporate Underwriters Limited; Hartford Fire General Agency, Inc.; Hartford Fire Insurance Company; Hartford
Funds Distributors, LLC; Hartford Funds Management Company, LLC; Hartford Funds Management Group, Inc.; Hartford Holdings, Inc.; Hartford
Insurance Company of Illinois; Hartford Insurance Company of the Midwest; Hartford Insurance Company of the Southeast; Hartford Insurance,
Ltd.; Hartford Integrated Technologies, Inc.; Hartford Investment Management Company; Hartford Life and Accident Insurance Company; Hartford
Lloyd’s Corporation; Hartford Lloyd’s Insurance Company; Hartford Management, Ltd.; Hartford Management (UK) Limited; Hartford Productivity
Services LLC; Hartford of the Southeast General Agency, Inc.; Hartford of Texas General Agency, Inc.; Hartford Residual Market, L.C.C.; Hartford
Specialty Insurance Services of Texas, LLC; Hartford STAG Ventures LLC; Hartford Strategic Investments, LLC; Hartford Underwriters General
Agency, Inc.; Hartford Underwriters Insurance Company; Hartford Underwriting Agency Limited; Heritage Holdings, Inc.; Heritage Reinsurance
Company, Ltd.; HLA LLC; Horizon Management Group, LLC; HRA Brokerage Services, Inc.; Lattice Strategies LLC; Maxum Casualty Insurance
Company; Maxum Indemnity Company; Maxum Specialty Services Corporation; Millennium Underwriting Limited; MPC Resolution Company LLC;
Navigators Holdings (UK) Limited; Navigators Insurance Company; Navigators Management Company, Inc.; Navigators Specialty Insurance
Company; Navigators Underwriting Limited; New England Insurance Company; New England Reinsurance Corporation; New Ocean Insurance
Co., Ltd.; NIC Investments (Chile) SpA; Nutmeg Insurance Agency, Inc.; Nutmeg Insurance Company; Pacific Insurance Company, Limited;
Property and Casualty Insurance Company of Hartford; Sentinel Insurance Company, Ltd.; The Navigators Group, Inc.; Trumbull Flood
Management, L.L.C.; Trumbull Insurance Company; Twin City Fire Insurance Company; Y-Risk, LLC.




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 Policy Number 57 WPR WQ0297                Policy Effective Date 04/01/2024
SUNPOWER CORPORATION
880 HARBOUR WAY SOUTH, SUITE 600
RICHMOND, CA 94804


Dear Hartford Insured,

Re: An Important Message to Workers Compensation Policyholders

The control of workplace accidents and injuries should be among the highest priorities of your firm. Each accident
wastes precious human and financial resources, and introduces inefficiencies into your operations. From a
practical standpoint, the control of accidents, and their inevitable costs, simply makes good business sense.
An effective risk engineering program can save you money and aggravation, can positively impact your loss
experience (and thus your premium), and most importantly, can help you maintain solid control of your operations.
As a service to you, our valued customer, the Risk Engineering Department of The Hartford in cooperation
with your independent agent, can assist you in establishing risk engineering strategies. If you would like assistance,
please complete and return to us the reply portion of this brochure, or contact your independent agent.

Services Available
The following is a description of some of the services that we provide. The types of services that may be
appropriate for your business depend upon the nature and size of your operations and the specific risk
engineering services you have requested. The cost of risk engineering services may or may not be a part
of your insurance premium. This depends on the extent of the requested services, agreements stated in
your insurance policy and program, and statutory regulations that may require us to provide risk
engineering services.
1) Reference Materials - Information about risk engineering topics that can be provided or made available to you
   to help you to enhance your risk engineering program.
2) Telephone Consultation - We can hold a teleconference with you to help you to evaluate your risk
   engineering program, identify areas for improvement, and recommend ways to implement such improvements.
3) Onsite Consultation - This consists of visiting your premises and helping you to assess and remedy your risk
   engineering needs onsite. This level of service is usually only appropriate for larger, higher hazard operations.
   The following are examples of some of the services that could be provided onsite:
    o   A review of your safety program to determine its adequacy and recommend modifications to that plan where
        needed.
    o   Specific hazard evaluations, including ergonomics, industrial hygiene or material handling.
    o   An initial survey and evaluation to address potential safety and health hazards.
    o   Consultation to help management establish a comprehensive loss prevention Program.
    o   Periodic summaries of accidents and analysis of causes.
    o   Follow-up visits to check on progress and to provide continuing assistance when required.




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Process Date: 05/02/2024                                                    Policy Expiration Date: 04/01/2025
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A Word About OSHA
The Occupational Safety and Health Act of 1970 and similarly approved State Plans require employers to provide
their employees with safe and healthful places to work. The Occupational Safety and Health Administration (OSHA)
of the U.S. Department of Labor and similar State agencies enforce the regulations and apply penalties (civil and
criminal) for non-compliance.

New standards have been developed, and through application and interpretation, standards change. You should
make yourself aware of the standards that are applicable to your operations, and assure yourself that
reasonable efforts are made to be in compliance. Copies of the standards are available through most libraries, or
can be obtained through OSHA or the U.S. Government Printing Office.

You should know that neither The Hartford, nor any other party, can fulfill your obligations under the Law.
Questions related to your legal obligations should be referred to your legal counsel.

Some Safety Reminders from The Hartford:

Have you considered:
    o   The need to formalize your safety efforts to assure compliance and document your efforts?
    o   The need to acquire Material Safety Data Sheets on all hazardous materials and the need for training on
        appropriate safety measures for your employees?
    o   Requirements for record keeping of injuries, illnesses, and exposure to hazardous substances?
    o   Assessing each job task to determine hazards and needed controls?
    o   Measuring each exposure to hazardous substances to determine the need for control or personal protective
        equipment?
    o   What mechanisms are in place to periodically verify that exposure controls (guards, ventilation systems, etc.)
        are still in place and working?
    o   What specific training your employees and your supervisors need to avoid hazards in the workplace?
    o   What specific OSHA standards apply to your business?
    o   What mechanism exists to promptly investigate all accidents and 'near-misses' to limit the chance of
        another occurrence?
    o   The financial impact an injury or illness has on your business?
    o   What resources are available to you to help prevent accidents and illnesses?

Thank you for your business.


Sincerely,
The Hartford's Risk Engineering Department




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THIS BROCHURE IS PROVIDED FOR INFORMATIONAL PURPOSES ONLY. IT IS NOT INTENDED TO BE A
SUBSTITUTE FOR A COMPLETE ON-SITE SAFETY INSPECTION CONDUCTED BY A QUALIFIED RISK
ENGINEERING SPECIALIST. READERS ARE ENCOURAGED TO HAVE SUCH AN INSPECTION
CONDUCTED BOTH TO PROMOTE WORKPLACE SAFETY AND TO COMPLY WITH APPLICABLE LAW.


FOR ADDITIONAL INFORMATION OR ASSISTANCE, EITHER TELEPHONE OR MAIL THIS FORM TO YOUR
HARTFORD AGENT OR NEAREST OFFICE OF THE HARTFORD

                                   NOTICE TO ARKANSAS POLICYHOLDERS
The Hartford is required by law to provide its policyholders with certain accident prevention services at no
additional cost as required by ARK. Code Ann. §11-9-409(D) and Rule 32. If you would like more information, call The
Hartford's Risk Engineering Department, One Hartford Plaza, COG1, Hartford, CT 06155 at 1-866-586-0467. If you
have any questions about this requirement, call the Health and Safety Division, Arkansas Workers' Compensation
Commission at 1-800-622-4472.

                                   NOTICE TO CALIFORNIA POLICYHOLDERS
The Hartford is required by law to provide its policyholders with certain occupational safety and health risk engineering
consultation services as required by the California Labor Code, §6354.5, at no additional charge. If you would like
more information call The Hartford's Risk Engineering Department at 1-866-586-0467 for occupational safety and
health risk engineering consultation services.

California Workers Compensation insurance policyholders may register comments about the insurer's risk engineering
consultation service by writing to:

                           State of California
                           Department of Industrial Relations
                           Division of Occupational Safety and Health
                           P.O. Box 420603
                           San Francisco, California 94142

                                NOTICE TO PENNSYLVANIA POLICYHOLDERS
The Hartford maintains and provides accident and illness prevention services as required by the nature of the
policyholder's business or its operation, in accordance with the Pennsylvania Workers' Compensation Act. For
more information about these services contact your Hartford Agent or nearest office of The Hartford.

                                     NOTICE TO TEXAS POLICYHOLDERS
Pursuant to Texas Labor Code §411.066, The Hartford is required to notify its policyholders that accident
prevention services are available from The Hartford at no additional charge. These services may include surveys,
recommendations, training programs, consultations, analyses of accident causes, industrial hygiene and industrial
health services.

The Hartford is also required to provide return-to-work coordination services as required by Texas Labor Code
§413.021 and to notify you of the availability of the return-to-work reimbursement program for employers under
Texas Labor Code §413.022.

If you would like more information, contact The Hartford at 1-866-586-0467 and email
contactriskengineering@thehartford.com for accident prevention services or 1-877-952-9222 and email
CentralClaimCenter.WCEDM@thehartford.com for return-to-work coordination services.

For information about these requirements call the Texas Department of Insurance, Division of Workers'
Compensation (TDI-DWC) at 1-800-687-7080 or for information about the return-to-work reimbursement program
for employers call the TDI-DWC at 1-512-804-5000.

If The Hartford fails to respond to your request for accident prevention services or return-to-work coordination
services, you may file a complaint with the TDI-DWC in writing at http://www.tdi.texas.gov or by mail to Texas
Department of Insurance, Division of Workers' Compensation, P.O. Box 12050, Austin, Texas 78711.


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                                       Request for Technical Resources


To The Hartford's Risk Engineering Department:

Yes - I am interested in obtaining information concerning:

    General Topics                          Business Continuity                        Construction
    Accident Analysis                       Business Travel Safety                     Construction Site Consultation
    Accident Investigations                 Contingency Planning Overview              Construction Equipment Hazards
    Establishing a Risk Engineering         Emergency/Disaster Response                Hazard Communication
    Program
    Hazard Recognition                      Emergency Evacuation Drills                Ladders & Scaffolds
    Safety Committees                       Emergency Preparedness Planning            Trenching & Evacuation
                                                                                       Fall Protection

    Ergonomics                              Industrial Hygiene                         Property
    Back Injury Prevention                  Hazard Communication                       Automatic Sprinkler System
    Computer Workstation                    Industrial Hygiene (general)               Flammable Liquids
    Cumulative Trauma Disorders             Indoor Air Quality                         Fire Prevention and Protection
    Ergo Train-the-Trainer                  Noise Exposures                            Fire Drill and Evacuation
    Telecommuting                           Respiratory Protection                     Hot Work Permit Program

    Transportation                          Workers' Compensation                      Other Topics
    3-D Driver Training                     Bloodborne Pathogens                       Business Risk Management
    Driving Defensively                     Drug Screening                             General Liability Investigations
    Fleet Newsletter                        Machine Safeguarding                       Product Liability Programs
    Guide to Successful Driver Mgmt         Return to Work Programs                    Safety Training
    School Bus Driving Tips                 Slip and Falls                             Security/Terrorism


Name

Company                                                                    Policy # 57 WPR WQ0297

Address

City & State                                                                     Zip Code

Email Address:                                                             Telephone

                       For more information on the above, you can visit our website at
                               https://www.thehartford.com/riskengineering
                                    Or you may forward your request to:
                                          Fax line: 1-860-723-4459
                                                 Or mail to:
                                   The Hartford Financial Services Group
                                       Risk Engineering Department
                                         One Hartford Plaza, COG1
                                             Hartford, CT 06155




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                     WISCONSIN NOTICE OF RIGHT TO FILE A COMPLAINT


                          KEEP THIS WITH YOUR INSURANCE PAPERS


PROBLEMS WITH YOUR INSURANCE? - If you are having problems with your insurance
company or agent, do not hesitate to contact the insurance company or agent to resolve your
problem.


                                       The Hartford

                               Telephone:

You can also contact the OFFICE OF THE COMMISSIONER OF INSURANCE, a state agency
which enforces Wisconsin’s insurance laws, and file a complaint. You can contact the OFFICE
OF THE COMMISSIONER OF INSURANCE by writing to:

                               Office of the Commissioner of Insurance
                                        Complaints Department
                                             P. O. Box 7873
                                       Madison, WI 53707-7873

or you can call 1-800-236-8517 outside of Madison or 266-0103 in Madison, and request a
complaint form.




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Policy Number: 57 WPR WQ0297

Named insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
Endt. No.
                           RICHMOND, CA 94804




  IMPORTANT NOTICE TO POLICYHOLDERS - TERRORISM
  RISK INSURANCE PROGRAM REAUTHORIZATION ACT OF
     2007 - WORKERS COMPENSATION PREMIUM

In accordance with the federal Terrorism Risk Insurance Program Reauthorization Act of 2007 (TRIPRA), we must make
coverage for "certified acts of terrorism" available under your policy. The actual coverage provided by your policy for
"certified acts of terrorism" is limited by the terms and conditions of your policy and/or applicable rules of law.
      A "certified act of terrorism" means any act that is certified by the Secretary of the Treasury, in concurrence with
      the Secretary of the State and the Attorney General of the United States, to be an act of terrorism pursuant to
      TRIPRA. The criteria contained in TRIPRA for a "certified act of terrorism" include the following:
      1. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
         insurance subject to TRIPRA; and
      2. The act resulted in damage within the United States, or outside the United States in the case of certain air
         carriers or vessels or the premises of a United States mission; and

      3. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed
         by an individual or individuals acting as part of an effort to coerce the civilian population of the United States
         or to influence the policy or affect the conduct of the United States Government by coercion.

Any terrorism coverage made available in our policies is partially reinsured by the United States Department of the
Treasury (the "Treasury") under a formula established by TRIPRA. Under this formula, the federal share equals 85% of
that portion of such insured losses exceeding the applicable insurer deductible. However, if aggregate insured losses
attributable to certified acts of terrorism under TRIPRA exceeds $100 billion in a Program Year (January 1 through
December 31) the Treasury will not make any payment for any portion of the amount of such losses that exceeds $100
billion.
If aggregate insured losses attributable to terrorist acts certified under TRIPRA exceed $100 billion in a Program Year
(January 1 through December 31) and we have met our insurer deductible under TRIPRA, we shall not be liable for the
payment of any portion of the amount of such losses that exceeds $100 billion and, in such case, insured losses up to
that amount are subject to pro rata allocation in accordance with procedures established by the Treasury.
TRIPRA has revised the existing definition of "certified act of terrorism" to remove the requirement that the act be
committed by an individual or individuals acting on behalf of any foreign person or foreign interest. As a result, a "certified
act of terrorism" now includes both foreign and domestic terrorism. The premium attributable to such coverage is set
forth as follows. The charge for foreign terrorism is either shown in Item 4 of the Information Page or on the Schedule.
The charge for domestic terrorism is included as part of the DTEC charge and can be determined by applying the
percentage, by state, shown in the table on the following page against the DTEC premium shown in Item 4 of the
Information Page or on the Schedule. The rate for foreign terrorism and domestic terrorism will apply as of the effective
date of your policy or the anniversary rating date if different from the effective date.




The terrorism rates are subject to change at any time based on state regulatory action.


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                             Domestic Terrorism as a Percentage of DTEC by State




                               Domestic Terrorism                             Domestic Terrorism
      State                      as a % of DTEC         State                   as a % of DTEC

      Alabama                         30%               Mississippi                 30%
      Alaska                          N/A               Missouri                    N/A
      Arizona                         30%               Montana                     30%
      Arkansas                        15%               Nebraska                    30%
      California                      N/A               Nevada                      20%
      Colorado                        30%               New Hampshire               30%
      Connecticut                     30%               New Jersey                  20%
      Delaware                        30%               New Mexico                  N/A
      District of Columbia            55%               New York                    55%
      Florida                         N/A               North Carolina              30%
      Georgia                         30%               Oklahoma                    30%
      Hawaii                          N/A               Oregon                      15%
      Idaho                           30%               Pennsylvania                40%
      Illinois                        55%               Rhode Island                30%
      Indiana                         30%               South Carolina              20%
      Iowa                            30%               South Dakota                30%
      Kansas                          30%               Tennessee                   15%
      Kentucky                        30%               Texas                       N/A
      Louisiana                       30%               Utah                        15%
      Maine                           30%               Vermont                     30%
      Maryland                        55%               Virginia                    N/A
      Massachusetts                   N/A               Wisconsin                   30%
      Michigan                        30%               West Virginia               30%
      Minnesota                       N/A               Wyoming                     30%




N/A: DTEC has not been approved in this state.




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                                                           NCCI COMPANY  10/16/24           Page 439 of 499
      POLICY PROVISIONS: WC 00 00 00 C                                          INFORMATION PAGE NCCI COMPANY NO.
      INSURER: X Hartford Accident and Indemnity Company        10448      Hartford Insurance Company of Illinois        20613 (Co. Use Only)
                      Hartford Casualty Insurance Company       14397      Hartford Insurance Company of the Midwest     20605 Best L R R P R
                      Hartford Fire Insurance Company           13269      Hartford Insurance Company of the Southeast   20621 Ind C of C F I
                      Hartford Underwriters Insurance Company   10456                                                          01
                      Twin City Fire Insurance Company          14974
                                                                                                                                 SUFFIX
      ADDRESS:HARTFORD, CT 06155
                                                                        POLICY NO. 57 WPR WQ0297                               LARS Renewal

                                                                 Previous Policy No. 57 WPR WQ0297                                        03
                                                                                                                                Co.Code
                                                                                                         5
 Items                                                 SUNPOWER CORPORATION
 1. Named Insured and Mailing Address                  880 HARBOUR WAY SOUTH, SUITE 600
    (No.,Street,Town,County,State)                     RICHMOND, CA 94804
                      Individual     Corporation X
                      Partnership    Other
      Other workplaces not shown above:
 2. The Policy Period is from 04/01/2024 to 04/01/2025   12:01 A.M.,standard time at the insured’s mailing address

   Producer’s Name                   Producer’s Code           Issuing Regional Office
  MARSH RISK & INSURANCE SERVICE                                 THE HARTFORD
  4 EMBARCADERO CTR                                              ONE HARTFORD PLAZA
  SUITE 1100                                                     HARTFORD, CT 06155
  SAN FRANCISCO, CA 94111
 3. A. Workers’ Compensation Insurance:Part One of the Policy applies to the Workers’ Compensation Law of the states
       listed here:
      MA, WI


    B. Employers’ Liability Insurance:Part Two of the policy applies to work in each state listed in Item 3A.
       The Limits of our Liability under Part Two are: Bodily Injury by Accident $                      Each accident
                                                       Bodily Injury by Disease $                       Policy Limit
                                                       Bodily Injury by Disease $                       each employee
    C. Other States Insurance: Part Three of the policy applies to the states, if any, listed here:
    ALL STATES EXCEPT NORTH DAKOTA, OHIO, WASHINGTON, WYOMING
    AND ANY STATES DESIGNATED IN ITEM 3.A. OF THE INFORMATION PAGE

    D. This policy includes these endorsements and schedules: WC990005 AND SEE LISTING OF ENDTS
 4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating
    Plans. All information required below is subject to verification and change by audit.
                                                               Premium Basis          Rate Per
 Classifications                                    Code       Total Estimated        $100 of       Estimated Annual
                                                 Number        Annual Remuneration Remuneration Premium
 SEE SCHEDULE OF OPERATIONS                                                                                  $
 TERRORISM                                       9740                                                         $
 CATASTROPHE                                     9741                                                           $




FEIN NO.
Interstate/Intrastate ID No.
NAICS:                                                                   Total Estimated Annual Premium
Minimum Premium: $                             MA                                       Deposit Premium
 Audit Period: X Annual              Semi-Annual            Quarterly       Monthly
05/02/2024                                                          Countersigned by
Form WC 00 00 01 A Printed in U.S.A.                                                                  Authorized Agent              Date
                                                                                                              04/01/2024
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                                                                                                                  ABCDEFGHIJ



                     WORKERS COMPENSATION AND EMPLOYERS
                                  LIABILITY INSURANCE POLICY


In return for the payment of the premium and subject to all terms of this policy, we agree with you as follows:


                                             GENERAL SECTION

A. The Policy                                                   disease law of each state or territory named in
   This policy includes at its effective date the               Item 3.A. of the Information Page. It includes any
   Information Page and all endorsements and                    amendments to that law which are in effect during
   schedules listed there.         It is a contract of          the policy period. It does not include any federal
   insurance between you (the employer named in                 workers or workmen's compensation law, any
   Item 1 of the Information Page) and us (the                  federal occupational disease law or the provisions
   insurer named on the Information Page). The only             of any law that provide nonoccupational disability
   agreements relating to this insurance are stated in          benefits.
   this policy. The terms of this policy may not be          D. State
   changed or waived except by endorsement issued               State means any state of the United States of
   by us to be part of this policy.                             America, and the District of Columbia.
B. Who Is Insured                                            E. Locations
   You are insured if you are an employer named in              This policy covers all of your workplaces listed in
   Item 1 of the Information Page. If that employer is          Items 1 or 4 of the Information Page; and it covers
   a partnership, and if you are one of its partners,           all other workplaces in Item 3.A. states unless you
   you are insured, but only in your capacity as an             have other insurance or are self-insured for such
   employer of the partnership's employees.                     workplaces.
C. Workers Compensation Law
   Workers Compensation Law means the workers
   or workmen's compensation law and occupational



                        PART ONE - WORKERS COMPENSATION INSURANCE

A. How This Insurance Applies                                C. We Will Defend
   This workers compensation insurance applies to               We have the right and duty to defend at our
   bodily injury by accident or bodily injury by                expense any claim, proceeding or suit against you
   disease. Bodily injury includes resulting death.             for benefits payable by this insurance. We have
   1. Bodily injury by accident must occur during the           the right to investigate and settle these claims,
       policy period.                                           proceedings or suits.
   2. Bodily injury by disease must be caused or                We have no duty to defend a claim, proceeding or
       aggravated by the conditions of your                     suit that is not covered by this insurance.
       employment. The employee's last day of last           D. We Will Also Pay
       exposure to the conditions causing or                    We will also pay these costs, in addition to other
       aggravating such bodily injury by disease must           amounts payable under this insurance, as part of
       occur during the policy period.                          any claim, proceeding or suit we defend:
B. We Will Pay                                                  1. reasonable expenses incurred at our request,
   We will pay promptly when due the benefits                        but not loss of earnings;
   required of you by the workers compensation law.




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Process Date:                                                           Policy Expiration Date:
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   2. premiums for bonds to release attachments                 You will do everything necessary to protect those
      and for appeal bonds in bond amounts up to                rights for us and to help us enforce them.
      the amount payable under this insurance;              H. Statutory Provisions
   3. litigation costs taxed against you;                       These statements apply where they are required
   4. interest on a judgment as required by law until           by law.
      we offer the amount due under this insurance;             1. As between an injured worker and us, we
      and                                                          have notice of the injury when you have
   5. expenses we incur.                                           notice.
E. Other Insurance                                              2. Your default or the bankruptcy or insolvency of
   We will not pay more than our share of benefits                 you or your estate will not relieve us of our
   and costs covered by this insurance and other                   duties under this insurance after an injury
   insurance or self-insurance. Subject to any limits              occurs.
   of liability that may apply, all shares will be equal        3. We are directly and primarily liable to any
   until the loss is paid. If any insurance or self-               person entitled to the benefits payable by this
   insurance is exhausted, the shares of all                       insurance. Those persons may enforce our
   remaining insurance will be equal until the loss is             duties; so may an agency authorized by law.
   paid.                                                           Enforcement may be against you and us.
F. Payments You Must Make                                       4. Jurisdiction over you is jurisdiction over us for
   You are responsible for any payments in excess of               purposes of the workers compensation law.
   the benefits regularly provided by the workers                  We are bound by decisions against you under
   compensation law including those required                       that law, subject to the provisions of this policy
   because:                                                        that are not in conflict with that law.
   1. of your serious and willful misconduct;                   5. This insurance conforms to the parts of the
                                                                   workers compensation law that apply to:
   2. you knowingly       employ     an   employee     in
      violation of law;                                            a. benefits payable by this insurance;
   3. you fail to comply with a health or safety law or            b. special taxes, payments into security or
      regulation; or                                                    other special funds, and assessments
                                                                        payable by us under that law.
   4. you      discharge,   coerce     or    otherwise
       discriminate against any employee in violation           6. Terms of this insurance that conflict with the
       of the workers compensation law.                            workers compensation law are changed by
                                                                   this statement to conform to that law.
   If we make any payments in excess of the benefits
   regularly provided by the workers compensation           Nothing in these paragraphs relieves you of your
   law on your behalf, you will reimburse us promptly.      duties under this policy.
G. Recovery From Others
   We have your rights, and the rights of persons
   entitled to the benefits of this insurance, to recover
   our payments from anyone liable for the injury.



                          PART TWO - EMPLOYERS LIABILITY INSURANCE

A. How This Insurance Applies                                   2. The employment must be necessary or
   This employers liability insurance applies to bodily            incidental to your work in a state or territory
   injury by accident or bodily injury by disease.                 listed in Item 3.A. of the Information Page.
   Bodily injury includes resulting death.                      3. Bodily injury by accident must occur during the
   1. The bodily injury must arise out of and in the               policy period.
        course of the injured employee's employment             4. Bodily injury by disease must be caused or
        by you.                                                    aggravated by the conditions of your
                                                                   employment. The employee's last day of last




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       exposure to the conditions causing or                 5. Bodily    injury intentionally    caused     or
       aggravating such bodily injury by disease must           aggravated by you;
       occur during the policy period.                       6. Bodily injury occurring outside the United
   5. If you are sued, the original suit and any                States of America, its territories or
      related legal actions for damages for bodily              possessions, and Canada. This exclusion
      injury by accident or by disease must be                  does not apply to bodily injury to a citizen or
      brought in the United States of America, its              resident of the United States of America or
      territories or possessions, or Canada.                    Canada who is temporarily outside these
B. We Will Pay                                                  countries;
   We will pay all sums that you legally must pay as         7. Damages arising out of coercion, criticism,
   damages because of bodily injury to your                     demotion,        evaluation,      reassignment,
   employees, provided the bodily injury is covered             discipline,       defamation,       harassment,
   by this Employers Liability Insurance.                       humiliation,    dis-crimination    against  or
                                                                termination of any employee, or any personnel
   The damages we will pay, where recovery is                   practices, policies, acts or omissions;
   permitted by law, include damages:
                                                             8. Bodily injury to any person in work subject to
   1. For which you are liable to a third party by              the Longshore and Harbor Workers'
      reason of a claim or suit against you by that             Compensation Act (33 U.S.C. Sections 901 et
      third party to recover the damages claimed                seq.),      the      Noappropriated      Fund
      against such third party as a result of injury to         Instrumentalities Act (5 U.S.C. Sections 8171
      your employee;                                            et seq.), the Outer Continental Shelf Lands
   2. For care and loss of services; and                        Act (43 U.S.C. Sections 1331 et seq.), the
   3. For consequential bodily injury to a spouse,              Defense Base Act (42 U.S.C. Sections 1651-
      child, parent, brother or sister of the injured           1654), the Federal Mine Safety and Health Act
      employee; provided that these damages are                 (30 U.S.C. Sections 801 et seq. and 901-944)
      the direct consequence of bodily injury that              any other federal workers or workmen's
      arises out of and in the course of the injured            compensation       law   or    other   federal
      employee's employment by you; and                         occupational disease law, or any amendments
                                                                to these laws;
   4. Because of bodily injury to your employee that
      arises out of and in the course of employment,         9. Bodily injury to any person in work subject to
      claimed against you in a capacity other than               the Federal Employers' Liability Act (45 U.S.C.
      as employer.                                               Sections 51 et seq.), any other federal laws
                                                                 obligating an employer to pay damages to an
C. Exclusions                                                    employee due to bodily injury arising out of or
   This insurance does not cover:                                in the course of employment, or any
   1. Liability assumed under a contract. This                   amendments to those laws;
      exclusion does not apply to a warranty that            10. Bodily injury to a master or member of the
      your work will be done in a workmanlike                    crew of any vessel, and does not cover
      manner;                                                    punitive damages related to your duty or
   2. Punitive or exemplary damages because of                   obligation to provide transportation, wages,
      bodily injury to an employee employed in                   maintenance, and cure under any applicable
      violation of law;                                          maritime law;
   3. Bodily injury to an employee while employed in         11. Fines or penalties imposed for violation of
      violation of law with your actual knowledge or             federal or state law; and
      the actual knowledge of any of your executive          12. Damages payable under the Migrant and
      officers;                                                  Seasonal Agricultural Worker Protection Act
   4. Any obligation imposed by a workers com-                   (29 U.S.C. Sections 1801 et seq.) and under
      pensation,         occupational       disease,             any other federal law awarding damages for
      unemployment compensation, or disability                   violation of those laws or regulations issued
      benefits law, or any similar law;                          thereunder, and any amendments to those
                                                                 laws.
                                                          D. We Will Defend
                                                             We have the right and duty to defend, at our
                                                             expense, any claim, proceeding or suit against you
                                                             for damages payable by this insurance. We have
                                                             the right to investigate and settle these claims,
                                                             proceedings and suits.


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   We have no duty to defend a claim, proceeding or                   A disease is not bodily injury by accident
   suit that is not covered by this insurance. We                     unless it results directly from bodily injury by
   have no duty to defend or continue defending after                 accident.
   we have paid our applicable limit of liability under           2. Bodily Injury by Disease. The limit shown for
   this insurance.                                                   ''bodily injury by disease policy limit'' is the
E. We Will Also Pay                                                  most we will pay for all damages covered by
   We will also pay these costs, in addition to other                this insurance and arising out of bodily injury
   amounts payable under this insurance, as part of                  by disease, regardless of the number of
   any claim, proceeding or suit we defend:                          employees who sustain bodily injury by
                                                                     disease. The limit shown for ''bodily injury by
   1. Reasonable expenses incurred at our request,                   disease each employee'' is the most we will
      but not loss of earnings;                                      pay for all damages because of bodily injury
   2. Premiums for bonds to release attachments                      by disease to any one employee.
      and for appeal bonds in bond amounts up to                     Bodily injury by disease does not include
      the limit of our liability under this insurance;               disease that results directly from a bodily
   3. Litigation costs taxed against you;                            injury by accident.
   4. Interest on a judgment as required by law until             3. We will not pay any claims for damages after
      we offer the amount due under this insurance;                  we have paid the applicable limit of our liability
      and                                                            under this insurance.
   5. Expenses we incur.                                     H. Recovery From Others
F. Other Insurance                                                We have your rights to recover our payment from
   We will not pay more than our share of damages                 anyone liable for an injury covered by this
   and costs covered by this insurance and other                  insurance. You will do everything necessary to
   insurance or self-insurance. Subject to any limits             protect those rights for us and to help us enforce
   of liability that apply, all shares will be equal until        them.
   the loss is paid. If any insurance or self-insurance      I.   Actions Against Us
   is exhausted, the shares of all remaining                      There will be no right of action against us under
   insurance and self-insurance will be equal until the           this insurance unless:
   loss is paid.
                                                                  1. You have complied with all the terms of this
G. Limits of Liability                                                 policy; and
   Our liability to pay for damages is limited. Our               2. The amount you owe has been determined
   limits of liability are shown in Item 3.B. of the                   with our consent or by actual trial and final
   Information Page. They apply as explained below.                    judgment.
   1. Bodily Injury by Accident. The limit shown for              This insurance does not give anyone the right to
        ''bodily injury by accident each accident'' is the        add us as a defendant in an action against you to
        most we will pay for all damages covered by               determine your liability.      The bankruptcy or
        this insurance because of bodily injury to one            insolvency of you or your estate will not relieve us
        or more employees in any one accident.                    of our obligations under this Part.


                               PART THREE - OTHER STATES INSURANCE

A. How This Insurance Applies                                        though that state were listed in Item 3.A. of the
   1. This other states insurance applies only if one                Information Page.
      or more states are shown in Item 3.C. of the                3. We will reimburse you for the benefits
      Information Page.                                              required by the workers compensation law of
   2. If you begin work in any one of those states                   that state if we are not permitted to pay the
      after the effective date of this policy and are                benefits directly to persons entitled to them.
      not insured or are not self-insured for such                4. If you have work on the effective date of this
      work, all provisions of the policy will apply as               policy in any state not listed in Item 3.A. of the




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       Information Page, coverage will not be             B. Notice
       afforded for that state unless we are notified        Tell us at once if you begin work in any state listed
       within thirty days.                                   in Item 3.C. of the Information Page.



                           PART FOUR - YOUR DUTIES IF INJURY OCCURS

   Tell us at once if injury occurs that may be              4. Cooperate with us and assist us, as we may
   covered by this policy. Your other duties are listed         request, in the investigation, settlement or
   here.                                                        defense of any claim, proceeding or suit.
   1. Provide for immediate medical and other                5. Do nothing after an injury occurs that would
       services     required    by     the    workers           interfere with our right to recover from others.
       compensation law.                                     6. Do not voluntarily make payments, assume
   2. Give us or our agent the names and                        obligations or incur expenses, except at your
      addresses of the injured persons and of                   own cost.
      witnesses, and other information we may
      need.
   3. Promptly give us all notices, demands and
      legal papers related to the injury, claim,
      proceeding or suit.


                                              PART FIVE - PREMIUM

A. Our Manuals                                               2. all other persons engaged in work that could
   All premium for this policy will be determined by            make us liable under Part One (Workers
   our manuals of rules, rates, rating plans and                Compensation Insurance) of this policy. If you
   classifications. We may change our manuals and               do not have payroll records for these persons,
   apply the changes to this policy if authorized by            the contract price for their services and
   law or a governmental agency regulating this                 materials may be used as the premium basis.
   insurance.                                                   This paragraph 2 will not apply if you give us
                                                                proof that the employers of these persons
B. Classifications                                              lawfully secured their workers compensation
   Item 4 of the Information Page shows the rate and            obligations.
   premium basis for certain business or work             D. Premium Payments
   classifications.     These classifications were
   assigned based on an estimate of the exposures            You will pay all premium when due. You will pay
   you would have during the policy period. If your          the premium even if part or all of a workers
   actual exposures are not properly described by            compensation law is not valid.
   those classifications, we will assign proper           E. Final Premium
   classifications, rates and premium basis by               The premium shown on the Information Page,
   endorsement to this policy.                               schedules, and endorsements is an estimate. The
C. Remuneration                                              final premium will be determined after this policy
   Premium for each work classification is                   ends by using the actual, not the estimated,
   determined by multiplying a rate times a premium          premium basis and the proper classifications and
   basis.   Remuneration is the most common                  rates that lawfully apply to the business and work
   premium basis.                                            covered by this policy. If the final premium is
                                                             more than the premium you paid to us, you must
   This premium basis includes payroll and all other         pay us the balance. If it is less, we will refund the
   remuneration paid or payable during the policy            balance to you. The final premium will not be less
   period for the services of:                               than the highest minimum premium for the
   1. All your officers and employees engaged in             classifications covered by this policy.
       work covered by this policy; and




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   If this policy is cancelled, final premium will be       G. Audit
   determined in the following way unless our                  You will let us examine and audit all your records
   manuals provide otherwise:                                  that relate to this policy. These records include
   1. If we cancel, final premium will be calculated           ledgers, journals, registers, vouchers, contracts,
      pro rata based on the time this policy was in            tax reports, payroll and disbursement records, and
      force. Final premium will not be less than the           programs for storing and retrieving data. We may
      pro rata share of the minimum premium.                   conduct the audits during regular business hours
   2. If you cancel, final premium will be more than           during the policy period and within three years
      pro rata; it will be based on the time this policy       after the policy period ends.          Information
      was in force, and increased by our short rate            developed by audit will be used to determine final
      cancellation table and procedure.            Final       premium. Insurance rate service organizations
      premium will not be less than the minimum                have the same rights we have under this
      premium.                                                 provision.
F. Records
   You will keep records of information needed to
   compute premium. You will provide us with copies
   of those records when we ask for them.



                                            PART SIX - CONDITIONS

A. Inspection                                               D. Cancellation
   We have the right, but are not obligated to inspect         1. You may cancel this policy. You must mail or
   your workplaces at any time. Our inspections are               deliver advance written notice to us stating
   not safety inspections. They relate only to the                when the cancellation is to take effect.
   insurability of the workplaces and the premiums to          2. We may cancel this policy. We must mail or
   be charged. We may give you reports on the                     deliver to you not less than ten days advance
   conditions we find. We may also recommend                      written notice stating when the cancellation is
   changes. While they may help reduce losses, we                 to take effect. Mailing that notice to you at
   do not undertake to perform the duty of any                    your mailing address shown in Item 1 of the
   person to provide for the health or safety of your             Information Page will be sufficient to prove
   employees or the public. We do not warrant that                notice.
   your workplaces are safe or healthful or that they
   comply with laws, regulations, codes or standards.          3. The policy period will end on the day and hour
   Insurance rate service organizations have the                  stated in the cancellation notice.
   same rights we have under this provision.                   4. Any of these provisions that conflict with a law
B. Long Term Policy                                               that controls the cancellation of the insurance
                                                                  in this policy is changed by this statement to
   If the policy period is longer than one year and               comply with that law.
   sixteen days, all provisions of this policy will apply
   as though a new policy were issued on each               E. Sole Representative
   annual anniversary that this policy is in force.            The insured first named in Item 1 of the
C. Transfer of Your Rights and Duties                          Information Page will act on behalf of all insureds
                                                               to change this policy, receive return premium, and
   Your rights or duties under this policy may not be          give or receive notice of cancellation.
   transferred without our written consent.
   If you die and we receive notice within thirty days
   after your death, we will cover your legal
   representative as insured.




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     Schedule of Operations

    Co. Cd.   Insurer
     5                  Hartford Accident and Indemnity Company, XX-XXXXXXX, 10448
    This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

    Effective date 04/01/2024       standard time. Policy Number      57 WPR WQ0297                 Schedule Number A
    Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                     880 HARBOUR WAY SOUTH
SUITE 600                                                       RICHMOND, CA 94804
    4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
       information required below is subject to verification and change by audit.
                                                                   Premium Basis          Rate Per             Estimated
                                                          Code     Total Estimated        $100. of             Annual
    Classifications CLASS SUMMARY
                                                          Number   Annual Remuneration    Remuneration         Premium

    ELECTRICAL APPARATUS

    INSTALLATION OR REPAIR & DRIVERS                     3724



    FARM MACHINERY - LEASING OR

    REFINING WITHOUT OPERATORS & DRIVERS                 8116



    CLERICAL OFFICE EMPLOYEES NOC                        8810




    Issue date    05/02/2024
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     Schedule of Operations

    Co. Cd.   Insurer
     A                  Sentinel Insurance Company, Limited, 15-52103, 13161
    This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

    Effective date 04/01/2024       standard time. Policy Number      57 WPR WQ0297                 Schedule Number 1
    Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                     880 HARBOUR WAY SOUTH
SUITE 600                                                       RICHMOND, CA 94804
    4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
       information required below is subject to verification and change by audit.
                                                                   Premium Basis          Rate Per             Estimated
                                                          Code     Total Estimated        $100. of             Annual
    Classifications MASSACHUSETTS
                                                          Number   Annual Remuneration    Remuneration         Premium

                                                         3724                               3.41

                                                         8810                                 .04




    TOTAL CLASS PREMIUM
    MA RATE DEVIATION PREMIUM CREDIT (9037) 25 PERCENT
    WAIVER OF SUBROGATION (0930) 2 PERCENT
    INCREASED LIMITS: PART TWO (9812) 2 PERCENT
    TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
    INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
    PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
    TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
    MA EXPENSE CONSTANT (0900)
    TERRORISM (9740) .03
    MA DIA ASSESSMENT 4.82 PERCENT
    TOTAL ESTIMATED ANNUAL PREMIUM
    Issue date    05/02/2024
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     Schedule of Operations

    Co. Cd.   Insurer
     7                  Twin City Fire Insurance Company, XX-XXXXXXX, 14974
    This Schedule changes the policy effective on the inception date of the policy unless another date is indicated below.

    Effective date 04/01/2024       standard time. Policy Number      57 WPR WQ0297                 Schedule Number 2
    Named Insured and Mailing Address of operations covered by this schedule.
SUNPOWER CORPORATION                                                                     880 HARBOUR WAY SOUTH
SUITE 600                                                       RICHMOND, CA 94804
    4. The premium for this policy will be determined by our manuals of Rules, Classifications, Rates and Rating Plans. All
       information required below is subject to verification and change by audit.
                                                                   Premium Basis          Rate Per             Estimated
                                                          Code     Total Estimated        $100. of             Annual
    Classifications WISCONSIN
                                                          Number   Annual Remuneration    Remuneration         Premium

                                                         8116                               2.65

                                                         8810                                 .17




    TOTAL CLASS PREMIUM
    WAIVER OF SUBROGATION (0930)
    INCREASED LIMITS: PART TWO (9812) 1.1 PERCENT
    TOTAL PREMIUM SUBJECT TO EXPERIENCE MODIFICATION
    INTERSTATE EXPERIENCE MOD #913272277 (9898) .75 (ACTUAL)
    PREMIUM ADJUSTED BY APPLICATION OF EXPERIENCE MOD.
    TOTAL ESTIMATED ANNUAL STANDARD PREMIUM
    TERRORISM (9740) .02
    CATASTROPHE (9741) .01
    TOTAL ESTIMATED ANNUAL PREMIUM



    Issue date    05/02/2024
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      EXTENSION OF THE INFORMATION PAGE - ITEM 3.D. - ENDORSEMENTS


     Policy Number: 57 WPR WQ0297                                Endorsement Number:
     Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
     Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
1         WC660346                    INSTALLMENT PREMIUM SCHEDULE


2         WC990323                    ADDITIONAL NAMED INSURED ENDORSEMENT


3         WC990549                    CANCELLATION BY US - MASSACHUSETTS


4         WC000106A         04-92      LONGSHORE AND HARBOR WORKERS' COMPENSATION ACT
                                       COVERAGE ENDORSEMENT

5         WC000203          04-84      VOLUNTARY COMPENSATION MARITIME COVERAGE
                                       ENDORSEMENT

6         WC000301A         02-89      ALTERNATE EMPLOYER ENDORSEMENT


7         WC000313                     WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS
                                       ENDORSEMENT

8         WC000406A                    PREMIUM DISCOUNT ENDORSEMENT


9         WC000201B                    MARITIME COVERAGE ENDORSEMENT


10        WC000109C                    OUTER CONTINENTAL SHELF LANDS ACT COVERAGE
                                       ENDORSEMENT

11        WC480517B                    RETROSPECTIVE PREMIUM ENDORSEMENT LARGE RISK
                                       ALTERNATIVE RATING OPTION

12        WC000516                     RETROSPECTIVE RATING PLAN PREMIUM ENDORSEMENT -
                                       LARGE RISK ALTERNATIVE RATING OPTION (LRARO)




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      EXTENSION OF THE INFORMATION PAGE - ITEM 3.D. - ENDORSEMENTS


     Policy Number: 57 WPR WQ0297                                Endorsement Number:
     Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
     Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
13        WC480601C                   WISCONSIN LAW ENDORSEMENT


14        WC000419                    PREMIUM DUE DATE ENDORSEMENT


15        WC480606B                   WISCONSIN CANCELLATION AND NONRENEWAL ENDORSEMENT


16        WC000425                     EXPERIENCE RATING MODIFICATION FACTOR REVISION
                                       ENDORSEMENT

17        WC000414A                    90-DAY REPORTING REQUIREMENT - NOTIFICATION OF
                                       CHANGE IN OWNERSHIP ENDORSEMENT

18        WC000424                     AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT


19        WC000421F                    CATASTROPHE (OTHER THAN CERTIFIED ACTS OF
                                       TERRORISM) PREMIUM ENDORSEMENT

20        WC000422C                    TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION
                                       ACT DISCLOSURE ENDORSEMENT

21        G-3418-0                     PRODUCER COMPENSATION NOTICE


22        WC990001K                    SIGNATURE PAGE


23        WC200301          04-84      MASSACHUSETTS LIMITS OF LIABILITY ENDORSEMENT


24        WC200405                     MASSACHUSETTS PREMIUM DUE DATE ENDORSEMENT




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      EXTENSION OF THE INFORMATION PAGE - ITEM 3.D. - ENDORSEMENTS


     Policy Number: 57 WPR WQ0297                                Endorsement Number:
     Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
     Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




     Item 3.D. of the Information Page is completed to include the following endorsements:
25        WC200601A                   MASSACHUSETTS CANCELLATION ENDORSEMENT


26        WC200303D                   MASSACHUSETTS NOTICE TO POLICYHOLDERS ENDORSEMENT


27        WC200302A                   MASSACHUSETTS - ASSESSMENT CHARGE




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                   INSTALLMENT PREMIUM SCHEDULE




The Total Estimated Annual Premium of   $           Will be payable in installments as outlined in the
SCHEDULE OF PAYMENTS


SCHEDULE OF PAYMENTS

NO                                   DUE DATE                     ESTIMATED
                                     OF PAYMENT                   ADVANCE
                                                                  PREMIUM
1                           04/01/2024
1                           04/01/2024                                                           LOAN
2                           05/01/2024
3                           06/01/2024
4                           07/01/2024
5                           08/01/2024
6                           09/01/2024
7                           10/01/2024
8                           11/01/2024
9                           12/01/2024




                            TOTALS




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                                                                                                               ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     ADDITIONAL NAMED INSURED ENDORSEMENT




Policy Number: 57 WPR WQ0297                                Endorsement Number: 2
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                           SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



The policy is amended to include the following as additional named insureds:
SunPower Corporation
SunPower Corporation Systems
SolarWorld Americas, Inc
TotalEnergies Distributed Generation Assets USA, LLC




Nothing herein contained shall be held to vary, waive, alter, or extend any of the terms, conditions, agreements or
declarations of the policy, other than as herein stated.

This endorsement shall not be binding unless countersigned by a duly authorized agent of the company, provided
that if this endorsement takes effect as of the effective date of the policy and, at issue of said policy, forms a part
thereof, countersignature on the declarations page of said policy by a duly authorized agent of the company shall
constitute valid countersignature of this endorsement

                                       Countersigned by
                                                                                           Authorized Representative


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                                                                                                      ABCDEFGHIJ




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                        CANCELLATION BY US - MASSACHUSETTS



Policy Number: 57 WPR WQ0297                                Endorsement Number: 3
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Paragraph 2. Of Part Six-Conditions, D. Cancellation in the Workers’ Compensation and Employers’ Liability
Insurance Policy Provisions is replaced by the following:

2.    We may cancel this policy only if based on one or more of the following reasons: (i) nonpayment of
      premium; (ii) fraud or material misrepresentation affecting your policy; or (iii) a substantial increase in
      the hazard insured against. Such cancellation shall not be effective until 10           days after written
      notice is given by us to you and The Workers’ Compensation Rating and Inspection Bureau of
      Massachusetts (Bureau), for nonpayment of premium or 90              days after written notice is given by us
      to you and the Workers Compensation Rating and Inspection Bureau of Massachusetts (Bureau) for either
      reason (ii) or (iii), or until notice has been received by the Bureau that you have secured insurance from
      another insurance company, whichever occurs first.




Nothing herein contained shall be held to vary, waive, alter, or extend any of the terms, conditions, agreements or
declarations of the policy, other than as herein stated.

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         Longshore and Harbor Workers’
                      Compensation Act Coverage Endorsement
Policy Number: 57 WPR WQ0297                               Endorsement Number: 4
Effective Date: 04/01/2024                    Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804


This endorsement applies only to work subject to the Longshore and Harbor Workers’ Compensation Act in a state
shown in the Schedule. The policy applies to that work as though that state were listed in item 3.A of the Information
Page.
General Section C. Workers’ Compensation Law is replaced by the following:
C. Workers’ Compensation Law
   Workers’ Compensation Law means the workers or workmen’s compensation law and occupational disease law of
   each state or territory named in item 3.A. of the Information Page and the Longshore and Harbor Workers’
   Compensation Act (33 USC Sections 901-950). It includes any amendments to those laws that are in effect during
   the policy period. It does not include any other federal workers or workmen’s compensation law, other federal
   occupational disease law or the provisions of any law that provide nonoccupational disability benefits.
Part Two (Employers Liability Insurance), C. Exclusions., exclusions 8, does not apply to work subject to the
Longshore and Harbor Workers’ Compensation Act.
This endorsement does not apply to work subject to the Defense Base Act, the Outer Continental Shelf Lands Act, or
the Nonappropriated Fund Instrumentalities Act.
                                                    Schedule
                                                                          Longshore and Harbor Workers’
State                                                                  Compensation Act Coverage Percentage
IF ANY                                                                 TO BE DETERMINED AT AUDIT




The rates for classifications with code numbers not followed by the letter "F" are rates for work not ordinarily subject to
the Longshore and Harbor Workers’ Compensation Act. If this policy covers work under such classifications, and if the
work is subject to the Longshore and Harbor Workers’ Compensation Act, those non-F classification rates will be
increased by the Longshore and Harbor Workers’ Compensation Act Coverage Percentage shown in the Schedule.

                                                               Countersigned by
Form WC 00 01 06A Printed in U.S.A.                                                            Authorized Representative
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             Voluntary Compensation Maritime
                                 Coverage Endorsement

Policy Number: 57 WPR WQ0297                              Endorsement Number: 5
Effective Date: 04/01/2024                  Effective hour is the same as stated in the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement adds Voluntary Compensation                    C. Exclusions
Maritime Insurance to the policy.                                  This insurance does not cover:
A. How This Insurance Applies                                        1. any obligation imposed by a workers’
                                                                        compensation or occupational disease law, or
  This insurance applies to bodily injury by accident
                                                                        any similar law.
  or bodily injury by disease. Bodily injury includes
  resulting death.                                                   2. bodily  injury intentionally     caused       or
                                                                        aggravated by you.
  1. The bodily injury must be sustained by an
     employee who is master or member of the crew
                                                                D. Before We Pay
     of a vessel described in the Schedule.
                                                                    Before we pay benefits to the persons entitled to
  2. The bodily injury must occur in employment that
                                                                    them, they must:
     is necessary or incidental to work described in
     item 2 of the Schedule.                                         1. Release you and us, in writing, of all
                                                                        responsibility for the injury or death.
  3. The bodily injury must occur in the territorial
     limits of, or in the operation of a vessel sailing              2. Transfer to us their right to recover from
     directly between the ports of, the continental                     others who may be responsible for the injury
     United States of America, Alaska, Hawaii or                        or death.
     Canada.
                                                                     3. Cooperate with us and do everything
  4. Bodily injury by accident must occur during the                    necessary to enable us to enforce the right to
     policy period.                                                     recover from others.
  5. Bodily injury by disease must be caused or                     If the persons entitled to the benefits of this
     aggravated by the conditions of your                           insurance fail to do those things, our duty to pay
     employment. The employee’s last day of last                    ends at once. If they claim damages from you or
     exposure to the conditions causing or                          from us for the injury or death, our duty to pay
     aggravating such bodily injury by disease must                 ends at once.
     occur during the policy period.
                                                                E. Recovery From Others
B. We Will Pay                                                     If we make a recovery from others, we will keep
  We will pay an amount equal to the benefits that                 an amount equal to our expenses of recovery
  would be required of you if you and your employees               and the benefits we paid. We will pay the
  described in item 1 of the Schedule were subject to              balance to the persons entitled to it. If the
  the workers’ compensation law shown in item 1 of                 persons entitled to the benefits of this insurance
  the Schedule. We will pay those amounts to the                   make a recovery from others, they must
  persons who would be entitled to them under that                 reimburse us for the benefits we paid them.
  law.


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                                                    Schedule


   1. Employees                                                   Workers Compensation Law
      Master and members of the crews of these vessels:




   2. Description of Work: IF ANY




                                               Countersigned by
                                                                              Authorized Representative




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         ALTERNATE EMPLOYER ENDORSEMENT
   Policy Number: 57 WPR WQ0297                           Endorsement Number: 6
   Effective Date: 04/01/2024                    Effective hour is the same as stated in the Information page of the policy.
   Named Insured and Address: SUNPOWER CORPORATION
                              880 HARBOUR WAY SOUTH, SUITE 600
                              RICHMOND, CA 94804


   This endorsement applies only with respect to bodily injury to your employees while in the course of special or
   temporary employment by the alternate employer in the state named in Item 2 of the Schedule. Part One (Workers
   Compensation Insurance) and Part Two (Employers Liability Insurance) will apply as though the alternate employer
   is insured. If an entry is shown in Item 3 of the Schedule the insurance afforded by this endorsement applies only to
   work you perform under the contract or at the project named in the Schedule.
   Under Part One (Workers Compensation Insurance) we will reimburse the alternate employer for the benefits
   required by the workers compensation law if we are not permitted to pay the benefits directly to the persons entitled
   to them.
   The insurance afforded by this endorsement is not intended to satisfy the alternate employer’s duty to secure its
   obligations under the workers compensation law. We will not file evidence of this insurance on behalf of the
   alternate employer with any government agency.
   We will not ask any other insurer of the alternate employer to share with us a loss covered by this endorsement.
   Premium will be charged for your employees while in the course of special or temporary employment by the
   alternate employer.
   The policy may be canceled according to its terms without sending notice to the alternate employer.
   Part Four (Your Duties If Injury Occurs) applies to you and the alternate employer. The alternate employer will
   recognize our right to defend under Parts One and Two and our right to inspect under Part Six.

                                                      SCHEDULE
1. Alternate Employer                                                                             Address
   As required by written contract




2. State of Special or
   Temporary Employment


3. Contract or Project




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                                                                                            Authorized Representative
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                                                                                                       ABCDEFGHIJ




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                            WAIVER OF OUR RIGHT TO RECOVER
                              FROM OTHERS ENDORSEMENT



Policy Number: 57 WPR WQ0297                                Endorsement Number: 7
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule.

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

                                     SCHEDULE
ANY PERSON OR ORGANIZATION FROM WHOM YOU ARE REQUIRED BY WRITTEN CONTRACT
OR AGREEMENT TO OBTAIN THIS WAIVER FROM US.
ENDORSEMENT IS NOT APPLICABLE IN KY, NH, NJ OR ANY MO CONSTRUCTION RISK.




                                      Countersigned by
                                                                                       Authorized Representative

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                             PREMIUM DISCOUNT ENDORSEMENT


Policy Number: 57 WPR WQ0297                               Endorsement Number: 8
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




The premium for this policy and the policies, if any, listed in Item 3 of the Schedule may be eligible for a discount.
This endorsement shows your estimated discount in Item 1 or 2 of the Schedule. The final calculation of premium
discount will be determined by our manuals and your premium basis as determined by audit. Premium subject to
retrospective rating is not subject to premium discount.

                                                    SCHEDULE
1. Table of States

         Alaska                          Idaho                X Massachusetts                 North Carolina
         Arizona                         Indiana                Minnesota                     Pennsylvania
         Delaware                        Iowa                   New Jersey                    Rhode Island
         Florida                                                Nevada                      X Wisconsin




    or any other State that has approved the premium discount plan applicable to the total policy premium on an
    interstate basis at the effective date of the policy.

2. Average percentage discount:                 %

3. Other policies:

4. If there are no entries in Items 1, 2 and 3 of the Schedule, see the Premium Discount Endorsement attached
   to your policy number:




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                                                                                                          ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            MARITIME COVERAGE ENDORSEMENT



Policy Number: 57 WPR WQ0297                                Endorsement Number: 9
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:
                           SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804



This endorsement changes how insurance provided by                   injury by accident or by disease must be
Part Two (Employers Liability Insurance) applies to                  brought in the United States of America, its
bodily injury to a master or member of the crew of any               territories or possessions or Canada.
vessel.                                                      C. Exclusions is changed by removing exclusion 10
                                                                and by adding exclusions 13 and 14.
A. How This Insurance Applies is replaced by the                This insurance does not cover:
   following.
                                                                13. Bodily injury covered by a Protection and
   A. How This Insurance Applies                                     Indemnity Policy or similar policy issued to you
        This insurance applies to bodily injury by                   or for your benefit. This exclusion applies
        accident or bodily injury by disease. Bodily                 even if the other policy does not apply
        injury includes resulting death.                             because of another insurance clause,
   1. The bodily injury must arise out of and in the                 deductible or limitation of liability clause, or
        course of the injured employee's employment                  any similar clause.
        by you.                                                 14. Your duty or obligation to provide
   2. The employment must be necessary or                            transportation, wages, maintenance, and cure.
        incidental to work described in item 1 of the                This exclusion does not apply if a premium
        Schedule       of    the   Maritime    Coverage              entry is shown in item 2 of the Schedule,
        Endorsement.                                                 except that punitive damages related to your
   3. The bodily injury must occur in the territorial                duty or obligation to provide transportation,
        limits of, or in the operation of a vessel sailing           wages, maintenance, and cure under any
        directly between the ports of, the continental               applicable maritime law are excluded even if a
        United States of America, Alaska, Hawaii or                  premium is paid for transportation, wages,
        Canada.                                                      maintenance, and cure coverage.
   4. Bodily injury by accident must occur during the        D. We will Defend is changed by adding the
        policy period.                                          following statement.
   5. Bodily injury by disease must be caused or                We will treat a suit or other action in rem against a
        aggravated by the conditions of your                    vessel owned or chartered by you as a suit against
        employment. The employee's last day of last             you.
        exposure to the conditions causing or
        aggravating such bodily injury by disease must       G. Limits of Liability
        occur during the policy period.                         Our liability to pay for damages is limited. Our
   6. If you are sued, the original suit and any                limits of liability are shown in the Schedule. They
        related legal actions for damages for bodily            apply as explained below.




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    1. Bodily Injury by Accident. The limit shown for              arising out of work in each state shown in item
        "bodily injury by accident each accident'' is the          3.A of the Information Page. Bodily injury by
        most we will pay for all damages covered by                disease will be deemed to occur in the state of
        this insurance because of bodily injury to one             the vessel's home port.
        or more employees in any one accident.                     Bodily injury by disease does not include
    A disease is not bodily injury by accident unless it           disease that results directly from a bodily
    results directly from bodily injury by accident.               injury by accident.
    2. Bodily Injury by Disease. The limit shown for           3. We will not pay any claims for damages after
        ''bodily injury by disease-aggregate'' is the             we have paid the applicable limit of our liability
        most we will pay for all damages covered by               under this insurance.
        this insurance because of bodily injury by
        disease to one or more employees. The limit
        applies separately to bodily injury by disease


                                             SCHEDULE
                          Design, manufacture and delivery of solar panels and systems.
1. Description of work.





2. Transportation, Wages, Maintenance and Cure Premium $ If Any

Exclusion: This insurance does not cover punitive damages related to your duty or obligation to provide
transportation, wages, maintenance, and cure under any applicable maritime law even if a premium is paid for
transportation, wages, maintenance, and cure coverage.

3. Limits of Liability
    Bodily Injury by Accident                         $                      each accident
    Bodily Injury by Disease                          $                      aggregate




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                                                                                                         ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        OUTER CONTINENTAL SHELF LANDS ACT
                             COVERAGE ENDORSEMENT


Policy Number: 57 WPR WQ0297                                Endorsement Number: 10
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the work described in Item 4 of the Information Page or in the Schedule as
subject to the Outer Continental Shelf Lands Act. The policy will apply to that work as though the location shown
in the Schedule were a state named in Item 3.A. of the Information Page.

General Section C. Workers Compensation Law is replaced by the following:

C. Workers Compensation Law
    Workers Compensation Law means the workers or workmen's compensation law and occupational disease
    law of each state or territory named in Item 3.A. of the Information Page and the Outer Continental Shelf
    Lands Act (43 U.S.C. Sections 1331 et seq.). It includes any amendments to those laws that are in effect
    during the policy period. It does not include any other federal workers or workmen's compensation law, other
    federal occupational disease law or the provisions of any law that provide nonoccupational disability benefits.

Part Two (Employers Liability Insurance), C. Exclusions., exclusion 8, does not apply to work subject to the Outer
Continental Shelf Lands Act.


                                                   SCHEDULE

Description and Location of Work IF ANY




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                                                                                                    ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              WISCONSIN RETROSPECTIVE PREMIUM ENDORSEMENT
                   LARGE RISK ALTERNATIVE RATING OPTION


Policy Number: 57 WPR WQ0297                                Endorsement Number: 11
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement is added to Part Five (Premium)                      o Premium        developed      by     the
because you have agreed to have the cost of the                           catastrophe provisions as outlined in
insurance rated retrospectively using a Large Risk                        our manuals.
Alternative Rating Option.          This endorsement            2. Basic Premium is less than Standard
explains the rating plan and how the retrospective                 Premium. It is determined as follows:
premium will be determined.
                                                                   a. If the Basic Premium Factor is expressed
This endorsement applies to the states listed in the                  as a percentage then the Basic Premium
Schedule. It applies to the rating plan period as                     is determined by multiplying the Standard
stated in the Schedule. It applies only to those                      Premium times the Basic Premium
policies listed in the Schedule.                                      Factor Percentage, as shown in the
The amount of retrospective rating plan premium                       Schedule. The Basic Premium Factor
depends on the five standard elements and the two                     may vary depending on the total amount
elective elements. The various retrospective rating                   of Standard Premium.
plan factors are shown in the Schedule.                            b. If the Basic Premium Factor is expressed
A. Retrospective Rating Plan Premium Standard                         as a rate per $100 of remuneration then
     Elements                                                         the Basic Premium is determined by
     The five standard elements are explained here.                   multiplying the total remuneration times
                                                                      the rate per $100 of remuneration, as
     1. Standard Premium is the premium we would
                                                                      shown in the Schedule.
         charge during the rating period if you had not
         chosen a retrospective rating plan. Standard                 The Basic Factor includes:
         Premium does not include the following                       o Our general administration costs and
         elements and any other elements excluded                         expenses
         based on our manuals:                                        o Cost of loss control services
             o Premium discount                                       o Net aggregate loss factor
             o Expense constant                                       The Basic Premium Factor does not
             o Premium resulting from the nonratable                  cover     premium     taxes or     claims
                 element codes                                        adjustment expenses. Those elements
             o Premium        developed      by     the               are usually provided for in the Tax
                 occupational    disease    rates    for              Multiplier and the Loss Conversion
                 employees subject to the Federal Mine                Factor.
                 Safety and Health Act                          3. Incurred losses are all amounts we pay or
                                                                   estimate we will pay for losses, interest on




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        judgments, expenses to recover against                      The charge for this Loss Limitation is
        third parties, and employer’s liability loss                included in the Basic Premium Factor as
        adjustment expenses. This includes paid                     another expense item. If you chose a Loss
        and outstanding losses including reserves                   Limitation, that amount will be shown in the
        set on open claims. Incurred losses will                    Schedule.
        include      Allocated     Loss      Adjustment        2. The retrospective development element is
        Expenses (ALAE).                                            used to help stabilize premium adjustments.
            The rating formula for incurred losses will             The premium for this element is charged
            not include loss for the following elements             with the first three calculations of the
            or any other elements excluded from our                 retrospective rating plan premium and is
            manuals:                                                called the retrospective development
            o Resulting      from     the    nonratable             premium. It is a percentage of the Standard
                elements codes                                      Premium multiplied by the Loss Conversion
                                                                    Factor.      The percentage of Standard
            o Developed by the occupational
                                                                    Premium is called the Retrospective
                disease rates for employers subject to
                                                                    Development Factor.        The Retrospective
                the Federal Mine Safety and Health
                                                                    Development Factors vary by first, second
                Act
                                                                    and third calculations of the retrospective
            o Developed        by    the    catastrophe             rating plan premium. If you chose this
                provisions as outlined in our manuals               element, the Retrospective Development
   4. Converted incurred losses are based on the                    Factors are shown in the Schedule.
        incurred losses for a policy or policies to         C. Retrospective Rating Plan Premium Formula
        which the retrospective rating plan applies.
                                                               Insurance policies listed in the Schedule will be
        A Loss Conversion Factor is applied to
                                                               combined with this policy to calculate the
        incurred losses to produce the converted
                                                               retrospective rating plan premium. If the policies
        incurred losses.       The Loss Conversion
                                                               provide insurance for more than one insured, the
        Factor is shown in the Schedule.
                                                               retrospective rating plan premium will be
   5. Taxes are a part of the premium we collect.              determined for all insureds combined, not
        Taxes are determined as a percentage of                separately for each insured.
        Basic Premium, Converted Losses and any
                                                               1. Retrospective rating plan premium is the
        elective elements. The percentage is called
                                                                    sum of Basic Premium, Converted Losses
        the Tax Multiplier. The Tax Multiplier is
                                                                    and retrospective development premium
        shown in the Schedule.
                                                                    elective elements if you chose them. This
B. Retrospective Rating Plan Premium Elective                       sum is multiplied by the applicable Tax
   Elements                                                         Multiplier shown in the Schedule.
   Two other elements are included in determining              2. The retrospective rating plan premium will
   retrospective rating plan premium if you chose to                not be less than the minimum or more than
   include them. They are the excess loss premium                   the maximum retrospective rating plan
   for the Loss Limitation and the Retrospective                    premium.      The minimum and maximum
   Development Premium. They are explained                          retrospective rating plan premiums are
   here:                                                            determined by:
   1. The election of a Loss Limitation means that                  a. If    the    Minimum      and    Maximum
        the amount of incurred losses to be included in                 Retrospective Rating Plan factors shown
        the retrospective rating plan premium is limited                in the Schedule are shown as a
        to an amount called the Loss Limitation. If you                 percentage then the minimum and
        elect a Loss Limitation you can decide to have                  maximum retrospective rating plan
        the Loss Limit apply as follows:                                premiums are determined by applying the
        a. Per Person – The Loss Limitation applies                     Minimum and Maximum Retrospective
            separately to each person who sustains                      Rating Plan Factors, as shown in the
            bodily injury by disease and separately to                  Schedule, to the Standard Premium
            all bodily injury arising out of any one                b. If    the    Minimum      and     Maximum
            accident; or,                                               Retrospective Rating Plan Factors shown in
        b. Per Accident – The Loss Limitation                           the Schedule are expressed as rates per
            applies separately to each accident or                      $100 of remuneration then the minimum
            occurrence regardless of the number of                      and maximum rating plan premiums are
            employees involved in that accident.                        determined by multiplying the rates per




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            $100 of remuneration, as shown in the                 the rating plan period for all insurance
            Schedule, times the total remuneration.               subject to this endorsement unless we agree
   3. If this endorsement applies to more than one                with you, by endorsement, to continue the
        policy or state, the Standard Premium will be             rating plan period.
        the sum of the Standard Premiums for each              3. If we cancel for nonpayment of premium, the
        policy and state.                                         maximum retrospective rating plan premium
D. Calculation of Retrospective Rating Plan                       will be:
   Premium                                                        a. If the Maximum Retrospective Rating
   1. We will calculate the retrospective rating plan                 Plan Factor is shown as a percentage,
        premium using all loss information we have as                 then the maximum retrospective rating
        of a date eighteen months after the inception                 plan premium is based on the standard
        date of the Rating Plan Period, as shown in the               premium for the rating plan period,
        Schedule, and annually thereafter.                            increased pro rata to 365 days, and will
                                                                      include all of the applicable retrospective
        We may make a special valuation of a
                                                                      rating plan factors shown in the
        retrospective rating plan premium as of any
                                                                      Schedule.
        date that you are declared bankrupt or
        insolvent, make an assignment for the                     b. If the Maximum Retrospective Rating
        benefit of creditors, are involved in                         Plan Factor is shown as a rate per $100
        reorganization, receivership or liquidation, or               of remuneration, then the maximum
        dispose of all your interest in work covered                  retrospective rating plan premium is
        by the insurance. You will pay the amount                     based on the total remuneration for the
        due to us if the retrospective rating plan                    rating plan period, increased pro rata to
        premium is more than the total Standard                       365 days, and will include all of the
        Premium as of the special valuation date.                     applicable retrospective rating plan
                                                                      factors shown in the Schedule.
   2. After any calculation of the retrospective
        rating plan premium, you and we may agree              4. If you cancel, the Standard Premium for the
        that it is the final calculation.                         rating plan period will be increased by our
                                                                  short rate table and procedure. This short
   3. After each calculation of the retrospective
                                                                  rate premium will be the minimum
        rating plan premium, you will pay promptly
                                                                  retrospective rating plan premium.         The
        the amount due us, or we will refund the
                                                                  short rate premium will be used to determine
        amount due you.               Each insured is
                                                                  the retrospective development premium if
        responsible for the payment of all Standard
                                                                  you chose this elective element.
        Premium and retrospective rating plan
        premium calculated under this endorsement.                The maximum retrospective rating plan
                                                                  premium will be:
E. Insureds Operating in More Than One State
                                                                  a. If the Maximum Retrospective Rating
   If any of the policies provide insurance in a state                Plan Factor is shown as a percentage,
   not shown in the List of States, and if you begin                  then the maximum retrospective rating
   work in that state during the Retrospective                        plan premium is based on the short rate
   Rating Plan Period, this endorsement will apply                    premium, increased pro rata to 365 days.
   to that insurance if this retrospective rating plan
   applies in that state on an interstate basis. The              b. If the Maximum Retrospective Rating
   retrospective rating plan premium standard                         Plan Factor is shown as a rate per $100
   elements, and the elective elements you chose,                     of remuneration, then the maximum
   will be determined by our manuals for that state,                  retrospective rating plan premium is
   and added to the Schedule by endorsement.                          based on the total remuneration for the
                                                                      rating plan period, increased by our short
F. Cancellation         of    a     Policy  Under     a               rate table and procedure, and increased
   Retrospective Rating Plan                                          pro rata to 365 days.
   1. If the policy to which this endorsement is               5. Section F.4. will not apply if you cancel
        attached is cancelled, the effective date of              because:
        the cancellation will become the end of the
                                                                  a. All work covered by the insurance is
        rating plan period of all insurance subject to
                                                                      completed
        this endorsement.
                                                                  b. All interest in the business covered by the
   2. If other policies listed in the Schedule of this
                                                                      insurance is sold
        endorsement are cancelled, the effective
        date of cancellation will become the end of               c. You retire from all business covered by
                                                                      the insurance.




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                                                  SCHEDULE
                        MA, WI
1.    List of States:

2.    List of Policies:   57 WPR WQ0297

3.    Rating Plan Period:            From 04/01/2024                       To    04/01/2025

4.    The Plan Parameters are:

      a.   Loss Limitation:      $                                  Per Person
                                     OR
                                 $                                  Per Occurrence

      b.   Loss Conversion Factor: 1.0000

      c.   Minimum Retrospective Rating Plan Premium Factor
                    % of Standard Premium
           OR
                    per $100 of remuneration (including/excluding) payroll for monopolistic states.

      d.   Maximum Retrospective Rating Plan Premium Factor
                    % of Standard Premium
           OR
                    per $100 of remuneration (including/excluding) payroll for monopolistic states. Excluding

      e.   Tax Multiplier:

      f.   Basic Premium Factor
           The Basic Premium Factors shown are based on estimates of Standard Premium. If the actual
           standard premium is within the range of estimated standard premiums shown, the Basic Premium
           Factor will be obtained by linear interpolation to the nearest one-tenth of 1%. If the actual standard
           premium is not within the range of estimated standard premiums shown below, the Basic Premium
           Factor will be recalculated.
                                                  50%                 100%                150%
           Estimated Standard Premium:
           Basic Premium Factor:
           OR
           The Basic Premium Factor is:
                       per $100 of remuneration (including/excluding) payroll for monopolistic states. Excluding

      g.   Terrorism Charge
                      % of Standard Premium
           OR
                      per $100 of remuneration.

      h.   Catastrophe Charge
                     % of Standard Premium
           OR
                     per $100 of remuneration.




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                                                                                               ABCDEFGHIJ


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          RETROSPECTIVE RA TING PLAN PREMIUM ENDORSEMENT -
            LARGE RISK ALTERNATIVE RATING OPTION (LRARO)


Policy Number: 57 WPR WQ0297                                Endorsement Number: 12
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement is issued because you chose to have the cost of the insurance rated retrospectively. This
endorsement applies only to workers compensation and employers liability insurance when rated under the
provisions of the Large Risk Alternative Rating Option that we have negotiated with you.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                         WISCONSIN LAW ENDORSEMENT


Policy Number: 57 WPR WQ0297                                Endorsement Number: 13
Effective Date: 04/01/2024                   Effective hour is the same as stated on the Information Page of the policy.

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                    this policy does not apply to any obligation under
provided by the policy because Wisconsin is shown                 Chapter 40, Wisconsin Statutes, or Section
in Item 3.A. of the Information Page.                             66.191, Wisconsin Statutes, or any amendment to
This policy is amended to reflect the following                   these laws.
changes and/or additions to clarify or comply with            III. Any language involving "Action s Against Us" is
Wisconsin Law:                                                     replaced and amended to provide that no legal
I. If our agent has knowledge of a change in or a                  action may be brought against us until there has
   violation of a policy condition, this will be                   been full compliance with all terms of this policy.
   considered our knowledge and will not void the             IV. If an injury occurs that may be covered by this
   policy or defeat a recovery for a claim.                       insurance the policy is amended to provide that
                                                                  you must notify us of that injury as soon as
II. "Workers’ Compensation Law" means Chapter                     reasonably possible.
   102, Wisconsin Statutes. It does not include and




                                       Countersigned by
                                                                                  Authorized Representative



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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     PREMIUM DUE DATE ENDORSEMENT


Policy Number: 57 WPR WQ0297                                     Endorsement Number: 14
Effective Date: 04/01/2024                    Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address:         SUNPOWER CORPORATION
                                   880 HARBOUR WAY SOUTH, SUITE 600
                                   RICHMOND, CA 94804




Section D of Part Five of the policy is replaced by this provision.

                                                    PART FIVE
                                                    PREMIUM


D. Premium is amended to read:                                    compensation law is not valid. The due date for
                                                                  audit and retrospective premiums is the date of
   You will pay all premium when due. You will
                                                                  the billing.
   pay the premium even if part or all of a workers




                                              Countersigned by
                                                                                      Authorized Representative
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

WISCONSIN CANCELLATION AND NONRENEWAL ENDORSEMENT


Policy Number: 57 WPR WQ0297                           Endorsement Number: 15
Effective Date: 04/01/2024                   Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance                         a. you fail to pay all premiums when due,
provided by the policy because Wisconsin is shown                         however, we must deliver or mail, first
in Item 3.A. of the Information Page.                                     class, not less than thirty (30) days
                                                                          advance written notice stating when the
The Cancellation Section (D) of the Part Six -
                                                                          cancellation is to take effect;
Conditions is deleted and replaced by the following:
                                                                       b. a material misrepresentation;
A. Cancellation                                                        c. a substantial breach of the obligations,
   1. You may cancel this policy. You must mail or                        conditions or warranties under the policy; or
      deliver advance written notice to us stating                     d. a substantial change in the risk we
      when the cancellation is to take effect. If you                     assumed under the policy unless it was
      purchase      replacement       insurance,    the                   reasonable for us to foresee the change or
      cancellation becomes effective on the date the                      expect the risk when we issued the policy.
      new coverage becomes effective.            If no
      replacement coverage is purchased, the                         3. If we cancel for any permissible reason other
                                                                        than nonpayment of premium when due, we
      cancellation will be effective thirty (30) days
                                                                        must deliver or mail, first class, not less than*
      after receipt of written notice by the Wisconsin
                                                                        thirty (30) days notice stating when the
      Compensation Rating Bureau.
                                                                        cancellation is to take effect.     Mailing that
   2. We may cancel the policy for any reason if the                    notice to you at your mailing address shown in
                                                                        Item 1. of the Information Page will be
      policy has been in effect for less than sixty
      (60) days. If the policy is issued for a term                     sufficient to prove notice.
      longer than one year or for an indefinite term,                4. The policy period will end on the day and hour
      we may cancel the policy for any reason on an                     stated in a notice of cancellation.
      annual anniversary of the policy effectivedate.
      We may cancel the policy at any other time for              B. Nonrenewal
      the following reasons:                                         1. You have the right to have the insurance
                                                                        renewed unless we deliver or mail to you not
                                                                        less than* sixty (60) days advance written
                                                                        notice stating our intention not to renew this
                                                                        policy.




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  2. We do not have to renew the insurance if you                  If we provide such notice within sixty (60) days
     do not pay the renewal premium billing by the                 prior to the renewal date, the new terms will not
     due date or if you accept replacement                         take effect until sixty (60) days after the notice is
     insurance, are insured elsewhere, request or                  mailed or delivered, in which case you, the policy
     agree to nonrenewal, or if the policy is                      holder, may elect to cancel the renewal policy at
     expressly designated as being nonrenewable.                   any time during the sixty (60) day period. The
                                                                   notice will include a statement of your right to
  3. If we renew the insurance, we may use the                     cancel. If you elect to cancel the renewal policy
     policy forms, rates and rating plans we are                   during the sixty (60) day period, the return
     then using for similar risks. We may limit the                premium or additional premium charges shall be
     policy to a term equivalent to the term of the                calculated proportionally on the basis of the old
     expiring policy or one year, whichever is less.               premiums.

  4. If we offer to renew the insurance on less                    We need not mail or deliver this notice if the only
     favorable terms, we will mail to deliver written              change adverse to you is a premium increase
     notice of the new terms by first class mail to                that; (a) is less than 25%; or, (b) results from a
     you, the policy holder, at least sixty (60) days              change based on your action that alters the
     prior to the renewal date. The definition of                  nature and extent of the risk insured against,
     "terms" does not include manual rates,                        including, but not limited to, a change in the
     experience       modification     factors,    or              classifications for the business.
     classifications of risks.




    *     Any written agreement attached to and made a part of the policy, between the insurance carrier and
        policyholder which extends the cancellation or nonrenewal notification timeframe, will supersede the
        aforementioned notification requirements found in items A.3., and B.1., respectively.




                                            Countersigned by
                                                                                   Authorized Representative




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

EXPERIENCE RATING MODIFICATION FACTOR REVISION ENDORSEMENT


Policy Number: 57 WPR WQ0297                               Endorsement Number: 16
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                880 HARBOUR WAY SOUTH, SUITE 600
                                RICHMOND, CA 94804




This endorsement is added to Part Five - Premium of the policy.
The premium for the policy is adjusted by an experience rating modification factor. The factor shown on the
Information Page may be revised and applied to the policy in accordance with our manuals and endorsements.
We will issue an endorsement to show the revised factor, if different from the factor shown, when it is calculated.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          90-DAY REPORTING REQUIREMENT -
                        NOTIFICATION OF CHANGE IN OWNERSHIP
                                   ENDORSEMENT
Policy Number: 57 WPR WQ0297                               Endorsement Number: 17
Effective Date:04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                                  880 HARBOUR WAY SOUTH, SUITE 600
                                  RICHMOND, CA 94804




You must report any change in ownership to us in writing within 90 days of the date of the change. Change in
ownership includes sales, purchases, other transfers, mergers, consolidations, dissolutions, formations of a new
entity and other changes provided for in the applicable experience rating plan. Experience rating is mandatory for
all eligible insureds. The experience rating modification factor, if any, applicable to this policy, may change if there
is a change in your ownership or in that of one or more of the entities eligible to be combined with you for
experience rating purposes.
Failure to report any change in ownership, regardless of whether the change is reported within 90 days of such
change, may result in revision of the experience rating modification factor used to determine your premium.
This reporting requirement applies regardless of whether an experience rating modification is currently applicable
to this policy.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT



Policy Number: 57 WPR WQ0297                                Endorsement Number: 18
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Part Five - Premium, Section G. (Audit) of the Workers Compensation and Employers Liability Insurance Policy is
revised by adding the following:

If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
information as requested, we may apply an Audit Noncompliance Charge. The method for determining the Audit
Noncompliance Charge by state, where applicable, is shown in the Schedule below.

If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge,
we will revise your premium in accordance with our manuals and Part 5 - Premium, E. (Final Premium) of this
policy.

Failure to cooperate with this policy provision may result in the cancellation of your insurance coverage, as
specified under the policy.

                                                      Schedule

               State(s)                   Basis of Audit Noncompliance           Maximum Audit Noncompliance
                                                     Charge                            Charge Multiplier

 AL, AR, CO, CT, DC, DE, GA, IA,             Estimated Annual Premium                      Up to two times
 ID, IL, KY, MD, ME, MI, MN, MS,
 NE, NJ, NM, OR, RI, SC, SD, TN,
 UT, VA, VT, WV

 AZ, HI, KS, OK                              Estimated Annual Premium                         Two times

 NC                                          Estimated Annual Premium                     Up to three times

 NV                                          Estimated Annual Premium                      Up to one times

 WI                                          Estimated Annual Premium                         One time




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


      CATASTROPHE (OTHER THAN CERTIFIED ACTS OF TERRORISM)
                     PREMIUM ENDORSEMENT


Policy Number: 57 WPR WQ0297                                Endorsement Number: 19
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement is notification that we are charging     For purposes of this endorsement, Catastrophe
premium to cover the losses that may occur in the         (Other Than Certified Acts of Terrorism) is defined as:
event of a Catastrophe (Other Than Certified Acts of      A single event or peril resulting in a group of claims
Terrorism) as that term is defined below. Your policy     with aggregate workers compensation losses in
provides coverage for workers compensation losses         excess of $50 million. This $50 million threshold
caused by a Catastrophe (Other Than Certified Acts        applies per occurrence, across all states for which
of Terrorism). Coverage for such losses is subject to     claims arise from a single event or peril.
all terms, definitions, exclusions, and conditions in
your policy, and any applicable federal and/or state      The premium charge for the coverage your policy
laws, rules, or regulations. This premium charge          provides for workers compensation losses caused by
does not provide funding for Certified Acts of            a Catastrophe (Other Than Certified Acts of
Terrorism contemplated under the Terrorism Risk           Terrorism) is shown in Item 4 of the Information Page
Insurance Program Reauthorization Act Disclosure          or in the Schedule below.
Endorsement attached to this policy.

                                                        Schedule

                       State                            Rate                              Premium




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                                                                                                       ABCDEFGHIJ
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT
                    DISCLOSURE ENDORSEMENT


Policy Number: 57 WPR WQ0297                                Endorsement Number: 20
Effective Date:04/01/2024  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




 Name of California Insurer:

This endorsement addresses the requirements of the           "Act of Terrorism" means any act that is certified by
Terrorism Risk Insurance Act of 2002 as amended              the Secretary of the Treasury, in consultation with the
and extended by the Terrorism Risk Insurance                 Secretary of Homeland Security, and the Attorney
Program Reauthorization Act of 2019. It serves to            General of the United States, as meeting all of the
notify you of certain limitations under the Act, and that    following requirements:
your insurance carrier is charging premium for losses        a. The act is an act of terrorism.
that may occur in the event of an Act of Terrorism.
                                                             b. The act is violent or dangerous to human life,
Your policy provides coverage for workers                       property or infrastructure.
compensation losses caused by Acts of Terrorism,
including workers compensation benefit obligations           c.   The act resulted in damage within the United
dictated by state law. Coverage for such losses is still          States, or outside of the United States in the case
subject to all terms, definitions, exclusions, and                of the premises of United States missions or
conditions in your policy, and any applicable federal             certain air carriers or vessels.
and/or state laws, rules, or regulations.                    d. The act has been committed by an individual or
Definitions                                                     individuals as part of an effort to coerce the
                                                                civilian population of the United States or to
The definitions provided in this endorsement are                influence the policy or affect the conduct of the
based on and have the same meaning as the                       United States Government by coercion.
definitions in the Act. If words or phrases not defined
in this endorsement are defined in the Act, the              "Insured Loss" means any loss resulting from an act
definitions in the Act will apply.                           of terrorism (and, except for Pennsylvania, including
                                                             an act of war, in the case of workers compensation)
"Act" means the Terrorism Risk Insurance Act of              that is covered by primary or excess property and
2002, which took effect on November 26, 2002, and            casualty insurance issued by an insurer if the loss
any amendments thereto, including any amendments             occurs in the United States or at the premises of
resulting from the Terrorism Risk Insurance Program          United States missions or to certain air carriers or
Reauthorization Act of 2019.                                 vessels.
                                                             "Insurer Deductible" means, for the period beginning
                                                             on January 1, 2021, and ending on December 31,
                                                             2027, an amount equal to 20% of our direct earned
                                                             premiums during the immediately preceding calendar
                                                             year.




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Limitation of Liability
The Act limits our liability to you under this policy. If     2. Notwithstanding item 1 above, the United States
aggregate Insured Losses exceed $100,000,000,000                 Government will not make any payment under the
in a calendar year and if we have met our Insurer                Act for any portion of Insured Losses that exceed
Deductible, we are not liable for the payment of any             $100,000,000,000.
portion of the amount of Insured Losses that exceeds          3. The premium charge for the coverage your policy
$100,000,000,000; and for aggregate Insured Losses               provides for Insured Losses is included in the
up to $100,000,000,000, we will pay only a pro rata              amount shown in Item 4 of the Information Page
share of such Insured Losses as determined by the                or in the Schedule below.
Secretary of the Treasury.
Policyholder Disclosure Notice
1. Insured Losses would be partially reimbursed by
   the United States Government. If the aggregate
   industry Insured Losses occurring in any calendar
   year exceed $200,000,000, the United States
   Government would pay 80% of our Insured
   Losses that exceed our Insurer Deductible.


                                                       Schedule


                     State                                  Rate                              Premium




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                                                                        AB
                         PRODUCER COMPENSATION NOTICE


You can review and obtain information on The Hartford’s producer compensation practices at
www.TheHartford.com or at 1-800-592-5717.




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POLICY NUMBER: 57 WPR WQ0297
NAME OF INSURER:



Our President and Secretary have signed this policy. Where required by law, the Information Page has been
countersigned by our duly authorized representative.




          Kevin Barnett, Secretary                               M. Ross Fisher, President




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               MASSACHUSETTS LIMITS OF LIABILITY ENDORSEMENT


Policy Number: 57 WPR WQ0297                               Endorsement Number: 23
Effective Date: 04/01/2024                  Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because
Massachusetts is listed in Item 3.A. of the Information Page.

Our liability to you under Section 25 of Chapter 152 of the General Laws of Massachusetts is not subject to the
limit of liability that applies to Part Two (Employers Liability Insurance).




                                                     Countersigned by
                                                                                       Authorized Representative




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              MASSACHUSETTS PREMIUM DUE DATE ENDORSEMENT


Policy Number: 57 WPR WQ0297                               Endorsement Number: 24
Effective Date: 04/01/2024                    Effective hour is the same as stated on the Information Page of the policy.

Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




Section D of Part Five of the policy is replaced by this provision:


                                                       PART FIVE
                                                       PREMIUM

D. Premium Payments is amended to read:                               compensation law is not valid. The audit and
   You will pay all premium when due. You will                        retrospective premiums shall be paid by
                                                                      the due date indicated on the billing
   pay the premium even if part or all of a workers
                                                                      statement.




                                               Countersigned by
                                                                                          Authorized Representative


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                                                                                                         ABCDEFGHIJ



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                 MASSACHUSETTS CANCELLATION ENDO RSEMENT


Policy Number: 57 WPR WQ0297                                Endorsement Number: 25
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




This endorsement applies only to the insurance                 against. Such cancellation shall not be effective
provided by the policy because Massachusetts is                until ten days after written notice is given by us
shown in Item 3.A. of the Information Page.                    to you and the Workers’ Compensation Rating
                                                               and Inspection Bureau of Massachusetts
The Cancellation Condition of the policy is replaced           (Bureau), or until notice has been received by
by the following:                                              the Bureau that you have secured insurance
                                                               from another insurance company, whichever
Cancellation                                                   occurs first. Our notice to the Bureau may be
                                                               given by electronic transmission.
1. You may cancel this policy by mailing or
   delivering to us advance written notice                 3. We will mail or deliver the notice of cancellation
   requesting cancellation. Such cancellation shall           to you at your last address, which shall be the
   not be effective until ten days after written notice       mailing address shown in Item 1 of the
   is given by us to The Workers’ Compensation                Information Page or the change of mailing
   Rating and Inspection Bureau of Massachusetts              address shown in an Endorsement to the Policy.
   (Bureau), or until notice has been received by             Pursuant to M.G.L. Chapter 175, Section 187C,
   the Bureau that you have secured insurance                 a written notice of cancellation shall be deemed
   from another insurance company, whichever                  effective when mailed by us if we obtain a
   occurs first. Our notice to the Bureau may be              certificate of mailing receipt from the United
   given by electronic transmission.                          States Postal Service showing your name and
                                                              address as stated in the policy.
2. We may cancel this policy only if based on one
   or more of the following reasons: (i) nonpayment        4. Any of these provisions that conflict with the law
   of   premium;       (ii)  fraud     or   material          that controls the cancellation of this insurance
   misrepresentation affecting your policy; or (iii) a        policy is changed by this statement to comply
   substantial increase in the hazard insured                 with the law.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




       MASSACHUSETTS NOTICE TO POLICYHOLDER ENDORSEM ENT


Policy Number: 57 WPR WQ0297                                Endorsement Number: 26
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                           880 HARBOUR WAY SOUTH, SUITE 600
                           RICHMOND, CA 94804




This endorsement applies only to the insurance             2.   Reserve or Settlements
provided by the policy because Massachusetts is
                                                                You may request a loss run, which contains
shown in Item 3.A. of the Information Page.
                                                                reserve and settlement information for claims
                                                                that relate to the premium for this policy. Such
1.   Rates and Premium
                                                                a request must be in writing and should be
     The policy contains rates and classifications
                                                                sent to our address shown on this
     that apply to your type of business. If you
                                                                endorsement. We will provide you with that
     have any questions regarding the rates or
                                                                information within thirty (30) days of receipt of
     classifications, please contact your agent or
                                                                your request, and at reasonable intervals
     us.
                                                                thereafter.
     You may obtain pertinent rating information by
                                                                If you have any questions or believe that we
     submitting a written request to the Workers’
                                                                set    unreasonable    reserves    or     made
     Compensation Rating and Inspection Bureau
                                                                unreasonable settlements that affected your
     of Massachusetts at the address shown in this
                                                                premiums or losses, you may make a written
     endorsement or to us at our company address
                                                                request through your agent or directly to us for
     shown on this endorsement. We may require
                                                                a meeting with our company representative. If
     you to pay a reasonable charge for furnishing
                                                                you are not satisfied with the results of the
     the information.
                                                                meeting, you may make a written appeal to the
     You may also submit a written request for a                Insurance Commissioner at the address
     review of the method by which your                         shown on the endorsement.
     classification, rates, premiums or audit results
     were determined. If we fail to grant or reject        3.   Named Insured
     your request within thirty days after it is made           You are responsible for immediately reporting
     or if you are not satisfied by the results of our          all changes in name or legal status to us in
     review, you may submit a written request for               writing at the company address shown in this
     review to the Workers’ Compensation Rating                 Endorsement.
     and Inspection Bureau of Massachusetts
     ("WCRIBMA") at the address shown in this                   If you want to add a named insured or
     endorsement. If the WCRIBMA fails to grant or              replace the named insured with another legal
     reject your request within thirty days after it is         entity on any    policy issued through the
     made or [i]f you are not satisfied with the                Massachusetts Assigned Risk Pool you must
     results of the WCRIBMA review, you may                     submit a new Assigned Risk Pool Application,
     appeal to the Commissioner of Insurance at                 including   a   Confidential   Request   for
     the address shown in this endorsement.                     Information Form (ERM), to the Workers’



Form WC 20 03 03 D Printed in U.S.A.                                                               Page 1 of 2
Process Date:                                                     Policy Expiration Date:
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     Compensation Rating and Inspection Bureau                      address is that which is shown in Item 1 of the
     of Massachusetts at the address shown in this                  Information Page or in a change of address
     Endorsement                                                    Endorsement to the Policy. You are
                                                                    responsible for notifying us in writing at the
4.   Insured’s Mailing Address                                      company address shown in this Endorsement
     Notices relating to this Policy will be mailed or              about any change to your mailing address.
     delivered to your mailing address. Your mailing




                                                    Addresses

The Workers’ Compensation Rating and                     Company Address
Inspection Bureau of Massachusetts
Attention: Customer Service Department                   THE HARTFORD
101 Arch Street, 5th Floor                               ONE HARTFORD PLAZA
Boston, MA 02110                                         HARTFORD, CT 06155
www.wcribma.org


Commissioner of Insurance
Division of Insurance
Department of Banking and Insurance
1000 Washington St 8th Floor
Boston, MA 02118-2218




Form WC 20 03 03 D Printed in U.S.A.                                                                  Page 2 of 2
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                                                                                                         ABCDEFGHIJ



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                      MASSACHUSETTS - ASSESSMENT CHARGE


Policy Number: 57 WPR WQ0297                                Endorsement Number: 27
Effective Date: 04/01/2024 Effective hour is the same as stated on the Information Page of the policy.
Named Insured and Address: SUNPOWER CORPORATION
                            880 HARBOUR WAY SOUTH, SUITE 600
                            RICHMOND, CA 94804




Massachusetts General Laws, Chapter 152, Section 65, as amended by Chapter 572 of the Acts of 1985,
establishes a workers compensation special fund and a workers compensation trust fund.

On behalf of the Department of Industrial Accidental (DIA), the insurance company providing workers
compensation coverage is required to bill and collect an assessment charge covering the special and trust funds
from insured employers and remit the amounts collected to the State Treasury.

The assessment charge, which is determined by applying a rate (subject to annual change) to the DIA’s standard
premium, as defined and outlined in 452 CMR 7.00, developed under your policy, is shown as a separate item
on the information page of the policy. The rate may be different for private employers and for the Commonwealth
and its political subdivisions.

The income derived from the assessment charge will be used to fund the operating expenses of the DIA and to
fund certain employee benefits as described in Chapter 152.




Form WC 20 03 02 A Printed in U.S.A.
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                        EXHIBIT C
                         Invoices
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                                                                                                     Together We Prevail™



Account Invoice                      Invoice Date: 07/01/2024                                                     Invoice ID: 3232924

                                                              Account Name:     SunPower Corporation
ATTN: MICHAEL DUGGAN                                          Account #:
SUNPOWER CORPORATION                                          Hartford Contact: JASON FERRARO
8900 Amberglen Blvd. Ste 325
Austin, TX 78729                                                                                          @thehartford.com




Description                                                                        Valuation Date                        Amount Due
Loss Reimbursement                                                                 06/30/2024                            $163,860.53
Surcharge/State Tax                                                                06/30/2024                                   $2.73
Service Fee                                                                        06/30/2024                                $2,800.00
                                Due Date: 07/31/2024                                                Amount Due:         $166,663.26




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SunPower Corporation                                                                Invoice ID:                             3232924
Account #:                                                                          AMOUNT DUE:                          $166,663.26
Invoice Date: 07/01/2024                                                            DUE DATE:                             07/31/2024

Please make check payable to:                 Pay via EFT:
Hartford Financial Services                   Name:                   Bank of America
P.O. Box 415738                               Account#:
Boston, MA 02241-5738                         Name:                   Hartford Fire Insurance
                                              ABA# for ACH:
For overnight check payments:                 ABA# for WIRE:
Bank of America Lockbox Services
Hartford Financial Services                   Access electronic copies of your billing statements
415738 MA5-527-0207                           online at treo.thehartford.com
2 Morrissey Blvd., Dorchester, MA 02125
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    Activity Summary                                                                                           Invoice ID: 3232924

Valuation Date:             06/30/2024                                                 Account Name: SunPower Corporation
Invoice Date:               07/01/2024                                                 Account #:
x




                                                                          Surcharge/                    Service Fee
    Program Period          Product        Policy Number          Loss     State Tax      Service Fee           Tax           Total
                                                                                                                                  Case 24-11649-CTG




                            WORKERS'
    04/01/2024-04/01/2025                  57 WV WQ0015      $10,677.24        $0.09        $2,400.00         $0.00     $13,077.33
                            COMPENSATION
                            WORKERS'
    04/01/2023-04/01/2024                  57 WV WQ0015     $104,555.52        $2.27          $400.00         $0.00    $104,957.79
                            COMPENSATION
                            WORKERS'
    04/01/2022-04/01/2023                  57 WV WQ0015      $32,529.71        $0.37            $0.00         $0.00     $32,530.08
                                                                                                                                  Doc 812-2




                            COMPENSATION
                            WORKERS'
    11/01/2021-04/01/2022                  57 WV WQ0015      $15,176.42        $0.00            $0.00         $0.00     $15,176.42
                            COMPENSATION
                            WORKERS'
    11/01/2020-11/01/2021                  57 WV WQ0015         $239.87        $0.00            $0.00         $0.00         $239.87
                            COMPENSATION
                            WORKERS'
    11/01/2019-11/01/2020                  57 WV WQ0015         $487.08        $0.00            $0.00         $0.00         $487.08
                            COMPENSATION
                            WORKERS'
                                                                                                                                  Filed 10/16/24




    11/01/2016-11/01/2017                  57 WN WQ0015         $194.69        $0.00            $0.00         $0.00         $194.69
                            COMPENSATION
                                           Account Total:   $163,860.53        $2.73        $2,800.00         $0.00   $166,663.26
                                                                                                                                  Page 490 of 499




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                                                                                                     Together We Prevail™



Account Invoice                      Invoice Date: 08/01/2024                                                     Invoice ID: 3242322

                                                              Account Name:     SunPower Corporation
ATTN: MICHAEL DUGGAN                                          Account #:
SUNPOWER CORPORATION                                          Hartford Contact: JASON FERRARO
8900 Amberglen Blvd. Ste 325
Austin, TX 78729                                                                                          @thehartford.com




Description                                                                        Valuation Date                        Amount Due
Loss Reimbursement                                                                 07/31/2024                            $138,355.03
Surcharge/State Tax                                                                07/31/2024                                   $2.07
Service Fee                                                                        07/31/2024                                $2,800.00
                                Due Date: 08/31/2024                                                Amount Due:         $141,157.10




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SunPower Corporation                                                                Invoice ID:                             3242322
Account #:                                                                          AMOUNT DUE:                          $141,157.10
Invoice Date: 08/01/2024                                                            DUE DATE:                             08/31/2024

Please make check payable to:                 Pay via EFT:
Hartford Financial Services                   Name:                   Bank of America
P.O. Box 415738                               Account#:
Boston, MA 02241-5738                         Name:                   Hartford Fire Insurance
                                              ABA# for ACH:
For overnight check payments:                 ABA# for WIRE:
Bank of America Lockbox Services
Hartford Financial Services                   Access electronic copies of your billing statements
415738 MA5-527-0207                           online at treo.thehartford.com
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    Activity Summary                                                                                           Invoice ID: 3242322

Valuation Date:             07/31/2024                                                 Account Name: SunPower Corporation
Invoice Date:               08/01/2024                                                 Account #:
x




                                                                          Surcharge/                    Service Fee
    Program Period          Product        Policy Number          Loss     State Tax      Service Fee           Tax          Total
                                                                                                                                  Case 24-11649-CTG




                            WORKERS'
    04/01/2024-04/01/2025                  57 WV WQ0015      $14,900.61        $0.13        $2,200.00         $0.00     $17,100.74
                            COMPENSATION
                            WORKERS'
    04/01/2023-04/01/2024                  57 WV WQ0015      $83,497.90        $1.60          $600.00         $0.00     $84,099.50
                            COMPENSATION
                            WORKERS'
    04/01/2022-04/01/2023                  57 WV WQ0015      $32,769.91        $0.28            $0.00         $0.00     $32,770.19
                                                                                                                                  Doc 812-2




                            COMPENSATION
                            WORKERS'
    11/01/2021-04/01/2022                  57 WV WQ0015       $7,173.92        $0.06            $0.00         $0.00       $7,173.98
                            COMPENSATION
                            WORKERS'
    11/01/2019-11/01/2020                  57 WV WQ0015          $10.72        $0.00            $0.00         $0.00         $10.72
                            COMPENSATION
                            WORKERS'
    11/01/2016-11/01/2017                  57 WN WQ0015           $1.97        $0.00            $0.00         $0.00          $1.97
                            COMPENSATION
                                           Account Total:   $138,355.03        $2.07        $2,800.00         $0.00   $141,157.10
                                                                                                                                  Filed 10/16/24
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                                                                                                     Together We Prevail™



Account Invoice                      Invoice Date: 09/01/2024                                                     Invoice ID: 3251067

                                                              Account Name:     SunPower Corporation
ATTN: MICHAEL DUGGAN                                          Account #:
SUNPOWER CORPORATION                                          Hartford Contact: JASON FERRARO
8900 Amberglen Blvd. Ste 325
Austin, TX 78729                                                                                          @thehartford.com




Description                                                                        Valuation Date                        Amount Due
Loss Reimbursement                                                                 08/31/2024                            $137,577.00
Surcharge/State Tax                                                                08/31/2024                                   $2.17
Service Fee                                                                        08/31/2024                                $8,500.00
                                Due Date: 10/01/2024                                                Amount Due:         $146,079.17




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SunPower Corporation                                                                Invoice ID:                             3251067
Account #:                                                                          AMOUNT DUE:                          $146,079.17
Invoice Date: 09/01/2024                                                            DUE DATE:                             10/01/2024

Please make check payable to:                 Pay via EFT:
Hartford Financial Services                   Name:                   Bank of America
P.O. Box 415738                               Account#:
Boston, MA 02241-5738                         Name:                   Hartford Fire Insurance
                                              ABA# for ACH:
For overnight check payments:                 ABA# for WIRE:
Bank of America Lockbox Services
Hartford Financial Services                   Access electronic copies of your billing statements
415738 MA5-527-0207                           online at treo.thehartford.com
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    Activity Summary                                                                                           Invoice ID: 3251067

Valuation Date:             08/31/2024                                                 Account Name: SunPower Corporation
Invoice Date:               09/01/2024                                                 Account #:
x




                                                                          Surcharge/                    Service Fee
    Program Period          Product        Policy Number          Loss     State Tax      Service Fee           Tax          Total
                                                                                                                                  Case 24-11649-CTG




                            WORKERS'
    04/01/2024-04/01/2025                  57 WV WQ0015       $5,623.26        $0.08            $0.00         $0.00       $5,623.34
                            COMPENSATION
                            WORKERS'
    04/01/2023-04/01/2024                  57 WV WQ0015     $101,685.94        $1.65        $8,200.00         $0.00    $109,887.59
                            COMPENSATION
                            WORKERS'
    04/01/2022-04/01/2023                  57 WV WQ0015      $21,088.71        $0.43          $200.00         $0.00     $21,289.14
                                                                                                                                  Doc 812-2




                            COMPENSATION
                            WORKERS'
    11/01/2021-04/01/2022                  57 WV WQ0015       $2,744.24        $0.00          $100.00         $0.00       $2,844.24
                            COMPENSATION
                            WORKERS'
    11/01/2020-11/01/2021                  57 WV WQ0015       $1,934.85        $0.01            $0.00         $0.00       $1,934.86
                            COMPENSATION
                            WORKERS'
    11/01/2018-11/01/2019                  57 WV WQ0015       $4,500.00        $0.00            $0.00         $0.00       $4,500.00
                            COMPENSATION
                                           Account Total:   $137,577.00        $2.17        $8,500.00         $0.00   $146,079.17
                                                                                                                                  Filed 10/16/24
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                                                                                                     Together We Prevail™



Account Invoice                      Invoice Date: 10/01/2024                                                     Invoice ID: 3259771

                                                              Account Name:     SunPower Corporation
ATTN: MICHAEL DUGGAN                                          Account #:
SUNPOWER CORPORATION                                          Hartford Contact: JASON FERRARO
8900 Amberglen Blvd. Ste 325
Austin, TX 78729                                                                                          @thehartford.com




Description                                                                        Valuation Date                        Amount Due
Loss Reimbursement                                                                 09/30/2024                            $142,539.91
Surcharge/State Tax                                                                09/30/2024                                   $2.20
Service Fee                                                                        09/30/2024                                $3,950.00
                                Due Date: 10/31/2024                                                Amount Due:         $146,492.11




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SunPower Corporation                                                                Invoice ID:                             3259771
Account #:                                                                          AMOUNT DUE:                          $146,492.11
Invoice Date: 10/01/2024                                                            DUE DATE:                             10/31/2024

Please make check payable to:                 Pay via EFT:
Hartford Financial Services                   Name:                   Bank of America
P.O. Box 415738                               Account#:
Boston, MA 02241-5738                         Name:                   Hartford Fire Insurance
                                              ABA# for ACH:
For overnight check payments:                 ABA# for WIRE:
Bank of America Lockbox Services
Hartford Financial Services                   Access electronic copies of your billing statements
415738 MA5-527-0207                           online at treo.thehartford.com
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    Activity Summary                                                                                           Invoice ID: 3259771

Valuation Date:             09/30/2024                                                 Account Name: SunPower Corporation
Invoice Date:               10/01/2024                                                 Account #:
x




                                                                          Surcharge/                    Service Fee
    Program Period          Product        Policy Number          Loss     State Tax      Service Fee           Tax          Total
                                                                                                                                  Case 24-11649-CTG




                            WORKERS'
    04/01/2024-04/01/2025                  57 WV WQ0015       $2,194.80        $0.04        $1,200.00         $0.00       $3,394.84
                            COMPENSATION
                            WORKERS'
    04/01/2023-04/01/2024                  57 WV WQ0015      $76,855.17        $1.21        $2,100.00         $0.00     $78,956.38
                            COMPENSATION
                            WORKERS'
    04/01/2022-04/01/2023                  57 WV WQ0015      $57,756.27        $0.95          $300.00         $0.00     $58,057.22
                                                                                                                                  Doc 812-2




                            COMPENSATION
                            WORKERS'
    11/01/2021-04/01/2022                  57 WV WQ0015       $2,469.76        $0.00          $150.00         $0.00       $2,619.76
                            COMPENSATION
                            WORKERS'
    11/01/2020-11/01/2021                  57 WV WQ0015       $3,263.91        $0.00          $100.00         $0.00       $3,363.91
                            COMPENSATION
                            WORKERS'
    11/01/2019-11/01/2020                  57 WV WQ0015           $0.00        $0.00          $100.00         $0.00         $100.00
                            COMPENSATION
                                           Account Total:   $142,539.91        $2.20        $3,950.00         $0.00   $146,492.11
                                                                                                                                  Filed 10/16/24
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